Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 1 of 240


                                                               22-60028-CR-WPD




                                                                 202a
          Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 2 of 240
                               Ţä}ǕƞdȘɓ8ƥɓș_ɓű&ſȑòö¡őÝì&dŶ×ɓŧƤǗȪɓũƣMɓ               XtĴĂɓ

                                                                                             ĠřŁɓŜďɓª:ĭ:Zģ¨įĮɓ               8&ɓ   ǘɓìƳƾɓ    


ŋÓǌÓƮɓŪíŷíȫȒɓ               + 0ɓ ²çEɓ      ɓǀ ɓ   ²hȎ ɓ 0ɓBǐɓýŚŌ+Yɓ ¯ɓQɓ`Q2 ɓX¯³°Yɓ Ŧ$0ɓƺþÆGɓÿş<Yɓ
v ƟÕɓPɓ                    4ɓ2ɓÃ -Õơɓ ɓś3+ɓ#Ʉɓ  ɓ ɓcɓ$ɓǾȬĐɓŒɓɓ- -ǆɓKɓ°³Őɓ ɓx<ɓ#QnĆɓɓKɓ - ùɓ ǙǖɓÐ$ɓ LɓåɑÍÐɓBD'gPɓɓ
 ɓ#n¢ɓ                     ,ɓƈL ɓƀ2ɓ ØɓɓR5  qɓ 
{óɓ$ɓPǒƜɓ,ɓ@Ǐɓƶ ɓ                                            Ù, ɓ 7ɓ                                                                             Ų1ȹCɓ'1I"bɓèICTɇɓmCɓ
 %1$ 3                                                                        #+/ &")3                                                                                                 
                                                                                                                                                                                        
4$ɓǁ    ɓU ćɓãUȗúɓƦƻ ɓǚOɓ ɓ ɓ ǅ,ɓ                     Ù~ ɓ 7ɓ                                                                             ūǿl'Jû'ɓ'1)"bɓ'J)lDȚɈɓ lƁJDɓ


ŏ%@ɓºɓ  @¿&ɓ| Ǝɓ9Gqɓ4ɓVɓ ?|Ⱥɓ|ɓţđ´£ɓƂ nɓ9ɓ 9 ȏVÁS% éqɓ


ŅƷĈɓɁ ɓ ɓâ !ɓ       apɓ! ɓɓŵ4w               ɓ Ȼɓɓ$ E  ɓ!pɓ!ɓ 7Bɓ!R(ɓ# ɓX!Ƣɓǜ!îU( jGĔɓ
                                                                                                                                                    *á £ɓĒɓ      ŤȂÇ9NÇǛN=ɓŊƗÂk1eɓ ń»AB»Ưeɓ
                                                                                                                                                                   uÏƠÖɓ_&ɓɉǪȭɓǫɓɍǱV&ɓMƧɓƨMMdÎɓ
                                                                                                                                                                   ǂǴÛȡǍɊĉɓɃÛSɓøīɓưɓțɓS_ ȓɓƩȮÜƏĕɓ
                                                                                                                                                                   uÏÖƽdÎɓ}ɓƇõɓ¿×ĻŞüǎɓf8 ɓƍ}fƱɓö8òɓ
 *,-0!3 (2 .' 3 
3 0 ɓ(QF îhɓ Aɓ                                                          3 0 ɓB ȼ(ĝ!ĞÄÞ ɓ

                                                                                                                                         3 0Pɓ Ƿ !ɓ( ɓ
                                                                                                                                                                                 
                                                                                                                                                                    ȧõɓ8ɓȃÌVÝƐĖɓ     ųǶɓ     
                                                                                                                                                                    4ɓO ɓ ɓǮȯɓ R  !
                                                                                                                                                                    SF-  ɓɓ  ƴɓ 
                                                                                                                                                                                                     ¶ȀmȔɓ




                 ¸1Ɲ1Ǩɓ ]Ÿɓ ]~@ĵɓ              {%Vɓ ɓ á ɓ        {%ɓiǸ%U9ɓº9ɓɓǽf ɓ
                       ·âôȕ/ɓ /ɐ/ɓɓ,ɓ/R,,/ɓ / ôɓ ɓ Ȱɓɀ//ɓɓUZ2ɓ, 5ɓ
ļ0ğŃbÅ''ɓ          Ŵ1FĶɓ        <>ɓ#ǭȐɓ#>ÍǯE>ɓŖ\ 2\ȉĺɓ­ɓ«t::ɓ *>ɓ                  ɓ    ¸B1lȖĹɓ      <ƛɓßE ɓ#> >ɓŗ\ 2\h÷ɓ­ ɓ«t::ɓ                 šȊƆ ɓ

  ÑǝêïæȱƉïÑǞêăķɓ                                               Ĩoɓ+ .ɓ. ɓ 27ƅɓ        Ĭoɓµ   Lǹɓ ɓóɓ               Ho  ƸɓFƬÒɓ%ɓĀ5ɓ . Yĸɓ
ĤĄɓō!ñɓɓ                                   Ř! ɓ 7ɓ                                                                                           vK ɓnɓ(ç Sɓ         uȄƑMðɓÌ8&ɓ8ð_Ƙ&ɓƒäÜƖǟȩɓ

                                                                                                                                                                                             
                                                                                                                                                                                             
                                                                                                                                                                                             
                                                                                                                                                                                             
                               <Ź0Èɓ,&5pɓǺ ɓÈ .rɓ*.?ɓ3 &@ɓG<Ďĩ¤ɓ                                                                                                 [ɓ
                        ¬=ɓ      ;6WɒɅÚãɓ ȅ/ ėɓ                                                           ɓ ;6W#5ɓ  ¥ɓ*.Kɓ ŬƊ`rɓ®ɓaɓ5ȁaȆɓĘɓ            ¬ɓ
ŭȜ¼Ǡ¼ɓ               s=ɓ      xȲƭɓȽ ɓ¥ɓ                         sźɓ                                 ɓ ŠEƹ6hɓȾ 'ęɓ*6Ƌ`ɓ·.`rɓ®ɓ±ɓ åɓ           sɓ
ŇÊȳÁȝƼà ɓƪ%ȇ¡
                        H=ɓ      4µŀɓƿ  Òɓ                                                               ɓ ;6W#5ɓO  ɓ                                        Hɓ
  
                                 ť  Q ɓ ɓ Ȣɓ¢ɓ                     HIɓ                                  ;6W#5ɓO  ɓ                                        Hɓ

                                                                                                                                                                  
 *!      "&*
 
                        y=ɓ      +ǲɓÉ.2ǓɓÉP$ɓ                        yŻɓ                                 ɓ ;6W#ɓO  ɓ                                           yɓ
  
                   vRɓ0ɓɓXßG¦ɓ*ǉLɓ+( ɓ ňɓ$ɓ2 ¦ɓ4ɓɓĊɓ (?ƌǇɓLɓ                                                           
   
                 İ=ɓ      ´ Ƶɓ ÄAɓǬAɓ+(Kɓ ɓ                                                                                                                           3
( *                   ɓ      Þiɓ       ǡɓ ¹?iɓaiɓ÷ &ɓȞ ~ɓŔǢÂǰ7ƙɓ                                                                     ıɓ                  3
 $  *
                     z½ɓ      *Ɠǃë7^ǣëɓ%ɓ f] @^ɓ ÚɓŮ ^^ɓ  Êɓ                                                                                               z½ɓ                     3
)**'%* *
                               ůȣƄ ȤÃØɓ ǤɓŰɓ$ȍ Aɓ ǩɓ ¹ 9ɓéɓɋɓżǄȴjɓƲ%jjɓ ±e]%¤ɓ                                                                    zɓ                 3
  '* *#*
                            ¶kž ƔŽɓmIȥ%ǥɓ CɓNkɎJɓmIȨ eèɓ$Aɓ+.?ȵɓ                                                                 
  
                [ġɓ       xȶÔɓÀF ɓ-cɓÆ-ȟ  Ěɓ*Ȧ-?ɓ3Ǒɓ Ȉɓ3ǵcɓ                                     ĥĢɓ                         
                                                                                                                                                                                                    
                       Ħ["ɓ      *ɓ ɓɓ                                                                                                                         ©["ɓ
                               ;"Ɇ"ɓN )1ěɓ+ȷÀȠ¾-ɓÔ Ëɓ ©ª¾ɓƫcɓ ɓĲƃ§ɓ4$ɓ ɏËDɓEɓǊƚɓ Ǧ ɓZ¨Z §ɓ                                                                                      3
3gDɓŉǋ')bȸDċɓwCȿ")ɌɓĽ)TČɓ"ƕɓw"Ǽæɂgȋǈɓ ŨÅ)TNɓ ľ)Tɓ ŝg)čɓ ɓJǻ"Ȍ"TɓŕǧkCF)ñ'Ĝɓ                                                                                             Ŏàǔɓ āĪħĳąɓ
łņĿɓ




                                                                                                                                                                                           
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 3 of 240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 4 of 240



                                                                      22-60028-CR-WPD




                                                                        202b
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 5 of 240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 6 of 240



                                                                    22-60028-CR-WPD




                                                                      202c
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 7 of 240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 8 of 240


                                                                           22-60028-CR-WPD




                                                                             202d
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 9 of 240
       
                                     
         Case 0:22-cr-60028-WPD Document  74-1 Entered on FLSD Docket 09/09/2022 Page 10 of
                                                240
                                     Paycheck Protection Program                OMB Control No.: 3245-0407
                                                                   Borrower Application Form                                              Expiration Date: 09/30/2020


        Check One:           Sole proprietor   Partnership
                                                        (      C-Corp  S-Corp 
                                                                                       LLC                         DBA or Tradename if Applicable
                             Independent contractor  Eligible self-employed individual
                             501(c)(3) nonprofit  501(c)(19) veterans organization
                             Tribal business (sec. 31(b)(2)(C) of Small Business Act) Other

                                             Business Legal Name
      LUKE JOSELIN
                                               Business Address                                          Business TIN (EIN, SSN)           Business Phone
                                                                                                                3212                  ( )    -
                                                                                                                                     9543001445

      Coral Springs FL                                                                                       Primary Contact                Email Address
                                                                                                        Luke Joselin                 freelay21p@gmail.com


        Average Monthly Payroll:          $ 10802.33              x 2.5 + EIDL, Net of              $ 27005.00            Number of Employees: 1
                                                                  Advance (if Applicable)
                                                                  Equals Loan Request:
       Purpose of the loan
        (select more than one):            X Payroll տ
                                           ‫܆‬         X Lease / Mortgage Interest տ
                                                                                 X Utilities տOther (explain):__________________

                                                                  Applicant Ownership
      List all owners of 20% or more of the equity of the Applicant. Attach a separate sheet if necessary.

                        Owner Name                                Title               Ownership %    TIN (EIN, SSN)                     Address
      Luke Joselin                                    Owner                          100.00              3212                                   Coral Springs FL



                If questions (1) or (2) below are answered “Yes,” the loan will not be approved.
                                                                      Question                                                                          Yes      No
           1.     Is the Applicant or any owner of the Applicant presently suspended, debarred, proposed for debarment, declared ineligible,          
                  voluntarily excluded from participation in this transaction by any Federal department or agency, or presently involved in any
                  bankruptcy?
                                                                                                                                                      ‫܆‬
                                                                                                                                                       ‫܆‬


           2.     Has the Applicant, any owner of the Applicant, or any business owned or controlled by any of them, ever obtained a direct or          ‫܆܆‬
                                                                                                                                                        
                  guaranteed loan from SBA or any other Federal agency that is currently delinquent or has defaulted in the last 7 years and
                  caused a loss to the government?

           3.     Is the Applicant or any owner of the Applicant an owner of any other business, or have common management with, any other              ‫܆܆‬
                                                                                                                                                        
                  business? If yes, list all such businesses and describe the relationship on a separate sheet identified as addendum A.

           4.     Has the Applicant received an SBA Economic Injury Disaster Loan between January 31, 2020 and April 3, 2020? If yes,                   ‫܆܆‬
                                                                                                                                                        
                  provide details on a separate sheet identified as addendum B.

                If questions (5) or (6) are answered “Yes,” the loan will not be approved.
                                                                     Question                                                                 Yes          No
          5.       Is the Applicant (if an individual) or any individual owning 20% or more of the equity of the Applicant subject
                   to an indictment, criminal information, arraignment, or other means by which formal criminal charges are                   ‫܆‬
                                                                                                                                                           ‫܆‬
                   brought in any jurisdiction, or presently incarcerated, or on probation or parole?
                   Initial here to confirm your response to question 5 ĺ

          6.       Within the last 5 years, for any felony, has the Applicant (if an individual) or any owner of the Applicant 1)
                   been convicted; 2) pleaded guilty; 3) pleaded nolo contendere; 4) been placed on pretrial diversion; or 5) been
                   placed on any form of parole or probation (including probation before judgment)?
                                                                                                                                              ‫܆‬
                                                                                                                                                ‫܆‬
                   Initial here to confirm your response to question 6 ĺ

          7.       Is the United States the principal place of residence for all employees of the Applicant included in the
                   Applicant’s payroll calculation above?
                                                                                                                                             ‫܆‬             ‫܆‬
                                                                                                                                                            


          8.       Is the Applicant a franchise that is listed in the SBA’s Franchise Directory?
                                                                                                                                             ‫܆‬
                                                                                                                                                           ‫܆‬

                                                                                 1
   SBA Form 2483 (04/20)
       
                                      
          Case 0:22-cr-60028-WPD Document  74-1 Entered on FLSD Docket 09/09/2022 Page 11 of
                                                 240
                                      Paycheck Protection Program
                                                                Borrower Application Form

    By Signing Below, You Make the Following Representations, Authorizations, and Certifications

    CERTIFICATIONS AND AUTHORIZATIONS
    I certify that:
            x I have read the statements included in this form, including the Statements Required by Law and Executive Orders, and I understand them.
            x The Applicant is eligible to receive a loan under the rules in effect at the time this application is submitted that have been issued by the
                 Small Business Administration (SBA) implementing the Paycheck Protection Program under Division A, Title I of the Coronavirus
                 Aid, Relief, and Economic Security Act (CARES Act) (the Paycheck Protection Program Rule).
            x The Applicant (1) is an independent contractor, eligible self-employed individual, or sole proprietor or (2) employs no more
                 than the greater of 500 or employees or, if applicable, the size standard in number of employees established by the SBA in 13
                 C.F.R. 121.201 for the Applicant’s industry.
            x I will comply, whenever applicable, with the civil rights and other limitations in this form.
            x All SBA loan proceeds will be used only for business-related purposes as specified in the loan application and consistent with the
                 Paycheck Protection Program Rule.
            x To the extent feasible, I will purchase only American-made equipment and products.
            x The Applicant is not engaged in any activity that is illegal under federal, state or local law.
            x Any loan received by the Applicant under Section 7(b)(2) of the Small Business Act between January 31, 2020 and April 3, 2020 was
                 for a purpose other than paying payroll costs and other allowable uses loans under the Paycheck Protection Program Rule.

    For Applicants who are individuals: I authorize the SBA to request criminal record information about me from criminal justice agencies for the
    purpose of determining my eligibility for programs authorized by the Small Business Act, as amended.

    CERTIFICATIONS
    The authorized representative of the Applicant must certify in good faith to all of the below by initialing next to each one:

    _____      The Applicant was in operation on February 15, 2020 and had employees for whom it paid salaries and payroll taxes or paid independent
               contractors, as reported on Form(s) 1099-MISC.

    _____      Current economic uncertainty makes this loan request necessary to support the ongoing operations of the Applicant.

    _____      The funds will be used to retain workers and maintain payroll or make mortgage interest payments, lease payments, and utility payments,
               as specified under the Paycheck Protection Program Rule; I understand that if the funds are knowingly used for unauthorized purposes,
               the federal government may hold me legally liable, such as for charges of fraud.

    _____      The Applicant will provide to the Lender documentation verifying the number of full-time equivalent employees on the Applicant’s
               payroll as well as the dollar amounts of payroll costs, covered mortgage interest payments, covered rent payments, and covered utilities
               for the eight-week period following this loan.

    _____      I understand that loan forgiveness will be provided for the sum of documented payroll costs, covered mortgage interest payments,
               covered rent payments, and covered utilities, and not more than 25% of the forgiven amount may be for non-payroll costs.

    _____      During the period beginning on February 15, 2020 and ending on December 31, 2020, the Applicant has not and will not receive another
               loan under the Paycheck Protection Program.

    _____      I further certify that the information provided in this application and the information provided in all supporting documents and
               forms is true and accurate in all material respects. I understand that knowingly making a false statement to obtain a guaranteed loan
               from SBA is punishable under the law, including under 18 USC 1001 and 3571 by imprisonment of not more than five years and/or a
               fine of up to $250,000; under 15 USC 645 by imprisonment of not more than two years and/or a fine of not more than $5,000; and, if
               submitted to a federally insured institution, under 18 USC 1014 by imprisonment of not more than thirty years and/or a fine of not
               more than $1,000,000.

    _____      I acknowledge that the lender will confirm the eligible loan amount using required documents submitted. I understand,
               acknowledge and agree that the Lender can share any tax information that I have provided with SBA's authorized representatives,
               including authorized representatives of the SBA Office of Inspector General, for the purpose of compliance with SBA Loan
               Program Requirements and all SBA reviews.
                                                                                                      
     _________________________________________________________                                        ________________________
     Signature of Authorized Representative of Applicant                                              Date
                                                                                                  

     Print Name                                                                                       Title


                                                                             2
   SBA Form 2483 (04/20)
       
                                     
         Case 0:22-cr-60028-WPD Document  74-1 Entered on FLSD Docket 09/09/2022 Page 12 of
                                                240
                                     Paycheck Protection Program
                                                               Borrower Application Form


    Purpose of this form:

    This form is to be completed by the authorized representative of the Applicant and submitted to your SBA Participating Lender. Submission of
    the requested information is required to make a determination regarding eligibility for financial assistance. Failure to submit the information
    would affect that determination.

    Instructions for completing this form:

    With respect to “purpose of the loan,” payroll costs consist of compensation to employees (whose principal place of residence is the United
    States) in the form of salary, wages, commissions, or similar compensation; cash tips or the equivalent (based on employer records of past tips
    or, in the absence of such records, a reasonable, good-faith employer estimate of such tips); payment for vacation, parental, family, medical, or
    sick leave; allowance for separation or dismissal; payment for the provision of employee benefits consisting of group health care coverage,
    including insurance premiums, and retirement; payment of state and local taxes assessed on compensation of employees; and for an
    independent contractor or sole proprietor, wage, commissions, income, or net earnings from self-employment or similar compensation.

    For purposes of calculating “Average Monthly Payroll,” most Applicants will use the average monthly payroll for 2019, excluding costs over
    $100,000 on an annualized basis for each employee. For seasonal businesses, the Applicant may elect to instead use average monthly payroll
    for the time period between February 15, 2019 and June 30, 2019, excluding costs over $100,000 on an annualized basis for each employee.
    For new businesses, average monthly payroll may be calculated using the time period from January 1, 2020 to February 29, 2020, excluding
    costs over $100,000 on an annualized basis for each employee.

    If Applicant is refinancing an Economic Injury Disaster Loan (EIDL): Add the outstanding amount of an EIDL made between January 31, 2020
    and April 3, 2020, less the amount of any “advance” under an EIDL COVID-19 loan, to Loan Request as indicated on the form.

    All parties listed below are considered owners of the Applicant as defined in 13 CFR § 120.10, as well as “principals”:

       x For a sole proprietorship, the sole proprietor;
       x For a partnership, all general partners, and all limited partners owning 20% or more of the equity of the firm;
       x For a corporation, all owners of 20% or more of the corporation;
       x For limited liability companies, all members owning 20% or more of the company; and
       x Any Trustor (if the Applicant is owned by a trust).
     Paperwork Reduction Act – You are not required to respond to this collection of information unless it displays a currently valid OMB
     Control Number. The estimated time for completing this application, including gathering data needed, is 8 minutes. Comments about this time
     or the information requested should be sent to : Small Business Administration, Director, Records Management Division, 409 3rd St., SW,
     Washington DC 20416., and/or SBA Desk Officer, Office of Management and Budget, New Executive Office Building, Washington DC
     20503.
     Privacy Act (5 U.S.C. 552a) – Under the provisions of the Privacy Act, you are not required to provide your social security number. Failure to
     provide your social security number may not affect any right, benefit or privilege to which you are entitled. (But see Debt Collection Notice
     regarding taxpayer identification number below.) Disclosures of name and other personal identifiers are required to provide SBA with
     sufficient information to make a character determination. When evaluating character, SBA considers the person’s integrity, candor, and
     disposition toward criminal actions. Additionally, SBA is specifically authorized to verify your criminal history, or lack thereof, pursuant to
     section 7(a)(1)(B), 15 USC Section 636(a)(1)(B) of the Small Business Act (the Act).

      Disclosure of Information – Requests for information about another party may be denied unless SBA has the written permission of the
      individual to release the information to the requestor or unless the information is subject to disclosure under the Freedom of Information Act.
      The Privacy Act authorizes SBA to make certain “routine uses” of information protected by that Act. One such routine use is the disclosure of
      information maintained in SBA’s system of records when this information indicates a violation or potential violation of law, whether civil,
      criminal, or administrative in nature. Specifically, SBA may refer the information to the appropriate agency, whether Federal, State, local or
      foreign, charged with responsibility for, or otherwise involved in investigation, prosecution, enforcement or prevention of such violations.
      Another routine use is disclosure to other Federal agencies conducting background checks but only to the extent the information is relevant to
      the requesting agencies' function. See, 74 F.R. 14890 (2009), and as amended from time to time for additional background and other routine
      uses. In addition, the CARES Act, requires SBA to register every loan made under the Paycheck Protection Act using the Taxpayer
      Identification Number (TIN) assigned to the borrower.
      Debt Collection Act of 1982, Deficit Reduction Act of 1984 (31 U.S.C. 3701 et seq. and other titles) – SBA must obtain your taxpayer
      identification number when you apply for a loan. If you receive a loan, and do not make payments as they come due, SBA may: (1) report the
      status of your loan(s) to credit bureaus, (2) hire a collection agency to collect your loan, (3) offset your income tax refund or other amounts
      due to you from the Federal Government, (4) suspend or debar you or your company from doing business with the Federal Government, (5)
      refer your loan to the Department of Justice, or (6) foreclose on collateral or take other action permitted in the loan instruments.
      Right to Financial Privacy Act of 1978 (12 U.S.C. 3401) – The Right to Financial Privacy Act of 1978, grants SBA access rights to
      financial records held by financial institutions that are or have been doing business with you or your business including any financial

                                                                            3
   SBA Form 2483 (04/20)
       
                                     
         Case 0:22-cr-60028-WPD Document  74-1 Entered on FLSD Docket 09/09/2022 Page 13 of
                                                240
                                     Paycheck Protection Program
                                                                 Borrower Application Form
      institutions participating in a loan or loan guaranty. SBA is only required provide a certificate of its compliance with the Act to a financial
      institution in connection with its first request for access to your financial records. SBA's access rights continue for the term of any approved
      loan guaranty agreement. SBA is also authorized to transfer to another Government authority any financial records concerning an approved
      loan or loan guarantee, as necessary to process, service or foreclose on a loan guaranty or collect on a defaulted loan guaranty.
      Freedom of Information Act (5 U.S.C. 552) – Subject to certain exceptions, SBA must supply information reflected in agency files and
      records to a person requesting it. Information about approved loans that will be automatically released includes, among other things, statistics
      on our loan programs (individual borrowers are not identified in the statistics) and other information such as the names of the borrowers (and
      their officers, directors, stockholders or partners), the collateral pledged to secure the loan, the amount of the loan, its purpose in general terms
      and the maturity. Proprietary data on a borrower would not routinely be made available to third parties. All requests under this Act are to be
      addressed to the nearest SBA office and be identified as a Freedom of Information request.
     Occupational Safety and Health Act (15 U.S.C. 651 et seq.) – The Occupational Safety and Health Administration (OSHA) can require
     businesses to modify facilities and procedures to protect employees. Businesses that do not comply may be fined, forced to cease operations,
     or prevented from starting operations. Signing this form is certification that the applicant, to the best of its knowledge, is in compliance with
     the applicable OSHA requirements, and will remain in compliance during the life of the loan.
     Civil Rights (13 C.F.R. 112, 113, 117) – All businesses receiving SBA financial assistance must agree not to discriminate in any business
     practice, including employment practices and services to the public on the basis of categories cited in 13 C.F.R., Parts 112, 113, and 117 of
     SBA Regulations. All borrowers must display the "Equal Employment Opportunity Poster" prescribed by SBA.
     Equal Credit Opportunity Act (15 U.S.C. 1691) – Creditors are prohibited from discriminating against credit applicants on the basis of race,
     color, religion, national origin, sex, marital status or age (provided the applicant has the capacity to enter into a binding contract); because all
     or part of the applicant's income derives from any public assistance program; or because the applicant has in good faith exercised any right
     under the Consumer Credit Protection Act.
     Debarment and Suspension Executive Order 12549; (2 CFR Part 180 and Part 2700) – By submitting this loan application, you certify
     that neither the Applicant or any owner of the Applicant have within the past three years been: (a) debarred, suspended, declared ineligible or
     voluntarily excluded from participation in a transaction by any Federal Agency; (b) formally proposed for debarment, with a final
     determination still pending; (c) indicted, convicted, or had a civil judgment rendered against you for any of the offenses listed in the
     regulations or (d) delinquent on any amounts owed to the U.S. Government or its instrumentalities as of the date of execution of this
     certification.




                                                                               4
   SBA Form 2483 (04/20)
       
                                    
        Case 0:22-cr-60028-WPD Document  74-1 Entered on FLSD Docket 09/09/2022 Page 14 of
                                              240




                                                            Additional Owners (Continued)
      List additional owners of 20% or more of the equity of the Applicant.

                    Owner Name                              Title             Ownership %   TIN (EIN, SSN)   Address




   Additional Owners (Continued)
       
                                    
        Case 0:22-cr-60028-WPD Document  74-1 Entered on FLSD Docket 09/09/2022 Page 15 of
                                              240

                                                 +9  +.$0 0$"+.$.! $"
                         /IEjQ][ÂÂÁÃIIdQ[OZIgQE<[7]gXIgh+<QG<[GZdY]sIGEj]NjPI ./Ej

                                                             ¶¶¶¶
                                                     3520,6625<127(
                                  3/($6(6((,03257$17,1)250$7,21$%2877+,6/2$1%(/2:



    6%$/RDQ               


    'DWHRI/RDQ  

      /HJDO%XVLQHVV1DPH                              /RDQ$PRXQW   
      'RLQJ%XVLQHVV$V                                             ,QWHUHVW5DWH 
      %XVLQHVV$GGUHVV
                                                                     'DWHRI)LUVW3D\PHQW  
                                                                     /RDQ0DWXULW\'DWH   
       ')$()"& *




                               
    )259$/8(5(&(,9('BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB               WKH³%RUURZHU´ KHUHE\SURPLVHVWRSD\DVQHFHVVDU\DQGLQ
    DFFRUGDQFHZLWKWKH3D\FKHFN3URWHFWLRQ3URJUDPXQGHU&)53DUW WKH³333´ WRWKHRUGHURI&(/7,&%$1.&25325$7,21
                                                                                                            
     ³&HOWLF%DQN´ RUVXEVHTXHQWKROGHUVRIWKLV3URPLVVRU\1RWH WKLV³1RWH´ WKHSULQFLSDODPRXQWRIBBBBBBBBBBBBBBBBBBB'ROODUV
     WKH´/RDQ´ WRJHWKHUZLWKDOODFFUXHGLQWHUHVWWKHUHRQZKLFKDPRXQWVKDOOQRWH[FHHGSHUDQQXPDVSURYLGHGLQWKLV1RWH

    $VVLJQDEOH7KLV1RWHPD\EHDVVLJQHGRUWUDQVIHUUHGE\&HOWLF%DQNRUDQ\VXEVHTXHQWKROGHURIWKH1RWHWRDQ\LQGLYLGXDOFRUSRUDWLRQ
    FRPSDQ\OLPLWHGOLDELOLW\FRPSDQ\WUXVWMRLQWYHQWXUHDVVRFLDWLRQSDUWQHUVKLSXQLQFRUSRUDWHGRUJDQL]DWLRQJRYHUQPHQWDODXWKRULW\RU
    RWKHUHQWLW\ZLWKRXWWKHSULRUFRQVHQWRIRUQRWLFHWRDQ\RWKHUSHUVRQ

    0DWXULW\'DWH8QOHVVIRUJLYHQLQZULWLQJRURWKHUZLVHPRGLILHGLQFRPSOLDQFHZLWKWKHWHUPVRIWKH333RURWKHUDSSOLFDEOH6%$
                                             
    UHTXLUHPHQWVWKLV/RDQPDWXUHVRQBBBBBBBBBBBBBBBBB       ³0DWXULW\'DWH´ 
    8VHRI3URFHHGV%RUURZHUVKDOOXVHWKHSURFHHGVRIWKLVORDQRQO\IRUHOLJLEOHH[SHQVHVXQGHUWKHWHUPVRIWKH3337KH%RUURZHUVKDOO
    XVHWKHIXQGVUHFHLYHGXQGHUWKLV1RWHIRUEXVLQHVVSXUSRVHVRQO\DQGQRWIRUSHUVRQDOIDPLO\RUKRXVHKROGSXUSRVHV7KH%RUURZHU
    XQGHUVWDQGVWKDWWKLVLVQRWDFRQVXPHUORDQDQGWKDWVWDWXWRU\DQGUHJXODWRU\SURWHFWLRQVIRUFRQVXPHUVZLOOQRWDSSO\WRWKLV/RDQ

                                                                                          
    5HSD\PHQW5HTXLUHPHQWV%RUURZHUPXVWSD\SULQFLSDODQGLQWHUHVWSD\PHQWVRI>BBBBBBBBBBBBBBB@HYHU\PRQWKEHJLQQLQJRQ
    BBBBBBBBBBBBBBB
               RUWKHLPPHGLDWHO\IROORZLQJEXVLQHVVGD\LIVXFKGD\LVQRWDEXVLQHVVGD\DQGZKLFKGDWHUHIOHFWVDQDXWRPDWLF
                                                                                                                     
    VL[PRQWKGHIHUUDOIURPWKHGDWHRIWKLV/RDQ DQGHQGLQJRQWKH0DWXULW\'DWH3D\PHQWVPXVWEHPDGHRQWKHBBBBBBBBB      RUWKH
    LPPHGLDWHO\IROORZLQJEXVLQHVVGD\LIVXFKGD\LVQRWDEXVLQHVVGD\ LQWKHPRQWKVWKH\DUHGXHDQGEHPDGHLQ86GROODUV7KHVH
    SD\PHQWVZLOOEHDXWRPDWLFDOO\GHELWHGIURPWKH%RUURZHU¶VEDQNDFFRXQWSURYLGHGWR&HOWLF%DQN ³/LQNHG%DQN$FFRXQW´ 
    %RUURZHU¶VUHSD\PHQWREOLJDWLRQZLOOEHUHGXFHGE\WKHDPRXQWRIDQ\ORDQIRUJLYHQHVVJUDQWHGXQGHUWKHWHUPVRIWKH333<RXU
    ILQDOSD\PHQWRQWKH0DWXULW\'DWHPD\YDU\E\XSWRIURP\RXUUHJXODUSD\PHQWDPRXQWDQG\RXDJUHHWRZDLYHDQ\VSHFLDO
    QRWLFHUHTXLUHPHQWVIRUWKLVSD\PHQWYDULDQFH

    /RDQ )RUJLYHQHVV %RUURZHU PD\ DSSO\ WR /HQGHU IRU IRUJLYHQHVV RI WKH DPRXQW GXH RQ WKLV ORDQ LQ DQ DPRXQW HTXDO WR WKH VXP RI WKH
    IROORZLQJFRVWVLQFXUUHGE\%RUURZHUGXULQJWKHZHHNSHULRGEHJLQQLQJRQWKHGDWHRIILUVWGLVEXUVHPHQWRIWKLVORDQ

         D       3D\UROOFRVWV
         E       $Q\ SD\PHQW RI LQWHUHVW RQ D FRYHUHG PRUWJDJH REOLJDWLRQ ZKLFK VKDOO QRW LQFOXGH DQ\ SUHSD\PHQW RI RU SD\PHQW RI SULQFLSDO
                  RQDFRYHUHGPRUWJDJHREOLJDWLRQ
         F       $Q\SD\PHQWRQDFRYHUHGUHQWREOLJDWLRQ
         G       $Q\FRYHUHGXWLOLW\SD\PHQW

         7KH DPRXQW RI ORDQ IRUJLYHQHVV VKDOO EH FDOFXODWHG DQG PD\ EH UHGXFHG LQ DFFRUGDQFH ZLWK WKH UHTXLUHPHQWV RI WKH 3D\FKHFN
         3URWHFWLRQ 3URJUDP LQFOXGLQJ WKH SURYLVLRQV RI 6HFWLRQ  RI WKH &RURQDYLUXV $LG 5HOLHI DQG (FRQRPLF 6HFXULW\ $FW &$5(6 $FW
          3/ 1RWPRUHWKDQRIWKHDPRXQWIRUJLYHQFDQEHDWWULEXWDEOHWRQRQSD\UROOFRVWV

                                                  ),1$/&(/7,&%$1.333/2$1127(
                                                                  3DJHRI
       
                                    
        Case 0:22-cr-60028-WPD Document  74-1 Entered on FLSD Docket 09/09/2022 Page 16 of
                                              240

         %RUURZHU KDV UHFHLYHG DQ (,'/ DGYDQFH LQ WKH DPRXQW RI                            ZKLFK DPRXQW VKDOO EH VXEWUDFWHG IURP WKH ORDQ
         IRUJLYHQHVVDPRXQW

     /RDQ 3UHSD\PHQW 1RWZLWKVWDQGLQJ DQ\ SURYLVLRQ LQ WKLV 1RWH WR WKH FRQWUDU\ %RUURZHU PD\ SUHSD\ WKLV 1RWH DW DQ\ WLPH ZLWKRXW
     SHQDOW\ %RUURZHU PD\ SUHSD\  SHUFHQW RU OHVV RI WKH XQSDLG SULQFLSDO EDODQFH DW DQ\ WLPH ZLWKRXW QRWLFH ,I %RUURZHU SUHSD\V PRUH
     WKDQ  SHUFHQW DQG WKH /RDQ KDV EHHQ VROG RQ WKH VHFRQGDU\ PDUNHW %RUURZHU PXVW D *LYH /HQGHU ZULWWHQ QRWLFH E 3D\ DOO
     DFFUXHG LQWHUHVW DQG F ,I WKH SUHSD\PHQW LV UHFHLYHG OHVV WKDQ  GD\V IURP WKH GDWH /HQGHU UHFHLYHG WKH QRWLFH SD\ DQ DPRXQW
     HTXDO WR  GD\V LQWHUHVW IURP WKH GDWH OHQGHU UHFHLYHG WKH QRWLFH OHVV DQ\ LQWHUHVW DFFUXHG GXULQJ WKH  GD\V DQG SDLG XQGHU E RI
     WKLV SDUDJUDSK ,I %RUURZHU GRHV QRW SUHSD\ ZLWKLQ  GD\V IURP WKH GDWH /HQGHU UHFHLYHG WKH QRWLFH %RUURZHU PXVW JLYH /HQGHU D
     QHZQRWLFH


    0DQQHU RI 3D\PHQW $OO SD\PHQWV RI SULQFLSDO DQG LQWHUHVW VKDOO EH PDGH LQ 86 GROODUV RQ WKH GDWH RQ ZKLFK VXFK SD\PHQW LV GXH 6XFK
    SD\PHQWV VKDOO EH PDGH E\ $&+ FDVKLHU¶V FKHFN FHUWLILHG FKHFN RU ZLUH WUDQVIHU RI LPPHGLDWHO\ DYDLODEOH IXQGV WR WKH KROGHU RI WKH
    1RWH¶V ³1RWHKROGHU´ DFFRXQW DW D EDQN VSHFLILHG E\ &HOWLF %DQN RU LWV DVVLJQHHV LQ ZULWLQJ WR WKH %RUURZHU IURP WLPH WR WLPH )RU
    SXUSRVHV RI WKLV 1RWH WKH WHUP 1RWHKROGHU VKDOO UHIHU WR WKH RULJLQDO 1RWHKROGHU DQ\ DJHQW RI WKH 1RWHKROGHU RU DQ\ DVVLJQHH RU
    VXEVHTXHQWKROGHURIWKH1RWH

    $&+ $XWKRUL]DWLRQ 7KH %RUURZHU DXWKRUL]HV &HOWLF %DQN RU DQ\ 1RWHKROGHU WR FUHGLW WKH /LQNHG %DQN $FFRXQW ZLWK WKH %RUURZHU¶V /RDQ
    DPRXQW RU ZKHUH RWKHUZLVH UHTXLUHG IRU VHUYLFLQJ RI WKLV /RDQ 7KH %RUURZHU DOVR DXWKRUL]HV WKH 1RWHKROGHU WR DXWRPDWLFDOO\ GHELW DQ\
    SD\PHQWV GXH SXUVXDQW WR WKH WHUPV RI WKLV 1RWH ,I WKH %RUURZHU GHFLGHV WR SUHSD\ WKLV /RDQ WKH %RUURZHU DXWKRUL]HV WKH 1RWHKROGHU
    WR GHELW DQ\ /LQNHG %DQN $FFRXQW ,I DQ\ GHELW DWWHPSW WR WKH /LQNHG %DQN $FFRXQW IDLOV WKH %RUURZHU JUDQWV 1RWHKROGHU DW HDFK
    LQVWDQFH D QHZ RULJLQDO DXWKRUL]DWLRQ WR PDNH QHZ GHELW DWWHPSWV LQ DQ DPRXQW OHVV WKDQ WKH DPRXQW WKHQ FXUUHQWO\ GXH RU DQ DPRXQW
    UHGXFHG IURP WKH SUHYLRXV GHELW IURP WKH /LQNHG %DQN $FFRXQW 7KH %RUURZHU DFNQRZOHGJHV DQG DJUHHV WR EH ERXQG E\ 1$&+$¶V
    UXOHVIRUEXVLQHVVUHODWHG$&+GHELWVDQGFUHGLWV

    3UHSD\PHQW1RSUHSD\PHQWSHQDOW\ZLOOEHDVVHVVHG

    ,QWHUHVW 3ULQFLSDO DPRXQWV RXWVWDQGLQJ XQGHU WKLV 1RWH VKDOO EHDU LQWHUHVW DW D UDWH SHU DQQXP WKH ³,QWHUHVW 5DWH´ HTXDO WR  $OO
    FRPSXWDWLRQV RI LQWHUHVW KHUHXQGHU VKDOO EH PDGH RQ WKH EDVLV RI D \HDU RI  DQG WKH DFWXDO QXPEHU RI GD\V HODSVHG ,QWHUHVW
    VKDOO EHJLQ WR DFFUXH RQ WKH /RDQ RQ WKH GDWH RI WKLV 1RWH 2Q DQ\ SRUWLRQ RI WKH /RDQ WKDW LV UHSDLG LQWHUHVW VKDOO QRW DFFUXH RQ WKH
    GDWHRQZKLFKVXFKSD\PHQWLVPDGH

    (YHQWV RI 'HIDXOW ZLWK 5HVSHFW WR $PRXQWV 'XH 7KH RFFXUUHQFH DQG FRQWLQXDQFH RI DQ\ RI WKH IROORZLQJ VKDOO FRQVWLWXWH DQ ³(YHQW RI
    'HIDXOW´ KHUHXQGHU ZLWK UHVSHFW WR DQ\ DPRXQWV GXH IURP WKH %RUURZHU XQGHU WKLV /RDQ WKDW DUH QRW IRUJLYHQ XQGHU WKH WHUPV RI WKH
    333 WKH ³1RQIRUJLYHQ $PRXQW´  %RUURZHU IDLOV WR SD\ L DQ\ SULQFLSDO DPRXQW RI WKH 1RQIRUJLYHQ $PRXQW RI WKH /RDQ ZKHQ GXH LL
    DQ\ LQWHUHVW RQ WKH 1RQIRUJLYHQ $PRXQW RI WKH /RDQ ZLWKLQ ILYH  GD\V DIWHU WKH GDWH VXFK DPRXQW LV GXH RU LLL DQ\ RWKHU 1RQIRUJLYHQ
    $PRXQWGXHKHUHXQGHUZLWKLQWHQ  GD\VDIWHUVXFKDPRXQWLVGXH

    5HPHGLHV8SRQWKHRFFXUUHQFHDQGGXULQJWKHFRQWLQXDQFHRIDQ(YHQWRI'HIDXOW1RWHKROGHUPD\DWLWVRSWLRQE\ZULWWHQQRWLFHWR
    WKH%RUURZHUGHFODUHWKHRXWVWDQGLQJSULQFLSDODPRXQWRIWKH1RQIRUJLYHQ$PRXQWRIWKH/RDQDFFUXHGDQGXQSDLGLQWHUHVWWKHUHRQ
    DQGDOORWKHUDPRXQWVSD\DEOHKHUHXQGHULPPHGLDWHO\GXHDQGSD\DEOH

    ,QGHPQLILFDWLRQ7KH%RUURZHUZLOOLQGHPQLI\DQGKROGKDUPOHVV&HOWLF%DQNDQGDQ\1RWHKROGHU DQGWKHLUUHVSHFWLYHHPSOR\HHV
    GLUHFWRUVDJHQWVDIILOLDWHVDQGUHSUHVHQWDWLYHV IURPDQGDJDLQVWDQ\FRVWORVVRUOLDELOLW\LQFOXGLQJLQWHUHVWSHQDOWLHVUHDVRQDEOH
    DWWRUQH\V IHHVDQGH[SHQVHVUHVXOWLQJIURPWKH%RUURZHU¶VPLVUHSUHVHQWDWLRQLQWKHDSSOLFDWLRQIRUWKLV/RDQRURWKHUZLVHRUEUHDFKRI
    ZDUUDQW\GHIDXOWRUEUHDFKRIDQ\FRYHQDQWLQWKLV1RWH

    1RWLFHV$OOQRWLFHVDQGRWKHUFRPPXQLFDWLRQVUHODWLQJWRWKLV1RWHVKDOOEHLQZULWLQJDQGVKDOOEHGHHPHGJLYHQXSRQWKHILUVWWRRFFXU
    RI D GHSRVLWZLWKRYHUQLJKWFRXULHUVHUYLFHSURSHUO\DGGUHVVHGDQGVKLSSLQJSUHSDLG E WUDQVPLWWDOE\HPDLOSURSHUO\DGGUHVVHG ZLWK
    ZULWWHQDFNQRZOHGJPHQWIURPWKHLQWHQGHGUHFLSLHQWVXFKDV³UHWXUQUHFHLSWUHTXHVWHG´IXQFWLRQUHWXUQHPDLORURWKHUZULWWHQ
    DFNQRZOHGJPHQW RU F DFWXDOUHFHLSWE\DQHPSOR\HHRUDJHQWRIWKHRWKHUSDUW\1RWLFHVKHUHXQGHUVKDOOEHVHQWWRWKHIROORZLQJ
    DGGUHVVHVRUWRVXFKRWKHUDGGUHVVDVVXFKSDUW\VKDOOVSHFLI\LQZULWLQJ

    ,IWRWKH%RUURZHU

     1DPH ,#'*$"&                                                 $GGUHVV
                                                                                                           ')$()"& *

     3KRQH
                                                                  $WWHQWLRQ

                                                                       (PDLO )$.( %"$'%

                                                   ),1$/&(/7,&%$1.333/2$1127(
                                                                   3DJHRI
       
                                    
        Case 0:22-cr-60028-WPD Document  74-1 Entered on FLSD Docket 09/09/2022 Page 17 of
                                              240




    ,IWR&HOWLF%DQN

     1DPH%OXH9LQH3URFHVVRUDQG6HUYLFHUIRU&HOWLF%DQN           $GGUHVV
                                                                       5HGZRRG&LW\&$

     3KRQH                                               (PDLOFDUHV#EOXHYLQHFRP



    5HSUHVHQWDWLRQVDQG:DUUDQWLHV7KH%RUURZHUUHSUHVHQWVDQGZDUUDQWVWRWKH1RWHKROGHUDVIROORZV


             ([LVWHQFH7KH%RUURZHULVDDQ>LQGLYLGXDOFRUSRUDWLRQOLPLWHGOLDELOLW\FRPSDQ\SDUWQHUVKLS@GXO\LQFRUSRUDWHGRUIRUPHGDV
             DSSOLFDEOHYDOLGO\H[LVWLQJDQGLQJRRGVWDQGLQJXQGHUWKHODZVRIWKHVWDWHRILWVRUJDQL]DWLRQ7KH%RUURZHUKDVWKHUHTXLVLWH
             SRZHUDQGDXWKRULW\WRRZQOHDVHDQGRSHUDWHLWVSURSHUW\DQGWRFDUU\RQLWVEXVLQHVV


             &RPSOLDQFHZLWK/DZ7KH%RUURZHULVLQFRPSOLDQFHZLWKDOOODZVVWDWXWHVRUGLQDQFHVUXOHVDQGUHJXODWLRQVDSSOLFDEOHWRRU
             ELQGLQJRQWKH%RUURZHULWVSURSHUW\DQGEXVLQHVV


             3RZHUDQG$XWKRULW\7KH%RUURZHUKDVWKHUHTXLVLWHSRZHUDQGDXWKRULW\WRH[HFXWHGHOLYHUDQGSHUIRUPLWVREOLJDWLRQVXQGHU
             WKLV1RWH

             $XWKRUL]DWLRQ ([HFXWLRQ DQG 'HOLYHU\ 7KH H[HFXWLRQ DQG GHOLYHU\ RI WKLV 1RWH E\ WKH %RUURZHU DQG WKH SHUIRUPDQFH RI LWV
             REOLJDWLRQV KHUHXQGHU KDYH EHHQ GXO\ DXWKRUL]HG E\ DOO QHFHVVDU\ FRPSDQ\ DFWLRQ LQ DFFRUGDQFH ZLWK DSSOLFDEOH ODZ 7KH
             %RUURZHUKDVGXO\H[HFXWHGDQGGHOLYHUHGWKLV1RWH

             ,QIRUPDWLRQ LV 7UXH DQG $FFXUDWH 7KH LQIRUPDWLRQ SURYLGHG LQ DOO VXSSRUWLQJ GRFXPHQWV DQG IRUPV WR REWDLQ WKLV /RDQ LV WUXH
             DQG DFFXUDWH LQ DOO PDWHULDO UHVSHFWV 7KH %RUURZHU DQG DQ\ LQGLYLGXDO ZKR SURYLGHG LQIRUPDWLRQ IRU WKH DSSOLFDWLRQ RI WKLV
             /RDQ XQGHUVWDQGV WKDW NQRZLQJO\ PDNLQJ D IDOVH VWDWHPHQW WR REWDLQ WKLV ORDQ IURP 6%$ LV SXQLVKDEOH XQGHU WKH ODZ LQFOXGLQJ
             XQGHU  86&  DQG  E\ LPSULVRQPHQW RI QRW PRUH WKDQ ILYH \HDUV DQGRU D ILQH RI XS WR  XQGHU  86& 
             E\ LPSULVRQPHQW RI QRW PRUH WKDQ WZR \HDUV DQGRU D ILQH RI QRW PRUH WKDQ  DQG LI VXEPLWWHG WR D IHGHUDOO\ LQVXUHG
             LQVWLWXWLRQXQGHU86&E\LPSULVRQPHQWRIQRWPRUHWKDQWKLUW\\HDUVDQGRUDILQHRIQRWPRUHWKDQ

    *RYHUQLQJ /DZ 7KLV 1RWH DQG DQ\ FODLP FRQWURYHUV\ GLVSXWH RU FDXVH RI DFWLRQ ZKHWKHU LQ FRQWUDFW WRUW RU RWKHUZLVH EDVHG RQ
    DULVLQJ RXW RI RU UHODWLQJ WR WKLV 1RWH DQG WKH WUDQVDFWLRQV FRQWHPSODWHG KHUHE\ VKDOO EH JRYHUQHG E\ DQG FRQVWUXHG LQ DFFRUGDQFH ZLWK
    WKHODZVRIWKH6WDWHRI8WDKDQGRUDOODSSOLFDEOHIHGHUDOUHJXODWLRQVXQGHUWKH333/RDQSURJUDP

    :KHQ 6%$ LV WKH KROGHU RU LQ WKH HYHQW RI WUDQVIHU RI WKLV 1RWH WKLV 1RWH ZLOO EH LQWHUSUHWHG DQG HQIRUFHG XQGHU )HGHUDO ODZ LQFOXGLQJ
    6%$ UHJXODWLRQV 7KH 1RWHKROGHU RU 6%$ PD\ XVH VWDWH RU ORFDO SURFHGXUHV IRU ILOLQJ SDSHUV UHFRUGLQJ GRFXPHQWV JLYLQJ QRWLFH
    IRUHFORVLQJ OLHQV DQG RWKHU SXUSRVHV %\ XVLQJ VXFK SURFHGXUHV 6%$ GRHV QRW ZDLYH DQ\ )HGHUDO LPPXQLW\ IURP VWDWH RU ORFDO FRQWURO
    SHQDOW\ WD[ RU OLDELOLW\ $V WR WKLV 1RWH WKH %RUURZHU PD\ QRW FODLP RU DVVHUW DJDLQVW 6%$ DQ\ ORFDO RU VWDWH ODZ WR GHQ\ DQ\ REOLJDWLRQ
    GHIHDWDQ\FODLPRI6%$RUSUHHPSW)HGHUDOODZ

    %,1',1*$5%,75$7,218QOHVV6%$LVWKHKROGHURIWKLV1RWHWKH1RWHKROGHUDQGWKH%RUURZHULUUHYRFDEO\DQGXQFRQGLWLRQDOO\DJUHHWR
    DUELWUDWHDOOGLVSXWHVDULVLQJXQGHURULQFRQQHFWLRQZLWKWKLV$JUHHPHQWE\DQHXWUDODUELWUDWRUZKRKDVWKHSRZHUWRDZDUGWKHVDPH
    GDPDJHVDQGUHOLHIWKDWDFRXUWFDQ$1<$5%,75$7,2181'(57+,6$*5((0(17:,//21/<%(21$1,1',9,'8$/%$6,6
    &/$66$5%,75$7,216&/$66$&7,2165(35(6(17$7,9($&7,216$1'&2162/,'$7,21:,7+27+(5$5%,75$7,216
    $5(1273(50,77('7+(%2552:(5+(5(%<,55(92&$%/<:$,9(6727+()8//(67(;7(173(50,77('%<
    $33/,&$%/(/$:$1<5,*+7,70$<+$9(72$75,$/%<-85<,1$1</(*$/352&((',1*',5(&7/<25,1',5(&7/<
    5(/$7,1*727+,6127(257+(75$16$&7,216&217(03/$7('+(5(%<:+(7+(5%$6('21&2175$&7725725
    $1<27+(57+(25<7+(%2552:(5:$,9(6$1<5,*+7723$57,&,3$7(,1$&/$66$&7,21$*$,1677+(
    127(+2/'(5 25$1<2)7+(,55(63(&7,9($66,*1((625$*(176,IDQ\SURYLVLRQRIWKLVDUELWUDWLRQDJUHHPHQWLVIRXQG
    XQHQIRUFHDEOHWKHXQHQIRUFHDEOHSURYLVLRQZLOOEHVHYHUHGDQGWKHUHPDLQLQJDUELWUDWLRQWHUPVZLOOEHHQIRUFHG EXWLQQRFDVHZLOOWKHUH
    EHDFODVVDUELWUDWLRQ $OOGLVSXWHVZLOOEHUHVROYHGILQDOO\DQGH[FOXVLYHO\E\ELQGLQJLQGLYLGXDODUELWUDWLRQZLWKDVLQJOHDUELWUDWRU
    DGPLQLVWHUHGE\WKH$PHULFDQ$UELWUDWLRQ$VVRFLDWLRQ ZZZDGURUJ DFFRUGLQJWRWKLV6HFWLRQDQGWKHDSSOLFDEOHDUELWUDWLRQUXOHVIRUWKDW
    IRUXP7KHDUELWUDWRUZLOOEHUHVSRQVLEOHIRUGHWHUPLQLQJDOOWKUHVKROGDUELWUDELOLW\LVVXHVLQFOXGLQJLVVXHVUHODWLQJWRZKHWKHUWKLV1RWHLV
    XQFRQVFLRQDEOHRULOOXVRU\DQGDQ\GHIHQVHWRDUELWUDWLRQLQFOXGLQJZDLYHUGHOD\ODFKHVRUHVWRSSHO7KH)HGHUDO$UELWUDWLRQ$FW86&
    IXOO\DSSOLHV$Q\DUELWUDWLRQKHDULQJZLOORFFXULQ6DQ)UDQFLVFR&DOLIRUQLDRURWKHUPXWXDOO\DJUHHDEOHORFDWLRQ7KHDUELWUDWRU¶V
    DZDUGZLOOEHELQGLQJRQWKHSDUWLHVDQGPD\EHHQWHUHGDVDMXGJPHQWLQDQ\FRXUWRIFRPSHWHQWMXULVGLFWLRQ)RUDQ\GLVSXWHDJDLQVW
                                                   ),1$/&(/7,&%$1.333/2$1127(
                                                                   3DJHRI
       
                                    
        Case 0:22-cr-60028-WPD Document  74-1 Entered on FLSD Docket 09/09/2022 Page 18 of
                                              240

    1RWHKROGHU1RWHKROGHUZLOOSD\DOOWKHDUELWUDWLRQIHHV,IWKH%RUURZHUSUHYDLOVRQDQ\FODLPIRUZKLFKWKH%RUURZHULVOHJDOO\HQWLWOHGWR
    DWWRUQH\¶VIHHVWKH%RUURZHUPD\VHHNWRUHFRYHUWKRVHIHHVLQWKHDUELWUDWLRQ)RUDQ\FODLPZKHUHWKH%RUURZHULVVHHNLQJUHOLHIWKH
    1RWHKROGHUZLOOQRWVHHNWRKDYHWKH%RUURZHUSD\WKH1RWHKROGHU¶VDWWRUQH\¶VIHHVHYHQLIIHHVPLJKWRWKHUZLVHEHDZDUGHGXQOHVVWKH
    DUELWUDWRUGHWHUPLQHVWKDWWKH%RUURZHU¶VFODLPZDVIULYRORXV)RUSXUSRVHVRIWKLVDUELWUDWLRQSURYLVLRQUHIHUHQFHVWRWKH%RUURZHURUWKH
    1RWHKROGHUDOVRLQFOXGHUHVSHFWLYHVXEVLGLDULHVDIILOLDWHVDJHQWVHPSOR\HHVSUHGHFHVVRUVVXFFHVVRUVDQGDVVLJQVDVZHOODVDXWKRUL]HG
    XVHUVRUEHQHILFLDULHVRIWKH3333URJUDP6XEMHFWWRDQGZLWKRXWZDLYHURIWKHDUELWUDWLRQSURYLVLRQVDERYHWKH%RUURZHUDJUHHVWKDWDQ\
    MXGLFLDOSURFHHGLQJVZLOOEHEURXJKWLQDQGWKH%RUURZHUFRQVHQWVWRWKHH[FOXVLYHMXULVGLFWLRQDQGYHQXHLQWKHVWDWHFRXUWVLQWKH&LW\DQG
    &RXQW\RI6DOW/DNH8WDKRUIHGHUDOFRXUWIRUWKH1RUWKHUQ'LVWULFWRI8WDK

    ,QWHJUDWLRQ 7KLV 1RWH FRQVWLWXWHV WKH HQWLUH FRQWUDFW EHWZHHQ WKH %RUURZHU DQG &HOWLF %DQN ZLWK UHVSHFW WR WKH VXEMHFW PDWWHU KHUHRI
    DQGVXSHUVHGHVDOOSUHYLRXVDJUHHPHQWVDQGXQGHUVWDQGLQJVRUDORUZULWWHQZLWKUHVSHFWWKHUHWR

    $PHQGPHQWV DQG :DLYHUV 1R WHUP RI WKLV 1RWH PD\ EH ZDLYHG PRGLILHG RU DPHQGHG H[FHSW E\ DQ LQVWUXPHQW LQ ZULWLQJ VLJQHG E\ WKH
    %RUURZHU DQG WKH 1RWHKROGHU $Q\ ZDLYHU RI WKH WHUPV KHUHRI VKDOO EH HIIHFWLYH RQO\ LQ WKH VSHFLILF LQVWDQFH DQG IRU WKH VSHFLILF SXUSRVH
    JLYHQ

    &RQVHQW WR 8VH (OHFWURQLF 6LJQDWXUH ,Q RUGHU WR UHFHLYH WKH /RDQ DPRXQW &HOWLF %DQN PXVW SURYLGH WKH %RUURZHU FHUWDLQ GLVFORVXUHV
    UHTXLUHG E\ ODZ %\ VXEPLWWLQJ WKH %RUURZHU¶V DSSOLFDWLRQ DQG DJUHHLQJ WR WKH WHUPV RI WKLV 1RWH ZKLFK WKH %RUURZHU FROOHFWLYHO\ DGRSWV
    DV LWV HOHFWURQLF VLJQDWXUH WKH %RUURZHU FRQVHQWV DQG DJUHHV WKDW L &HOWLF %DQN DQG DQ\ 1RWHKROGHU FDQ SURYLGH DOO GLVFORVXUHV
    UHTXLUHG E\ ODZ DQG RWKHU LQIRUPDWLRQ DERXW WKH %RUURZHU¶V OHJDO ULJKWV DQG GXWLHV WR WKH %RUURZHU HOHFWURQLFDOO\ LQFOXGLQJ E\ HPDLO D
    :HEVLWH SRUWDO RU PRELOH SKRQH DSSOLFDWLRQ LL WKH %RUURZHU¶V HOHFWURQLF VLJQDWXUH RQ DJUHHPHQWV DQG GRFXPHQWV KDV WKH VDPH HIIHFW
    DV LI WKH %RUURZHU VLJQHG WKHP LQ LQN DQG LV HYLGHQFH RI WKH %RUURZHU¶V LQWHQWLRQ WR EH ERXQG E\ WKLV 1RWH LLL (OHFWURQLF GLVFORVXUHV
    KDYH WKH VDPH PHDQLQJ DQG HIIHFW DV LI WKH %RUURZHU ZHUH SURYLGHG SDSHU GLVFORVXUHV LY 'LVFORVXUHV DUH FRQVLGHUHG UHFHLYHG E\ WKH
    %RUURZHU ZLWKLQ  KRXUV RI WKH WLPH SRVWHG WR &HOWLF %DQN¶V RU DQ\ 1RWHKROGHU¶V ZHEVLWH RU ZLWKLQ  KRXUV RI WKH WLPH HPDLOHG WR WKH
    %RUURZHU XQOHVV &HOWLF %DQN RU 1RWHKROGHU UHFHLYHV QRWLFH WKDW WKH HPDLO ZDV QRW GHOLYHUHG Y &HOWLF %DQN RU 1RWHKROGHU UHVHUYHV WKH
    ULJKW WR FDQFHO WKLV HOHFWURQLF GLVFORVXUH VHUYLFH FKDQJH WKH WHUPV RI XVH RI WKLV VHUYLFH RU VHQG GLVFORVXUHV LQ SDSHU IRUP DW DQ\ WLPH
     YL &HOWLF %DQN RU 1RWHKROGHU LV UHVSRQVLEOH IRU VHQGLQJ QRWLFH RI WKH GLVFORVXUHV WR WKH %RUURZHU HOHFWURQLFDOO\ EXW &HOWLF %DQN RU
    1RWHKROGHU DUH QRW UHVSRQVLEOH IRU DQ\ GHOD\ RU IDLOXUH LQ WKH %RUURZHU¶V UHFHLSW RU UHYLHZ RI WKH HPDLO QRWLFHV 7KH %RUURZHU DJUHHV
    DQG FRQILUPV WKDW WKH %RUURZHU KDV DFFHVV WR WKH QHFHVVDU\ HTXLSPHQW WR UHFHLYH DFFHVV DQG SULQW DQ\ GLVFORVXUHV WKDW PD\ EH
    SURYLGHG LQ HOHFWURQLF IRUP 7KH %RUURZHU ZLOO QRW VHHN WR ZLWKGUDZ WKH %RUURZHU¶V FRQVHQW IRU HOHFWURQLF VLJQDWXUH DQG GLVFORVXUHV
    ZKLOHWKH%RUURZHUKDVDQRXWVWDQGLQJ/RDQEDODQFH

    $FFHVV WR 'LVFORVXUHV 7KH %RUURZHU XQGHUVWDQGV WKDW LQ RUGHU WR DFFHVV DQG UHWDLQ WKH HOHFWURQLF GLVFORVXUHV WKH %RUURZHU ZLOO QHHG
    WKH IROORZLQJ L $ FRPSXWHU RU PRELOH GHYLFH ZLWK ,QWHUQHW RU PRELOH FRQQHFWLYLW\ LL )RU GHVNWRS ZHEVLWHEDVHG &RPPXQLFDWLRQV D
    /DWHVW ZHE EURZVHU WKDW LQFOXGHV ELW HQFU\SWLRQ E 7KH EURZVHU PXVW KDYH FRRNLHV HQDEOHG 8VH RI EURZVHU H[WHQVLRQV PD\
    LPSDLU IXOO ZHEVLWH IXQFWLRQDOLW\ F 0LQLPXP UHFRPPHQGHG EURZVHU VWDQGDUGV DUH 0R]LOOD )LUHIR[ ODWHVW YHUVLRQ VHH
    KWWSZZZPR]LOODFRP IRU ODWHVW YHUVLRQ  $SSOH 6DIDUL ODWHVW YHUVLRQ VHH KWWSZZZDSSOHFRPVDIDUL IRU ODWHVW YHUVLRQ  RU &KURPH
    ODWHVW YHUVLRQ VHH KWWSZZZJRRJOHFRPFKURPH IRU ODWHVW YHUVLRQ  LLL )RU PRELOHEDVHG &RPPXQLFDWLRQV D $ ODWHVW GHYLFH
    RSHUDWLQJ V\VWHP WKDW VXSSRUWV WH[W PHVVDJLQJ GRZQORDGLQJ DQG DSSOLFDWLRQV IURP WKH $SSOH $SS 6WRUH RU *RRJOH 3OD\ VWRUH DQG E
    7KH ODWHVW YHUVLRQ RI 6DIDUL RU &KURPH RQ L26 RU WKH ODWHVW YHUVLRQ RI &KURPH IRU $QGURLG LY $FFHVV WR WKH HPDLO DGGUHVV XVHG WR
    FUHDWH \RXU &HOWLF %DQN DFFRXQW Y 6XIILFLHQW VWRUDJH VSDFH WR VDYH &RPPXQLFDWLRQV DQGRU D SULQWHU WR SULQW WKHP YL 8VH RI VSDP
    ILOWHUVPD\EORFNRUUHURXWHHPDLOVIURPVHQGHUVQRWOLVWHGLQ\RXUHPDLODGGUHVVERRN

    $GGLWLRQDO &RPPXQLFDWLRQV 7KH %RUURZHU FRQVHQWV WR DFFHSW DQG UHFHLYH FRPPXQLFDWLRQV IURP &HOWLF %DQN DQG DQ\ 1RWHKROGHU
    LQFOXGLQJ HPDLO WH[W PHVVDJHV FDOOV DQG SXVK QRWLILFDWLRQV WR WKH FHOOXODU WHOHSKRQH QXPEHU WKH %RUURZHU SURYLGHV 7KHVH
    QRQWHOHPDUNHWLQJ FRPPXQLFDWLRQV PD\ EH JHQHUDWHG E\ DXWRPDWLF WHOHSKRQH GLDOLQJ V\VWHPV ZKLFK ZLOO GHOLYHU SUHUHFRUGHG
    PHVVDJHV LQFOXGLQJ IRU WKH SXUSRVHV RI VHFRQGDU\ DXWKHQWLFDWLRQ UHFHLSWV UHPLQGHUV DQG RWKHU QRWLILFDWLRQV 6WDQGDUG PHVVDJH DQG
    GDWD UDWHV DSSOLHG E\ WKH %RUURZHU¶V FHOO SKRQH FDUULHU PD\ DSSO\ WR WKH WH[W PHVVDJHV &HOWLF %DQN RU DQ\ 1RWHKROGHU VHQGV WKH
    %RUURZHU7KH%RUURZHUPD\RQO\RSWRXWRIUHFHLYLQJWH[WPHVVDJHFRPPXQLFDWLRQVE\UHSO\LQJ6723WRWH[WPHVVDJHV

    1R :DLYHU &XPXODWLYH 5HPHGLHV 1R IDLOXUH E\ &HOWLF %DQN RU DQ\ VXEVHTXHQW 1RWHKROGHU WR H[HUFLVH DQG QR GHOD\ LQ H[HUFLVLQJ DQ\
    ULJKW UHPHG\ RU SRZHU KHUHXQGHU VKDOO RSHUDWH DV D ZDLYHU WKHUHRI QRU VKDOO DQ\ VLQJOH RU SDUWLDO H[HUFLVH RI DQ\ ULJKW UHPHG\ RU
    SRZHU KHUHXQGHU SUHFOXGH DQ\ RWKHU RU IXUWKHU H[HUFLVH WKHUHRI RU WKH H[HUFLVH RI DQ\ RWKHU ULJKW UHPHG\ RU SRZHU 7KH ULJKWV
    UHPHGLHVDQGSRZHUVKHUHLQSURYLGHGDUHFXPXODWLYHDQGQRWH[FOXVLYHRIDQ\RWKHUULJKWVUHPHGLHVRUSRZHUVSURYLGHGE\ODZ

    6HYHUDELOLW\ ,I DQ\ WHUP RU SURYLVLRQ RI WKLV 1RWH LV LQYDOLG LOOHJDO RU XQHQIRUFHDEOH LQ DQ\ MXULVGLFWLRQ VXFK LQYDOLGLW\ LOOHJDOLW\ RU
    XQHQIRUFHDELOLW\ VKDOO QRW DIIHFW DQ\ RWKHU WHUP RU SURYLVLRQ RI WKLV 1RWH RU UHQGHU VXFK WHUP RU SURYLVLRQ LQYDOLG RU XQHQIRUFHDEOH LQ DQ\
    RWKHUMXULVGLFWLRQ

    &RXQWHUSDUWV 7KLV 1RWH DQG DQ\ DPHQGPHQWV ZDLYHUV FRQVHQWV RU VXSSOHPHQWV KHUHWR PD\ EH H[HFXWHG LQ FRXQWHUSDUWV HDFK RI
    ZKLFKVKDOOFRQVWLWXWHDQRULJLQDOEXWDOORIZKLFKWDNHQWRJHWKHUVKDOOFRQVWLWXWHDVLQJOHFRQWUDFW

    7KLUG3DUW\%HQHILFLDU\$Q\DVVLJQHHRIWKLV1RWHVKDOOEHGHHPHGWREHDWKLUGSDUW\EHQHILFLDU\WRWKLV1RWHDQGLVHQWLWOHGWRWKH
    ULJKWVDQGEHQHILWVKHUHXQGHUDQGPD\HQIRUFHWKHSURYLVLRQVKHUHRIDVLIWKH\ZHUHDSDUW\KHUHWR
                                                    ),1$/ &(/7,& %$1. 333 /2$1 127(   
                                                                    3DJH  RI 
       
                                       
           Case 0:22-cr-60028-WPD Document  74-1 Entered on FLSD Docket 09/09/2022 Page 19 of
                                                 240


    1RQ5HFRXUVH 1RWHKROGHU DQG 6%$ VKDOO KDYH QR UHFRXUVH DJDLQVW DQ\ LQGLYLGXDO VKDUHKROGHU PHPEHU RU SDUWQHU RI %RUURZHU IRU
    QRQSD\PHQW RI WKH ORDQ H[FHSW WR WKH H[WHQW WKDW VXFK VKDUHKROGHU PHPEHU RU SDUWQHU XVHV WKH ORDQ SURFHHGV IRU DQ XQDXWKRUL]HG
    SXUSRVH

    (UURUV DQG 2PLVVLRQV 7KH XQGHUVLJQHG %RUURZHU IRU DQG LQ FRQVLGHUDWLRQ RI &HOWLF %DQN IXQGLQJ WKH FORVLQJ RI WKLV /RDQ DJUHHV LI
    UHTXHVWHG E\ &HOWLF %DQN RU LWV DVVLJQHHV WR IXOO\ FRRSHUDWH DQG DGMXVW IRU FOHULFDO HUURUV DQ\ RU DOO /RDQ FORVLQJ GRFXPHQWDWLRQ LI
    GHHPHGQHFHVVDU\RUGHVLUDEOHLQWKHUHDVRQDEOHGLVFUHWLRQRI&HOWLF%DQNRULWVDVVLJQHHV



    81'(56,*1('%2552:(5$&.12:/('*(67+$7+(6+(,67+($87+25,=('5(35(6(17$7,9(2)7+($33/,&$17
    $1'+$9,1*5($'$//7+(3529,6,2162)7+,6/2$1'2&80(17$1'$*5((672,767(506

    %< 6,*1,1* 7+( %2552:(5 $*5((6 7+$7 $// ,1)250$7,21 3529,'(' ,1 7+,6 $33/,&$7,21 $1' $//
    6833257,1* '2&80(176 $1' )2506 72 2%7$,1 7+,6 /2$1 $5( 758( $1' $&&85$7( ,1 $// 0$7(5,$/
    5(63(&76 $1' 7+$7 $1< .12:1 )$/6( 67$7(0(176 $5( 381,6+$%/( %< ),1( ,035,6210(17 25 %27+


   ,1:,71(66:+(5(2)WKH%RUURZHUKDVH[HFXWHGDQG
                                
   DFFHSWHGWKLV1RWHDVRI


   ,#'*$"&

   1DPH


   6LJQDWXUH


    -&)


   7LWOH




    (TXDO&UHGLW2SSRUWXQLW\$FW 86&
    7KH)HGHUDO(TXDO&UHGLW2SSRUWXQLW\$FWSURKLELWVFUHGLWRUVIURPGLVFULPLQDWLQJDJDLQVWFUHGLWDSSOLFDQWVRQWKHEDVLVRIUDFHFRORU
    UHOLJLRQQDWLRQDORULJLQVH[PDULWDOVWDWXVRUDJH SURYLGHGWKHDSSOLFDQWKDVWKHFDSDFLW\WRHQWHULQWRDELQGLQJFRQWUDFW EHFDXVHDOO
    RUSDUWRIWKHDSSOLFDQW VLQFRPHGHULYHVIURPDQ\SXEOLFDVVLVWDQFHSURJUDPRUEHFDXVHWKHDSSOLFDQWKDVLQJRRGIDLWKH[HUFLVHGDQ\
    ULJKWXQGHUWKH&RQVXPHU&UHGLW3URWHFWLRQ$FW




                                                    ),1$/ &(/7,& %$1. 333 /2$1 127(   
                                                                    3DJH  RI 
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 20 of
                                     240

                                                                 22-60028-CR-WPD




                                                                   203a
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 21 of
                                     240

                                                               22-60028-CR-WPD




                                                                 203b
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 22 of
                                     240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 23 of
                                     240

                                                                         22-60028-CR-WPD




                                                                           203c
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 24 of
                                     240
     
         Case 0:22-cr-60028-WPD  Document
                                     
                                              74-1 Entered on FLSD Docket 09/09/2022 Page 25 of
                                                    240
                                         Paycheck Protection Program                OMB Control No.: 3245-0407
                                                                   Borrower Application Form                                              Expiration Date: 09/30/2020


        Check One:            Sole proprietor    Partnership
                                                         (      C-Corp  S-Corp 
                                                                                        LLC                        DBA or Tradename if Applicable
                              Independent contractor  Eligible self-employed individual
                              501(c)(3) nonprofit  501(c)(19) veterans organization
                              Tribal business (sec. 31(b)(2)(C) of Small Business Act) Other

                                             Business Legal Name
      Judlex Jean-Louis
                                               Business Address                                          Business TIN (EIN, SSN)           Business Phone
                                                                                                                6488                  ( )    -
                                                                                                                                     5167440403

      North Lauderdale FL                                                                                    Primary Contact                Email Address
                                                                                                        Judlex Jean-louis            judlex62688@gmail.com


        Average Monthly Payroll:          $ 8333.20               x 2.5 + EIDL, Net of              $ 20833.00            Number of Employees: 1
                                                                  Advance (if Applicable)
                                                                  Equals Loan Request:
        Purpose of the loan
        (select more than one):            X Payroll տLease / Mortgage Interest տUtilities տOther (explain):__________________
                                           ‫܆‬

                                                                  Applicant Ownership
      List all owners of 20% or more of the equity of the Applicant. Attach a separate sheet if necessary.

                          Owner Name                              Title               Ownership %    TIN (EIN, SSN)                     Address
      Judlex Jean-louis                               Owner                          100.00              6488                                  North Lauderdale FL



                If questions (1) or (2) below are answered “Yes,” the loan will not be approved.
                                                                      Question                                                                          Yes      No
           1.     Is the Applicant or any owner of the Applicant presently suspended, debarred, proposed for debarment, declared ineligible,          
                  voluntarily excluded from participation in this transaction by any Federal department or agency, or presently involved in any
                  bankruptcy?
                                                                                                                                                      ‫܆‬
                                                                                                                                                       ‫܆‬


           2.     Has the Applicant, any owner of the Applicant, or any business owned or controlled by any of them, ever obtained a direct or          ‫܆܆‬
                                                                                                                                                        
                  guaranteed loan from SBA or any other Federal agency that is currently delinquent or has defaulted in the last 7 years and
                  caused a loss to the government?

           3.     Is the Applicant or any owner of the Applicant an owner of any other business, or have common management with, any other              ‫܆܆‬
                                                                                                                                                        
                  business? If yes, list all such businesses and describe the relationship on a separate sheet identified as addendum A.

           4.     Has the Applicant received an SBA Economic Injury Disaster Loan between January 31, 2020 and April 3, 2020? If yes,                   ‫܆܆‬
                                                                                                                                                        
                  provide details on a separate sheet identified as addendum B.

                If questions (5) or (6) are answered “Yes,” the loan will not be approved.
                                                                     Question                                                                 Yes          No
          5.       Is the Applicant (if an individual) or any individual owning 20% or more of the equity of the Applicant subject
                   to an indictment, criminal information, arraignment, or other means by which formal criminal charges are                   ‫܆‬
                                                                                                                                                           ‫܆‬
                   brought in any jurisdiction, or presently incarcerated, or on probation or parole?
                   Initial here to confirm your response to question 5 ĺ

          6.       Within the last 5 years, for any felony, has the Applicant (if an individual) or any owner of the Applicant 1)
                   been convicted; 2) pleaded guilty; 3) pleaded nolo contendere; 4) been placed on pretrial diversion; or 5) been
                   placed on any form of parole or probation (including probation before judgment)?
                                                                                                                                              ‫܆‬
                                                                                                                                                ‫܆‬
                   Initial here to confirm your response to question 6 ĺ

          7.       Is the United States the principal place of residence for all employees of the Applicant included in the
                   Applicant’s payroll calculation above?
                                                                                                                                             ‫܆‬             ‫܆‬
                                                                                                                                                            


          8.       Is the Applicant a franchise that is listed in the SBA’s Franchise Directory?
                                                                                                                                             ‫܆‬
                                                                                                                                                           ‫܆‬

                                                                                 1
   SBA Form 2483 (04/20)
     
         Case 0:22-cr-60028-WPD  Document
                                     
                                              74-1 Entered on FLSD Docket 09/09/2022 Page 26 of
                                                    240
                                         Paycheck Protection Program
                                                                Borrower Application Form

    By Signing Below, You Make the Following Representations, Authorizations, and Certifications

    CERTIFICATIONS AND AUTHORIZATIONS
    I certify that:
            x I have read the statements included in this form, including the Statements Required by Law and Executive Orders, and I understand them.
            x The Applicant is eligible to receive a loan under the rules in effect at the time this application is submitted that have been issued by the
                 Small Business Administration (SBA) implementing the Paycheck Protection Program under Division A, Title I of the Coronavirus
                 Aid, Relief, and Economic Security Act (CARES Act) (the Paycheck Protection Program Rule).
            x The Applicant (1) is an independent contractor, eligible self-employed individual, or sole proprietor or (2) employs no more
                 than the greater of 500 or employees or, if applicable, the size standard in number of employees established by the SBA in 13
                 C.F.R. 121.201 for the Applicant’s industry.
            x I will comply, whenever applicable, with the civil rights and other limitations in this form.
            x All SBA loan proceeds will be used only for business-related purposes as specified in the loan application and consistent with the
                 Paycheck Protection Program Rule.
            x To the extent feasible, I will purchase only American-made equipment and products.
            x The Applicant is not engaged in any activity that is illegal under federal, state or local law.
            x Any loan received by the Applicant under Section 7(b)(2) of the Small Business Act between January 31, 2020 and April 3, 2020 was
                 for a purpose other than paying payroll costs and other allowable uses loans under the Paycheck Protection Program Rule.

    For Applicants who are individuals: I authorize the SBA to request criminal record information about me from criminal justice agencies for the
    purpose of determining my eligibility for programs authorized by the Small Business Act, as amended.

    CERTIFICATIONS
    The authorized representative of the Applicant must certify in good faith to all of the below by initialing next to each one:

    _____      The Applicant was in operation on February 15, 2020 and had employees for whom it paid salaries and payroll taxes or paid independent
               contractors, as reported on Form(s) 1099-MISC.

    _____      Current economic uncertainty makes this loan request necessary to support the ongoing operations of the Applicant.

    _____      The funds will be used to retain workers and maintain payroll or make mortgage interest payments, lease payments, and utility payments,
               as specified under the Paycheck Protection Program Rule; I understand that if the funds are knowingly used for unauthorized purposes,
               the federal government may hold me legally liable, such as for charges of fraud.

    _____      The Applicant will provide to the Lender documentation verifying the number of full-time equivalent employees on the Applicant’s
               payroll as well as the dollar amounts of payroll costs, covered mortgage interest payments, covered rent payments, and covered utilities
               for the eight-week period following this loan.

    _____      I understand that loan forgiveness will be provided for the sum of documented payroll costs, covered mortgage interest payments,
               covered rent payments, and covered utilities, and not more than 25% of the forgiven amount may be for non-payroll costs.

    _____      During the period beginning on February 15, 2020 and ending on December 31, 2020, the Applicant has not and will not receive another
               loan under the Paycheck Protection Program.

    _____      I further certify that the information provided in this application and the information provided in all supporting documents and
               forms is true and accurate in all material respects. I understand that knowingly making a false statement to obtain a guaranteed loan
               from SBA is punishable under the law, including under 18 USC 1001 and 3571 by imprisonment of not more than five years and/or a
               fine of up to $250,000; under 15 USC 645 by imprisonment of not more than two years and/or a fine of not more than $5,000; and, if
               submitted to a federally insured institution, under 18 USC 1014 by imprisonment of not more than thirty years and/or a fine of not
               more than $1,000,000.

    _____      I acknowledge that the lender will confirm the eligible loan amount using required documents submitted. I understand,
               acknowledge and agree that the Lender can share any tax information that I have provided with SBA's authorized representatives,
               including authorized representatives of the SBA Office of Inspector General, for the purpose of compliance with SBA Loan
               Program Requirements and all SBA reviews.
                                                                                                      
     _________________________________________________________                                        ________________________
     Signature of Authorized Representative of Applicant                                              Date
                                                                                             

     Print Name                                                                                       Title


                                                                             2
   SBA Form 2483 (04/20)
     
         Case 0:22-cr-60028-WPD  Document
                                     
                                              74-1 Entered on FLSD Docket 09/09/2022 Page 27 of
                                                    240
                                         Paycheck Protection Program
                                                               Borrower Application Form


    Purpose of this form:

    This form is to be completed by the authorized representative of the Applicant and submitted to your SBA Participating Lender. Submission of
    the requested information is required to make a determination regarding eligibility for financial assistance. Failure to submit the information
    would affect that determination.

    Instructions for completing this form:

    With respect to “purpose of the loan,” payroll costs consist of compensation to employees (whose principal place of residence is the United
    States) in the form of salary, wages, commissions, or similar compensation; cash tips or the equivalent (based on employer records of past tips
    or, in the absence of such records, a reasonable, good-faith employer estimate of such tips); payment for vacation, parental, family, medical, or
    sick leave; allowance for separation or dismissal; payment for the provision of employee benefits consisting of group health care coverage,
    including insurance premiums, and retirement; payment of state and local taxes assessed on compensation of employees; and for an
    independent contractor or sole proprietor, wage, commissions, income, or net earnings from self-employment or similar compensation.

    For purposes of calculating “Average Monthly Payroll,” most Applicants will use the average monthly payroll for 2019, excluding costs over
    $100,000 on an annualized basis for each employee. For seasonal businesses, the Applicant may elect to instead use average monthly payroll
    for the time period between February 15, 2019 and June 30, 2019, excluding costs over $100,000 on an annualized basis for each employee.
    For new businesses, average monthly payroll may be calculated using the time period from January 1, 2020 to February 29, 2020, excluding
    costs over $100,000 on an annualized basis for each employee.

    If Applicant is refinancing an Economic Injury Disaster Loan (EIDL): Add the outstanding amount of an EIDL made between January 31, 2020
    and April 3, 2020, less the amount of any “advance” under an EIDL COVID-19 loan, to Loan Request as indicated on the form.

    All parties listed below are considered owners of the Applicant as defined in 13 CFR § 120.10, as well as “principals”:

       x For a sole proprietorship, the sole proprietor;
       x For a partnership, all general partners, and all limited partners owning 20% or more of the equity of the firm;
       x For a corporation, all owners of 20% or more of the corporation;
       x For limited liability companies, all members owning 20% or more of the company; and
       x Any Trustor (if the Applicant is owned by a trust).
     Paperwork Reduction Act – You are not required to respond to this collection of information unless it displays a currently valid OMB
     Control Number. The estimated time for completing this application, including gathering data needed, is 8 minutes. Comments about this time
     or the information requested should be sent to : Small Business Administration, Director, Records Management Division, 409 3rd St., SW,
     Washington DC 20416., and/or SBA Desk Officer, Office of Management and Budget, New Executive Office Building, Washington DC
     20503.
     Privacy Act (5 U.S.C. 552a) – Under the provisions of the Privacy Act, you are not required to provide your social security number. Failure to
     provide your social security number may not affect any right, benefit or privilege to which you are entitled. (But see Debt Collection Notice
     regarding taxpayer identification number below.) Disclosures of name and other personal identifiers are required to provide SBA with
     sufficient information to make a character determination. When evaluating character, SBA considers the person’s integrity, candor, and
     disposition toward criminal actions. Additionally, SBA is specifically authorized to verify your criminal history, or lack thereof, pursuant to
     section 7(a)(1)(B), 15 USC Section 636(a)(1)(B) of the Small Business Act (the Act).

      Disclosure of Information – Requests for information about another party may be denied unless SBA has the written permission of the
      individual to release the information to the requestor or unless the information is subject to disclosure under the Freedom of Information Act.
      The Privacy Act authorizes SBA to make certain “routine uses” of information protected by that Act. One such routine use is the disclosure of
      information maintained in SBA’s system of records when this information indicates a violation or potential violation of law, whether civil,
      criminal, or administrative in nature. Specifically, SBA may refer the information to the appropriate agency, whether Federal, State, local or
      foreign, charged with responsibility for, or otherwise involved in investigation, prosecution, enforcement or prevention of such violations.
      Another routine use is disclosure to other Federal agencies conducting background checks but only to the extent the information is relevant to
      the requesting agencies' function. See, 74 F.R. 14890 (2009), and as amended from time to time for additional background and other routine
      uses. In addition, the CARES Act, requires SBA to register every loan made under the Paycheck Protection Act using the Taxpayer
      Identification Number (TIN) assigned to the borrower.
      Debt Collection Act of 1982, Deficit Reduction Act of 1984 (31 U.S.C. 3701 et seq. and other titles) – SBA must obtain your taxpayer
      identification number when you apply for a loan. If you receive a loan, and do not make payments as they come due, SBA may: (1) report the
      status of your loan(s) to credit bureaus, (2) hire a collection agency to collect your loan, (3) offset your income tax refund or other amounts
      due to you from the Federal Government, (4) suspend or debar you or your company from doing business with the Federal Government, (5)
      refer your loan to the Department of Justice, or (6) foreclose on collateral or take other action permitted in the loan instruments.
      Right to Financial Privacy Act of 1978 (12 U.S.C. 3401) – The Right to Financial Privacy Act of 1978, grants SBA access rights to
      financial records held by financial institutions that are or have been doing business with you or your business including any financial

                                                                            3
   SBA Form 2483 (04/20)
     
         Case 0:22-cr-60028-WPD  Document
                                     
                                              74-1 Entered on FLSD Docket 09/09/2022 Page 28 of
                                                    240
                                         Paycheck Protection Program
                                                                 Borrower Application Form
      institutions participating in a loan or loan guaranty. SBA is only required provide a certificate of its compliance with the Act to a financial
      institution in connection with its first request for access to your financial records. SBA's access rights continue for the term of any approved
      loan guaranty agreement. SBA is also authorized to transfer to another Government authority any financial records concerning an approved
      loan or loan guarantee, as necessary to process, service or foreclose on a loan guaranty or collect on a defaulted loan guaranty.
      Freedom of Information Act (5 U.S.C. 552) – Subject to certain exceptions, SBA must supply information reflected in agency files and
      records to a person requesting it. Information about approved loans that will be automatically released includes, among other things, statistics
      on our loan programs (individual borrowers are not identified in the statistics) and other information such as the names of the borrowers (and
      their officers, directors, stockholders or partners), the collateral pledged to secure the loan, the amount of the loan, its purpose in general terms
      and the maturity. Proprietary data on a borrower would not routinely be made available to third parties. All requests under this Act are to be
      addressed to the nearest SBA office and be identified as a Freedom of Information request.
     Occupational Safety and Health Act (15 U.S.C. 651 et seq.) – The Occupational Safety and Health Administration (OSHA) can require
     businesses to modify facilities and procedures to protect employees. Businesses that do not comply may be fined, forced to cease operations,
     or prevented from starting operations. Signing this form is certification that the applicant, to the best of its knowledge, is in compliance with
     the applicable OSHA requirements, and will remain in compliance during the life of the loan.
     Civil Rights (13 C.F.R. 112, 113, 117) – All businesses receiving SBA financial assistance must agree not to discriminate in any business
     practice, including employment practices and services to the public on the basis of categories cited in 13 C.F.R., Parts 112, 113, and 117 of
     SBA Regulations. All borrowers must display the "Equal Employment Opportunity Poster" prescribed by SBA.
     Equal Credit Opportunity Act (15 U.S.C. 1691) – Creditors are prohibited from discriminating against credit applicants on the basis of race,
     color, religion, national origin, sex, marital status or age (provided the applicant has the capacity to enter into a binding contract); because all
     or part of the applicant's income derives from any public assistance program; or because the applicant has in good faith exercised any right
     under the Consumer Credit Protection Act.
     Debarment and Suspension Executive Order 12549; (2 CFR Part 180 and Part 2700) – By submitting this loan application, you certify
     that neither the Applicant or any owner of the Applicant have within the past three years been: (a) debarred, suspended, declared ineligible or
     voluntarily excluded from participation in a transaction by any Federal Agency; (b) formally proposed for debarment, with a final
     determination still pending; (c) indicted, convicted, or had a civil judgment rendered against you for any of the offenses listed in the
     regulations or (d) delinquent on any amounts owed to the U.S. Government or its instrumentalities as of the date of execution of this
     certification.




                                                                               4
   SBA Form 2483 (04/20)
     
        Case 0:22-cr-60028-WPD  Document
                                    
                                             74-1 Entered on FLSD Docket 09/09/2022 Page 29 of
                                                  240




                                                            Additional Owners (Continued)
      List additional owners of 20% or more of the equity of the Applicant.

                    Owner Name                              Title             Ownership %   TIN (EIN, SSN)   Address




   Additional Owners (Continued)
     
        Case 0:22-cr-60028-WPD  Document
                                    
                                             74-1 Entered on FLSD Docket 09/09/2022 Page 30 of
                                                  240

                                                +9  +.$0 0$"+.$.! $"
                         /IEjQ][ÂÂÁÃIIdQ[OZIgQE<[7]gXIgh+<QG<[GZdY]sIGEj]NjPI ./Ej

                                                             ¶¶¶¶
                                                     3520,6625<127(
                                  3/($6(6((,03257$17,1)250$7,21$%2877+,6/2$1%(/2:



    6%$/RDQ              


    'DWHRI/RDQ 

      /HJDO%XVLQHVV1DPH%' !%#                         /RDQ$PRXQW  
      'RLQJ%XVLQHVV$V                                             ,QWHUHVW5DWH 
      %XVLQHVV$GGUHVV
                                                                     'DWHRI)LUVW3D\PHQW 
                                                                     /RDQ0DWXULW\'DWH  
       !"$%"




                               %' !%#
    )259$/8(5(&(,9('BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB               WKH³%RUURZHU´ KHUHE\SURPLVHVWRSD\DVQHFHVVDU\DQGLQ
    DFFRUGDQFHZLWKWKH3D\FKHFN3URWHFWLRQ3URJUDPXQGHU&)53DUW WKH³333´ WRWKHRUGHURI&(/7,&%$1.&25325$7,21
                                                                                                           
     ³&HOWLF%DQN´ RUVXEVHTXHQWKROGHUVRIWKLV3URPLVVRU\1RWH WKLV³1RWH´ WKHSULQFLSDODPRXQWRIBBBBBBBBBBBBBBBBBBB'ROODUV
     WKH´/RDQ´ WRJHWKHUZLWKDOODFFUXHGLQWHUHVWWKHUHRQZKLFKDPRXQWVKDOOQRWH[FHHGSHUDQQXPDVSURYLGHGLQWKLV1RWH

    $VVLJQDEOH7KLV1RWHPD\EHDVVLJQHGRUWUDQVIHUUHGE\&HOWLF%DQNRUDQ\VXEVHTXHQWKROGHURIWKH1RWHWRDQ\LQGLYLGXDOFRUSRUDWLRQ
    FRPSDQ\OLPLWHGOLDELOLW\FRPSDQ\WUXVWMRLQWYHQWXUHDVVRFLDWLRQSDUWQHUVKLSXQLQFRUSRUDWHGRUJDQL]DWLRQJRYHUQPHQWDODXWKRULW\RU
    RWKHUHQWLW\ZLWKRXWWKHSULRUFRQVHQWRIRUQRWLFHWRDQ\RWKHUSHUVRQ

    0DWXULW\'DWH8QOHVVIRUJLYHQLQZULWLQJRURWKHUZLVHPRGLILHGLQFRPSOLDQFHZLWKWKHWHUPVRIWKH333RURWKHUDSSOLFDEOH6%$
                                            
    UHTXLUHPHQWVWKLV/RDQPDWXUHVRQBBBBBBBBBBBBBBBBB       ³0DWXULW\'DWH´ 
    8VHRI3URFHHGV%RUURZHUVKDOOXVHWKHSURFHHGVRIWKLVORDQRQO\IRUHOLJLEOHH[SHQVHVXQGHUWKHWHUPVRIWKH3337KH%RUURZHUVKDOO
    XVHWKHIXQGVUHFHLYHGXQGHUWKLV1RWHIRUEXVLQHVVSXUSRVHVRQO\DQGQRWIRUSHUVRQDOIDPLO\RUKRXVHKROGSXUSRVHV7KH%RUURZHU
    XQGHUVWDQGVWKDWWKLVLVQRWDFRQVXPHUORDQDQGWKDWVWDWXWRU\DQGUHJXODWRU\SURWHFWLRQVIRUFRQVXPHUVZLOOQRWDSSO\WRWKLV/RDQ

                                                                                           
    5HSD\PHQW5HTXLUHPHQWV%RUURZHUPXVWSD\SULQFLSDODQGLQWHUHVWSD\PHQWVRI>BBBBBBBBBBBBBBB@HYHU\PRQWKEHJLQQLQJRQ
    BBBBBBBBBBBBBBB
              RUWKHLPPHGLDWHO\IROORZLQJEXVLQHVVGD\LIVXFKGD\LVQRWDEXVLQHVVGD\DQGZKLFKGDWHUHIOHFWVDQDXWRPDWLF
                                                                                                                     
    VL[PRQWKGHIHUUDOIURPWKHGDWHRIWKLV/RDQ DQGHQGLQJRQWKH0DWXULW\'DWH3D\PHQWVPXVWEHPDGHRQWKHBBBBBBBBB      RUWKH
    LPPHGLDWHO\IROORZLQJEXVLQHVVGD\LIVXFKGD\LVQRWDEXVLQHVVGD\ LQWKHPRQWKVWKH\DUHGXHDQGEHPDGHLQ86GROODUV7KHVH
    SD\PHQWVZLOOEHDXWRPDWLFDOO\GHELWHGIURPWKH%RUURZHU¶VEDQNDFFRXQWSURYLGHGWR&HOWLF%DQN ³/LQNHG%DQN$FFRXQW´ 
    %RUURZHU¶VUHSD\PHQWREOLJDWLRQZLOOEHUHGXFHGE\WKHDPRXQWRIDQ\ORDQIRUJLYHQHVVJUDQWHGXQGHUWKHWHUPVRIWKH333<RXU
    ILQDOSD\PHQWRQWKH0DWXULW\'DWHPD\YDU\E\XSWRIURP\RXUUHJXODUSD\PHQWDPRXQWDQG\RXDJUHHWRZDLYHDQ\VSHFLDO
    QRWLFHUHTXLUHPHQWVIRUWKLVSD\PHQWYDULDQFH

    /RDQ )RUJLYHQHVV %RUURZHU PD\ DSSO\ WR /HQGHU IRU IRUJLYHQHVV RI WKH DPRXQW GXH RQ WKLV ORDQ LQ DQ DPRXQW HTXDO WR WKH VXP RI WKH
    IROORZLQJFRVWVLQFXUUHGE\%RUURZHUGXULQJWKHZHHNSHULRGEHJLQQLQJRQWKHGDWHRIILUVWGLVEXUVHPHQWRIWKLVORDQ

         D       3D\UROOFRVWV
         E       $Q\ SD\PHQW RI LQWHUHVW RQ D FRYHUHG PRUWJDJH REOLJDWLRQ ZKLFK VKDOO QRW LQFOXGH DQ\ SUHSD\PHQW RI RU SD\PHQW RI SULQFLSDO
                  RQDFRYHUHGPRUWJDJHREOLJDWLRQ
         F       $Q\SD\PHQWRQDFRYHUHGUHQWREOLJDWLRQ
         G       $Q\FRYHUHGXWLOLW\SD\PHQW

         7KH DPRXQW RI ORDQ IRUJLYHQHVV VKDOO EH FDOFXODWHG DQG PD\ EH UHGXFHG LQ DFFRUGDQFH ZLWK WKH UHTXLUHPHQWV RI WKH 3D\FKHFN
         3URWHFWLRQ 3URJUDP LQFOXGLQJ WKH SURYLVLRQV RI 6HFWLRQ  RI WKH &RURQDYLUXV $LG 5HOLHI DQG (FRQRPLF 6HFXULW\ $FW &$5(6 $FW
          3/ 1RWPRUHWKDQRIWKHDPRXQWIRUJLYHQFDQEHDWWULEXWDEOHWRQRQSD\UROOFRVWV

                                                  ),1$/&(/7,&%$1.333/2$1127(
                                                                  3DJHRI
     
        Case 0:22-cr-60028-WPD  Document
                                    
                                             74-1 Entered on FLSD Docket 09/09/2022 Page 31 of
                                                  240

         %RUURZHU KDV UHFHLYHG DQ (,'/ DGYDQFH LQ WKH DPRXQW RI                            ZKLFK DPRXQW VKDOO EH VXEWUDFWHG IURP WKH ORDQ
         IRUJLYHQHVVDPRXQW

     /RDQ 3UHSD\PHQW 1RWZLWKVWDQGLQJ DQ\ SURYLVLRQ LQ WKLV 1RWH WR WKH FRQWUDU\ %RUURZHU PD\ SUHSD\ WKLV 1RWH DW DQ\ WLPH ZLWKRXW
     SHQDOW\ %RUURZHU PD\ SUHSD\  SHUFHQW RU OHVV RI WKH XQSDLG SULQFLSDO EDODQFH DW DQ\ WLPH ZLWKRXW QRWLFH ,I %RUURZHU SUHSD\V PRUH
     WKDQ  SHUFHQW DQG WKH /RDQ KDV EHHQ VROG RQ WKH VHFRQGDU\ PDUNHW %RUURZHU PXVW D *LYH /HQGHU ZULWWHQ QRWLFH E 3D\ DOO
     DFFUXHG LQWHUHVW DQG F ,I WKH SUHSD\PHQW LV UHFHLYHG OHVV WKDQ  GD\V IURP WKH GDWH /HQGHU UHFHLYHG WKH QRWLFH SD\ DQ DPRXQW
     HTXDO WR  GD\V LQWHUHVW IURP WKH GDWH OHQGHU UHFHLYHG WKH QRWLFH OHVV DQ\ LQWHUHVW DFFUXHG GXULQJ WKH  GD\V DQG SDLG XQGHU E RI
     WKLV SDUDJUDSK ,I %RUURZHU GRHV QRW SUHSD\ ZLWKLQ  GD\V IURP WKH GDWH /HQGHU UHFHLYHG WKH QRWLFH %RUURZHU PXVW JLYH /HQGHU D
     QHZQRWLFH


    0DQQHU RI 3D\PHQW $OO SD\PHQWV RI SULQFLSDO DQG LQWHUHVW VKDOO EH PDGH LQ 86 GROODUV RQ WKH GDWH RQ ZKLFK VXFK SD\PHQW LV GXH 6XFK
    SD\PHQWV VKDOO EH PDGH E\ $&+ FDVKLHU¶V FKHFN FHUWLILHG FKHFN RU ZLUH WUDQVIHU RI LPPHGLDWHO\ DYDLODEOH IXQGV WR WKH KROGHU RI WKH
    1RWH¶V ³1RWHKROGHU´ DFFRXQW DW D EDQN VSHFLILHG E\ &HOWLF %DQN RU LWV DVVLJQHHV LQ ZULWLQJ WR WKH %RUURZHU IURP WLPH WR WLPH )RU
    SXUSRVHV RI WKLV 1RWH WKH WHUP 1RWHKROGHU VKDOO UHIHU WR WKH RULJLQDO 1RWHKROGHU DQ\ DJHQW RI WKH 1RWHKROGHU RU DQ\ DVVLJQHH RU
    VXEVHTXHQWKROGHURIWKH1RWH

    $&+ $XWKRUL]DWLRQ 7KH %RUURZHU DXWKRUL]HV &HOWLF %DQN RU DQ\ 1RWHKROGHU WR FUHGLW WKH /LQNHG %DQN $FFRXQW ZLWK WKH %RUURZHU¶V /RDQ
    DPRXQW RU ZKHUH RWKHUZLVH UHTXLUHG IRU VHUYLFLQJ RI WKLV /RDQ 7KH %RUURZHU DOVR DXWKRUL]HV WKH 1RWHKROGHU WR DXWRPDWLFDOO\ GHELW DQ\
    SD\PHQWV GXH SXUVXDQW WR WKH WHUPV RI WKLV 1RWH ,I WKH %RUURZHU GHFLGHV WR SUHSD\ WKLV /RDQ WKH %RUURZHU DXWKRUL]HV WKH 1RWHKROGHU
    WR GHELW DQ\ /LQNHG %DQN $FFRXQW ,I DQ\ GHELW DWWHPSW WR WKH /LQNHG %DQN $FFRXQW IDLOV WKH %RUURZHU JUDQWV 1RWHKROGHU DW HDFK
    LQVWDQFH D QHZ RULJLQDO DXWKRUL]DWLRQ WR PDNH QHZ GHELW DWWHPSWV LQ DQ DPRXQW OHVV WKDQ WKH DPRXQW WKHQ FXUUHQWO\ GXH RU DQ DPRXQW
    UHGXFHG IURP WKH SUHYLRXV GHELW IURP WKH /LQNHG %DQN $FFRXQW 7KH %RUURZHU DFNQRZOHGJHV DQG DJUHHV WR EH ERXQG E\ 1$&+$¶V
    UXOHVIRUEXVLQHVVUHODWHG$&+GHELWVDQGFUHGLWV

    3UHSD\PHQW1RSUHSD\PHQWSHQDOW\ZLOOEHDVVHVVHG

    ,QWHUHVW 3ULQFLSDO DPRXQWV RXWVWDQGLQJ XQGHU WKLV 1RWH VKDOO EHDU LQWHUHVW DW D UDWH SHU DQQXP WKH ³,QWHUHVW 5DWH´ HTXDO WR  $OO
    FRPSXWDWLRQV RI LQWHUHVW KHUHXQGHU VKDOO EH PDGH RQ WKH EDVLV RI D \HDU RI  DQG WKH DFWXDO QXPEHU RI GD\V HODSVHG ,QWHUHVW
    VKDOO EHJLQ WR DFFUXH RQ WKH /RDQ RQ WKH GDWH RI WKLV 1RWH 2Q DQ\ SRUWLRQ RI WKH /RDQ WKDW LV UHSDLG LQWHUHVW VKDOO QRW DFFUXH RQ WKH
    GDWHRQZKLFKVXFKSD\PHQWLVPDGH

    (YHQWV RI 'HIDXOW ZLWK 5HVSHFW WR $PRXQWV 'XH 7KH RFFXUUHQFH DQG FRQWLQXDQFH RI DQ\ RI WKH IROORZLQJ VKDOO FRQVWLWXWH DQ ³(YHQW RI
    'HIDXOW´ KHUHXQGHU ZLWK UHVSHFW WR DQ\ DPRXQWV GXH IURP WKH %RUURZHU XQGHU WKLV /RDQ WKDW DUH QRW IRUJLYHQ XQGHU WKH WHUPV RI WKH
    333 WKH ³1RQIRUJLYHQ $PRXQW´  %RUURZHU IDLOV WR SD\ L DQ\ SULQFLSDO DPRXQW RI WKH 1RQIRUJLYHQ $PRXQW RI WKH /RDQ ZKHQ GXH LL
    DQ\ LQWHUHVW RQ WKH 1RQIRUJLYHQ $PRXQW RI WKH /RDQ ZLWKLQ ILYH  GD\V DIWHU WKH GDWH VXFK DPRXQW LV GXH RU LLL DQ\ RWKHU 1RQIRUJLYHQ
    $PRXQWGXHKHUHXQGHUZLWKLQWHQ  GD\VDIWHUVXFKDPRXQWLVGXH

    5HPHGLHV8SRQWKHRFFXUUHQFHDQGGXULQJWKHFRQWLQXDQFHRIDQ(YHQWRI'HIDXOW1RWHKROGHUPD\DWLWVRSWLRQE\ZULWWHQQRWLFHWR
    WKH%RUURZHUGHFODUHWKHRXWVWDQGLQJSULQFLSDODPRXQWRIWKH1RQIRUJLYHQ$PRXQWRIWKH/RDQDFFUXHGDQGXQSDLGLQWHUHVWWKHUHRQ
    DQGDOORWKHUDPRXQWVSD\DEOHKHUHXQGHULPPHGLDWHO\GXHDQGSD\DEOH

    ,QGHPQLILFDWLRQ7KH%RUURZHUZLOOLQGHPQLI\DQGKROGKDUPOHVV&HOWLF%DQNDQGDQ\1RWHKROGHU DQGWKHLUUHVSHFWLYHHPSOR\HHV
    GLUHFWRUVDJHQWVDIILOLDWHVDQGUHSUHVHQWDWLYHV IURPDQGDJDLQVWDQ\FRVWORVVRUOLDELOLW\LQFOXGLQJLQWHUHVWSHQDOWLHVUHDVRQDEOH
    DWWRUQH\V IHHVDQGH[SHQVHVUHVXOWLQJIURPWKH%RUURZHU¶VPLVUHSUHVHQWDWLRQLQWKHDSSOLFDWLRQIRUWKLV/RDQRURWKHUZLVHRUEUHDFKRI
    ZDUUDQW\GHIDXOWRUEUHDFKRIDQ\FRYHQDQWLQWKLV1RWH

    1RWLFHV$OOQRWLFHVDQGRWKHUFRPPXQLFDWLRQVUHODWLQJWRWKLV1RWHVKDOOEHLQZULWLQJDQGVKDOOEHGHHPHGJLYHQXSRQWKHILUVWWRRFFXU
    RI D GHSRVLWZLWKRYHUQLJKWFRXULHUVHUYLFHSURSHUO\DGGUHVVHGDQGVKLSSLQJSUHSDLG E WUDQVPLWWDOE\HPDLOSURSHUO\DGGUHVVHG ZLWK
    ZULWWHQDFNQRZOHGJPHQWIURPWKHLQWHQGHGUHFLSLHQWVXFKDV³UHWXUQUHFHLSWUHTXHVWHG´IXQFWLRQUHWXUQHPDLORURWKHUZULWWHQ
    DFNQRZOHGJPHQW RU F DFWXDOUHFHLSWE\DQHPSOR\HHRUDJHQWRIWKHRWKHUSDUW\1RWLFHVKHUHXQGHUVKDOOEHVHQWWRWKHIROORZLQJ
    DGGUHVVHVRUWRVXFKRWKHUDGGUHVVDVVXFKSDUW\VKDOOVSHFLI\LQZULWLQJ

    ,IWRWKH%RUURZHU

     1DPH %' !%#                                            $GGUHVV
                                                                                                           !"$%"
                                                                        
     3KRQH
                                                                    $WWHQWLRQ

                                                                       (PDLO %'  !

                                                   ),1$/&(/7,&%$1.333/2$1127(
                                                                   3DJHRI
     
        Case 0:22-cr-60028-WPD  Document
                                    
                                             74-1 Entered on FLSD Docket 09/09/2022 Page 32 of
                                                  240




    ,IWR&HOWLF%DQN

     1DPH%OXH9LQH3URFHVVRUDQG6HUYLFHUIRU&HOWLF%DQN           $GGUHVV
                                                                       5HGZRRG&LW\&$

     3KRQH                                               (PDLOFDUHV#EOXHYLQHFRP



    5HSUHVHQWDWLRQVDQG:DUUDQWLHV7KH%RUURZHUUHSUHVHQWVDQGZDUUDQWVWRWKH1RWHKROGHUDVIROORZV


             ([LVWHQFH7KH%RUURZHULVDDQ>LQGLYLGXDOFRUSRUDWLRQOLPLWHGOLDELOLW\FRPSDQ\SDUWQHUVKLS@GXO\LQFRUSRUDWHGRUIRUPHGDV
             DSSOLFDEOHYDOLGO\H[LVWLQJDQGLQJRRGVWDQGLQJXQGHUWKHODZVRIWKHVWDWHRILWVRUJDQL]DWLRQ7KH%RUURZHUKDVWKHUHTXLVLWH
             SRZHUDQGDXWKRULW\WRRZQOHDVHDQGRSHUDWHLWVSURSHUW\DQGWRFDUU\RQLWVEXVLQHVV


             &RPSOLDQFHZLWK/DZ7KH%RUURZHULVLQFRPSOLDQFHZLWKDOOODZVVWDWXWHVRUGLQDQFHVUXOHVDQGUHJXODWLRQVDSSOLFDEOHWRRU
             ELQGLQJRQWKH%RUURZHULWVSURSHUW\DQGEXVLQHVV


             3RZHUDQG$XWKRULW\7KH%RUURZHUKDVWKHUHTXLVLWHSRZHUDQGDXWKRULW\WRH[HFXWHGHOLYHUDQGSHUIRUPLWVREOLJDWLRQVXQGHU
             WKLV1RWH

             $XWKRUL]DWLRQ ([HFXWLRQ DQG 'HOLYHU\ 7KH H[HFXWLRQ DQG GHOLYHU\ RI WKLV 1RWH E\ WKH %RUURZHU DQG WKH SHUIRUPDQFH RI LWV
             REOLJDWLRQV KHUHXQGHU KDYH EHHQ GXO\ DXWKRUL]HG E\ DOO QHFHVVDU\ FRPSDQ\ DFWLRQ LQ DFFRUGDQFH ZLWK DSSOLFDEOH ODZ 7KH
             %RUURZHUKDVGXO\H[HFXWHGDQGGHOLYHUHGWKLV1RWH

             ,QIRUPDWLRQ LV 7UXH DQG $FFXUDWH 7KH LQIRUPDWLRQ SURYLGHG LQ DOO VXSSRUWLQJ GRFXPHQWV DQG IRUPV WR REWDLQ WKLV /RDQ LV WUXH
             DQG DFFXUDWH LQ DOO PDWHULDO UHVSHFWV 7KH %RUURZHU DQG DQ\ LQGLYLGXDO ZKR SURYLGHG LQIRUPDWLRQ IRU WKH DSSOLFDWLRQ RI WKLV
             /RDQ XQGHUVWDQGV WKDW NQRZLQJO\ PDNLQJ D IDOVH VWDWHPHQW WR REWDLQ WKLV ORDQ IURP 6%$ LV SXQLVKDEOH XQGHU WKH ODZ LQFOXGLQJ
             XQGHU  86&  DQG  E\ LPSULVRQPHQW RI QRW PRUH WKDQ ILYH \HDUV DQGRU D ILQH RI XS WR  XQGHU  86& 
             E\ LPSULVRQPHQW RI QRW PRUH WKDQ WZR \HDUV DQGRU D ILQH RI QRW PRUH WKDQ  DQG LI VXEPLWWHG WR D IHGHUDOO\ LQVXUHG
             LQVWLWXWLRQXQGHU86&E\LPSULVRQPHQWRIQRWPRUHWKDQWKLUW\\HDUVDQGRUDILQHRIQRWPRUHWKDQ

    *RYHUQLQJ /DZ 7KLV 1RWH DQG DQ\ FODLP FRQWURYHUV\ GLVSXWH RU FDXVH RI DFWLRQ ZKHWKHU LQ FRQWUDFW WRUW RU RWKHUZLVH EDVHG RQ
    DULVLQJ RXW RI RU UHODWLQJ WR WKLV 1RWH DQG WKH WUDQVDFWLRQV FRQWHPSODWHG KHUHE\ VKDOO EH JRYHUQHG E\ DQG FRQVWUXHG LQ DFFRUGDQFH ZLWK
    WKHODZVRIWKH6WDWHRI8WDKDQGRUDOODSSOLFDEOHIHGHUDOUHJXODWLRQVXQGHUWKH333/RDQSURJUDP

    :KHQ 6%$ LV WKH KROGHU RU LQ WKH HYHQW RI WUDQVIHU RI WKLV 1RWH WKLV 1RWH ZLOO EH LQWHUSUHWHG DQG HQIRUFHG XQGHU )HGHUDO ODZ LQFOXGLQJ
    6%$ UHJXODWLRQV 7KH 1RWHKROGHU RU 6%$ PD\ XVH VWDWH RU ORFDO SURFHGXUHV IRU ILOLQJ SDSHUV UHFRUGLQJ GRFXPHQWV JLYLQJ QRWLFH
    IRUHFORVLQJ OLHQV DQG RWKHU SXUSRVHV %\ XVLQJ VXFK SURFHGXUHV 6%$ GRHV QRW ZDLYH DQ\ )HGHUDO LPPXQLW\ IURP VWDWH RU ORFDO FRQWURO
    SHQDOW\ WD[ RU OLDELOLW\ $V WR WKLV 1RWH WKH %RUURZHU PD\ QRW FODLP RU DVVHUW DJDLQVW 6%$ DQ\ ORFDO RU VWDWH ODZ WR GHQ\ DQ\ REOLJDWLRQ
    GHIHDWDQ\FODLPRI6%$RUSUHHPSW)HGHUDOODZ

    %,1',1*$5%,75$7,218QOHVV6%$LVWKHKROGHURIWKLV1RWHWKH1RWHKROGHUDQGWKH%RUURZHULUUHYRFDEO\DQGXQFRQGLWLRQDOO\DJUHHWR
    DUELWUDWHDOOGLVSXWHVDULVLQJXQGHURULQFRQQHFWLRQZLWKWKLV$JUHHPHQWE\DQHXWUDODUELWUDWRUZKRKDVWKHSRZHUWRDZDUGWKHVDPH
    GDPDJHVDQGUHOLHIWKDWDFRXUWFDQ$1<$5%,75$7,2181'(57+,6$*5((0(17:,//21/<%(21$1,1',9,'8$/%$6,6
    &/$66$5%,75$7,216&/$66$&7,2165(35(6(17$7,9($&7,216$1'&2162/,'$7,21:,7+27+(5$5%,75$7,216
    $5(1273(50,77('7+(%2552:(5+(5(%<,55(92&$%/<:$,9(6727+()8//(67(;7(173(50,77('%<
    $33/,&$%/(/$:$1<5,*+7,70$<+$9(72$75,$/%<-85<,1$1</(*$/352&((',1*',5(&7/<25,1',5(&7/<
    5(/$7,1*727+,6127(257+(75$16$&7,216&217(03/$7('+(5(%<:+(7+(5%$6('21&2175$&7725725
    $1<27+(57+(25<7+(%2552:(5:$,9(6$1<5,*+7723$57,&,3$7(,1$&/$66$&7,21$*$,1677+(
    127(+2/'(5 25$1<2)7+(,55(63(&7,9($66,*1((625$*(176,IDQ\SURYLVLRQRIWKLVDUELWUDWLRQDJUHHPHQWLVIRXQG
    XQHQIRUFHDEOHWKHXQHQIRUFHDEOHSURYLVLRQZLOOEHVHYHUHGDQGWKHUHPDLQLQJDUELWUDWLRQWHUPVZLOOEHHQIRUFHG EXWLQQRFDVHZLOOWKHUH
    EHDFODVVDUELWUDWLRQ $OOGLVSXWHVZLOOEHUHVROYHGILQDOO\DQGH[FOXVLYHO\E\ELQGLQJLQGLYLGXDODUELWUDWLRQZLWKDVLQJOHDUELWUDWRU
    DGPLQLVWHUHGE\WKH$PHULFDQ$UELWUDWLRQ$VVRFLDWLRQ ZZZDGURUJ DFFRUGLQJWRWKLV6HFWLRQDQGWKHDSSOLFDEOHDUELWUDWLRQUXOHVIRUWKDW
    IRUXP7KHDUELWUDWRUZLOOEHUHVSRQVLEOHIRUGHWHUPLQLQJDOOWKUHVKROGDUELWUDELOLW\LVVXHVLQFOXGLQJLVVXHVUHODWLQJWRZKHWKHUWKLV1RWHLV
    XQFRQVFLRQDEOHRULOOXVRU\DQGDQ\GHIHQVHWRDUELWUDWLRQLQFOXGLQJZDLYHUGHOD\ODFKHVRUHVWRSSHO7KH)HGHUDO$UELWUDWLRQ$FW86&
    IXOO\DSSOLHV$Q\DUELWUDWLRQKHDULQJZLOORFFXULQ6DQ)UDQFLVFR&DOLIRUQLDRURWKHUPXWXDOO\DJUHHDEOHORFDWLRQ7KHDUELWUDWRU¶V
    DZDUGZLOOEHELQGLQJRQWKHSDUWLHVDQGPD\EHHQWHUHGDVDMXGJPHQWLQDQ\FRXUWRIFRPSHWHQWMXULVGLFWLRQ)RUDQ\GLVSXWHDJDLQVW
                                                   ),1$/&(/7,&%$1.333/2$1127(
                                                                   3DJHRI
     
        Case 0:22-cr-60028-WPD  Document
                                    
                                             74-1 Entered on FLSD Docket 09/09/2022 Page 33 of
                                                  240

    1RWHKROGHU1RWHKROGHUZLOOSD\DOOWKHDUELWUDWLRQIHHV,IWKH%RUURZHUSUHYDLOVRQDQ\FODLPIRUZKLFKWKH%RUURZHULVOHJDOO\HQWLWOHGWR
    DWWRUQH\¶VIHHVWKH%RUURZHUPD\VHHNWRUHFRYHUWKRVHIHHVLQWKHDUELWUDWLRQ)RUDQ\FODLPZKHUHWKH%RUURZHULVVHHNLQJUHOLHIWKH
    1RWHKROGHUZLOOQRWVHHNWRKDYHWKH%RUURZHUSD\WKH1RWHKROGHU¶VDWWRUQH\¶VIHHVHYHQLIIHHVPLJKWRWKHUZLVHEHDZDUGHGXQOHVVWKH
    DUELWUDWRUGHWHUPLQHVWKDWWKH%RUURZHU¶VFODLPZDVIULYRORXV)RUSXUSRVHVRIWKLVDUELWUDWLRQSURYLVLRQUHIHUHQFHVWRWKH%RUURZHURUWKH
    1RWHKROGHUDOVRLQFOXGHUHVSHFWLYHVXEVLGLDULHVDIILOLDWHVDJHQWVHPSOR\HHVSUHGHFHVVRUVVXFFHVVRUVDQGDVVLJQVDVZHOODVDXWKRUL]HG
    XVHUVRUEHQHILFLDULHVRIWKH3333URJUDP6XEMHFWWRDQGZLWKRXWZDLYHURIWKHDUELWUDWLRQSURYLVLRQVDERYHWKH%RUURZHUDJUHHVWKDWDQ\
    MXGLFLDOSURFHHGLQJVZLOOEHEURXJKWLQDQGWKH%RUURZHUFRQVHQWVWRWKHH[FOXVLYHMXULVGLFWLRQDQGYHQXHLQWKHVWDWHFRXUWVLQWKH&LW\DQG
    &RXQW\RI6DOW/DNH8WDKRUIHGHUDOFRXUWIRUWKH1RUWKHUQ'LVWULFWRI8WDK

    ,QWHJUDWLRQ 7KLV 1RWH FRQVWLWXWHV WKH HQWLUH FRQWUDFW EHWZHHQ WKH %RUURZHU DQG &HOWLF %DQN ZLWK UHVSHFW WR WKH VXEMHFW PDWWHU KHUHRI
    DQGVXSHUVHGHVDOOSUHYLRXVDJUHHPHQWVDQGXQGHUVWDQGLQJVRUDORUZULWWHQZLWKUHVSHFWWKHUHWR

    $PHQGPHQWV DQG :DLYHUV 1R WHUP RI WKLV 1RWH PD\ EH ZDLYHG PRGLILHG RU DPHQGHG H[FHSW E\ DQ LQVWUXPHQW LQ ZULWLQJ VLJQHG E\ WKH
    %RUURZHU DQG WKH 1RWHKROGHU $Q\ ZDLYHU RI WKH WHUPV KHUHRI VKDOO EH HIIHFWLYH RQO\ LQ WKH VSHFLILF LQVWDQFH DQG IRU WKH VSHFLILF SXUSRVH
    JLYHQ

    &RQVHQW WR 8VH (OHFWURQLF 6LJQDWXUH ,Q RUGHU WR UHFHLYH WKH /RDQ DPRXQW &HOWLF %DQN PXVW SURYLGH WKH %RUURZHU FHUWDLQ GLVFORVXUHV
    UHTXLUHG E\ ODZ %\ VXEPLWWLQJ WKH %RUURZHU¶V DSSOLFDWLRQ DQG DJUHHLQJ WR WKH WHUPV RI WKLV 1RWH ZKLFK WKH %RUURZHU FROOHFWLYHO\ DGRSWV
    DV LWV HOHFWURQLF VLJQDWXUH WKH %RUURZHU FRQVHQWV DQG DJUHHV WKDW L &HOWLF %DQN DQG DQ\ 1RWHKROGHU FDQ SURYLGH DOO GLVFORVXUHV
    UHTXLUHG E\ ODZ DQG RWKHU LQIRUPDWLRQ DERXW WKH %RUURZHU¶V OHJDO ULJKWV DQG GXWLHV WR WKH %RUURZHU HOHFWURQLFDOO\ LQFOXGLQJ E\ HPDLO D
    :HEVLWH SRUWDO RU PRELOH SKRQH DSSOLFDWLRQ LL WKH %RUURZHU¶V HOHFWURQLF VLJQDWXUH RQ DJUHHPHQWV DQG GRFXPHQWV KDV WKH VDPH HIIHFW
    DV LI WKH %RUURZHU VLJQHG WKHP LQ LQN DQG LV HYLGHQFH RI WKH %RUURZHU¶V LQWHQWLRQ WR EH ERXQG E\ WKLV 1RWH LLL (OHFWURQLF GLVFORVXUHV
    KDYH WKH VDPH PHDQLQJ DQG HIIHFW DV LI WKH %RUURZHU ZHUH SURYLGHG SDSHU GLVFORVXUHV LY 'LVFORVXUHV DUH FRQVLGHUHG UHFHLYHG E\ WKH
    %RUURZHU ZLWKLQ  KRXUV RI WKH WLPH SRVWHG WR &HOWLF %DQN¶V RU DQ\ 1RWHKROGHU¶V ZHEVLWH RU ZLWKLQ  KRXUV RI WKH WLPH HPDLOHG WR WKH
    %RUURZHU XQOHVV &HOWLF %DQN RU 1RWHKROGHU UHFHLYHV QRWLFH WKDW WKH HPDLO ZDV QRW GHOLYHUHG Y &HOWLF %DQN RU 1RWHKROGHU UHVHUYHV WKH
    ULJKW WR FDQFHO WKLV HOHFWURQLF GLVFORVXUH VHUYLFH FKDQJH WKH WHUPV RI XVH RI WKLV VHUYLFH RU VHQG GLVFORVXUHV LQ SDSHU IRUP DW DQ\ WLPH
     YL &HOWLF %DQN RU 1RWHKROGHU LV UHVSRQVLEOH IRU VHQGLQJ QRWLFH RI WKH GLVFORVXUHV WR WKH %RUURZHU HOHFWURQLFDOO\ EXW &HOWLF %DQN RU
    1RWHKROGHU DUH QRW UHVSRQVLEOH IRU DQ\ GHOD\ RU IDLOXUH LQ WKH %RUURZHU¶V UHFHLSW RU UHYLHZ RI WKH HPDLO QRWLFHV 7KH %RUURZHU DJUHHV
    DQG FRQILUPV WKDW WKH %RUURZHU KDV DFFHVV WR WKH QHFHVVDU\ HTXLSPHQW WR UHFHLYH DFFHVV DQG SULQW DQ\ GLVFORVXUHV WKDW PD\ EH
    SURYLGHG LQ HOHFWURQLF IRUP 7KH %RUURZHU ZLOO QRW VHHN WR ZLWKGUDZ WKH %RUURZHU¶V FRQVHQW IRU HOHFWURQLF VLJQDWXUH DQG GLVFORVXUHV
    ZKLOHWKH%RUURZHUKDVDQRXWVWDQGLQJ/RDQEDODQFH

    $FFHVV WR 'LVFORVXUHV 7KH %RUURZHU XQGHUVWDQGV WKDW LQ RUGHU WR DFFHVV DQG UHWDLQ WKH HOHFWURQLF GLVFORVXUHV WKH %RUURZHU ZLOO QHHG
    WKH IROORZLQJ L $ FRPSXWHU RU PRELOH GHYLFH ZLWK ,QWHUQHW RU PRELOH FRQQHFWLYLW\ LL )RU GHVNWRS ZHEVLWHEDVHG &RPPXQLFDWLRQV D
    /DWHVW ZHE EURZVHU WKDW LQFOXGHV ELW HQFU\SWLRQ E 7KH EURZVHU PXVW KDYH FRRNLHV HQDEOHG 8VH RI EURZVHU H[WHQVLRQV PD\
    LPSDLU IXOO ZHEVLWH IXQFWLRQDOLW\ F 0LQLPXP UHFRPPHQGHG EURZVHU VWDQGDUGV DUH 0R]LOOD )LUHIR[ ODWHVW YHUVLRQ VHH
    KWWSZZZPR]LOODFRP IRU ODWHVW YHUVLRQ  $SSOH 6DIDUL ODWHVW YHUVLRQ VHH KWWSZZZDSSOHFRPVDIDUL IRU ODWHVW YHUVLRQ  RU &KURPH
    ODWHVW YHUVLRQ VHH KWWSZZZJRRJOHFRPFKURPH IRU ODWHVW YHUVLRQ  LLL )RU PRELOHEDVHG &RPPXQLFDWLRQV D $ ODWHVW GHYLFH
    RSHUDWLQJ V\VWHP WKDW VXSSRUWV WH[W PHVVDJLQJ GRZQORDGLQJ DQG DSSOLFDWLRQV IURP WKH $SSOH $SS 6WRUH RU *RRJOH 3OD\ VWRUH DQG E
    7KH ODWHVW YHUVLRQ RI 6DIDUL RU &KURPH RQ L26 RU WKH ODWHVW YHUVLRQ RI &KURPH IRU $QGURLG LY $FFHVV WR WKH HPDLO DGGUHVV XVHG WR
    FUHDWH \RXU &HOWLF %DQN DFFRXQW Y 6XIILFLHQW VWRUDJH VSDFH WR VDYH &RPPXQLFDWLRQV DQGRU D SULQWHU WR SULQW WKHP YL 8VH RI VSDP
    ILOWHUVPD\EORFNRUUHURXWHHPDLOVIURPVHQGHUVQRWOLVWHGLQ\RXUHPDLODGGUHVVERRN

    $GGLWLRQDO &RPPXQLFDWLRQV 7KH %RUURZHU FRQVHQWV WR DFFHSW DQG UHFHLYH FRPPXQLFDWLRQV IURP &HOWLF %DQN DQG DQ\ 1RWHKROGHU
    LQFOXGLQJ HPDLO WH[W PHVVDJHV FDOOV DQG SXVK QRWLILFDWLRQV WR WKH FHOOXODU WHOHSKRQH QXPEHU WKH %RUURZHU SURYLGHV 7KHVH
    QRQWHOHPDUNHWLQJ FRPPXQLFDWLRQV PD\ EH JHQHUDWHG E\ DXWRPDWLF WHOHSKRQH GLDOLQJ V\VWHPV ZKLFK ZLOO GHOLYHU SUHUHFRUGHG
    PHVVDJHV LQFOXGLQJ IRU WKH SXUSRVHV RI VHFRQGDU\ DXWKHQWLFDWLRQ UHFHLSWV UHPLQGHUV DQG RWKHU QRWLILFDWLRQV 6WDQGDUG PHVVDJH DQG
    GDWD UDWHV DSSOLHG E\ WKH %RUURZHU¶V FHOO SKRQH FDUULHU PD\ DSSO\ WR WKH WH[W PHVVDJHV &HOWLF %DQN RU DQ\ 1RWHKROGHU VHQGV WKH
    %RUURZHU7KH%RUURZHUPD\RQO\RSWRXWRIUHFHLYLQJWH[WPHVVDJHFRPPXQLFDWLRQVE\UHSO\LQJ6723WRWH[WPHVVDJHV

    1R :DLYHU &XPXODWLYH 5HPHGLHV 1R IDLOXUH E\ &HOWLF %DQN RU DQ\ VXEVHTXHQW 1RWHKROGHU WR H[HUFLVH DQG QR GHOD\ LQ H[HUFLVLQJ DQ\
    ULJKW UHPHG\ RU SRZHU KHUHXQGHU VKDOO RSHUDWH DV D ZDLYHU WKHUHRI QRU VKDOO DQ\ VLQJOH RU SDUWLDO H[HUFLVH RI DQ\ ULJKW UHPHG\ RU
    SRZHU KHUHXQGHU SUHFOXGH DQ\ RWKHU RU IXUWKHU H[HUFLVH WKHUHRI RU WKH H[HUFLVH RI DQ\ RWKHU ULJKW UHPHG\ RU SRZHU 7KH ULJKWV
    UHPHGLHVDQGSRZHUVKHUHLQSURYLGHGDUHFXPXODWLYHDQGQRWH[FOXVLYHRIDQ\RWKHUULJKWVUHPHGLHVRUSRZHUVSURYLGHGE\ODZ

    6HYHUDELOLW\ ,I DQ\ WHUP RU SURYLVLRQ RI WKLV 1RWH LV LQYDOLG LOOHJDO RU XQHQIRUFHDEOH LQ DQ\ MXULVGLFWLRQ VXFK LQYDOLGLW\ LOOHJDOLW\ RU
    XQHQIRUFHDELOLW\ VKDOO QRW DIIHFW DQ\ RWKHU WHUP RU SURYLVLRQ RI WKLV 1RWH RU UHQGHU VXFK WHUP RU SURYLVLRQ LQYDOLG RU XQHQIRUFHDEOH LQ DQ\
    RWKHUMXULVGLFWLRQ

    &RXQWHUSDUWV 7KLV 1RWH DQG DQ\ DPHQGPHQWV ZDLYHUV FRQVHQWV RU VXSSOHPHQWV KHUHWR PD\ EH H[HFXWHG LQ FRXQWHUSDUWV HDFK RI
    ZKLFKVKDOOFRQVWLWXWHDQRULJLQDOEXWDOORIZKLFKWDNHQWRJHWKHUVKDOOFRQVWLWXWHDVLQJOHFRQWUDFW

    7KLUG3DUW\%HQHILFLDU\$Q\DVVLJQHHRIWKLV1RWHVKDOOEHGHHPHGWREHDWKLUGSDUW\EHQHILFLDU\WRWKLV1RWHDQGLVHQWLWOHGWRWKH
    ULJKWVDQGEHQHILWVKHUHXQGHUDQGPD\HQIRUFHWKHSURYLVLRQVKHUHRIDVLIWKH\ZHUHDSDUW\KHUHWR
                                                    ),1$/ &(/7,& %$1. 333 /2$1 127(   
                                                                    3DJH  RI 
     
           Case 0:22-cr-60028-WPD  Document
                                       
                                                74-1 Entered on FLSD Docket 09/09/2022 Page 34 of
                                                     240


    1RQ5HFRXUVH 1RWHKROGHU DQG 6%$ VKDOO KDYH QR UHFRXUVH DJDLQVW DQ\ LQGLYLGXDO VKDUHKROGHU PHPEHU RU SDUWQHU RI %RUURZHU IRU
    QRQSD\PHQW RI WKH ORDQ H[FHSW WR WKH H[WHQW WKDW VXFK VKDUHKROGHU PHPEHU RU SDUWQHU XVHV WKH ORDQ SURFHHGV IRU DQ XQDXWKRUL]HG
    SXUSRVH

    (UURUV DQG 2PLVVLRQV 7KH XQGHUVLJQHG %RUURZHU IRU DQG LQ FRQVLGHUDWLRQ RI &HOWLF %DQN IXQGLQJ WKH FORVLQJ RI WKLV /RDQ DJUHHV LI
    UHTXHVWHG E\ &HOWLF %DQN RU LWV DVVLJQHHV WR IXOO\ FRRSHUDWH DQG DGMXVW IRU FOHULFDO HUURUV DQ\ RU DOO /RDQ FORVLQJ GRFXPHQWDWLRQ LI
    GHHPHGQHFHVVDU\RUGHVLUDEOHLQWKHUHDVRQDEOHGLVFUHWLRQRI&HOWLF%DQNRULWVDVVLJQHHV



    81'(56,*1('%2552:(5$&.12:/('*(67+$7+(6+(,67+($87+25,=('5(35(6(17$7,9(2)7+($33/,&$17
    $1'+$9,1*5($'$//7+(3529,6,2162)7+,6/2$1'2&80(17$1'$*5((672,767(506

    %< 6,*1,1* 7+( %2552:(5 $*5((6 7+$7 $// ,1)250$7,21 3529,'(' ,1 7+,6 $33/,&$7,21 $1' $//
    6833257,1* '2&80(176 $1' )2506 72 2%7$,1 7+,6 /2$1 $5( 758( $1' $&&85$7( ,1 $// 0$7(5,$/
    5(63(&76 $1' 7+$7 $1< .12:1 )$/6( 67$7(0(176 $5( 381,6+$%/( %< ),1( ,035,6210(17 25 %27+


   ,1:,71(66:+(5(2)WKH%RUURZHUKDVH[HFXWHGDQG
                               
   DFFHSWHGWKLV1RWHDVRI


   %' !%#

   1DPH


   6LJQDWXUH


    & "


   7LWOH




    (TXDO&UHGLW2SSRUWXQLW\$FW 86&
    7KH)HGHUDO(TXDO&UHGLW2SSRUWXQLW\$FWSURKLELWVFUHGLWRUVIURPGLVFULPLQDWLQJDJDLQVWFUHGLWDSSOLFDQWVRQWKHEDVLVRIUDFHFRORU
    UHOLJLRQQDWLRQDORULJLQVH[PDULWDOVWDWXVRUDJH SURYLGHGWKHDSSOLFDQWKDVWKHFDSDFLW\WRHQWHULQWRDELQGLQJFRQWUDFW EHFDXVHDOO
    RUSDUWRIWKHDSSOLFDQW VLQFRPHGHULYHVIURPDQ\SXEOLFDVVLVWDQFHSURJUDPRUEHFDXVHWKHDSSOLFDQWKDVLQJRRGIDLWKH[HUFLVHGDQ\
    ULJKWXQGHUWKH&RQVXPHU&UHGLW3URWHFWLRQ$FW




                                                    ),1$/ &(/7,& %$1. 333 /2$1 127(   
                                                                    3DJH  RI 
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 35 of
                                     240
                                                                 22-60028-CR-WPD




                                                                   204a
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 36 of
                                     240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 37 of
                                     240

                                                              22-60028-CR-WPD




                                                                205a
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 38 of
                                     240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 39 of
                                     240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 40 of
                                     240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 41 of
                                     240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 42 of
                                     240

                                                                   22-60028-CR-WPD




                                                                     205b
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 43 of
                                     240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 44 of
                                     240

                                                                     22-60028-CR-WPD




                                                                       205c
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 45 of
                                     240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 46 of
                                     240
                                                               22-60028-CR-WPD




                                                                 205d
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 47 of
                                     240
                                                                 22-60028-CR-WPD




                                                                   205e
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 48 of
                                     240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 49 of
                                     240

                                                                        22-60028-CR-WPD




                                                                          205f
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 50 of
                                     240
  
                            
           Case 0:22-cr-60028-WPD        Document 74-1 Entered on FLSD Docket 09/09/2022 Page 51 of
                                                          240
                                               Paycheck Protection Program              OMB Control No.: 3245-0407
                                                                    Borrower Application Form                                               Expiration Date: 09/30/2020


          Check One:          Sole proprietor    Partnership
                                                         (      C-Corp  S-Corp 
                                                                                        LLC                          DBA or Tradename if Applicable
                              Independent contractor  Eligible self-employed individual
                              501(c)(3) nonprofit  501(c)(19) veterans organization
                              Tribal business (sec. 31(b)(2)(C) of Small Business Act) Other

                                              Business Legal Name
      J            C
                                                Business Address                                             Business TIN (EIN, SSN)         Business Phone
                                                                                                                    4312                ( )    -
                                                                                                                                       9545220030

      Pompano Beach FL                                                                                          Primary Contact               Email Address
                                                                                                         J          C                  value33069@gmail.com


          Average Monthly Payroll:         $ 7765.00               x 2.5 + EIDL, Net of              $ 19412.00             Number of Employees: 1
                                                                   Advance (if Applicable)
                                                                   Equals Loan Request:
          Purpose of the loan
          (select more than one):           X Payroll տLease / Mortgage Interest տUtilities տOther (explain):__________________
                                            ‫܆‬

                                                                   Applicant Ownership
       List all owners of 20% or more of the equity of the Applicant. Attach a separate sheet if necessary.

                         Owner Name                                Title               Ownership %    TIN (EIN, SSN)                      Address
      J      C                                         Owner                          100.00                 4312                                Pompano Beach FL



                 If questions (1) or (2) below are answered “Yes,” the loan will not be approved.
                                                                       Question                                                                           Yes      No
            1.     Is the Applicant or any owner of the Applicant presently suspended, debarred, proposed for debarment, declared ineligible,           
                   voluntarily excluded from participation in this transaction by any Federal department or agency, or presently involved in any
                   bankruptcy?
                                                                                                                                                        ‫܆‬
                                                                                                                                                         ‫܆‬


            2.     Has the Applicant, any owner of the Applicant, or any business owned or controlled by any of them, ever obtained a direct or           ‫܆܆‬
                                                                                                                                                          
                   guaranteed loan from SBA or any other Federal agency that is currently delinquent or has defaulted in the last 7 years and
                   caused a loss to the government?

            3.     Is the Applicant or any owner of the Applicant an owner of any other business, or have common management with, any other               ‫܆܆‬
                                                                                                                                                          
                   business? If yes, list all such businesses and describe the relationship on a separate sheet identified as addendum A.

            4.     Has the Applicant received an SBA Economic Injury Disaster Loan between January 31, 2020 and April 3, 2020? If yes,                    ‫܆܆‬
                                                                                                                                                          
                   provide details on a separate sheet identified as addendum B.

                 If questions (5) or (6) are answered “Yes,” the loan will not be approved.
                                                                      Question                                                                  Yes          No
            5.      Is the Applicant (if an individual) or any individual owning 20% or more of the equity of the Applicant subject
                    to an indictment, criminal information, arraignment, or other means by which formal criminal charges are                    ‫܆‬
                                                                                                                                                             ‫܆‬
                    brought in any jurisdiction, or presently incarcerated, or on probation or parole?
                    Initial here to confirm your response to question 5 ĺ

            6.      Within the last 5 years, for any felony, has the Applicant (if an individual) or any owner of the Applicant 1)
                    been convicted; 2) pleaded guilty; 3) pleaded nolo contendere; 4) been placed on pretrial diversion; or 5) been
                    placed on any form of parole or probation (including probation before judgment)?
                                                                                                                                                ‫܆‬
                                                                                                                                                  ‫܆‬
                    Initial here to confirm your response to question 6 ĺ

            7.      Is the United States the principal place of residence for all employees of the Applicant included in the
                    Applicant’s payroll calculation above?
                                                                                                                                               ‫܆‬             ‫܆‬
                                                                                                                                                              


            8.      Is the Applicant a franchise that is listed in the SBA’s Franchise Directory?
                                                                                                                                               ‫܆‬
                                                                                                                                                             ‫܆‬

                                                                                  1
   SBA Form 2483 (04/20)
  
                          
         Case 0:22-cr-60028-WPD        Document 74-1 Entered on FLSD Docket 09/09/2022 Page 52 of
                                                        240
                                             Paycheck Protection Program
                                                                Borrower Application Form

    By Signing Below, You Make the Following Representations, Authorizations, and Certifications

    CERTIFICATIONS AND AUTHORIZATIONS
    I certify that:
            x I have read the statements included in this form, including the Statements Required by Law and Executive Orders, and I understand them.
            x The Applicant is eligible to receive a loan under the rules in effect at the time this application is submitted that have been issued by the
                 Small Business Administration (SBA) implementing the Paycheck Protection Program under Division A, Title I of the Coronavirus
                 Aid, Relief, and Economic Security Act (CARES Act) (the Paycheck Protection Program Rule).
            x The Applicant (1) is an independent contractor, eligible self-employed individual, or sole proprietor or (2) employs no more
                 than the greater of 500 or employees or, if applicable, the size standard in number of employees established by the SBA in 13
                 C.F.R. 121.201 for the Applicant’s industry.
            x I will comply, whenever applicable, with the civil rights and other limitations in this form.
            x All SBA loan proceeds will be used only for business-related purposes as specified in the loan application and consistent with the
                 Paycheck Protection Program Rule.
            x To the extent feasible, I will purchase only American-made equipment and products.
            x The Applicant is not engaged in any activity that is illegal under federal, state or local law.
            x Any loan received by the Applicant under Section 7(b)(2) of the Small Business Act between January 31, 2020 and April 3, 2020 was
                 for a purpose other than paying payroll costs and other allowable uses loans under the Paycheck Protection Program Rule.

    For Applicants who are individuals: I authorize the SBA to request criminal record information about me from criminal justice agencies for the
    purpose of determining my eligibility for programs authorized by the Small Business Act, as amended.

    CERTIFICATIONS
    The authorized representative of the Applicant must certify in good faith to all of the below by initialing next to each one:

    _____      The Applicant was in operation on February 15, 2020 and had employees for whom it paid salaries and payroll taxes or paid independent
               contractors, as reported on Form(s) 1099-MISC.

    _____      Current economic uncertainty makes this loan request necessary to support the ongoing operations of the Applicant.

    _____      The funds will be used to retain workers and maintain payroll or make mortgage interest payments, lease payments, and utility payments,
               as specified under the Paycheck Protection Program Rule; I understand that if the funds are knowingly used for unauthorized purposes,
               the federal government may hold me legally liable, such as for charges of fraud.

    _____      The Applicant will provide to the Lender documentation verifying the number of full-time equivalent employees on the Applicant’s
               payroll as well as the dollar amounts of payroll costs, covered mortgage interest payments, covered rent payments, and covered utilities
               for the eight-week period following this loan.

    _____      I understand that loan forgiveness will be provided for the sum of documented payroll costs, covered mortgage interest payments,
               covered rent payments, and covered utilities, and not more than 25% of the forgiven amount may be for non-payroll costs.

    _____      During the period beginning on February 15, 2020 and ending on December 31, 2020, the Applicant has not and will not receive another
               loan under the Paycheck Protection Program.

    _____      I further certify that the information provided in this application and the information provided in all supporting documents and
               forms is true and accurate in all material respects. I understand that knowingly making a false statement to obtain a guaranteed loan
               from SBA is punishable under the law, including under 18 USC 1001 and 3571 by imprisonment of not more than five years and/or a
               fine of up to $250,000; under 15 USC 645 by imprisonment of not more than two years and/or a fine of not more than $5,000; and, if
               submitted to a federally insured institution, under 18 USC 1014 by imprisonment of not more than thirty years and/or a fine of not
               more than $1,000,000.

    _____      I acknowledge that the lender will confirm the eligible loan amount using required documents submitted. I understand,
               acknowledge and agree that the Lender can share any tax information that I have provided with SBA's authorized representatives,
               including authorized representatives of the SBA Office of Inspector General, for the purpose of compliance with SBA Loan
               Program Requirements and all SBA reviews.
                                                                                                      
     ___       ___         _______________________________________                                    ________________________
     Signature of Authorized Representative of Applicant                                              Date
                                                                                                        

     Print Name                                                                                       Title


                                                                             2
   SBA Form 2483 (04/20)
  
                          
         Case 0:22-cr-60028-WPD        Document 74-1 Entered on FLSD Docket 09/09/2022 Page 53 of
                                                        240
                                             Paycheck Protection Program
                                                                Borrower Application Form


     Purpose of this form:

     This form is to be completed by the authorized representative of the Applicant and submitted to your SBA Participating Lender. Submission of
     the requested information is required to make a determination regarding eligibility for financial assistance. Failure to submit the information
     would affect that determination.

     Instructions for completing this form:

     With respect to “purpose of the loan,” payroll costs consist of compensation to employees (whose principal place of residence is the United
     States) in the form of salary, wages, commissions, or similar compensation; cash tips or the equivalent (based on employer records of past tips
     or, in the absence of such records, a reasonable, good-faith employer estimate of such tips); payment for vacation, parental, family, medical, or
     sick leave; allowance for separation or dismissal; payment for the provision of employee benefits consisting of group health care coverage,
     including insurance premiums, and retirement; payment of state and local taxes assessed on compensation of employees; and for an
     independent contractor or sole proprietor, wage, commissions, income, or net earnings from self-employment or similar compensation.

     For purposes of calculating “Average Monthly Payroll,” most Applicants will use the average monthly payroll for 2019, excluding costs over
     $100,000 on an annualized basis for each employee. For seasonal businesses, the Applicant may elect to instead use average monthly payroll
     for the time period between February 15, 2019 and June 30, 2019, excluding costs over $100,000 on an annualized basis for each employee.
     For new businesses, average monthly payroll may be calculated using the time period from January 1, 2020 to February 29, 2020, excluding
     costs over $100,000 on an annualized basis for each employee.

     If Applicant is refinancing an Economic Injury Disaster Loan (EIDL): Add the outstanding amount of an EIDL made between January 31, 2020
     and April 3, 2020, less the amount of any “advance” under an EIDL COVID-19 loan, to Loan Request as indicated on the form.

     All parties listed below are considered owners of the Applicant as defined in 13 CFR § 120.10, as well as “principals”:

       x For a sole proprietorship, the sole proprietor;
       x For a partnership, all general partners, and all limited partners owning 20% or more of the equity of the firm;
       x For a corporation, all owners of 20% or more of the corporation;
       x For limited liability companies, all members owning 20% or more of the company; and
       x Any Trustor (if the Applicant is owned by a trust).
      Paperwork Reduction Act – You are not required to respond to this collection of information unless it displays a currently valid OMB
      Control Number. The estimated time for completing this application, including gathering data needed, is 8 minutes. Comments about this time
      or the information requested should be sent to : Small Business Administration, Director, Records Management Division, 409 3rd St., SW,
      Washington DC 20416., and/or SBA Desk Officer, Office of Management and Budget, New Executive Office Building, Washington DC
      20503.
      Privacy Act (5 U.S.C. 552a) – Under the provisions of the Privacy Act, you are not required to provide your social security number. Failure to
      provide your social security number may not affect any right, benefit or privilege to which you are entitled. (But see Debt Collection Notice
      regarding taxpayer identification number below.) Disclosures of name and other personal identifiers are required to provide SBA with
      sufficient information to make a character determination. When evaluating character, SBA considers the person’s integrity, candor, and
      disposition toward criminal actions. Additionally, SBA is specifically authorized to verify your criminal history, or lack thereof, pursuant to
      section 7(a)(1)(B), 15 USC Section 636(a)(1)(B) of the Small Business Act (the Act).

      Disclosure of Information – Requests for information about another party may be denied unless SBA has the written permission of the
      individual to release the information to the requestor or unless the information is subject to disclosure under the Freedom of Information Act.
      The Privacy Act authorizes SBA to make certain “routine uses” of information protected by that Act. One such routine use is the disclosure of
      information maintained in SBA’s system of records when this information indicates a violation or potential violation of law, whether civil,
      criminal, or administrative in nature. Specifically, SBA may refer the information to the appropriate agency, whether Federal, State, local or
      foreign, charged with responsibility for, or otherwise involved in investigation, prosecution, enforcement or prevention of such violations.
      Another routine use is disclosure to other Federal agencies conducting background checks but only to the extent the information is relevant to
      the requesting agencies' function. See, 74 F.R. 14890 (2009), and as amended from time to time for additional background and other routine
      uses. In addition, the CARES Act, requires SBA to register every loan made under the Paycheck Protection Act using the Taxpayer
      Identification Number (TIN) assigned to the borrower.
      Debt Collection Act of 1982, Deficit Reduction Act of 1984 (31 U.S.C. 3701 et seq. and other titles) – SBA must obtain your taxpayer
      identification number when you apply for a loan. If you receive a loan, and do not make payments as they come due, SBA may: (1) report the
      status of your loan(s) to credit bureaus, (2) hire a collection agency to collect your loan, (3) offset your income tax refund or other amounts
      due to you from the Federal Government, (4) suspend or debar you or your company from doing business with the Federal Government, (5)
      refer your loan to the Department of Justice, or (6) foreclose on collateral or take other action permitted in the loan instruments.
      Right to Financial Privacy Act of 1978 (12 U.S.C. 3401) – The Right to Financial Privacy Act of 1978, grants SBA access rights to
      financial records held by financial institutions that are or have been doing business with you or your business including any financial

                                                                             3
   SBA Form 2483 (04/20)
  
                          
         Case 0:22-cr-60028-WPD        Document 74-1 Entered on FLSD Docket 09/09/2022 Page 54 of
                                                        240
                                             Paycheck Protection Program
                                                                 Borrower Application Form
      institutions participating in a loan or loan guaranty. SBA is only required provide a certificate of its compliance with the Act to a financial
      institution in connection with its first request for access to your financial records. SBA's access rights continue for the term of any approved
      loan guaranty agreement. SBA is also authorized to transfer to another Government authority any financial records concerning an approved
      loan or loan guarantee, as necessary to process, service or foreclose on a loan guaranty or collect on a defaulted loan guaranty.
      Freedom of Information Act (5 U.S.C. 552) – Subject to certain exceptions, SBA must supply information reflected in agency files and
      records to a person requesting it. Information about approved loans that will be automatically released includes, among other things, statistics
      on our loan programs (individual borrowers are not identified in the statistics) and other information such as the names of the borrowers (and
      their officers, directors, stockholders or partners), the collateral pledged to secure the loan, the amount of the loan, its purpose in general terms
      and the maturity. Proprietary data on a borrower would not routinely be made available to third parties. All requests under this Act are to be
      addressed to the nearest SBA office and be identified as a Freedom of Information request.
      Occupational Safety and Health Act (15 U.S.C. 651 et seq.) – The Occupational Safety and Health Administration (OSHA) can require
      businesses to modify facilities and procedures to protect employees. Businesses that do not comply may be fined, forced to cease operations,
      or prevented from starting operations. Signing this form is certification that the applicant, to the best of its knowledge, is in compliance with
      the applicable OSHA requirements, and will remain in compliance during the life of the loan.
      Civil Rights (13 C.F.R. 112, 113, 117) – All businesses receiving SBA financial assistance must agree not to discriminate in any business
      practice, including employment practices and services to the public on the basis of categories cited in 13 C.F.R., Parts 112, 113, and 117 of
      SBA Regulations. All borrowers must display the "Equal Employment Opportunity Poster" prescribed by SBA.
     Equal Credit Opportunity Act (15 U.S.C. 1691) – Creditors are prohibited from discriminating against credit applicants on the basis of race,
     color, religion, national origin, sex, marital status or age (provided the applicant has the capacity to enter into a binding contract); because all
     or part of the applicant's income derives from any public assistance program; or because the applicant has in good faith exercised any right
     under the Consumer Credit Protection Act.
     Debarment and Suspension Executive Order 12549; (2 CFR Part 180 and Part 2700) – By submitting this loan application, you certify
     that neither the Applicant or any owner of the Applicant have within the past three years been: (a) debarred, suspended, declared ineligible or
     voluntarily excluded from participation in a transaction by any Federal Agency; (b) formally proposed for debarment, with a final
     determination still pending; (c) indicted, convicted, or had a civil judgment rendered against you for any of the offenses listed in the
     regulations or (d) delinquent on any amounts owed to the U.S. Government or its instrumentalities as of the date of execution of this
     certification.




                                                                               4
   SBA Form 2483 (04/20)
  
                          
         Case 0:22-cr-60028-WPD        Document 74-1 Entered on FLSD Docket 09/09/2022 Page 55 of
                                                     240




                                                             Additional Owners (Continued)
       List additional owners of 20% or more of the equity of the Applicant.

                     Owner Name                              Title             Ownership %   TIN (EIN, SSN)   Address




   Additional Owners (Continued)
  
                          
         Case 0:22-cr-60028-WPD        Document 74-1 Entered on FLSD Docket 09/09/2022 Page 56 of
                                                     240

                                                +9  +.$0 0$"+.$.! $"
                           /IEjQ][ÂÂÁÃIIdQ[OZIgQE<[7]gXIgh+<QG<[GZdY]sIGEj]NjPI ./Ej

                                                             ¶¶¶¶
                                                      3520,6625<127(
                                   3/($6(6((,03257$17,1)250$7,21$%2877+,6/2$1%(/2:



    6%$/RDQ                


    'DWHRI/RDQ 

      /HJDO%XVLQHVV1DPH                                       /RDQ$PRXQW  
      'RLQJ%XVLQHVV$V                                             ,QWHUHVW5DWH 
      %XVLQHVV$GGUHVV
                                                                     'DWHRI)LUVW3D\PHQW 
                                                                     /RDQ0DWXULW\'DWH  
        (&)'(!#




    )259$/8(5(&(,9('B             
                                       BBB           BBBBBBBBBBBBBB WKH³%RUURZHU´ KHUHE\SURPLVHVWRSD\DVQHFHVVDU\DQGLQ
    DFFRUGDQFHZLWKWKH3D\FKHFN3URWHFWLRQ3URJUDPXQGHU&)53DUW WKH³333´ WRWKHRUGHURI&(/7,&%$1.&25325$7,21
                                                                                                           
     ³&HOWLF%DQN´ RUVXEVHTXHQWKROGHUVRIWKLV3URPLVVRU\1RWH WKLV³1RWH´ WKHSULQFLSDODPRXQWRIBBBBBBBBBBBBBBBBBBB'ROODUV
     WKH´/RDQ´ WRJHWKHUZLWKDOODFFUXHGLQWHUHVWWKHUHRQZKLFKDPRXQWVKDOOQRWH[FHHGSHUDQQXPDVSURYLGHGLQWKLV1RWH

    $VVLJQDEOH7KLV1RWHPD\EHDVVLJQHGRUWUDQVIHUUHGE\&HOWLF%DQNRUDQ\VXEVHTXHQWKROGHURIWKH1RWHWRDQ\LQGLYLGXDOFRUSRUDWLRQ
    FRPSDQ\OLPLWHGOLDELOLW\FRPSDQ\WUXVWMRLQWYHQWXUHDVVRFLDWLRQSDUWQHUVKLSXQLQFRUSRUDWHGRUJDQL]DWLRQJRYHUQPHQWDODXWKRULW\RU
    RWKHUHQWLW\ZLWKRXWWKHSULRUFRQVHQWRIRUQRWLFHWRDQ\RWKHUSHUVRQ

    0DWXULW\'DWH8QOHVVIRUJLYHQLQZULWLQJRURWKHUZLVHPRGLILHGLQFRPSOLDQFHZLWKWKHWHUPVRIWKH333RURWKHUDSSOLFDEOH6%$
                                            
    UHTXLUHPHQWVWKLV/RDQPDWXUHVRQBBBBBBBBBBBBBBBBB       ³0DWXULW\'DWH´ 
    8VHRI3URFHHGV%RUURZHUVKDOOXVHWKHSURFHHGVRIWKLVORDQRQO\IRUHOLJLEOHH[SHQVHVXQGHUWKHWHUPVRIWKH3337KH%RUURZHUVKDOO
    XVHWKHIXQGVUHFHLYHGXQGHUWKLV1RWHIRUEXVLQHVVSXUSRVHVRQO\DQGQRWIRUSHUVRQDOIDPLO\RUKRXVHKROGSXUSRVHV7KH%RUURZHU
    XQGHUVWDQGVWKDWWKLVLVQRWDFRQVXPHUORDQDQGWKDWVWDWXWRU\DQGUHJXODWRU\SURWHFWLRQVIRUFRQVXPHUVZLOOQRWDSSO\WRWKLV/RDQ

                                                                                         
    5HSD\PHQW5HTXLUHPHQWV%RUURZHUPXVWSD\SULQFLSDODQGLQWHUHVWSD\PHQWVRI>BBBBBBBBBBBBBBB@HYHU\PRQWKEHJLQQLQJRQ
    BBBBBBBBBBBBBBB
              RUWKHLPPHGLDWHO\IROORZLQJEXVLQHVVGD\LIVXFKGD\LVQRWDEXVLQHVVGD\DQGZKLFKGDWHUHIOHFWVDQDXWRPDWLF
                                                                                                                     
    VL[PRQWKGHIHUUDOIURPWKHGDWHRIWKLV/RDQ DQGHQGLQJRQWKH0DWXULW\'DWH3D\PHQWVPXVWEHPDGHRQWKHBBBBBBBBB      RUWKH
    LPPHGLDWHO\IROORZLQJEXVLQHVVGD\LIVXFKGD\LVQRWDEXVLQHVVGD\ LQWKHPRQWKVWKH\DUHGXHDQGEHPDGHLQ86GROODUV7KHVH
    SD\PHQWVZLOOEHDXWRPDWLFDOO\GHELWHGIURPWKH%RUURZHU¶VEDQNDFFRXQWSURYLGHGWR&HOWLF%DQN ³/LQNHG%DQN$FFRXQW´ 
    %RUURZHU¶VUHSD\PHQWREOLJDWLRQZLOOEHUHGXFHGE\WKHDPRXQWRIDQ\ORDQIRUJLYHQHVVJUDQWHGXQGHUWKHWHUPVRIWKH333<RXU
    ILQDOSD\PHQWRQWKH0DWXULW\'DWHPD\YDU\E\XSWRIURP\RXUUHJXODUSD\PHQWDPRXQWDQG\RXDJUHHWRZDLYHDQ\VSHFLDO
    QRWLFHUHTXLUHPHQWVIRUWKLVSD\PHQWYDULDQFH

    /RDQ )RUJLYHQHVV %RUURZHU PD\ DSSO\ WR /HQGHU IRU IRUJLYHQHVV RI WKH DPRXQW GXH RQ WKLV ORDQ LQ DQ DPRXQW HTXDO WR WKH VXP RI WKH
    IROORZLQJFRVWVLQFXUUHGE\%RUURZHUGXULQJWKHZHHNSHULRGEHJLQQLQJRQWKHGDWHRIILUVWGLVEXUVHPHQWRIWKLVORDQ

          D       3D\UROOFRVWV
          E       $Q\ SD\PHQW RI LQWHUHVW RQ D FRYHUHG PRUWJDJH REOLJDWLRQ ZKLFK VKDOO QRW LQFOXGH DQ\ SUHSD\PHQW RI RU SD\PHQW RI SULQFLSDO
                   RQDFRYHUHGPRUWJDJHREOLJDWLRQ
          F       $Q\SD\PHQWRQDFRYHUHGUHQWREOLJDWLRQ
          G       $Q\FRYHUHGXWLOLW\SD\PHQW

          7KH DPRXQW RI ORDQ IRUJLYHQHVV VKDOO EH FDOFXODWHG DQG PD\ EH UHGXFHG LQ DFFRUGDQFH ZLWK WKH UHTXLUHPHQWV RI WKH 3D\FKHFN
          3URWHFWLRQ 3URJUDP LQFOXGLQJ WKH SURYLVLRQV RI 6HFWLRQ  RI WKH &RURQDYLUXV $LG 5HOLHI DQG (FRQRPLF 6HFXULW\ $FW &$5(6 $FW
           3/ 1RWPRUHWKDQRIWKHDPRXQWIRUJLYHQFDQEHDWWULEXWDEOHWRQRQSD\UROOFRVWV

                                                  ),1$/&(/7,&%$1.333/2$1127(
                                                                  3DJHRI
  
                          
         Case 0:22-cr-60028-WPD        Document 74-1 Entered on FLSD Docket 09/09/2022 Page 57 of
                                                     240

          %RUURZHU KDV UHFHLYHG DQ (,'/ DGYDQFH LQ WKH DPRXQW RI                           ZKLFK DPRXQW VKDOO EH VXEWUDFWHG IURP WKH ORDQ
          IRUJLYHQHVVDPRXQW

     /RDQ 3UHSD\PHQW 1RWZLWKVWDQGLQJ DQ\ SURYLVLRQ LQ WKLV 1RWH WR WKH FRQWUDU\ %RUURZHU PD\ SUHSD\ WKLV 1RWH DW DQ\ WLPH ZLWKRXW
     SHQDOW\ %RUURZHU PD\ SUHSD\  SHUFHQW RU OHVV RI WKH XQSDLG SULQFLSDO EDODQFH DW DQ\ WLPH ZLWKRXW QRWLFH ,I %RUURZHU SUHSD\V PRUH
     WKDQ  SHUFHQW DQG WKH /RDQ KDV EHHQ VROG RQ WKH VHFRQGDU\ PDUNHW %RUURZHU PXVW D *LYH /HQGHU ZULWWHQ QRWLFH E 3D\ DOO
     DFFUXHG LQWHUHVW DQG F ,I WKH SUHSD\PHQW LV UHFHLYHG OHVV WKDQ  GD\V IURP WKH GDWH /HQGHU UHFHLYHG WKH QRWLFH SD\ DQ DPRXQW
     HTXDO WR  GD\V LQWHUHVW IURP WKH GDWH OHQGHU UHFHLYHG WKH QRWLFH OHVV DQ\ LQWHUHVW DFFUXHG GXULQJ WKH  GD\V DQG SDLG XQGHU E RI
     WKLV SDUDJUDSK ,I %RUURZHU GRHV QRW SUHSD\ ZLWKLQ  GD\V IURP WKH GDWH /HQGHU UHFHLYHG WKH QRWLFH %RUURZHU PXVW JLYH /HQGHU D
     QHZQRWLFH


    0DQQHU RI 3D\PHQW $OO SD\PHQWV RI SULQFLSDO DQG LQWHUHVW VKDOO EH PDGH LQ 86 GROODUV RQ WKH GDWH RQ ZKLFK VXFK SD\PHQW LV GXH 6XFK
    SD\PHQWV VKDOO EH PDGH E\ $&+ FDVKLHU¶V FKHFN FHUWLILHG FKHFN RU ZLUH WUDQVIHU RI LPPHGLDWHO\ DYDLODEOH IXQGV WR WKH KROGHU RI WKH
    1RWH¶V ³1RWHKROGHU´ DFFRXQW DW D EDQN VSHFLILHG E\ &HOWLF %DQN RU LWV DVVLJQHHV LQ ZULWLQJ WR WKH %RUURZHU IURP WLPH WR WLPH )RU
    SXUSRVHV RI WKLV 1RWH WKH WHUP 1RWHKROGHU VKDOO UHIHU WR WKH RULJLQDO 1RWHKROGHU DQ\ DJHQW RI WKH 1RWHKROGHU RU DQ\ DVVLJQHH RU
    VXEVHTXHQWKROGHURIWKH1RWH

    $&+ $XWKRUL]DWLRQ 7KH %RUURZHU DXWKRUL]HV &HOWLF %DQN RU DQ\ 1RWHKROGHU WR FUHGLW WKH /LQNHG %DQN $FFRXQW ZLWK WKH %RUURZHU¶V /RDQ
    DPRXQW RU ZKHUH RWKHUZLVH UHTXLUHG IRU VHUYLFLQJ RI WKLV /RDQ 7KH %RUURZHU DOVR DXWKRUL]HV WKH 1RWHKROGHU WR DXWRPDWLFDOO\ GHELW DQ\
    SD\PHQWV GXH SXUVXDQW WR WKH WHUPV RI WKLV 1RWH ,I WKH %RUURZHU GHFLGHV WR SUHSD\ WKLV /RDQ WKH %RUURZHU DXWKRUL]HV WKH 1RWHKROGHU
    WR GHELW DQ\ /LQNHG %DQN $FFRXQW ,I DQ\ GHELW DWWHPSW WR WKH /LQNHG %DQN $FFRXQW IDLOV WKH %RUURZHU JUDQWV 1RWHKROGHU DW HDFK
    LQVWDQFH D QHZ RULJLQDO DXWKRUL]DWLRQ WR PDNH QHZ GHELW DWWHPSWV LQ DQ DPRXQW OHVV WKDQ WKH DPRXQW WKHQ FXUUHQWO\ GXH RU DQ DPRXQW
    UHGXFHG IURP WKH SUHYLRXV GHELW IURP WKH /LQNHG %DQN $FFRXQW 7KH %RUURZHU DFNQRZOHGJHV DQG DJUHHV WR EH ERXQG E\ 1$&+$¶V
    UXOHVIRUEXVLQHVVUHODWHG$&+GHELWVDQGFUHGLWV

    3UHSD\PHQW1RSUHSD\PHQWSHQDOW\ZLOOEHDVVHVVHG

    ,QWHUHVW 3ULQFLSDO DPRXQWV RXWVWDQGLQJ XQGHU WKLV 1RWH VKDOO EHDU LQWHUHVW DW D UDWH SHU DQQXP WKH ³,QWHUHVW 5DWH´ HTXDO WR  $OO
    FRPSXWDWLRQV RI LQWHUHVW KHUHXQGHU VKDOO EH PDGH RQ WKH EDVLV RI D \HDU RI  DQG WKH DFWXDO QXPEHU RI GD\V HODSVHG ,QWHUHVW
    VKDOO EHJLQ WR DFFUXH RQ WKH /RDQ RQ WKH GDWH RI WKLV 1RWH 2Q DQ\ SRUWLRQ RI WKH /RDQ WKDW LV UHSDLG LQWHUHVW VKDOO QRW DFFUXH RQ WKH
    GDWHRQZKLFKVXFKSD\PHQWLVPDGH

    (YHQWV RI 'HIDXOW ZLWK 5HVSHFW WR $PRXQWV 'XH 7KH RFFXUUHQFH DQG FRQWLQXDQFH RI DQ\ RI WKH IROORZLQJ VKDOO FRQVWLWXWH DQ ³(YHQW RI
    'HIDXOW´ KHUHXQGHU ZLWK UHVSHFW WR DQ\ DPRXQWV GXH IURP WKH %RUURZHU XQGHU WKLV /RDQ WKDW DUH QRW IRUJLYHQ XQGHU WKH WHUPV RI WKH
    333 WKH ³1RQIRUJLYHQ $PRXQW´  %RUURZHU IDLOV WR SD\ L DQ\ SULQFLSDO DPRXQW RI WKH 1RQIRUJLYHQ $PRXQW RI WKH /RDQ ZKHQ GXH LL
    DQ\ LQWHUHVW RQ WKH 1RQIRUJLYHQ $PRXQW RI WKH /RDQ ZLWKLQ ILYH  GD\V DIWHU WKH GDWH VXFK DPRXQW LV GXH RU LLL DQ\ RWKHU 1RQIRUJLYHQ
    $PRXQWGXHKHUHXQGHUZLWKLQWHQ  GD\VDIWHUVXFKDPRXQWLVGXH

    5HPHGLHV8SRQWKHRFFXUUHQFHDQGGXULQJWKHFRQWLQXDQFHRIDQ(YHQWRI'HIDXOW1RWHKROGHUPD\DWLWVRSWLRQE\ZULWWHQQRWLFHWR
    WKH%RUURZHUGHFODUHWKHRXWVWDQGLQJSULQFLSDODPRXQWRIWKH1RQIRUJLYHQ$PRXQWRIWKH/RDQDFFUXHGDQGXQSDLGLQWHUHVWWKHUHRQ
    DQGDOORWKHUDPRXQWVSD\DEOHKHUHXQGHULPPHGLDWHO\GXHDQGSD\DEOH

    ,QGHPQLILFDWLRQ7KH%RUURZHUZLOOLQGHPQLI\DQGKROGKDUPOHVV&HOWLF%DQNDQGDQ\1RWHKROGHU DQGWKHLUUHVSHFWLYHHPSOR\HHV
    GLUHFWRUVDJHQWVDIILOLDWHVDQGUHSUHVHQWDWLYHV IURPDQGDJDLQVWDQ\FRVWORVVRUOLDELOLW\LQFOXGLQJLQWHUHVWSHQDOWLHVUHDVRQDEOH
    DWWRUQH\V IHHVDQGH[SHQVHVUHVXOWLQJIURPWKH%RUURZHU¶VPLVUHSUHVHQWDWLRQLQWKHDSSOLFDWLRQIRUWKLV/RDQRURWKHUZLVHRUEUHDFKRI
    ZDUUDQW\GHIDXOWRUEUHDFKRIDQ\FRYHQDQWLQWKLV1RWH

    1RWLFHV$OOQRWLFHVDQGRWKHUFRPPXQLFDWLRQVUHODWLQJWRWKLV1RWHVKDOOEHLQZULWLQJDQGVKDOOEHGHHPHGJLYHQXSRQWKHILUVWWRRFFXU
    RI D GHSRVLWZLWKRYHUQLJKWFRXULHUVHUYLFHSURSHUO\DGGUHVVHGDQGVKLSSLQJSUHSDLG E WUDQVPLWWDOE\HPDLOSURSHUO\DGGUHVVHG ZLWK
    ZULWWHQDFNQRZOHGJPHQWIURPWKHLQWHQGHGUHFLSLHQWVXFKDV³UHWXUQUHFHLSWUHTXHVWHG´IXQFWLRQUHWXUQHPDLORURWKHUZULWWHQ
    DFNQRZOHGJPHQW RU F DFWXDOUHFHLSWE\DQHPSOR\HHRUDJHQWRIWKHRWKHUSDUW\1RWLFHVKHUHXQGHUVKDOOEHVHQWWRWKHIROORZLQJ
    DGGUHVVHVRUWRVXFKRWKHUDGGUHVVDVVXFKSDUW\VKDOOVSHFLI\LQZULWLQJ

    ,IWRWKH%RUURZHU

     1DPH                                                           $GGUHVV
                                                                                                            (&)'(!#

     3KRQH
                                                                $WWHQWLRQ

                                                                       (PDLO .%-! "&$%(&

                                                   ),1$/&(/7,&%$1.333/2$1127(
                                                                   3DJHRI
  
                          
         Case 0:22-cr-60028-WPD        Document 74-1 Entered on FLSD Docket 09/09/2022 Page 58 of
                                                     240




    ,IWR&HOWLF%DQN

     1DPH%OXH9LQH3URFHVVRUDQG6HUYLFHUIRU&HOWLF%DQN           $GGUHVV
                                                                       5HGZRRG&LW\&$

     3KRQH                                               (PDLOFDUHV#EOXHYLQHFRP



    5HSUHVHQWDWLRQVDQG:DUUDQWLHV7KH%RUURZHUUHSUHVHQWVDQGZDUUDQWVWRWKH1RWHKROGHUDVIROORZV


             ([LVWHQFH7KH%RUURZHULVDDQ>LQGLYLGXDOFRUSRUDWLRQOLPLWHGOLDELOLW\FRPSDQ\SDUWQHUVKLS@GXO\LQFRUSRUDWHGRUIRUPHGDV
             DSSOLFDEOHYDOLGO\H[LVWLQJDQGLQJRRGVWDQGLQJXQGHUWKHODZVRIWKHVWDWHRILWVRUJDQL]DWLRQ7KH%RUURZHUKDVWKHUHTXLVLWH
             SRZHUDQGDXWKRULW\WRRZQOHDVHDQGRSHUDWHLWVSURSHUW\DQGWRFDUU\RQLWVEXVLQHVV


             &RPSOLDQFHZLWK/DZ7KH%RUURZHULVLQFRPSOLDQFHZLWKDOOODZVVWDWXWHVRUGLQDQFHVUXOHVDQGUHJXODWLRQVDSSOLFDEOHWRRU
             ELQGLQJRQWKH%RUURZHULWVSURSHUW\DQGEXVLQHVV


             3RZHUDQG$XWKRULW\7KH%RUURZHUKDVWKHUHTXLVLWHSRZHUDQGDXWKRULW\WRH[HFXWHGHOLYHUDQGSHUIRUPLWVREOLJDWLRQVXQGHU
             WKLV1RWH

             $XWKRUL]DWLRQ ([HFXWLRQ DQG 'HOLYHU\ 7KH H[HFXWLRQ DQG GHOLYHU\ RI WKLV 1RWH E\ WKH %RUURZHU DQG WKH SHUIRUPDQFH RI LWV
             REOLJDWLRQV KHUHXQGHU KDYH EHHQ GXO\ DXWKRUL]HG E\ DOO QHFHVVDU\ FRPSDQ\ DFWLRQ LQ DFFRUGDQFH ZLWK DSSOLFDEOH ODZ 7KH
             %RUURZHUKDVGXO\H[HFXWHGDQGGHOLYHUHGWKLV1RWH

             ,QIRUPDWLRQ LV 7UXH DQG $FFXUDWH 7KH LQIRUPDWLRQ SURYLGHG LQ DOO VXSSRUWLQJ GRFXPHQWV DQG IRUPV WR REWDLQ WKLV /RDQ LV WUXH
             DQG DFFXUDWH LQ DOO PDWHULDO UHVSHFWV 7KH %RUURZHU DQG DQ\ LQGLYLGXDO ZKR SURYLGHG LQIRUPDWLRQ IRU WKH DSSOLFDWLRQ RI WKLV
             /RDQ XQGHUVWDQGV WKDW NQRZLQJO\ PDNLQJ D IDOVH VWDWHPHQW WR REWDLQ WKLV ORDQ IURP 6%$ LV SXQLVKDEOH XQGHU WKH ODZ LQFOXGLQJ
             XQGHU  86&  DQG  E\ LPSULVRQPHQW RI QRW PRUH WKDQ ILYH \HDUV DQGRU D ILQH RI XS WR  XQGHU  86& 
             E\ LPSULVRQPHQW RI QRW PRUH WKDQ WZR \HDUV DQGRU D ILQH RI QRW PRUH WKDQ  DQG LI VXEPLWWHG WR D IHGHUDOO\ LQVXUHG
             LQVWLWXWLRQXQGHU86&E\LPSULVRQPHQWRIQRWPRUHWKDQWKLUW\\HDUVDQGRUDILQHRIQRWPRUHWKDQ

    *RYHUQLQJ /DZ 7KLV 1RWH DQG DQ\ FODLP FRQWURYHUV\ GLVSXWH RU FDXVH RI DFWLRQ ZKHWKHU LQ FRQWUDFW WRUW RU RWKHUZLVH EDVHG RQ
    DULVLQJ RXW RI RU UHODWLQJ WR WKLV 1RWH DQG WKH WUDQVDFWLRQV FRQWHPSODWHG KHUHE\ VKDOO EH JRYHUQHG E\ DQG FRQVWUXHG LQ DFFRUGDQFH ZLWK
    WKHODZVRIWKH6WDWHRI8WDKDQGRUDOODSSOLFDEOHIHGHUDOUHJXODWLRQVXQGHUWKH333/RDQSURJUDP

    :KHQ 6%$ LV WKH KROGHU RU LQ WKH HYHQW RI WUDQVIHU RI WKLV 1RWH WKLV 1RWH ZLOO EH LQWHUSUHWHG DQG HQIRUFHG XQGHU )HGHUDO ODZ LQFOXGLQJ
    6%$ UHJXODWLRQV 7KH 1RWHKROGHU RU 6%$ PD\ XVH VWDWH RU ORFDO SURFHGXUHV IRU ILOLQJ SDSHUV UHFRUGLQJ GRFXPHQWV JLYLQJ QRWLFH
    IRUHFORVLQJ OLHQV DQG RWKHU SXUSRVHV %\ XVLQJ VXFK SURFHGXUHV 6%$ GRHV QRW ZDLYH DQ\ )HGHUDO LPPXQLW\ IURP VWDWH RU ORFDO FRQWURO
    SHQDOW\ WD[ RU OLDELOLW\ $V WR WKLV 1RWH WKH %RUURZHU PD\ QRW FODLP RU DVVHUW DJDLQVW 6%$ DQ\ ORFDO RU VWDWH ODZ WR GHQ\ DQ\ REOLJDWLRQ
    GHIHDWDQ\FODLPRI6%$RUSUHHPSW)HGHUDOODZ

    %,1',1*$5%,75$7,218QOHVV6%$LVWKHKROGHURIWKLV1RWHWKH1RWHKROGHUDQGWKH%RUURZHULUUHYRFDEO\DQGXQFRQGLWLRQDOO\DJUHHWR
    DUELWUDWHDOOGLVSXWHVDULVLQJXQGHURULQFRQQHFWLRQZLWKWKLV$JUHHPHQWE\DQHXWUDODUELWUDWRUZKRKDVWKHSRZHUWRDZDUGWKHVDPH
    GDPDJHVDQGUHOLHIWKDWDFRXUWFDQ$1<$5%,75$7,2181'(57+,6$*5((0(17:,//21/<%(21$1,1',9,'8$/%$6,6
    &/$66$5%,75$7,216&/$66$&7,2165(35(6(17$7,9($&7,216$1'&2162/,'$7,21:,7+27+(5$5%,75$7,216
    $5(1273(50,77('7+(%2552:(5+(5(%<,55(92&$%/<:$,9(6727+()8//(67(;7(173(50,77('%<
    $33/,&$%/(/$:$1<5,*+7,70$<+$9(72$75,$/%<-85<,1$1</(*$/352&((',1*',5(&7/<25,1',5(&7/<
    5(/$7,1*727+,6127(257+(75$16$&7,216&217(03/$7('+(5(%<:+(7+(5%$6('21&2175$&7725725
    $1<27+(57+(25<7+(%2552:(5:$,9(6$1<5,*+7723$57,&,3$7(,1$&/$66$&7,21$*$,1677+(
    127(+2/'(5 25$1<2)7+(,55(63(&7,9($66,*1((625$*(176,IDQ\SURYLVLRQRIWKLVDUELWUDWLRQDJUHHPHQWLVIRXQG
    XQHQIRUFHDEOHWKHXQHQIRUFHDEOHSURYLVLRQZLOOEHVHYHUHGDQGWKHUHPDLQLQJDUELWUDWLRQWHUPVZLOOEHHQIRUFHG EXWLQQRFDVHZLOOWKHUH
    EHDFODVVDUELWUDWLRQ $OOGLVSXWHVZLOOEHUHVROYHGILQDOO\DQGH[FOXVLYHO\E\ELQGLQJLQGLYLGXDODUELWUDWLRQZLWKDVLQJOHDUELWUDWRU
    DGPLQLVWHUHGE\WKH$PHULFDQ$UELWUDWLRQ$VVRFLDWLRQ ZZZDGURUJ DFFRUGLQJWRWKLV6HFWLRQDQGWKHDSSOLFDEOHDUELWUDWLRQUXOHVIRUWKDW
    IRUXP7KHDUELWUDWRUZLOOEHUHVSRQVLEOHIRUGHWHUPLQLQJDOOWKUHVKROGDUELWUDELOLW\LVVXHVLQFOXGLQJLVVXHVUHODWLQJWRZKHWKHUWKLV1RWHLV
    XQFRQVFLRQDEOHRULOOXVRU\DQGDQ\GHIHQVHWRDUELWUDWLRQLQFOXGLQJZDLYHUGHOD\ODFKHVRUHVWRSSHO7KH)HGHUDO$UELWUDWLRQ$FW86&
    IXOO\DSSOLHV$Q\DUELWUDWLRQKHDULQJZLOORFFXULQ6DQ)UDQFLVFR&DOLIRUQLDRURWKHUPXWXDOO\DJUHHDEOHORFDWLRQ7KHDUELWUDWRU¶V
    DZDUGZLOOEHELQGLQJRQWKHSDUWLHVDQGPD\EHHQWHUHGDVDMXGJPHQWLQDQ\FRXUWRIFRPSHWHQWMXULVGLFWLRQ)RUDQ\GLVSXWHDJDLQVW
                                                   ),1$/&(/7,&%$1.333/2$1127(
                                                                   3DJHRI
  
                          
         Case 0:22-cr-60028-WPD        Document 74-1 Entered on FLSD Docket 09/09/2022 Page 59 of
                                                     240

    1RWHKROGHU1RWHKROGHUZLOOSD\DOOWKHDUELWUDWLRQIHHV,IWKH%RUURZHUSUHYDLOVRQDQ\FODLPIRUZKLFKWKH%RUURZHULVOHJDOO\HQWLWOHGWR
    DWWRUQH\¶VIHHVWKH%RUURZHUPD\VHHNWRUHFRYHUWKRVHIHHVLQWKHDUELWUDWLRQ)RUDQ\FODLPZKHUHWKH%RUURZHULVVHHNLQJUHOLHIWKH
    1RWHKROGHUZLOOQRWVHHNWRKDYHWKH%RUURZHUSD\WKH1RWHKROGHU¶VDWWRUQH\¶VIHHVHYHQLIIHHVPLJKWRWKHUZLVHEHDZDUGHGXQOHVVWKH
    DUELWUDWRUGHWHUPLQHVWKDWWKH%RUURZHU¶VFODLPZDVIULYRORXV)RUSXUSRVHVRIWKLVDUELWUDWLRQSURYLVLRQUHIHUHQFHVWRWKH%RUURZHURUWKH
    1RWHKROGHUDOVRLQFOXGHUHVSHFWLYHVXEVLGLDULHVDIILOLDWHVDJHQWVHPSOR\HHVSUHGHFHVVRUVVXFFHVVRUVDQGDVVLJQVDVZHOODVDXWKRUL]HG
    XVHUVRUEHQHILFLDULHVRIWKH3333URJUDP6XEMHFWWRDQGZLWKRXWZDLYHURIWKHDUELWUDWLRQSURYLVLRQVDERYHWKH%RUURZHUDJUHHVWKDWDQ\
    MXGLFLDOSURFHHGLQJVZLOOEHEURXJKWLQDQGWKH%RUURZHUFRQVHQWVWRWKHH[FOXVLYHMXULVGLFWLRQDQGYHQXHLQWKHVWDWHFRXUWVLQWKH&LW\DQG
    &RXQW\RI6DOW/DNH8WDKRUIHGHUDOFRXUWIRUWKH1RUWKHUQ'LVWULFWRI8WDK

    ,QWHJUDWLRQ 7KLV 1RWH FRQVWLWXWHV WKH HQWLUH FRQWUDFW EHWZHHQ WKH %RUURZHU DQG &HOWLF %DQN ZLWK UHVSHFW WR WKH VXEMHFW PDWWHU KHUHRI
    DQGVXSHUVHGHVDOOSUHYLRXVDJUHHPHQWVDQGXQGHUVWDQGLQJVRUDORUZULWWHQZLWKUHVSHFWWKHUHWR

    $PHQGPHQWV DQG :DLYHUV 1R WHUP RI WKLV 1RWH PD\ EH ZDLYHG PRGLILHG RU DPHQGHG H[FHSW E\ DQ LQVWUXPHQW LQ ZULWLQJ VLJQHG E\ WKH
    %RUURZHU DQG WKH 1RWHKROGHU $Q\ ZDLYHU RI WKH WHUPV KHUHRI VKDOO EH HIIHFWLYH RQO\ LQ WKH VSHFLILF LQVWDQFH DQG IRU WKH VSHFLILF SXUSRVH
    JLYHQ

    &RQVHQW WR 8VH (OHFWURQLF 6LJQDWXUH ,Q RUGHU WR UHFHLYH WKH /RDQ DPRXQW &HOWLF %DQN PXVW SURYLGH WKH %RUURZHU FHUWDLQ GLVFORVXUHV
    UHTXLUHG E\ ODZ %\ VXEPLWWLQJ WKH %RUURZHU¶V DSSOLFDWLRQ DQG DJUHHLQJ WR WKH WHUPV RI WKLV 1RWH ZKLFK WKH %RUURZHU FROOHFWLYHO\ DGRSWV
    DV LWV HOHFWURQLF VLJQDWXUH WKH %RUURZHU FRQVHQWV DQG DJUHHV WKDW L &HOWLF %DQN DQG DQ\ 1RWHKROGHU FDQ SURYLGH DOO GLVFORVXUHV
    UHTXLUHG E\ ODZ DQG RWKHU LQIRUPDWLRQ DERXW WKH %RUURZHU¶V OHJDO ULJKWV DQG GXWLHV WR WKH %RUURZHU HOHFWURQLFDOO\ LQFOXGLQJ E\ HPDLO D
    :HEVLWH SRUWDO RU PRELOH SKRQH DSSOLFDWLRQ LL WKH %RUURZHU¶V HOHFWURQLF VLJQDWXUH RQ DJUHHPHQWV DQG GRFXPHQWV KDV WKH VDPH HIIHFW
    DV LI WKH %RUURZHU VLJQHG WKHP LQ LQN DQG LV HYLGHQFH RI WKH %RUURZHU¶V LQWHQWLRQ WR EH ERXQG E\ WKLV 1RWH LLL (OHFWURQLF GLVFORVXUHV
    KDYH WKH VDPH PHDQLQJ DQG HIIHFW DV LI WKH %RUURZHU ZHUH SURYLGHG SDSHU GLVFORVXUHV LY 'LVFORVXUHV DUH FRQVLGHUHG UHFHLYHG E\ WKH
    %RUURZHU ZLWKLQ  KRXUV RI WKH WLPH SRVWHG WR &HOWLF %DQN¶V RU DQ\ 1RWHKROGHU¶V ZHEVLWH RU ZLWKLQ  KRXUV RI WKH WLPH HPDLOHG WR WKH
    %RUURZHU XQOHVV &HOWLF %DQN RU 1RWHKROGHU UHFHLYHV QRWLFH WKDW WKH HPDLO ZDV QRW GHOLYHUHG Y &HOWLF %DQN RU 1RWHKROGHU UHVHUYHV WKH
    ULJKW WR FDQFHO WKLV HOHFWURQLF GLVFORVXUH VHUYLFH FKDQJH WKH WHUPV RI XVH RI WKLV VHUYLFH RU VHQG GLVFORVXUHV LQ SDSHU IRUP DW DQ\ WLPH
     YL &HOWLF %DQN RU 1RWHKROGHU LV UHVSRQVLEOH IRU VHQGLQJ QRWLFH RI WKH GLVFORVXUHV WR WKH %RUURZHU HOHFWURQLFDOO\ EXW &HOWLF %DQN RU
    1RWHKROGHU DUH QRW UHVSRQVLEOH IRU DQ\ GHOD\ RU IDLOXUH LQ WKH %RUURZHU¶V UHFHLSW RU UHYLHZ RI WKH HPDLO QRWLFHV 7KH %RUURZHU DJUHHV
    DQG FRQILUPV WKDW WKH %RUURZHU KDV DFFHVV WR WKH QHFHVVDU\ HTXLSPHQW WR UHFHLYH DFFHVV DQG SULQW DQ\ GLVFORVXUHV WKDW PD\ EH
    SURYLGHG LQ HOHFWURQLF IRUP 7KH %RUURZHU ZLOO QRW VHHN WR ZLWKGUDZ WKH %RUURZHU¶V FRQVHQW IRU HOHFWURQLF VLJQDWXUH DQG GLVFORVXUHV
    ZKLOHWKH%RUURZHUKDVDQRXWVWDQGLQJ/RDQEDODQFH

    $FFHVV WR 'LVFORVXUHV 7KH %RUURZHU XQGHUVWDQGV WKDW LQ RUGHU WR DFFHVV DQG UHWDLQ WKH HOHFWURQLF GLVFORVXUHV WKH %RUURZHU ZLOO QHHG
    WKH IROORZLQJ L $ FRPSXWHU RU PRELOH GHYLFH ZLWK ,QWHUQHW RU PRELOH FRQQHFWLYLW\ LL )RU GHVNWRS ZHEVLWHEDVHG &RPPXQLFDWLRQV D
    /DWHVW ZHE EURZVHU WKDW LQFOXGHV ELW HQFU\SWLRQ E 7KH EURZVHU PXVW KDYH FRRNLHV HQDEOHG 8VH RI EURZVHU H[WHQVLRQV PD\
    LPSDLU IXOO ZHEVLWH IXQFWLRQDOLW\ F 0LQLPXP UHFRPPHQGHG EURZVHU VWDQGDUGV DUH 0R]LOOD )LUHIR[ ODWHVW YHUVLRQ VHH
    KWWSZZZPR]LOODFRP IRU ODWHVW YHUVLRQ  $SSOH 6DIDUL ODWHVW YHUVLRQ VHH KWWSZZZDSSOHFRPVDIDUL IRU ODWHVW YHUVLRQ  RU &KURPH
    ODWHVW YHUVLRQ VHH KWWSZZZJRRJOHFRPFKURPH IRU ODWHVW YHUVLRQ  LLL )RU PRELOHEDVHG &RPPXQLFDWLRQV D $ ODWHVW GHYLFH
    RSHUDWLQJ V\VWHP WKDW VXSSRUWV WH[W PHVVDJLQJ GRZQORDGLQJ DQG DSSOLFDWLRQV IURP WKH $SSOH $SS 6WRUH RU *RRJOH 3OD\ VWRUH DQG E
    7KH ODWHVW YHUVLRQ RI 6DIDUL RU &KURPH RQ L26 RU WKH ODWHVW YHUVLRQ RI &KURPH IRU $QGURLG LY $FFHVV WR WKH HPDLO DGGUHVV XVHG WR
    FUHDWH \RXU &HOWLF %DQN DFFRXQW Y 6XIILFLHQW VWRUDJH VSDFH WR VDYH &RPPXQLFDWLRQV DQGRU D SULQWHU WR SULQW WKHP YL 8VH RI VSDP
    ILOWHUVPD\EORFNRUUHURXWHHPDLOVIURPVHQGHUVQRWOLVWHGLQ\RXUHPDLODGGUHVVERRN

    $GGLWLRQDO &RPPXQLFDWLRQV 7KH %RUURZHU FRQVHQWV WR DFFHSW DQG UHFHLYH FRPPXQLFDWLRQV IURP &HOWLF %DQN DQG DQ\ 1RWHKROGHU
    LQFOXGLQJ HPDLO WH[W PHVVDJHV FDOOV DQG SXVK QRWLILFDWLRQV WR WKH FHOOXODU WHOHSKRQH QXPEHU WKH %RUURZHU SURYLGHV 7KHVH
    QRQWHOHPDUNHWLQJ FRPPXQLFDWLRQV PD\ EH JHQHUDWHG E\ DXWRPDWLF WHOHSKRQH GLDOLQJ V\VWHPV ZKLFK ZLOO GHOLYHU SUHUHFRUGHG
    PHVVDJHV LQFOXGLQJ IRU WKH SXUSRVHV RI VHFRQGDU\ DXWKHQWLFDWLRQ UHFHLSWV UHPLQGHUV DQG RWKHU QRWLILFDWLRQV 6WDQGDUG PHVVDJH DQG
    GDWD UDWHV DSSOLHG E\ WKH %RUURZHU¶V FHOO SKRQH FDUULHU PD\ DSSO\ WR WKH WH[W PHVVDJHV &HOWLF %DQN RU DQ\ 1RWHKROGHU VHQGV WKH
    %RUURZHU7KH%RUURZHUPD\RQO\RSWRXWRIUHFHLYLQJWH[WPHVVDJHFRPPXQLFDWLRQVE\UHSO\LQJ6723WRWH[WPHVVDJHV

    1R :DLYHU &XPXODWLYH 5HPHGLHV 1R IDLOXUH E\ &HOWLF %DQN RU DQ\ VXEVHTXHQW 1RWHKROGHU WR H[HUFLVH DQG QR GHOD\ LQ H[HUFLVLQJ DQ\
    ULJKW UHPHG\ RU SRZHU KHUHXQGHU VKDOO RSHUDWH DV D ZDLYHU WKHUHRI QRU VKDOO DQ\ VLQJOH RU SDUWLDO H[HUFLVH RI DQ\ ULJKW UHPHG\ RU
    SRZHU KHUHXQGHU SUHFOXGH DQ\ RWKHU RU IXUWKHU H[HUFLVH WKHUHRI RU WKH H[HUFLVH RI DQ\ RWKHU ULJKW UHPHG\ RU SRZHU 7KH ULJKWV
    UHPHGLHVDQGSRZHUVKHUHLQSURYLGHGDUHFXPXODWLYHDQGQRWH[FOXVLYHRIDQ\RWKHUULJKWVUHPHGLHVRUSRZHUVSURYLGHGE\ODZ

    6HYHUDELOLW\ ,I DQ\ WHUP RU SURYLVLRQ RI WKLV 1RWH LV LQYDOLG LOOHJDO RU XQHQIRUFHDEOH LQ DQ\ MXULVGLFWLRQ VXFK LQYDOLGLW\ LOOHJDOLW\ RU
    XQHQIRUFHDELOLW\ VKDOO QRW DIIHFW DQ\ RWKHU WHUP RU SURYLVLRQ RI WKLV 1RWH RU UHQGHU VXFK WHUP RU SURYLVLRQ LQYDOLG RU XQHQIRUFHDEOH LQ DQ\
    RWKHUMXULVGLFWLRQ

    &RXQWHUSDUWV 7KLV 1RWH DQG DQ\ DPHQGPHQWV ZDLYHUV FRQVHQWV RU VXSSOHPHQWV KHUHWR PD\ EH H[HFXWHG LQ FRXQWHUSDUWV HDFK RI
    ZKLFKVKDOOFRQVWLWXWHDQRULJLQDOEXWDOORIZKLFKWDNHQWRJHWKHUVKDOOFRQVWLWXWHDVLQJOHFRQWUDFW

    7KLUG3DUW\%HQHILFLDU\$Q\DVVLJQHHRIWKLV1RWHVKDOOEHGHHPHGWREHDWKLUGSDUW\EHQHILFLDU\WRWKLV1RWHDQGLVHQWLWOHGWRWKH
    ULJKWVDQGEHQHILWVKHUHXQGHUDQGPD\HQIRUFHWKHSURYLVLRQVKHUHRIDVLIWKH\ZHUHDSDUW\KHUHWR
                                                    ),1$/ &(/7,& %$1. 333 /2$1 127(   
                                                                    3DJH  RI 
  
                            
           Case 0:22-cr-60028-WPD        Document 74-1 Entered on FLSD Docket 09/09/2022 Page 60 of
                                                       240


    1RQ5HFRXUVH 1RWHKROGHU DQG 6%$ VKDOO KDYH QR UHFRXUVH DJDLQVW DQ\ LQGLYLGXDO VKDUHKROGHU PHPEHU RU SDUWQHU RI %RUURZHU IRU
    QRQSD\PHQW RI WKH ORDQ H[FHSW WR WKH H[WHQW WKDW VXFK VKDUHKROGHU PHPEHU RU SDUWQHU XVHV WKH ORDQ SURFHHGV IRU DQ XQDXWKRUL]HG
    SXUSRVH

    (UURUV DQG 2PLVVLRQV 7KH XQGHUVLJQHG %RUURZHU IRU DQG LQ FRQVLGHUDWLRQ RI &HOWLF %DQN IXQGLQJ WKH FORVLQJ RI WKLV /RDQ DJUHHV LI
    UHTXHVWHG E\ &HOWLF %DQN RU LWV DVVLJQHHV WR IXOO\ FRRSHUDWH DQG DGMXVW IRU FOHULFDO HUURUV DQ\ RU DOO /RDQ FORVLQJ GRFXPHQWDWLRQ LI
    GHHPHGQHFHVVDU\RUGHVLUDEOHLQWKHUHDVRQDEOHGLVFUHWLRQRI&HOWLF%DQNRULWVDVVLJQHHV




    81'(56,*1('%2552:(5$&.12:/('*(67+$7+(6+(,67+($87+25,=('5(35(6(17$7,9(2)7+($33/,&$17
    $1'+$9,1*5($'$//7+(3529,6,2162)7+,6/2$1'2&80(17$1'$*5((672,767(506

    %<6,*1,1*7+(%2552:(5$*5((67+$7$//,1)250$7,213529,'(',17+,6$33/,&$7,21$1'$//
    6833257,1*'2&80(176$1')2506722%7$,17+,6/2$1$5(758($1'$&&85$7(,1$//0$7(5,$/
    5(63(&76$1'7+$7$1<.12:1)$/6(67$7(0(176$5(381,6+$%/(%<),1(,035,6210(1725%27+


   ,1:,71(66:+(5(2)WKH%RUURZHUKDVH[HFXWHGDQG
                               
   DFFHSWHGWKLV1RWHDVRI


           

   1DPH


   6LJQDWXUH


    /'!*


   7LWOH




    (TXDO&UHGLW2SSRUWXQLW\$FW 86&
    7KH)HGHUDO(TXDO&UHGLW2SSRUWXQLW\$FWSURKLELWVFUHGLWRUVIURPGLVFULPLQDWLQJDJDLQVWFUHGLWDSSOLFDQWVRQWKHEDVLVRIUDFHFRORU
    UHOLJLRQQDWLRQDORULJLQVH[PDULWDOVWDWXVRUDJH SURYLGHGWKHDSSOLFDQWKDVWKHFDSDFLW\WRHQWHULQWRDELQGLQJFRQWUDFW EHFDXVHDOO
    RUSDUWRIWKHDSSOLFDQW VLQFRPHGHULYHVIURPDQ\SXEOLFDVVLVWDQFHSURJUDPRUEHFDXVHWKHDSSOLFDQWKDVLQJRRGIDLWKH[HUFLVHGDQ\
    ULJKWXQGHUWKH&RQVXPHU&UHGLW3URWHFWLRQ$FW




                                                    ),1$/&(/7,&%$1.333/2$1127(
                                                                    3DJHRI
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 61 of
                                     240


                                                                  22-60028-CR-WPD




                                                                    206a
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 62 of
                                     240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 63 of
                                     240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 64 of
                                     240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 65 of
                                     240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 66 of
                                     240
                                                            22-60028-CR-WPD




                                                              206b
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 67 of
                                     240
                                                                         22-60028-CR-WPD




                                                                           206c
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 68 of
                                     240
 
                            
           Case 0:22-cr-60028-WPD       Document 74-1 Entered on FLSD Docket 09/09/2022 Page 69 of
                                                          240
                                               Paycheck Protection Program             OMB Control No.: 3245-0407
                                                                     Borrower Application Form                                               Expiration Date: 09/30/2020


          Check One:           Sole proprietor    Partnership
                                                          (      C-Corp  S-Corp 
                                                                                         LLC                           DBA or Tradename if Applicable
                               Independent contractor  Eligible self-employed individual
                               501(c)(3) nonprofit  501(c)(19) veterans organization
                               Tribal business (sec. 31(b)(2)(C) of Small Business Act) Other

                                               Business Legal Name
      T               D
                                                 Business Address                                          Business TIN (EIN, SSN)             Business Phone
                                                                                                                     0358                ( )    -
                                                                                                                                        9545222802

      North Lauderdale FL                                                                                       Primary Contact                Email Address
                                                                                                          T           D                 value33068@gmail.com


          Average Monthly Payroll:          $ 7995.41               x 2.5 + EIDL, Net of              $ 19988.00              Number of Employees: 1
                                                                    Advance (if Applicable)
                                                                    Equals Loan Request:
          Purpose of the loan
          (select more than one):            X Payroll տLease / Mortgage Interest տUtilities տOther (explain):__________________
                                             ‫܆‬

                                                                    Applicant Ownership
       List all owners of 20% or more of the equity of the Applicant. Attach a separate sheet if necessary.

                          Owner Name                                Title               Ownership %    TIN (EIN, SSN)                      Address
      T          D                                      Owner                          100.00                 0358                                North Lauderdale FL



                 If questions (1) or (2) below are answered “Yes,” the loan will not be approved.
                                                                        Question                                                                           Yes      No
            1.       Is the Applicant or any owner of the Applicant presently suspended, debarred, proposed for debarment, declared ineligible,          
                     voluntarily excluded from participation in this transaction by any Federal department or agency, or presently involved in any
                     bankruptcy?
                                                                                                                                                         ‫܆‬
                                                                                                                                                          ‫܆‬


            2.       Has the Applicant, any owner of the Applicant, or any business owned or controlled by any of them, ever obtained a direct or          ‫܆܆‬
                                                                                                                                                           
                     guaranteed loan from SBA or any other Federal agency that is currently delinquent or has defaulted in the last 7 years and
                     caused a loss to the government?

            3.       Is the Applicant or any owner of the Applicant an owner of any other business, or have common management with, any other              ‫܆܆‬
                                                                                                                                                           
                     business? If yes, list all such businesses and describe the relationship on a separate sheet identified as addendum A.

            4.       Has the Applicant received an SBA Economic Injury Disaster Loan between January 31, 2020 and April 3, 2020? If yes,                   ‫܆܆‬
                                                                                                                                                           
                     provide details on a separate sheet identified as addendum B.

                 If questions (5) or (6) are answered “Yes,” the loan will not be approved.
                                                                       Question                                                                  Yes          No
            5.       Is the Applicant (if an individual) or any individual owning 20% or more of the equity of the Applicant subject
                     to an indictment, criminal information, arraignment, or other means by which formal criminal charges are                    ‫܆‬
                                                                                                                                                              ‫܆‬
                     brought in any jurisdiction, or presently incarcerated, or on probation or parole?
                     Initial here to confirm your response to question 5 ĺ

            6.       Within the last 5 years, for any felony, has the Applicant (if an individual) or any owner of the Applicant 1)
                     been convicted; 2) pleaded guilty; 3) pleaded nolo contendere; 4) been placed on pretrial diversion; or 5) been
                     placed on any form of parole or probation (including probation before judgment)?
                                                                                                                                                 ‫܆‬
                                                                                                                                                   ‫܆‬
                     Initial here to confirm your response to question 6 ĺ

            7.       Is the United States the principal place of residence for all employees of the Applicant included in the
                     Applicant’s payroll calculation above?
                                                                                                                                                ‫܆‬             ‫܆‬
                                                                                                                                                               


            8.       Is the Applicant a franchise that is listed in the SBA’s Franchise Directory?
                                                                                                                                                ‫܆‬
                                                                                                                                                              ‫܆‬

                                                                                   1
   SBA Form 2483 (04/20)
 
                          
         Case 0:22-cr-60028-WPD       Document 74-1 Entered on FLSD Docket 09/09/2022 Page 70 of
                                                        240
                                             Paycheck Protection Program
                                                                Borrower Application Form

    By Signing Below, You Make the Following Representations, Authorizations, and Certifications

    CERTIFICATIONS AND AUTHORIZATIONS
    I certify that:
            x I have read the statements included in this form, including the Statements Required by Law and Executive Orders, and I understand them.
            x The Applicant is eligible to receive a loan under the rules in effect at the time this application is submitted that have been issued by the
                 Small Business Administration (SBA) implementing the Paycheck Protection Program under Division A, Title I of the Coronavirus
                 Aid, Relief, and Economic Security Act (CARES Act) (the Paycheck Protection Program Rule).
            x The Applicant (1) is an independent contractor, eligible self-employed individual, or sole proprietor or (2) employs no more
                 than the greater of 500 or employees or, if applicable, the size standard in number of employees established by the SBA in 13
                 C.F.R. 121.201 for the Applicant’s industry.
            x I will comply, whenever applicable, with the civil rights and other limitations in this form.
            x All SBA loan proceeds will be used only for business-related purposes as specified in the loan application and consistent with the
                 Paycheck Protection Program Rule.
            x To the extent feasible, I will purchase only American-made equipment and products.
            x The Applicant is not engaged in any activity that is illegal under federal, state or local law.
            x Any loan received by the Applicant under Section 7(b)(2) of the Small Business Act between January 31, 2020 and April 3, 2020 was
                 for a purpose other than paying payroll costs and other allowable uses loans under the Paycheck Protection Program Rule.

    For Applicants who are individuals: I authorize the SBA to request criminal record information about me from criminal justice agencies for the
    purpose of determining my eligibility for programs authorized by the Small Business Act, as amended.

    CERTIFICATIONS
    The authorized representative of the Applicant must certify in good faith to all of the below by initialing next to each one:

    _____      The Applicant was in operation on February 15, 2020 and had employees for whom it paid salaries and payroll taxes or paid independent
               contractors, as reported on Form(s) 1099-MISC.

    _____      Current economic uncertainty makes this loan request necessary to support the ongoing operations of the Applicant.

    _____      The funds will be used to retain workers and maintain payroll or make mortgage interest payments, lease payments, and utility payments,
               as specified under the Paycheck Protection Program Rule; I understand that if the funds are knowingly used for unauthorized purposes,
               the federal government may hold me legally liable, such as for charges of fraud.

    _____      The Applicant will provide to the Lender documentation verifying the number of full-time equivalent employees on the Applicant’s
               payroll as well as the dollar amounts of payroll costs, covered mortgage interest payments, covered rent payments, and covered utilities
               for the eight-week period following this loan.

    _____      I understand that loan forgiveness will be provided for the sum of documented payroll costs, covered mortgage interest payments,
               covered rent payments, and covered utilities, and not more than 25% of the forgiven amount may be for non-payroll costs.

    _____      During the period beginning on February 15, 2020 and ending on December 31, 2020, the Applicant has not and will not receive another
               loan under the Paycheck Protection Program.

    _____      I further certify that the information provided in this application and the information provided in all supporting documents and
               forms is true and accurate in all material respects. I understand that knowingly making a false statement to obtain a guaranteed loan
               from SBA is punishable under the law, including under 18 USC 1001 and 3571 by imprisonment of not more than five years and/or a
               fine of up to $250,000; under 15 USC 645 by imprisonment of not more than two years and/or a fine of not more than $5,000; and, if
               submitted to a federally insured institution, under 18 USC 1014 by imprisonment of not more than thirty years and/or a fine of not
               more than $1,000,000.

    _____      I acknowledge that the lender will confirm the eligible loan amount using required documents submitted. I understand,
               acknowledge and agree that the Lender can share any tax information that I have provided with SBA's authorized representatives,
               including authorized representatives of the SBA Office of Inspector General, for the purpose of compliance with SBA Loan
               Program Requirements and all SBA reviews.
                                                                                                      
     ____        __                ________________________________                                   ________________________
     Signature of Authorized Representative of Applicant                                              Date
                                                                                                     

     Print Name                                                                                       Title


                                                                             2
   SBA Form 2483 (04/20)
 
                          
         Case 0:22-cr-60028-WPD       Document 74-1 Entered on FLSD Docket 09/09/2022 Page 71 of
                                                        240
                                             Paycheck Protection Program
                                                                Borrower Application Form


     Purpose of this form:

     This form is to be completed by the authorized representative of the Applicant and submitted to your SBA Participating Lender. Submission of
     the requested information is required to make a determination regarding eligibility for financial assistance. Failure to submit the information
     would affect that determination.

     Instructions for completing this form:

     With respect to “purpose of the loan,” payroll costs consist of compensation to employees (whose principal place of residence is the United
     States) in the form of salary, wages, commissions, or similar compensation; cash tips or the equivalent (based on employer records of past tips
     or, in the absence of such records, a reasonable, good-faith employer estimate of such tips); payment for vacation, parental, family, medical, or
     sick leave; allowance for separation or dismissal; payment for the provision of employee benefits consisting of group health care coverage,
     including insurance premiums, and retirement; payment of state and local taxes assessed on compensation of employees; and for an
     independent contractor or sole proprietor, wage, commissions, income, or net earnings from self-employment or similar compensation.

     For purposes of calculating “Average Monthly Payroll,” most Applicants will use the average monthly payroll for 2019, excluding costs over
     $100,000 on an annualized basis for each employee. For seasonal businesses, the Applicant may elect to instead use average monthly payroll
     for the time period between February 15, 2019 and June 30, 2019, excluding costs over $100,000 on an annualized basis for each employee.
     For new businesses, average monthly payroll may be calculated using the time period from January 1, 2020 to February 29, 2020, excluding
     costs over $100,000 on an annualized basis for each employee.

     If Applicant is refinancing an Economic Injury Disaster Loan (EIDL): Add the outstanding amount of an EIDL made between January 31, 2020
     and April 3, 2020, less the amount of any “advance” under an EIDL COVID-19 loan, to Loan Request as indicated on the form.

     All parties listed below are considered owners of the Applicant as defined in 13 CFR § 120.10, as well as “principals”:

       x For a sole proprietorship, the sole proprietor;
       x For a partnership, all general partners, and all limited partners owning 20% or more of the equity of the firm;
       x For a corporation, all owners of 20% or more of the corporation;
       x For limited liability companies, all members owning 20% or more of the company; and
       x Any Trustor (if the Applicant is owned by a trust).
      Paperwork Reduction Act – You are not required to respond to this collection of information unless it displays a currently valid OMB
      Control Number. The estimated time for completing this application, including gathering data needed, is 8 minutes. Comments about this time
      or the information requested should be sent to : Small Business Administration, Director, Records Management Division, 409 3rd St., SW,
      Washington DC 20416., and/or SBA Desk Officer, Office of Management and Budget, New Executive Office Building, Washington DC
      20503.
      Privacy Act (5 U.S.C. 552a) – Under the provisions of the Privacy Act, you are not required to provide your social security number. Failure to
      provide your social security number may not affect any right, benefit or privilege to which you are entitled. (But see Debt Collection Notice
      regarding taxpayer identification number below.) Disclosures of name and other personal identifiers are required to provide SBA with
      sufficient information to make a character determination. When evaluating character, SBA considers the person’s integrity, candor, and
      disposition toward criminal actions. Additionally, SBA is specifically authorized to verify your criminal history, or lack thereof, pursuant to
      section 7(a)(1)(B), 15 USC Section 636(a)(1)(B) of the Small Business Act (the Act).

      Disclosure of Information – Requests for information about another party may be denied unless SBA has the written permission of the
      individual to release the information to the requestor or unless the information is subject to disclosure under the Freedom of Information Act.
      The Privacy Act authorizes SBA to make certain “routine uses” of information protected by that Act. One such routine use is the disclosure of
      information maintained in SBA’s system of records when this information indicates a violation or potential violation of law, whether civil,
      criminal, or administrative in nature. Specifically, SBA may refer the information to the appropriate agency, whether Federal, State, local or
      foreign, charged with responsibility for, or otherwise involved in investigation, prosecution, enforcement or prevention of such violations.
      Another routine use is disclosure to other Federal agencies conducting background checks but only to the extent the information is relevant to
      the requesting agencies' function. See, 74 F.R. 14890 (2009), and as amended from time to time for additional background and other routine
      uses. In addition, the CARES Act, requires SBA to register every loan made under the Paycheck Protection Act using the Taxpayer
      Identification Number (TIN) assigned to the borrower.
      Debt Collection Act of 1982, Deficit Reduction Act of 1984 (31 U.S.C. 3701 et seq. and other titles) – SBA must obtain your taxpayer
      identification number when you apply for a loan. If you receive a loan, and do not make payments as they come due, SBA may: (1) report the
      status of your loan(s) to credit bureaus, (2) hire a collection agency to collect your loan, (3) offset your income tax refund or other amounts
      due to you from the Federal Government, (4) suspend or debar you or your company from doing business with the Federal Government, (5)
      refer your loan to the Department of Justice, or (6) foreclose on collateral or take other action permitted in the loan instruments.
      Right to Financial Privacy Act of 1978 (12 U.S.C. 3401) – The Right to Financial Privacy Act of 1978, grants SBA access rights to
      financial records held by financial institutions that are or have been doing business with you or your business including any financial

                                                                             3
   SBA Form 2483 (04/20)
 
                          
         Case 0:22-cr-60028-WPD       Document 74-1 Entered on FLSD Docket 09/09/2022 Page 72 of
                                                        240
                                             Paycheck Protection Program
                                                                 Borrower Application Form
      institutions participating in a loan or loan guaranty. SBA is only required provide a certificate of its compliance with the Act to a financial
      institution in connection with its first request for access to your financial records. SBA's access rights continue for the term of any approved
      loan guaranty agreement. SBA is also authorized to transfer to another Government authority any financial records concerning an approved
      loan or loan guarantee, as necessary to process, service or foreclose on a loan guaranty or collect on a defaulted loan guaranty.
      Freedom of Information Act (5 U.S.C. 552) – Subject to certain exceptions, SBA must supply information reflected in agency files and
      records to a person requesting it. Information about approved loans that will be automatically released includes, among other things, statistics
      on our loan programs (individual borrowers are not identified in the statistics) and other information such as the names of the borrowers (and
      their officers, directors, stockholders or partners), the collateral pledged to secure the loan, the amount of the loan, its purpose in general terms
      and the maturity. Proprietary data on a borrower would not routinely be made available to third parties. All requests under this Act are to be
      addressed to the nearest SBA office and be identified as a Freedom of Information request.
      Occupational Safety and Health Act (15 U.S.C. 651 et seq.) – The Occupational Safety and Health Administration (OSHA) can require
      businesses to modify facilities and procedures to protect employees. Businesses that do not comply may be fined, forced to cease operations,
      or prevented from starting operations. Signing this form is certification that the applicant, to the best of its knowledge, is in compliance with
      the applicable OSHA requirements, and will remain in compliance during the life of the loan.
      Civil Rights (13 C.F.R. 112, 113, 117) – All businesses receiving SBA financial assistance must agree not to discriminate in any business
      practice, including employment practices and services to the public on the basis of categories cited in 13 C.F.R., Parts 112, 113, and 117 of
      SBA Regulations. All borrowers must display the "Equal Employment Opportunity Poster" prescribed by SBA.
      Equal Credit Opportunity Act (15 U.S.C. 1691) – Creditors are prohibited from discriminating against credit applicants on the basis of race,
      color, religion, national origin, sex, marital status or age (provided the applicant has the capacity to enter into a binding contract); because all
      or part of the applicant's income derives from any public assistance program; or because the applicant has in good faith exercised any right
      under the Consumer Credit Protection Act.
      Debarment and Suspension Executive Order 12549; (2 CFR Part 180 and Part 2700) – By submitting this loan application, you certify
      that neither the Applicant or any owner of the Applicant have within the past three years been: (a) debarred, suspended, declared ineligible or
      voluntarily excluded from participation in a transaction by any Federal Agency; (b) formally proposed for debarment, with a final
      determination still pending; (c) indicted, convicted, or had a civil judgment rendered against you for any of the offenses listed in the
      regulations or (d) delinquent on any amounts owed to the U.S. Government or its instrumentalities as of the date of execution of this
      certification.




                                                                               4
   SBA Form 2483 (04/20)
 
                          
         Case 0:22-cr-60028-WPD       Document 74-1 Entered on FLSD Docket 09/09/2022 Page 73 of
                                                     240




                                                             Additional Owners (Continued)
       List additional owners of 20% or more of the equity of the Applicant.

                     Owner Name                              Title             Ownership %   TIN (EIN, SSN)   Address




   Additional Owners (Continued)
 
                          
         Case 0:22-cr-60028-WPD       Document 74-1 Entered on FLSD Docket 09/09/2022 Page 74 of
                                                     240

                                                +9  +.$0 0$"+.$.! $"
                         /IEjQ][ÂÂÁÃIIdQ[OZIgQE<[7]gXIgh+<QG<[GZdY]sIGEj]NjPI ./Ej

                                                             ¶¶¶¶
                                                     3520,6625<127(
                                  3/($6(6((,03257$17,1)250$7,21$%2877+,6/2$1%(/2:



    6%$/RDQ               


    'DWHRI/RDQ 

      /HJDO%XVLQHVV1DPH                                       /RDQ$PRXQW  
      'RLQJ%XVLQHVV$V                                             ,QWHUHVW5DWH 
      %XVLQHVV$GGUHVV
                                                                     'DWHRI)LUVW3D\PHQW 
                                                                     /RDQ0DWXULW\'DWH  
        *+-%."#+"'#




    )259$/8(5(&(,9('B                
                                          BB                BBBBBBBB WKH³%RUURZHU´ KHUHE\SURPLVHVWRSD\DVQHFHVVDU\DQGLQ
    DFFRUGDQFHZLWKWKH3D\FKHFN3URWHFWLRQ3URJUDPXQGHU&)53DUW WKH³333´ WRWKHRUGHURI&(/7,&%$1.&25325$7,21
                                                                                                           
     ³&HOWLF%DQN´ RUVXEVHTXHQWKROGHUVRIWKLV3URPLVVRU\1RWH WKLV³1RWH´ WKHSULQFLSDODPRXQWRIBBBBBBBBBBBBBBBBBBB'ROODUV
     WKH´/RDQ´ WRJHWKHUZLWKDOODFFUXHGLQWHUHVWWKHUHRQZKLFKDPRXQWVKDOOQRWH[FHHGSHUDQQXPDVSURYLGHGLQWKLV1RWH

    $VVLJQDEOH7KLV1RWHPD\EHDVVLJQHGRUWUDQVIHUUHGE\&HOWLF%DQNRUDQ\VXEVHTXHQWKROGHURIWKH1RWHWRDQ\LQGLYLGXDOFRUSRUDWLRQ
    FRPSDQ\OLPLWHGOLDELOLW\FRPSDQ\WUXVWMRLQWYHQWXUHDVVRFLDWLRQSDUWQHUVKLSXQLQFRUSRUDWHGRUJDQL]DWLRQJRYHUQPHQWDODXWKRULW\RU
    RWKHUHQWLW\ZLWKRXWWKHSULRUFRQVHQWRIRUQRWLFHWRDQ\RWKHUSHUVRQ

    0DWXULW\'DWH8QOHVVIRUJLYHQLQZULWLQJRURWKHUZLVHPRGLILHGLQFRPSOLDQFHZLWKWKHWHUPVRIWKH333RURWKHUDSSOLFDEOH6%$
                                            
    UHTXLUHPHQWVWKLV/RDQPDWXUHVRQBBBBBBBBBBBBBBBBB       ³0DWXULW\'DWH´ 
    8VHRI3URFHHGV%RUURZHUVKDOOXVHWKHSURFHHGVRIWKLVORDQRQO\IRUHOLJLEOHH[SHQVHVXQGHUWKHWHUPVRIWKH3337KH%RUURZHUVKDOO
    XVHWKHIXQGVUHFHLYHGXQGHUWKLV1RWHIRUEXVLQHVVSXUSRVHVRQO\DQGQRWIRUSHUVRQDOIDPLO\RUKRXVHKROGSXUSRVHV7KH%RUURZHU
    XQGHUVWDQGVWKDWWKLVLVQRWDFRQVXPHUORDQDQGWKDWVWDWXWRU\DQGUHJXODWRU\SURWHFWLRQVIRUFRQVXPHUVZLOOQRWDSSO\WRWKLV/RDQ

                                                                                          
    5HSD\PHQW5HTXLUHPHQWV%RUURZHUPXVWSD\SULQFLSDODQGLQWHUHVWSD\PHQWVRI>BBBBBBBBBBBBBBB@HYHU\PRQWKEHJLQQLQJRQ
    BBBBBBBBBBBBBBB
              RUWKHLPPHGLDWHO\IROORZLQJEXVLQHVVGD\LIVXFKGD\LVQRWDEXVLQHVVGD\DQGZKLFKGDWHUHIOHFWVDQDXWRPDWLF
                                                                                                                     
    VL[PRQWKGHIHUUDOIURPWKHGDWHRIWKLV/RDQ DQGHQGLQJRQWKH0DWXULW\'DWH3D\PHQWVPXVWEHPDGHRQWKHBBBBBBBBB      RUWKH
    LPPHGLDWHO\IROORZLQJEXVLQHVVGD\LIVXFKGD\LVQRWDEXVLQHVVGD\ LQWKHPRQWKVWKH\DUHGXHDQGEHPDGHLQ86GROODUV7KHVH
    SD\PHQWVZLOOEHDXWRPDWLFDOO\GHELWHGIURPWKH%RUURZHU¶VEDQNDFFRXQWSURYLGHGWR&HOWLF%DQN ³/LQNHG%DQN$FFRXQW´ 
    %RUURZHU¶VUHSD\PHQWREOLJDWLRQZLOOEHUHGXFHGE\WKHDPRXQWRIDQ\ORDQIRUJLYHQHVVJUDQWHGXQGHUWKHWHUPVRIWKH333<RXU
    ILQDOSD\PHQWRQWKH0DWXULW\'DWHPD\YDU\E\XSWRIURP\RXUUHJXODUSD\PHQWDPRXQWDQG\RXDJUHHWRZDLYHDQ\VSHFLDO
    QRWLFHUHTXLUHPHQWVIRUWKLVSD\PHQWYDULDQFH

    /RDQ )RUJLYHQHVV %RUURZHU PD\ DSSO\ WR /HQGHU IRU IRUJLYHQHVV RI WKH DPRXQW GXH RQ WKLV ORDQ LQ DQ DPRXQW HTXDO WR WKH VXP RI WKH
    IROORZLQJFRVWVLQFXUUHGE\%RUURZHUGXULQJWKHZHHNSHULRGEHJLQQLQJRQWKHGDWHRIILUVWGLVEXUVHPHQWRIWKLVORDQ

          D       3D\UROOFRVWV
          E       $Q\ SD\PHQW RI LQWHUHVW RQ D FRYHUHG PRUWJDJH REOLJDWLRQ ZKLFK VKDOO QRW LQFOXGH DQ\ SUHSD\PHQW RI RU SD\PHQW RI SULQFLSDO
                   RQDFRYHUHGPRUWJDJHREOLJDWLRQ
          F       $Q\SD\PHQWRQDFRYHUHGUHQWREOLJDWLRQ
          G       $Q\FRYHUHGXWLOLW\SD\PHQW

          7KH DPRXQW RI ORDQ IRUJLYHQHVV VKDOO EH FDOFXODWHG DQG PD\ EH UHGXFHG LQ DFFRUGDQFH ZLWK WKH UHTXLUHPHQWV RI WKH 3D\FKHFN
          3URWHFWLRQ 3URJUDP LQFOXGLQJ WKH SURYLVLRQV RI 6HFWLRQ  RI WKH &RURQDYLUXV $LG 5HOLHI DQG (FRQRPLF 6HFXULW\ $FW &$5(6 $FW
           3/ 1RWPRUHWKDQRIWKHDPRXQWIRUJLYHQFDQEHDWWULEXWDEOHWRQRQSD\UROOFRVWV

                                                  ),1$/&(/7,&%$1.333/2$1127(
                                                                  3DJHRI
 
                          
         Case 0:22-cr-60028-WPD       Document 74-1 Entered on FLSD Docket 09/09/2022 Page 75 of
                                                     240

          %RUURZHU KDV UHFHLYHG DQ (,'/ DGYDQFH LQ WKH DPRXQW RI                           ZKLFK DPRXQW VKDOO EH VXEWUDFWHG IURP WKH ORDQ
          IRUJLYHQHVVDPRXQW

     /RDQ 3UHSD\PHQW 1RWZLWKVWDQGLQJ DQ\ SURYLVLRQ LQ WKLV 1RWH WR WKH FRQWUDU\ %RUURZHU PD\ SUHSD\ WKLV 1RWH DW DQ\ WLPH ZLWKRXW
     SHQDOW\ %RUURZHU PD\ SUHSD\  SHUFHQW RU OHVV RI WKH XQSDLG SULQFLSDO EDODQFH DW DQ\ WLPH ZLWKRXW QRWLFH ,I %RUURZHU SUHSD\V PRUH
     WKDQ  SHUFHQW DQG WKH /RDQ KDV EHHQ VROG RQ WKH VHFRQGDU\ PDUNHW %RUURZHU PXVW D *LYH /HQGHU ZULWWHQ QRWLFH E 3D\ DOO
     DFFUXHG LQWHUHVW DQG F ,I WKH SUHSD\PHQW LV UHFHLYHG OHVV WKDQ  GD\V IURP WKH GDWH /HQGHU UHFHLYHG WKH QRWLFH SD\ DQ DPRXQW
     HTXDO WR  GD\V LQWHUHVW IURP WKH GDWH OHQGHU UHFHLYHG WKH QRWLFH OHVV DQ\ LQWHUHVW DFFUXHG GXULQJ WKH  GD\V DQG SDLG XQGHU E RI
     WKLV SDUDJUDSK ,I %RUURZHU GRHV QRW SUHSD\ ZLWKLQ  GD\V IURP WKH GDWH /HQGHU UHFHLYHG WKH QRWLFH %RUURZHU PXVW JLYH /HQGHU D
     QHZQRWLFH


    0DQQHU RI 3D\PHQW $OO SD\PHQWV RI SULQFLSDO DQG LQWHUHVW VKDOO EH PDGH LQ 86 GROODUV RQ WKH GDWH RQ ZKLFK VXFK SD\PHQW LV GXH 6XFK
    SD\PHQWV VKDOO EH PDGH E\ $&+ FDVKLHU¶V FKHFN FHUWLILHG FKHFN RU ZLUH WUDQVIHU RI LPPHGLDWHO\ DYDLODEOH IXQGV WR WKH KROGHU RI WKH
    1RWH¶V ³1RWHKROGHU´ DFFRXQW DW D EDQN VSHFLILHG E\ &HOWLF %DQN RU LWV DVVLJQHHV LQ ZULWLQJ WR WKH %RUURZHU IURP WLPH WR WLPH )RU
    SXUSRVHV RI WKLV 1RWH WKH WHUP 1RWHKROGHU VKDOO UHIHU WR WKH RULJLQDO 1RWHKROGHU DQ\ DJHQW RI WKH 1RWHKROGHU RU DQ\ DVVLJQHH RU
    VXEVHTXHQWKROGHURIWKH1RWH

    $&+ $XWKRUL]DWLRQ 7KH %RUURZHU DXWKRUL]HV &HOWLF %DQN RU DQ\ 1RWHKROGHU WR FUHGLW WKH /LQNHG %DQN $FFRXQW ZLWK WKH %RUURZHU¶V /RDQ
    DPRXQW RU ZKHUH RWKHUZLVH UHTXLUHG IRU VHUYLFLQJ RI WKLV /RDQ 7KH %RUURZHU DOVR DXWKRUL]HV WKH 1RWHKROGHU WR DXWRPDWLFDOO\ GHELW DQ\
    SD\PHQWV GXH SXUVXDQW WR WKH WHUPV RI WKLV 1RWH ,I WKH %RUURZHU GHFLGHV WR SUHSD\ WKLV /RDQ WKH %RUURZHU DXWKRUL]HV WKH 1RWHKROGHU
    WR GHELW DQ\ /LQNHG %DQN $FFRXQW ,I DQ\ GHELW DWWHPSW WR WKH /LQNHG %DQN $FFRXQW IDLOV WKH %RUURZHU JUDQWV 1RWHKROGHU DW HDFK
    LQVWDQFH D QHZ RULJLQDO DXWKRUL]DWLRQ WR PDNH QHZ GHELW DWWHPSWV LQ DQ DPRXQW OHVV WKDQ WKH DPRXQW WKHQ FXUUHQWO\ GXH RU DQ DPRXQW
    UHGXFHG IURP WKH SUHYLRXV GHELW IURP WKH /LQNHG %DQN $FFRXQW 7KH %RUURZHU DFNQRZOHGJHV DQG DJUHHV WR EH ERXQG E\ 1$&+$¶V
    UXOHVIRUEXVLQHVVUHODWHG$&+GHELWVDQGFUHGLWV

    3UHSD\PHQW1RSUHSD\PHQWSHQDOW\ZLOOEHDVVHVVHG

    ,QWHUHVW 3ULQFLSDO DPRXQWV RXWVWDQGLQJ XQGHU WKLV 1RWH VKDOO EHDU LQWHUHVW DW D UDWH SHU DQQXP WKH ³,QWHUHVW 5DWH´ HTXDO WR  $OO
    FRPSXWDWLRQV RI LQWHUHVW KHUHXQGHU VKDOO EH PDGH RQ WKH EDVLV RI D \HDU RI  DQG WKH DFWXDO QXPEHU RI GD\V HODSVHG ,QWHUHVW
    VKDOO EHJLQ WR DFFUXH RQ WKH /RDQ RQ WKH GDWH RI WKLV 1RWH 2Q DQ\ SRUWLRQ RI WKH /RDQ WKDW LV UHSDLG LQWHUHVW VKDOO QRW DFFUXH RQ WKH
    GDWHRQZKLFKVXFKSD\PHQWLVPDGH

    (YHQWV RI 'HIDXOW ZLWK 5HVSHFW WR $PRXQWV 'XH 7KH RFFXUUHQFH DQG FRQWLQXDQFH RI DQ\ RI WKH IROORZLQJ VKDOO FRQVWLWXWH DQ ³(YHQW RI
    'HIDXOW´ KHUHXQGHU ZLWK UHVSHFW WR DQ\ DPRXQWV GXH IURP WKH %RUURZHU XQGHU WKLV /RDQ WKDW DUH QRW IRUJLYHQ XQGHU WKH WHUPV RI WKH
    333 WKH ³1RQIRUJLYHQ $PRXQW´  %RUURZHU IDLOV WR SD\ L DQ\ SULQFLSDO DPRXQW RI WKH 1RQIRUJLYHQ $PRXQW RI WKH /RDQ ZKHQ GXH LL
    DQ\ LQWHUHVW RQ WKH 1RQIRUJLYHQ $PRXQW RI WKH /RDQ ZLWKLQ ILYH  GD\V DIWHU WKH GDWH VXFK DPRXQW LV GXH RU LLL DQ\ RWKHU 1RQIRUJLYHQ
    $PRXQWGXHKHUHXQGHUZLWKLQWHQ  GD\VDIWHUVXFKDPRXQWLVGXH

    5HPHGLHV8SRQWKHRFFXUUHQFHDQGGXULQJWKHFRQWLQXDQFHRIDQ(YHQWRI'HIDXOW1RWHKROGHUPD\DWLWVRSWLRQE\ZULWWHQQRWLFHWR
    WKH%RUURZHUGHFODUHWKHRXWVWDQGLQJSULQFLSDODPRXQWRIWKH1RQIRUJLYHQ$PRXQWRIWKH/RDQDFFUXHGDQGXQSDLGLQWHUHVWWKHUHRQ
    DQGDOORWKHUDPRXQWVSD\DEOHKHUHXQGHULPPHGLDWHO\GXHDQGSD\DEOH

    ,QGHPQLILFDWLRQ7KH%RUURZHUZLOOLQGHPQLI\DQGKROGKDUPOHVV&HOWLF%DQNDQGDQ\1RWHKROGHU DQGWKHLUUHVSHFWLYHHPSOR\HHV
    GLUHFWRUVDJHQWVDIILOLDWHVDQGUHSUHVHQWDWLYHV IURPDQGDJDLQVWDQ\FRVWORVVRUOLDELOLW\LQFOXGLQJLQWHUHVWSHQDOWLHVUHDVRQDEOH
    DWWRUQH\V IHHVDQGH[SHQVHVUHVXOWLQJIURPWKH%RUURZHU¶VPLVUHSUHVHQWDWLRQLQWKHDSSOLFDWLRQIRUWKLV/RDQRURWKHUZLVHRUEUHDFKRI
    ZDUUDQW\GHIDXOWRUEUHDFKRIDQ\FRYHQDQWLQWKLV1RWH

    1RWLFHV$OOQRWLFHVDQGRWKHUFRPPXQLFDWLRQVUHODWLQJWRWKLV1RWHVKDOOEHLQZULWLQJDQGVKDOOEHGHHPHGJLYHQXSRQWKHILUVWWRRFFXU
    RI D GHSRVLWZLWKRYHUQLJKWFRXULHUVHUYLFHSURSHUO\DGGUHVVHGDQGVKLSSLQJSUHSDLG E WUDQVPLWWDOE\HPDLOSURSHUO\DGGUHVVHG ZLWK
    ZULWWHQDFNQRZOHGJPHQWIURPWKHLQWHQGHGUHFLSLHQWVXFKDV³UHWXUQUHFHLSWUHTXHVWHG´IXQFWLRQUHWXUQHPDLORURWKHUZULWWHQ
    DFNQRZOHGJPHQW RU F DFWXDOUHFHLSWE\DQHPSOR\HHRUDJHQWRIWKHRWKHUSDUW\1RWLFHVKHUHXQGHUVKDOOEHVHQWWRWKHIROORZLQJ
    DGGUHVVHVRUWRVXFKRWKHUDGGUHVVDVVXFKSDUW\VKDOOVSHFLI\LQZULWLQJ

    ,IWRWKH%RUURZHU

      1DPH                                                          $GGUHVV
                                                                                                           *+-%."#+"'#
                                                                        
      3KRQH
                                                                 $WWHQWLRQ

                                                                       (PDLO /'.#      $(&'!*(

                                                   ),1$/&(/7,&%$1.333/2$1127(
                                                                   3DJHRI
 
                          
         Case 0:22-cr-60028-WPD       Document 74-1 Entered on FLSD Docket 09/09/2022 Page 76 of
                                                     240




    ,IWR&HOWLF%DQN

      1DPH%OXH9LQH3URFHVVRUDQG6HUYLFHUIRU&HOWLF%DQN           $GGUHVV
                                                                        5HGZRRG&LW\&$

      3KRQH                                               (PDLOFDUHV#EOXHYLQHFRP



    5HSUHVHQWDWLRQVDQG:DUUDQWLHV7KH%RUURZHUUHSUHVHQWVDQGZDUUDQWVWRWKH1RWHKROGHUDVIROORZV


              ([LVWHQFH7KH%RUURZHULVDDQ>LQGLYLGXDOFRUSRUDWLRQOLPLWHGOLDELOLW\FRPSDQ\SDUWQHUVKLS@GXO\LQFRUSRUDWHGRUIRUPHGDV
              DSSOLFDEOHYDOLGO\H[LVWLQJDQGLQJRRGVWDQGLQJXQGHUWKHODZVRIWKHVWDWHRILWVRUJDQL]DWLRQ7KH%RUURZHUKDVWKHUHTXLVLWH
              SRZHUDQGDXWKRULW\WRRZQOHDVHDQGRSHUDWHLWVSURSHUW\DQGWRFDUU\RQLWVEXVLQHVV


              &RPSOLDQFHZLWK/DZ7KH%RUURZHULVLQFRPSOLDQFHZLWKDOOODZVVWDWXWHVRUGLQDQFHVUXOHVDQGUHJXODWLRQVDSSOLFDEOHWRRU
              ELQGLQJRQWKH%RUURZHULWVSURSHUW\DQGEXVLQHVV


              3RZHUDQG$XWKRULW\7KH%RUURZHUKDVWKHUHTXLVLWHSRZHUDQGDXWKRULW\WRH[HFXWHGHOLYHUDQGSHUIRUPLWVREOLJDWLRQVXQGHU
              WKLV1RWH

              $XWKRUL]DWLRQ ([HFXWLRQ DQG 'HOLYHU\ 7KH H[HFXWLRQ DQG GHOLYHU\ RI WKLV 1RWH E\ WKH %RUURZHU DQG WKH SHUIRUPDQFH RI LWV
              REOLJDWLRQV KHUHXQGHU KDYH EHHQ GXO\ DXWKRUL]HG E\ DOO QHFHVVDU\ FRPSDQ\ DFWLRQ LQ DFFRUGDQFH ZLWK DSSOLFDEOH ODZ 7KH
              %RUURZHUKDVGXO\H[HFXWHGDQGGHOLYHUHGWKLV1RWH

              ,QIRUPDWLRQ LV 7UXH DQG $FFXUDWH 7KH LQIRUPDWLRQ SURYLGHG LQ DOO VXSSRUWLQJ GRFXPHQWV DQG IRUPV WR REWDLQ WKLV /RDQ LV WUXH
              DQG DFFXUDWH LQ DOO PDWHULDO UHVSHFWV 7KH %RUURZHU DQG DQ\ LQGLYLGXDO ZKR SURYLGHG LQIRUPDWLRQ IRU WKH DSSOLFDWLRQ RI WKLV
              /RDQ XQGHUVWDQGV WKDW NQRZLQJO\ PDNLQJ D IDOVH VWDWHPHQW WR REWDLQ WKLV ORDQ IURP 6%$ LV SXQLVKDEOH XQGHU WKH ODZ LQFOXGLQJ
              XQGHU  86&  DQG  E\ LPSULVRQPHQW RI QRW PRUH WKDQ ILYH \HDUV DQGRU D ILQH RI XS WR  XQGHU  86& 
              E\ LPSULVRQPHQW RI QRW PRUH WKDQ WZR \HDUV DQGRU D ILQH RI QRW PRUH WKDQ  DQG LI VXEPLWWHG WR D IHGHUDOO\ LQVXUHG
              LQVWLWXWLRQXQGHU86&E\LPSULVRQPHQWRIQRWPRUHWKDQWKLUW\\HDUVDQGRUDILQHRIQRWPRUHWKDQ

    *RYHUQLQJ /DZ 7KLV 1RWH DQG DQ\ FODLP FRQWURYHUV\ GLVSXWH RU FDXVH RI DFWLRQ ZKHWKHU LQ FRQWUDFW WRUW RU RWKHUZLVH EDVHG RQ
    DULVLQJ RXW RI RU UHODWLQJ WR WKLV 1RWH DQG WKH WUDQVDFWLRQV FRQWHPSODWHG KHUHE\ VKDOO EH JRYHUQHG E\ DQG FRQVWUXHG LQ DFFRUGDQFH ZLWK
    WKHODZVRIWKH6WDWHRI8WDKDQGRUDOODSSOLFDEOHIHGHUDOUHJXODWLRQVXQGHUWKH333/RDQSURJUDP

    :KHQ 6%$ LV WKH KROGHU RU LQ WKH HYHQW RI WUDQVIHU RI WKLV 1RWH WKLV 1RWH ZLOO EH LQWHUSUHWHG DQG HQIRUFHG XQGHU )HGHUDO ODZ LQFOXGLQJ
    6%$ UHJXODWLRQV 7KH 1RWHKROGHU RU 6%$ PD\ XVH VWDWH RU ORFDO SURFHGXUHV IRU ILOLQJ SDSHUV UHFRUGLQJ GRFXPHQWV JLYLQJ QRWLFH
    IRUHFORVLQJ OLHQV DQG RWKHU SXUSRVHV %\ XVLQJ VXFK SURFHGXUHV 6%$ GRHV QRW ZDLYH DQ\ )HGHUDO LPPXQLW\ IURP VWDWH RU ORFDO FRQWURO
    SHQDOW\ WD[ RU OLDELOLW\ $V WR WKLV 1RWH WKH %RUURZHU PD\ QRW FODLP RU DVVHUW DJDLQVW 6%$ DQ\ ORFDO RU VWDWH ODZ WR GHQ\ DQ\ REOLJDWLRQ
    GHIHDWDQ\FODLPRI6%$RUSUHHPSW)HGHUDOODZ

    %,1',1*$5%,75$7,218QOHVV6%$LVWKHKROGHURIWKLV1RWHWKH1RWHKROGHUDQGWKH%RUURZHULUUHYRFDEO\DQGXQFRQGLWLRQDOO\DJUHHWR
    DUELWUDWHDOOGLVSXWHVDULVLQJXQGHURULQFRQQHFWLRQZLWKWKLV$JUHHPHQWE\DQHXWUDODUELWUDWRUZKRKDVWKHSRZHUWRDZDUGWKHVDPH
    GDPDJHVDQGUHOLHIWKDWDFRXUWFDQ$1<$5%,75$7,2181'(57+,6$*5((0(17:,//21/<%(21$1,1',9,'8$/%$6,6
    &/$66$5%,75$7,216&/$66$&7,2165(35(6(17$7,9($&7,216$1'&2162/,'$7,21:,7+27+(5$5%,75$7,216
    $5(1273(50,77('7+(%2552:(5+(5(%<,55(92&$%/<:$,9(6727+()8//(67(;7(173(50,77('%<
    $33/,&$%/(/$:$1<5,*+7,70$<+$9(72$75,$/%<-85<,1$1</(*$/352&((',1*',5(&7/<25,1',5(&7/<
    5(/$7,1*727+,6127(257+(75$16$&7,216&217(03/$7('+(5(%<:+(7+(5%$6('21&2175$&7725725
    $1<27+(57+(25<7+(%2552:(5:$,9(6$1<5,*+7723$57,&,3$7(,1$&/$66$&7,21$*$,1677+(
    127(+2/'(5 25$1<2)7+(,55(63(&7,9($66,*1((625$*(176,IDQ\SURYLVLRQRIWKLVDUELWUDWLRQDJUHHPHQWLVIRXQG
    XQHQIRUFHDEOHWKHXQHQIRUFHDEOHSURYLVLRQZLOOEHVHYHUHGDQGWKHUHPDLQLQJDUELWUDWLRQWHUPVZLOOEHHQIRUFHG EXWLQQRFDVHZLOOWKHUH
    EHDFODVVDUELWUDWLRQ $OOGLVSXWHVZLOOEHUHVROYHGILQDOO\DQGH[FOXVLYHO\E\ELQGLQJLQGLYLGXDODUELWUDWLRQZLWKDVLQJOHDUELWUDWRU
    DGPLQLVWHUHGE\WKH$PHULFDQ$UELWUDWLRQ$VVRFLDWLRQ ZZZDGURUJ DFFRUGLQJWRWKLV6HFWLRQDQGWKHDSSOLFDEOHDUELWUDWLRQUXOHVIRUWKDW
    IRUXP7KHDUELWUDWRUZLOOEHUHVSRQVLEOHIRUGHWHUPLQLQJDOOWKUHVKROGDUELWUDELOLW\LVVXHVLQFOXGLQJLVVXHVUHODWLQJWRZKHWKHUWKLV1RWHLV
    XQFRQVFLRQDEOHRULOOXVRU\DQGDQ\GHIHQVHWRDUELWUDWLRQLQFOXGLQJZDLYHUGHOD\ODFKHVRUHVWRSSHO7KH)HGHUDO$UELWUDWLRQ$FW86&
    IXOO\DSSOLHV$Q\DUELWUDWLRQKHDULQJZLOORFFXULQ6DQ)UDQFLVFR&DOLIRUQLDRURWKHUPXWXDOO\DJUHHDEOHORFDWLRQ7KHDUELWUDWRU¶V
    DZDUGZLOOEHELQGLQJRQWKHSDUWLHVDQGPD\EHHQWHUHGDVDMXGJPHQWLQDQ\FRXUWRIFRPSHWHQWMXULVGLFWLRQ)RUDQ\GLVSXWHDJDLQVW
                                                    ),1$/&(/7,&%$1.333/2$1127(
                                                                    3DJHRI
 
                          
         Case 0:22-cr-60028-WPD       Document 74-1 Entered on FLSD Docket 09/09/2022 Page 77 of
                                                     240

    1RWHKROGHU1RWHKROGHUZLOOSD\DOOWKHDUELWUDWLRQIHHV,IWKH%RUURZHUSUHYDLOVRQDQ\FODLPIRUZKLFKWKH%RUURZHULVOHJDOO\HQWLWOHGWR
    DWWRUQH\¶VIHHVWKH%RUURZHUPD\VHHNWRUHFRYHUWKRVHIHHVLQWKHDUELWUDWLRQ)RUDQ\FODLPZKHUHWKH%RUURZHULVVHHNLQJUHOLHIWKH
    1RWHKROGHUZLOOQRWVHHNWRKDYHWKH%RUURZHUSD\WKH1RWHKROGHU¶VDWWRUQH\¶VIHHVHYHQLIIHHVPLJKWRWKHUZLVHEHDZDUGHGXQOHVVWKH
    DUELWUDWRUGHWHUPLQHVWKDWWKH%RUURZHU¶VFODLPZDVIULYRORXV)RUSXUSRVHVRIWKLVDUELWUDWLRQSURYLVLRQUHIHUHQFHVWRWKH%RUURZHURUWKH
    1RWHKROGHUDOVRLQFOXGHUHVSHFWLYHVXEVLGLDULHVDIILOLDWHVDJHQWVHPSOR\HHVSUHGHFHVVRUVVXFFHVVRUVDQGDVVLJQVDVZHOODVDXWKRUL]HG
    XVHUVRUEHQHILFLDULHVRIWKH3333URJUDP6XEMHFWWRDQGZLWKRXWZDLYHURIWKHDUELWUDWLRQSURYLVLRQVDERYHWKH%RUURZHUDJUHHVWKDWDQ\
    MXGLFLDOSURFHHGLQJVZLOOEHEURXJKWLQDQGWKH%RUURZHUFRQVHQWVWRWKHH[FOXVLYHMXULVGLFWLRQDQGYHQXHLQWKHVWDWHFRXUWVLQWKH&LW\DQG
    &RXQW\RI6DOW/DNH8WDKRUIHGHUDOFRXUWIRUWKH1RUWKHUQ'LVWULFWRI8WDK

    ,QWHJUDWLRQ 7KLV 1RWH FRQVWLWXWHV WKH HQWLUH FRQWUDFW EHWZHHQ WKH %RUURZHU DQG &HOWLF %DQN ZLWK UHVSHFW WR WKH VXEMHFW PDWWHU KHUHRI
    DQGVXSHUVHGHVDOOSUHYLRXVDJUHHPHQWVDQGXQGHUVWDQGLQJVRUDORUZULWWHQZLWKUHVSHFWWKHUHWR

    $PHQGPHQWV DQG :DLYHUV 1R WHUP RI WKLV 1RWH PD\ EH ZDLYHG PRGLILHG RU DPHQGHG H[FHSW E\ DQ LQVWUXPHQW LQ ZULWLQJ VLJQHG E\ WKH
    %RUURZHU DQG WKH 1RWHKROGHU $Q\ ZDLYHU RI WKH WHUPV KHUHRI VKDOO EH HIIHFWLYH RQO\ LQ WKH VSHFLILF LQVWDQFH DQG IRU WKH VSHFLILF SXUSRVH
    JLYHQ

    &RQVHQW WR 8VH (OHFWURQLF 6LJQDWXUH ,Q RUGHU WR UHFHLYH WKH /RDQ DPRXQW &HOWLF %DQN PXVW SURYLGH WKH %RUURZHU FHUWDLQ GLVFORVXUHV
    UHTXLUHG E\ ODZ %\ VXEPLWWLQJ WKH %RUURZHU¶V DSSOLFDWLRQ DQG DJUHHLQJ WR WKH WHUPV RI WKLV 1RWH ZKLFK WKH %RUURZHU FROOHFWLYHO\ DGRSWV
    DV LWV HOHFWURQLF VLJQDWXUH WKH %RUURZHU FRQVHQWV DQG DJUHHV WKDW L &HOWLF %DQN DQG DQ\ 1RWHKROGHU FDQ SURYLGH DOO GLVFORVXUHV
    UHTXLUHG E\ ODZ DQG RWKHU LQIRUPDWLRQ DERXW WKH %RUURZHU¶V OHJDO ULJKWV DQG GXWLHV WR WKH %RUURZHU HOHFWURQLFDOO\ LQFOXGLQJ E\ HPDLO D
    :HEVLWH SRUWDO RU PRELOH SKRQH DSSOLFDWLRQ LL WKH %RUURZHU¶V HOHFWURQLF VLJQDWXUH RQ DJUHHPHQWV DQG GRFXPHQWV KDV WKH VDPH HIIHFW
    DV LI WKH %RUURZHU VLJQHG WKHP LQ LQN DQG LV HYLGHQFH RI WKH %RUURZHU¶V LQWHQWLRQ WR EH ERXQG E\ WKLV 1RWH LLL (OHFWURQLF GLVFORVXUHV
    KDYH WKH VDPH PHDQLQJ DQG HIIHFW DV LI WKH %RUURZHU ZHUH SURYLGHG SDSHU GLVFORVXUHV LY 'LVFORVXUHV DUH FRQVLGHUHG UHFHLYHG E\ WKH
    %RUURZHU ZLWKLQ  KRXUV RI WKH WLPH SRVWHG WR &HOWLF %DQN¶V RU DQ\ 1RWHKROGHU¶V ZHEVLWH RU ZLWKLQ  KRXUV RI WKH WLPH HPDLOHG WR WKH
    %RUURZHU XQOHVV &HOWLF %DQN RU 1RWHKROGHU UHFHLYHV QRWLFH WKDW WKH HPDLO ZDV QRW GHOLYHUHG Y &HOWLF %DQN RU 1RWHKROGHU UHVHUYHV WKH
    ULJKW WR FDQFHO WKLV HOHFWURQLF GLVFORVXUH VHUYLFH FKDQJH WKH WHUPV RI XVH RI WKLV VHUYLFH RU VHQG GLVFORVXUHV LQ SDSHU IRUP DW DQ\ WLPH
     YL &HOWLF %DQN RU 1RWHKROGHU LV UHVSRQVLEOH IRU VHQGLQJ QRWLFH RI WKH GLVFORVXUHV WR WKH %RUURZHU HOHFWURQLFDOO\ EXW &HOWLF %DQN RU
    1RWHKROGHU DUH QRW UHVSRQVLEOH IRU DQ\ GHOD\ RU IDLOXUH LQ WKH %RUURZHU¶V UHFHLSW RU UHYLHZ RI WKH HPDLO QRWLFHV 7KH %RUURZHU DJUHHV
    DQG FRQILUPV WKDW WKH %RUURZHU KDV DFFHVV WR WKH QHFHVVDU\ HTXLSPHQW WR UHFHLYH DFFHVV DQG SULQW DQ\ GLVFORVXUHV WKDW PD\ EH
    SURYLGHG LQ HOHFWURQLF IRUP 7KH %RUURZHU ZLOO QRW VHHN WR ZLWKGUDZ WKH %RUURZHU¶V FRQVHQW IRU HOHFWURQLF VLJQDWXUH DQG GLVFORVXUHV
    ZKLOHWKH%RUURZHUKDVDQRXWVWDQGLQJ/RDQEDODQFH

    $FFHVV WR 'LVFORVXUHV 7KH %RUURZHU XQGHUVWDQGV WKDW LQ RUGHU WR DFFHVV DQG UHWDLQ WKH HOHFWURQLF GLVFORVXUHV WKH %RUURZHU ZLOO QHHG
    WKH IROORZLQJ L $ FRPSXWHU RU PRELOH GHYLFH ZLWK ,QWHUQHW RU PRELOH FRQQHFWLYLW\ LL )RU GHVNWRS ZHEVLWHEDVHG &RPPXQLFDWLRQV D
    /DWHVW ZHE EURZVHU WKDW LQFOXGHV ELW HQFU\SWLRQ E 7KH EURZVHU PXVW KDYH FRRNLHV HQDEOHG 8VH RI EURZVHU H[WHQVLRQV PD\
    LPSDLU IXOO ZHEVLWH IXQFWLRQDOLW\ F 0LQLPXP UHFRPPHQGHG EURZVHU VWDQGDUGV DUH 0R]LOOD )LUHIR[ ODWHVW YHUVLRQ VHH
    KWWSZZZPR]LOODFRP IRU ODWHVW YHUVLRQ  $SSOH 6DIDUL ODWHVW YHUVLRQ VHH KWWSZZZDSSOHFRPVDIDUL IRU ODWHVW YHUVLRQ  RU &KURPH
    ODWHVW YHUVLRQ VHH KWWSZZZJRRJOHFRPFKURPH IRU ODWHVW YHUVLRQ  LLL )RU PRELOHEDVHG &RPPXQLFDWLRQV D $ ODWHVW GHYLFH
    RSHUDWLQJ V\VWHP WKDW VXSSRUWV WH[W PHVVDJLQJ GRZQORDGLQJ DQG DSSOLFDWLRQV IURP WKH $SSOH $SS 6WRUH RU *RRJOH 3OD\ VWRUH DQG E
    7KH ODWHVW YHUVLRQ RI 6DIDUL RU &KURPH RQ L26 RU WKH ODWHVW YHUVLRQ RI &KURPH IRU $QGURLG LY $FFHVV WR WKH HPDLO DGGUHVV XVHG WR
    FUHDWH \RXU &HOWLF %DQN DFFRXQW Y 6XIILFLHQW VWRUDJH VSDFH WR VDYH &RPPXQLFDWLRQV DQGRU D SULQWHU WR SULQW WKHP YL 8VH RI VSDP
    ILOWHUVPD\EORFNRUUHURXWHHPDLOVIURPVHQGHUVQRWOLVWHGLQ\RXUHPDLODGGUHVVERRN

    $GGLWLRQDO &RPPXQLFDWLRQV 7KH %RUURZHU FRQVHQWV WR DFFHSW DQG UHFHLYH FRPPXQLFDWLRQV IURP &HOWLF %DQN DQG DQ\ 1RWHKROGHU
    LQFOXGLQJ HPDLO WH[W PHVVDJHV FDOOV DQG SXVK QRWLILFDWLRQV WR WKH FHOOXODU WHOHSKRQH QXPEHU WKH %RUURZHU SURYLGHV 7KHVH
    QRQWHOHPDUNHWLQJ FRPPXQLFDWLRQV PD\ EH JHQHUDWHG E\ DXWRPDWLF WHOHSKRQH GLDOLQJ V\VWHPV ZKLFK ZLOO GHOLYHU SUHUHFRUGHG
    PHVVDJHV LQFOXGLQJ IRU WKH SXUSRVHV RI VHFRQGDU\ DXWKHQWLFDWLRQ UHFHLSWV UHPLQGHUV DQG RWKHU QRWLILFDWLRQV 6WDQGDUG PHVVDJH DQG
    GDWD UDWHV DSSOLHG E\ WKH %RUURZHU¶V FHOO SKRQH FDUULHU PD\ DSSO\ WR WKH WH[W PHVVDJHV &HOWLF %DQN RU DQ\ 1RWHKROGHU VHQGV WKH
    %RUURZHU7KH%RUURZHUPD\RQO\RSWRXWRIUHFHLYLQJWH[WPHVVDJHFRPPXQLFDWLRQVE\UHSO\LQJ6723WRWH[WPHVVDJHV

    1R :DLYHU &XPXODWLYH 5HPHGLHV 1R IDLOXUH E\ &HOWLF %DQN RU DQ\ VXEVHTXHQW 1RWHKROGHU WR H[HUFLVH DQG QR GHOD\ LQ H[HUFLVLQJ DQ\
    ULJKW UHPHG\ RU SRZHU KHUHXQGHU VKDOO RSHUDWH DV D ZDLYHU WKHUHRI QRU VKDOO DQ\ VLQJOH RU SDUWLDO H[HUFLVH RI DQ\ ULJKW UHPHG\ RU
    SRZHU KHUHXQGHU SUHFOXGH DQ\ RWKHU RU IXUWKHU H[HUFLVH WKHUHRI RU WKH H[HUFLVH RI DQ\ RWKHU ULJKW UHPHG\ RU SRZHU 7KH ULJKWV
    UHPHGLHVDQGSRZHUVKHUHLQSURYLGHGDUHFXPXODWLYHDQGQRWH[FOXVLYHRIDQ\RWKHUULJKWVUHPHGLHVRUSRZHUVSURYLGHGE\ODZ

    6HYHUDELOLW\ ,I DQ\ WHUP RU SURYLVLRQ RI WKLV 1RWH LV LQYDOLG LOOHJDO RU XQHQIRUFHDEOH LQ DQ\ MXULVGLFWLRQ VXFK LQYDOLGLW\ LOOHJDOLW\ RU
    XQHQIRUFHDELOLW\ VKDOO QRW DIIHFW DQ\ RWKHU WHUP RU SURYLVLRQ RI WKLV 1RWH RU UHQGHU VXFK WHUP RU SURYLVLRQ LQYDOLG RU XQHQIRUFHDEOH LQ DQ\
    RWKHUMXULVGLFWLRQ

    &RXQWHUSDUWV 7KLV 1RWH DQG DQ\ DPHQGPHQWV ZDLYHUV FRQVHQWV RU VXSSOHPHQWV KHUHWR PD\ EH H[HFXWHG LQ FRXQWHUSDUWV HDFK RI
    ZKLFKVKDOOFRQVWLWXWHDQRULJLQDOEXWDOORIZKLFKWDNHQWRJHWKHUVKDOOFRQVWLWXWHDVLQJOHFRQWUDFW

    7KLUG3DUW\%HQHILFLDU\$Q\DVVLJQHHRIWKLV1RWHVKDOOEHGHHPHGWREHDWKLUGSDUW\EHQHILFLDU\WRWKLV1RWHDQGLVHQWLWOHGWRWKH
    ULJKWVDQGEHQHILWVKHUHXQGHUDQGPD\HQIRUFHWKHSURYLVLRQVKHUHRIDVLIWKH\ZHUHDSDUW\KHUHWR
                                                    ),1$/ &(/7,& %$1. 333 /2$1 127(   
                                                                    3DJH  RI 
 
                            
           Case 0:22-cr-60028-WPD       Document 74-1 Entered on FLSD Docket 09/09/2022 Page 78 of
                                                       240


    1RQ5HFRXUVH 1RWHKROGHU DQG 6%$ VKDOO KDYH QR UHFRXUVH DJDLQVW DQ\ LQGLYLGXDO VKDUHKROGHU PHPEHU RU SDUWQHU RI %RUURZHU IRU
    QRQSD\PHQW RI WKH ORDQ H[FHSW WR WKH H[WHQW WKDW VXFK VKDUHKROGHU PHPEHU RU SDUWQHU XVHV WKH ORDQ SURFHHGV IRU DQ XQDXWKRUL]HG
    SXUSRVH

    (UURUV DQG 2PLVVLRQV 7KH XQGHUVLJQHG %RUURZHU IRU DQG LQ FRQVLGHUDWLRQ RI &HOWLF %DQN IXQGLQJ WKH FORVLQJ RI WKLV /RDQ DJUHHV LI
    UHTXHVWHG E\ &HOWLF %DQN RU LWV DVVLJQHHV WR IXOO\ FRRSHUDWH DQG DGMXVW IRU FOHULFDO HUURUV DQ\ RU DOO /RDQ FORVLQJ GRFXPHQWDWLRQ LI
    GHHPHGQHFHVVDU\RUGHVLUDEOHLQWKHUHDVRQDEOHGLVFUHWLRQRI&HOWLF%DQNRULWVDVVLJQHHV




    81'(56,*1('%2552:(5$&.12:/('*(67+$7+(6+(,67+($87+25,=('5(35(6(17$7,9(2)7+($33/,&$17
    $1'+$9,1*5($'$//7+(3529,6,2162)7+,6/2$1'2&80(17$1'$*5((672,767(506

    %<6,*1,1*7+(%2552:(5$*5((67+$7$//,1)250$7,213529,'(',17+,6$33/,&$7,21$1'$//
    6833257,1*'2&80(176$1')2506722%7$,17+,6/2$1$5(758($1'$&&85$7(,1$//0$7(5,$/
    5(63(&76$1'7+$7$1<.12:1)$/6(67$7(0(176$5(381,6+$%/(%<),1(,035,6210(1725%27+


   ,1:,71(66:+(5(2)WKH%RUURZHUKDVH[HFXWHGDQG
                               
   DFFHSWHGWKLV1RWHDVRI


              

   1DPH


   6LJQDWXUH


    0)#+


   7LWOH




    (TXDO&UHGLW2SSRUWXQLW\$FW 86&
    7KH)HGHUDO(TXDO&UHGLW2SSRUWXQLW\$FWSURKLELWVFUHGLWRUVIURPGLVFULPLQDWLQJDJDLQVWFUHGLWDSSOLFDQWVRQWKHEDVLVRIUDFHFRORU
    UHOLJLRQQDWLRQDORULJLQVH[PDULWDOVWDWXVRUDJH SURYLGHGWKHDSSOLFDQWKDVWKHFDSDFLW\WRHQWHULQWRDELQGLQJFRQWUDFW EHFDXVHDOO
    RUSDUWRIWKHDSSOLFDQW VLQFRPHGHULYHVIURPDQ\SXEOLFDVVLVWDQFHSURJUDPRUEHFDXVHWKHDSSOLFDQWKDVLQJRRGIDLWKH[HUFLVHGDQ\
    ULJKWXQGHUWKH&RQVXPHU&UHGLW3URWHFWLRQ$FW




                                                    ),1$/&(/7,&%$1.333/2$1127(
                                                                    3DJHRI
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 79 of
                                     240


                                                                   22-60028-CR-WPD




                                                                     207a
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 80 of
                                     240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 81 of
                                     240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 82 of
                                     240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 83 of
                                     240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 84 of
                                     240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 85 of
                                     240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 86 of
                                     240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 87 of
                                     240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 88 of
                                     240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 89 of
                                     240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 90 of
                                     240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 91 of
                                     240
                                                                          22-60028-CR-WPD




                                                                            207b
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 92 of
                                     240
 
                             
         Case 0:22-cr-60028-WPD     Document  74-1 Entered on FLSD Docket 09/09/2022 Page 93 of
                                                       240
                                            Paycheck Protection Program                                                                OMB Control No.: 3245-0407
                                                        Borrower Application Form Revised June 2020                                     Expiration Date: 10/31/2020



                                                      (        
        Check One:          Sole proprietor 
                                             Partnership  C-Corp     S-Corp LLC                               DBA or Tradename if Applicable
                            Independent contractor 
                                                     Eligible self-employed individual
                           
                            501(c)(3) nonprofit  501(c)(19) veterans organization
                           
                            Tribal business (sec. 31(b)(2)(C) of Small Business Act) 
                                                                                       Other
                                            Business Legal Name
      24HOUR PRINTING INC
                                              Business Address                                          Business TIN (EIN, SSN)           Business Phone
                                                                                                              4894                  ( )    -
                                                                                                                                   9548996251
                                                                                                            Primary Contact                Email Address
      North Lauderdale FL                                                                              Joselin Luke                freelay21@gmail.com




        Average Monthly Payroll:         $ 74789.00              x 2.5 + EIDL, Net of              $ 186972.00           Number of Employees: 7
                                                                 Advance (if Applicable)
                                                                 Equals Loan Request:
        Purpose of the loan

                                          X Payroll ‫܆‬
                                          ‫܆‬                                    X Utilities ‫܆‬
                                                    X Lease / Mortgage Interest ‫܆‬
        (select more than one):                                                              Other (explain): __________________

                                                                 Applicant Ownership
       List all owners of 20% or more of the equity of the Applicant. Attach a separate sheet if necessary.

                        Owner Name                               Title               Ownership %    TIN (EIN, SSN)                    Address




               If questions (1) or (2) below are answered “Yes,” the loan will not be approved.
                                                                       Question                                                                        Yes     No
          1.     Is the Applicant or any owner of the Applicant presently suspended, debarred, proposed for debarment, declared ineligible,
                 voluntarily excluded from participation in this transaction by any Federal department or agency, or presently involved in any          ‫܆‬
                                                                                                                                                       ‫܆‬
                 bankruptcy?

          2.     Has the Applicant, any owner of the Applicant, or any business owned or controlled by any of them, ever obtained a direct or          ‫܆‬
                                                                                                                                                        ‫܆‬
                 guaranteed loan from SBA or any other Federal agency that is currently delinquent or has defaulted in the last 7 years and
                 caused a loss to the government?

          3.     Is the Applicant or any owner of the Applicant an owner of any other business, or have common management with any other              ‫܆‬
                                                                                                                                                       ‫܆‬
                 business? If yes, list all such businesses and describe the relationship on a separate sheet identified as addendumA.

          4.     Has the Applicant received an SBA Economic Injury Disaster Loan between January 31, 2020 and April 3, 2020? If yes,                   ‫܆‬
                                                                                                                                                        ‫܆‬
                 provide details on a separate sheet identified as addendum B.

               If questions (5) or (6) are answered “Yes,” the loan will not be approved.
                                                                      Question                                                              Yes          No
          5.      Is the Applicant (if an individual) or any individual owning 20% or more of the equity of the Applicant
                  subject to an indictment, criminal information, arraignment, or other means by which formal criminal charges               ‫܆‬
                                                                                                                                                         ‫܆‬
                  are brought in any jurisdiction, or presently incarcerated, or on probation or parole?
                  Initial here to confirm your response to question 5 ĺ

          6.      Within the last 5 years, for any felony, has the Applicant (if an individual) or any owner of the Applicant 1)
                  been convicted; 2) pleaded guilty; 3) pleaded nolo contendere; or 4) been placed on any form of parole or                 ‫܆‬
                                                                                                                                                         ‫܆‬
                  probation (including probation before judgment)?
                  Initial here to confirm your response to question 6 ĺ

          7.      Is the United States the principal place of residence for all employees of the Applicant included in the
                  Applicant’s payroll calculation above?
                                                                                                                                            ‫܆‬            ‫܆‬
                                                                                                                                                          


          8.      Is the Applicant a franchise that is listed in the SBA’s Franchise Directory?                                             ‫܆‬
                                                                                                                                                         ‫܆‬
                                                                                 1
   SBA Form 2483 (06/20)
 
                             
         Case 0:22-cr-60028-WPD     Document  74-1 Entered on FLSD Docket 09/09/2022 Page 94 of
                                                       240
                                            Paycheck Protection Program
                                                       Borrower Application Form Revised June 2020

    By Signing Below, You Make the Following Representations, Authorizations, and Certifications

    CERTIFICATIONS AND AUTHORIZATIONS
    I certify that:
            x I have read the statements included in this form, including the Statements Required by Law and Executive Orders, and I understand them.
            x The Applicant is eligible to receive a loan under the rules in effect at the time this application is submitted that have been issued by the
                 Small Business Administration (SBA) implementing the Paycheck Protection Program under Division A, Title I of the Coronavirus Aid,
                 Relief, and Economic Security Act (CARES Act) (the Paycheck Protection Program Rule).
            x The Applicant (1) is an independent contractor, eligible self-employed individual, or sole proprietor or (2) employs no more than the
                 greater of 500 or employees or, if applicable, the size standard in number of employees established by the SBA in 13 C.F.R. 121.201 for
                 the Applicant’s industry.
            x I will comply, whenever applicable, with the civil rights and other limitations in this form.
            x All SBA loan proceeds will be used only for business-related purposes as specified in the loan application and consistent with the Paycheck
                 Protection Program Rule.
            x To the extent feasible, I will purchase only American-made equipment and products.
            x The Applicant is not engaged in any activity that is illegal under federal, state or local law.
            x Any loan received by the Applicant under Section 7(b)(2) of the Small Business Act between January 31, 2020 and April 3, 2020 was for
                 a purpose other than paying payroll costs and other allowable uses loans under the Paycheck Protection Program Rule.

    For Applicants who are individuals: I authorize the SBA to request criminal record information about me from criminal justice agencies for the
    purpose of determining my eligibility for programs authorized by the Small Business Act, as amended.

    CERTIFICATIONS
    The authorized representative of the Applicant must certify in good faith to all of the below by initialing next to each one:

               The Applicant was in operation on February 15, 2020 and had employees for whom it paid salaries and payroll taxes or paid independent
               contractors, as reported on Form(s) 1099-MISC.

               Current economic uncertainty makes this loan request necessary to support the ongoing operations of the Applicant.

               The funds will be used to retain workers and maintain payroll or make mortgage interest payments, lease payments, and utility payments,
               as specified under the Paycheck Protection Program Rule; I understand that if the funds are knowingly used for unauthorized purposes,
               the federal government may hold me legally liable, such as for charges of fraud.

               The Applicant will provide to the Lender documentation verifying the number of full-time equivalent employees on the Applicant’s payroll
               as well as the dollar amounts of payroll costs, covered mortgage interest payments, covered rent payments, and covered utilities for the
               24-week period following this loan.

               I understand that loan forgiveness will be provided for the sum of documented payroll costs, covered mortgage interest payments, covered
               rent payments, and covered utilities, and not more than 40% of the forgiven amount may be for non-payroll costs.

               During the period beginning on February 15, 2020 and ending on December 31, 2020, the Applicant has not and will not receive another
               loan under the Paycheck Protection Program.

               I further certify that the information provided in this application and the information provided in all supporting documents and forms is
               true and accurate in all material respects. I understand that knowingly making a false statement to obtain a guaranteed loan from SBA is
               punishable under the law, including under 18 USC 1001 and 3571 by imprisonment of not more than five years and/or a fine of up to
               $250,000; under 15 USC 645 by imprisonment of not more than two years and/or a fine of not more than $5,000; and, if submitted to a
               federally insured institution, under 18 USC 1014 by imprisonment of not more than thirty years and/or a fine of not more than $1,000,000.

               I acknowledge that the lender will confirm the eligible loan amount using required documents submitted. I understand, acknowledge and
               agree that the Lender can share any tax information that I have provided with SBA’s authorized representatives, including authorized
               representatives of the SBA Office of Inspector General, for the purpose of compliance with SBA Loan Program Requirements and all SBA
               reviews.
                                                                                                      
     _________________________________________________________                                        ________________________
     Signature of Authorized Representative of Applicant                                              Date
                                                                                                 
     Print Name                                                                                       Title



                                                                             2
   SBA Form 2483 (06/20)
 
                             
         Case 0:22-cr-60028-WPD     Document  74-1 Entered on FLSD Docket 09/09/2022 Page 95 of
                                                       240
                                            Paycheck Protection Program
                                                         Borrower Application Form Revised June 2020

   Purpose of this form:

   This form is to be completed by the authorized representative of the Applicant and submitted to your SBA Participating Lender. Submission of the
   requested information is required to make a determination regarding eligibility for financial assistance. Failure to submit the information would affect
   that determination.

   Instructions for completing this form:

   With respect to “purpose of the loan,” payroll costs consist of compensation to employees (whose principal place of residence is the United States) in
   the form of salary, wages, commissions, or similar compensation; cash tips or the equivalent (based on employer records of past tips or, in the absence
   of such records, a reasonable, good-faith employer estimate of such tips); payment for vacation, parental, family, medical, or sick leave; allowance for
   separation or dismissal; payment for the provision of employee benefits consisting of group health care coverage, including insurance premiums, and
   retirement; payment of state and local taxes assessed on compensation of employees; and for an independent contractor or sole proprietor, wage,
   commissions, income, or net earnings from self-employment or similar compensation.

   For purposes of calculating “Average Monthly Payroll,” most Applicants will use the average monthly payroll for 2019, excluding costs over $100,000
   on an annualized basis for each employee. For seasonal businesses, the Applicant may elect to instead use average monthly payroll for the time period
   between February 15, 2019 and June 30, 2019 or any 12-week period between May 1, 2019 and September 15, 2019, excluding costs over $100,000
   on an annualized basis for each employee. For new businesses, average monthly payroll may be calculated using the time period from January 1, 2020
   to February 29, 2020, excluding costs over $100,000 on an annualized basis for each employee.

   If Applicant is refinancing an Economic Injury Disaster Loan (EIDL): Add the outstanding amount of an EIDL made between January 31, 2020 and
   April 3, 2020, less the amount of any “advance” under an EIDL COVID-19 loan, to Loan Request as indicated on the form.

   All parties listed below are considered owners of the Applicant as defined in 13 CFR § 120.10, as well as “principals”:

     x For a sole proprietorship, the sole proprietor;
     x For a partnership, all general partners, and all limited partners owning 20% or more of the equity of the firm;
     x For a corporation, all owners of 20% or more of the corporation;
     x For limited liability companies, all members owning 20% or more of the company; and
     x Any Trustor (if the Applicant is owned by a trust).
   Paperwork Reduction Act – You are not required to respond to this collection of information unless it displays a currently valid OMB Control
   Number. The estimated time for completing this application, including gathering data needed, is 8 minutes. Comments about this time or the information
   requested should be sent to: Small Business Administration, Director, Records Management Division, 409 3rd St., SW, Washington DC 20416, and/or
   SBA Desk Officer, Office of Management and Budget, New Executive Office Building, Washington DC 20503. PLEASE DO NOT SEND FORMS
   TO THESE ADDRESSES.

   Privacy Act (5 U.S.C. 552a) – Under the provisions of the Privacy Act, you are not required to provide your social security number. Failure to provide
   your social security number may not affect any right, benefit or privilege to which you are entitled. (But see Debt Collection Notice regarding taxpayer
   identification number below.) Disclosures of name and other personal identifiers are required to provide SBA with sufficient information to make a
   character determination. When evaluating character, SBA considers the person’s integrity, candor, and disposition toward criminal actions.
   Additionally, SBA is specifically authorized to verify your criminal history, or lack thereof, pursuant to section 7(a)(1)(B), 15 USC Section 636(a)(1)(B)
   of the Small Business Act (the Act).

   Disclosure of Information – Requests for information about another party may be denied unless SBA has the written permission of the individual to
   release the information to the requestor or unless the information is subject to disclosure under the Freedom of Information Act. The Privacy Act
   authorizes SBA to make certain “routine uses” of information protected by that Act. One such routine use is the disclosure of information maintained
   in SBA’s system of records when this information indicates a violation or potential violation of law, whether civil, criminal, or administrative in nature.
   Specifically, SBA may refer the information to the appropriate agency, whether Federal, State, local or foreign, charged with responsibility for, or
   otherwise involved in investigation, prosecution, enforcement or prevention of such violations. Another routine use is disclosure to other Federal
   agencies conducting background checks but only to the extent the information is relevant to the requesting agencies' function. See, 74 F.R. 14890
   (2009), and as amended from time to time for additional background and other routine uses. In addition, the CARES Act, requires SBA to register
   every loan made under the Paycheck Protection Act using the Taxpayer Identification Number (TIN) assigned to the borrower.

   Debt Collection Act of 1982, Deficit Reduction Act of 1984 (31 U.S.C. 3701 et seq. and other titles) – SBA must obtain your taxpayer identification
   number when you apply for a loan. If you receive a loan, and do not make payments as they come due, SBA may: (1) report the status of your loan(s)
   to credit bureaus, (2) hire a collection agency to collect your loan, (3) offset your income tax refund or other amounts due to you from the Federal
   Government, (4) suspend or debar you or your company from doing business with the Federal Government, (5) refer your loan to the Department of
   Justice, or (6) foreclose on collateral or take other action permitted in the loan instruments.




                                                                              3
   SBA Form 2483 (06/20)
 
                             
         Case 0:22-cr-60028-WPD     Document  74-1 Entered on FLSD Docket 09/09/2022 Page 96 of
                                                       240
                                            Paycheck Protection Program
                                                         Borrower Application Form Revised June 2020

   Right to Financial Privacy Act of 1978 (12 U.S.C. 3401) – The Right to Financial Privacy Act of 1978, grants SBA access rights to financial records
   held by financial institutions that are or have been doing business with you or your business including any financial institutions participating in a loan
   or loan guaranty. SBA is only required provide a certificate of its compliance with the Act to a financial institution in connection with its first request
   for access to your financial records. SBA's access rights continue for the term of any approved loan guaranty agreement. SBA is also authorized to
   transfer to another Government authority any financial records concerning an approved loan or loan guarantee, as necessary to process, service or
   foreclose on a loan guaranty or collect on a defaulted loan guaranty.

   Freedom of Information Act (5 U.S.C. 552) – Subject to certain exceptions, SBA must supply information reflected in agency files and records to a
   person requesting it. Information about approved loans that will be automatically released includes, among other things, statistics on our loan programs
   (individual borrowers are not identified in the statistics) and other information such as the names of the borrowers (and their officers, directors,
   stockholders or partners), the collateral pledged to secure the loan, the amount of the loan, its purpose in general terms and the maturity. Proprietary
   data on a borrower would not routinely be made available to third parties. All requests under this Act are to be addressed to the nearest SBA office and
   be identified as a Freedom of Information request.

   Occupational Safety and Health Act (15 U.S.C. 651 et seq.) – The Occupational Safety and Health Administration (OSHA) can require businesses
   to modify facilities and procedures to protect employees. Businesses that do not comply may be fined, forced to cease operations, or prevented from
   starting operations. Signing this form is certification that the applicant, to the best of its knowledge, is in compliance with the applicable OSHA
   requirements, and will remain in compliance during the life of the loan.

   Civil Rights (13 C.F.R. 112, 113, 117) – All businesses receiving SBA financial assistance must agree not to discriminate in any business practice,
   including employment practices and services to the public on the basis of categories cited in 13 C.F.R., Parts 112, 113, and 117 of SBA Regulations.
   All borrowers must display the "Equal Employment Opportunity Poster" prescribed by SBA.

   Equal Credit Opportunity Act (15 U.S.C. 1691) – Creditors are prohibited from discriminating against credit applicants on the basis of race, color,
   religion, national origin, sex, marital status or age (provided the applicant has the capacity to enter into a binding contract); because all or part of the
   applicant's income derives from any public assistance program; or because the applicant has in good faith exercised any right under the Consumer
   Credit Protection Act.

   Debarment and Suspension Executive Order 12549; (2 CFR Part 180 and Part 2700) – By submitting this loan application, you certify that neither
   the Applicant or any owner of the Applicant have within the past three years been: (a) debarred, suspended, declared ineligible or voluntarily excluded
   from participation in a transaction by any Federal Agency; (b) formally proposed for debarment, with a final determination still pending; (c) indicted,
   convicted, or had a civil judgment rendered against you for any of the offenses listed in the regulations or (d) delinquent on any amounts owed to the
   U.S. Government or its instrumentalities as of the date of execution of this certification.




                                                                               4
   SBA Form 2483 (06/20)
 
                             
         Case 0:22-cr-60028-WPD     Document 74-1 Entered on FLSD Docket 09/09/2022 Page 97 of
                                                    240

                                                  +9  +.$0 0$"+.$.! $"
                             /IEjQ][ÂÂÁÃIIdQ[OZIgQE<[7]gXIgh+<QG<[GZdY]sIGEj]NjPI ./
                                                               Ej

                                                               ¶¶¶¶
                                                        3520,6625<127(
                                     3/($6(6((,03257$17,1)250$7,21$%2877+,6/2$1%(/2:



       6%$/RDQ              


                       
       'DWHRI/RDQ

        /HJDO%XVLQHVV1DPH                          /RDQ$PRXQW   
        'RLQJ%XVLQHVV$V                                               ,QWHUHVW5DWH 
        %XVLQHVV$GGUHVV
                                                                         'DWHRI)LUVW3D\PHQW   
                                                                         /RDQ0DWXULW\'DWH   
           -.0' 1#$.# *$




                                 -/$*(,1)$
       )259$/8(5(&(,9('BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB WKH³%RUURZHU´ KHUHE\SURPLVHVWRSD\DVQHFHVVDU\DQGLQ
       DFFRUGDQFHZLWKWKH3D\FKHFN3URWHFWLRQ3URJUDPXQGHU&)53DUW WKH³333´ WRWKHRUGHURI&(/7,&%$1.
       &25325$7,21 ³&HOWLF%DQN´ RUVXEVHTXHQWKROGHUVRIWKLV3URPLVVRU\1RWH WKLV³1RWH´ WKHSULQFLSDODPRXQWRI
            
       >BBBBBBBBBBBBBBBBBBB@'ROODUV  WKH´/RDQ´ WRJHWKHUZLWKDOODFFUXHGLQWHUHVWWKHUHRQZKLFKDPRXQWVKDOOQRWH[FHHGSHU
       DQQXPDVSURYLGHGLQWKLV1RWH

       $VVLJQDEOH7KLV1RWHPD\EHDVVLJQHGRUWUDQVIHUUHGE\&HOWLF%DQNRUDQ\VXEVHTXHQWKROGHURIWKH1RWHWRDQ\LQGLYLGXDO
       FRUSRUDWLRQFRPSDQ\OLPLWHGOLDELOLW\FRPSDQ\WUXVWMRLQWYHQWXUHDVVRFLDWLRQSDUWQHUVKLSXQLQFRUSRUDWHGRUJDQL]DWLRQJRYHUQPHQWDO
       DXWKRULW\RURWKHUHQWLW\ZLWKRXWWKHSULRUFRQVHQWRIRUQRWLFHWRDQ\RWKHUSHUVRQ

       0DWXULW\'DWH8QOHVVIRUJLYHQLQZULWLQJRURWKHUZLVHPRGLILHGLQFRPSOLDQFHZLWKWKHWHUPVRIWKH333RURWKHUDSSOLFDEOH6%$
       UHTXLUHPHQWVWKLV/RDQPDWXUHVQRWOHVVWKDQ\HDUVIURPWKH'DWHRI/RDQ$ERYH@ ³0DWXULW\'DWH´ 
       8VHRI3URFHHGV%RUURZHUVKDOOXVHWKHSURFHHGVRIWKLVORDQRQO\IRUHOLJLEOHH[SHQVHVXQGHUWKHWHUPVRIWKH3337KH%RUURZHUVKDOO
       XVHWKHIXQGVUHFHLYHGXQGHUWKLV1RWHIRUEXVLQHVVSXUSRVHVRQO\DQGQRWIRUSHUVRQDOIDPLO\RUKRXVHKROGSXUSRVHV7KH%RUURZHU
       XQGHUVWDQGVWKDWWKLVLVQRWDFRQVXPHUORDQDQGWKDWVWDWXWRU\DQGUHJXODWRU\SURWHFWLRQVIRUFRQVXPHUVZLOOQRWDSSO\WRWKLV/RDQ

                                                                                                            
       5HSD\PHQW5HTXLUHPHQWV%RUURZHUPXVWSD\SULQFLSDODQGLQWHUHVWSD\PHQWVHVWLPDWHGWREH>BBBBBBBBBBB@HYHU\PRQWK
       EHJLQQLQJRQHLWKHU  WKHGDWHWKDWWKH/HQGHUUHFHLYHVDIRUJLYHQHVVSD\PHQWIURP6%$RU  WHQPRQWKVIURPWKHHQGRIWKH
       ZHHNSHULRGIRUERUURZHUVZKRGRQRWDSSO\IRUIRUJLYHQHVVDQGHQGLQJRQWKH0DWXULW\'DWH3D\PHQWVPXVWEHPDGHRQWKH
       >             @ RUWKHLPPHGLDWHO\IROORZLQJEXVLQHVVGD\LIVXFKGD\LVQRWDEXVLQHVVGD\ LQWKHPRQWKVWKH\DUHGXHDQGEH
       PDGHLQ86GROODUV7KHVHSD\PHQWVZLOOEHDXWRPDWLFDOO\GHELWHGIURPWKH%RUURZHU¶VEDQNDFFRXQWSURYLGHGWR&HOWLF%DQN
        ³/LQNHG%DQN$FFRXQW´ %RUURZHU¶VUHSD\PHQWREOLJDWLRQZLOOEHUHGXFHGE\WKHDPRXQWRIDQ\ORDQIRUJLYHQHVVJUDQWHGXQGHU
       WKHWHUPVRIWKH333<RXUILQDOSD\PHQWRQWKH0DWXULW\'DWHPD\YDU\E\XSWRIURP\RXUUHJXODUSD\PHQWDPRXQWDQG\RX
       DJUHHWRZDLYHDQ\VSHFLDOQRWLFHUHTXLUHPHQWVIRUWKLVSD\PHQWYDULDQFH

       /RDQ )RUJLYHQHVV %RUURZHU PD\ DSSO\ IRU IRUJLYHQHVV RI WKH DPRXQW GXH RQ WKLV 1RWH LQ DQ DPRXQW HTXDO WR WKH VXP RI WKH IROORZLQJ
       FRVWV LQFXUUHG E\ %RUURZHU GXULQJ HLWKHU  WKH ZHHN SHULRG EHJLQQLQJ RQ WKH GDWH RI ILUVW GLVEXUVHPHQW RI WKLV /RDQ RU  WKH HDUOLHU
       RIZHHNVRU'HFHPEHU

            D        3D\UROOFRVWV
            E        $Q\ SD\PHQW RI LQWHUHVW RQ D FRYHUHG PRUWJDJH REOLJDWLRQ ZKLFK VKDOO QRW LQFOXGH DQ\ SUHSD\PHQW RI RU SD\PHQW RI
                      SULQFLSDORQDFRYHUHGPRUWJDJHREOLJDWLRQ
            F        $Q\SD\PHQWRQDFRYHUHGUHQWREOLJDWLRQ
            G        $Q\FRYHUHGXWLOLW\SD\PHQW


                                            &(/7,&%$1.333/2$1127(\HDUWHUPBZHHNV 333)OH[$FW
                                                                   3DJHRI
         
            Case 0:22-cr-60028-WPD     Document 74-1 Entered on FLSD Docket 09/09/2022 Page 98 of
                                                       240

              7KH DPRXQW RI ORDQ IRUJLYHQHVV VKDOO EH FDOFXODWHG DQG PD\ EH UHGXFHG LQ DFFRUGDQFH ZLWK WKH UHTXLUHPHQWV RI WKH 3D\FKHFN
              3URWHFWLRQ 3URJUDP LQFOXGLQJ WKH SURYLVLRQV RI 6HFWLRQ  RI WKH &RURQDYLUXV $LG 5HOLHI DQG (FRQRPLF 6HFXULW\ $FW &$5(6
              $FW  3/ 1RWPRUHWKDQRIWKHDPRXQWIRUJLYHQFDQEHDWWULEXWDEOHWRQRQSD\UROOFRVWV

              %RUURZHU KDV UHFHLYHG DQ (,'/ DGYDQFH LQ WKH DPRXQW RI >                       @ ZKLFK DPRXQW VKDOO EH VXEWUDFWHG IURP WKH ORDQ
              IRUJLYHQHVVDPRXQW

        /RDQ 3UHSD\PHQW 1RWZLWKVWDQGLQJ DQ\ SURYLVLRQ LQ WKLV 1RWH WR WKH FRQWUDU\ %RUURZHU PD\ SUHSD\ WKLV 1RWH DW DQ\ WLPH ZLWKRXW
        SHQDOW\ %RUURZHU PD\ SUHSD\  SHUFHQW RU OHVV RI WKH XQSDLG SULQFLSDO EDODQFH DW DQ\ WLPH ZLWKRXW QRWLFH ,I %RUURZHU SUHSD\V
        PRUH WKDQ  SHUFHQW DQG WKH /RDQ KDV EHHQ VROG RQ WKH VHFRQGDU\ PDUNHW %RUURZHU PXVW D *LYH &HOWLF %DQN RU 1RWHKROGHU
        ZULWWHQ QRWLFH E 3D\ DOO DFFUXHG LQWHUHVW DQG F ,I WKH SUHSD\PHQW LV UHFHLYHG OHVV WKDQ  GD\V IURP WKH GDWH &HOWLF %DQN RU
        1RWHKROGHU UHFHLYHG WKH QRWLFH SD\ DQ DPRXQW HTXDO WR  GD\V LQWHUHVW IURP WKH GDWH OHQGHU UHFHLYHG WKH QRWLFH OHVV DQ\ LQWHUHVW
        DFFUXHG GXULQJ WKH  GD\V DQG SDLG XQGHU E RI WKLV SDUDJUDSK ,I %RUURZHU GRHV QRW SUHSD\ ZLWKLQ  GD\V IURP WKH GDWH &HOWLF
        %DQNRU1RWHKROGHUUHFHLYHGWKHQRWLFH%RUURZHUPXVWJLYH&HOWLF%DQNRU1RWHKROGHUDQHZQRWLFH


       0DQQHU RI 3D\PHQW $OO SD\PHQWV RI SULQFLSDO DQG LQWHUHVW VKDOO EH PDGH LQ 86 GROODUV RQ WKH GDWH RQ ZKLFK VXFK SD\PHQW LV GXH
       6XFK SD\PHQWV VKDOO EH PDGH E\ $&+ FDVKLHU¶V FKHFN FHUWLILHG FKHFN RU ZLUH WUDQVIHU RI LPPHGLDWHO\ DYDLODEOH IXQGV WR WKH KROGHU
       RI WKH 1RWH¶V ³1RWHKROGHU´ DFFRXQW DW D EDQN VSHFLILHG E\ &HOWLF %DQN RU LWV DVVLJQHHV LQ ZULWLQJ WR WKH %RUURZHU IURP WLPH WR WLPH
       )RU SXUSRVHV RI WKLV 1RWH WKH WHUP 1RWHKROGHU VKDOO UHIHU WR WKH RULJLQDO 1RWHKROGHU DQ\ DJHQW RI WKH 1RWHKROGHU RU DQ\ DVVLJQHH RU
       VXEVHTXHQWKROGHURIWKH1RWH

       $&+ $XWKRUL]DWLRQ 7KH %RUURZHU DXWKRUL]HV &HOWLF %DQN RU DQ\ 1RWHKROGHU WR FUHGLW WKH /LQNHG %DQN $FFRXQW ZLWK WKH %RUURZHU¶V
       /RDQ DPRXQW RU ZKHUH RWKHUZLVH UHTXLUHG IRU VHUYLFLQJ RI WKLV /RDQ 7KH %RUURZHU DOVR DXWKRUL]HV WKH 1RWHKROGHU WR DXWRPDWLFDOO\
       GHELW DQ\ SD\PHQWV GXH SXUVXDQW WR WKH WHUPV RI WKLV 1RWH ,I WKH %RUURZHU GHFLGHV WR SUHSD\ WKLV /RDQ WKH %RUURZHU DXWKRUL]HV WKH
       1RWHKROGHU WR GHELW DQ\ /LQNHG %DQN $FFRXQW ,I DQ\ GHELW DWWHPSW WR WKH /LQNHG %DQN $FFRXQW IDLOV WKH %RUURZHU JUDQWV 1RWHKROGHU
       DW HDFK LQVWDQFH D QHZ RULJLQDO DXWKRUL]DWLRQ WR PDNH QHZ GHELW DWWHPSWV LQ DQ DPRXQW OHVV WKDQ WKH DPRXQW WKHQ FXUUHQWO\ GXH RU
       DQ DPRXQW UHGXFHG IURP WKH SUHYLRXV GHELW IURP WKH /LQNHG %DQN $FFRXQW 7KH %RUURZHU DFNQRZOHGJHV DQG DJUHHV WR EH ERXQG E\
       1$&+$¶VUXOHVIRUEXVLQHVVUHODWHG$&+GHELWVDQGFUHGLWV



       ¶¶
       ,QWHUHVW 3ULQFLSDO DPRXQWV RXWVWDQGLQJ XQGHU WKLV 1RWH VKDOO EHDU LQWHUHVW DW D UDWH SHU DQQXP WKH ³,QWHUHVW 5DWH´ HTXDO WR  $OO
       FRPSXWDWLRQV RI LQWHUHVW KHUHXQGHU VKDOO EH PDGH RQ WKH EDVLV RI D \HDU RI  DQG WKH DFWXDO QXPEHU RI GD\V HODSVHG ,QWHUHVW
       VKDOO EHJLQ WR DFFUXH RQ WKH /RDQ RQ WKH GDWH RI WKLV 1RWH 2Q DQ\ SRUWLRQ RI WKH /RDQ WKDW LV UHSDLG LQWHUHVW VKDOO QRW DFFUXH RQ WKH
       GDWHRQZKLFKVXFKSD\PHQWLVPDGH

       (YHQWV RI 'HIDXOW ZLWK 5HVSHFW WR $PRXQWV 'XH 7KH RFFXUUHQFH DQG FRQWLQXDQFH RI DQ\ RI WKH IROORZLQJ VKDOO FRQVWLWXWH DQ ³(YHQW
       RI 'HIDXOW´ KHUHXQGHU ZLWK UHVSHFW WR DQ\ DPRXQWV GXH IURP WKH %RUURZHU XQGHU WKLV /RDQ WKDW DUH QRW IRUJLYHQ XQGHU WKH WHUPV RI
       WKH 333 WKH ³1RQIRUJLYHQ $PRXQW´  %RUURZHU IDLOV WR SD\ L DQ\ SULQFLSDO DPRXQW RI WKH 1RQIRUJLYHQ $PRXQW RI WKH /RDQ ZKHQ
       GXH LL DQ\ LQWHUHVW RQ WKH 1RQIRUJLYHQ $PRXQW RI WKH /RDQ ZLWKLQ ILYH  GD\V DIWHU WKH GDWH VXFK DPRXQW LV GXH RU LLL DQ\ RWKHU
       1RQIRUJLYHQ$PRXQWGXHKHUHXQGHUZLWKLQWHQ  GD\VDIWHUVXFKDPRXQWLVGXH

       5HPHGLHV8SRQWKHRFFXUUHQFHDQGGXULQJWKHFRQWLQXDQFHRIDQ(YHQWRI'HIDXOW1RWHKROGHUPD\DWLWVRSWLRQE\ZULWWHQQRWLFH
       WRWKH%RUURZHUGHFODUHWKHRXWVWDQGLQJSULQFLSDODPRXQWRIWKH1RQIRUJLYHQ$PRXQWRIWKH/RDQDFFUXHGDQGXQSDLGLQWHUHVW
       WKHUHRQDQGDOORWKHUDPRXQWVSD\DEOHKHUHXQGHULPPHGLDWHO\GXHDQGSD\DEOH

       ,QGHPQLILFDWLRQ7KH%RUURZHUZLOOLQGHPQLI\DQGKROGKDUPOHVV&HOWLF%DQNDQGDQ\1RWHKROGHU DQGWKHLUUHVSHFWLYHHPSOR\HHV
       GLUHFWRUVDJHQWVDIILOLDWHVDQGUHSUHVHQWDWLYHV IURPDQGDJDLQVWDQ\FRVWORVVRUOLDELOLW\LQFOXGLQJLQWHUHVWSHQDOWLHVUHDVRQDEOH
       DWWRUQH\V IHHVDQGH[SHQVHVUHVXOWLQJIURPWKH%RUURZHU¶VPLVUHSUHVHQWDWLRQLQWKHDSSOLFDWLRQIRUWKLV/RDQRURWKHUZLVHRUEUHDFK
       RIZDUUDQW\GHIDXOWRUEUHDFKRIDQ\FRYHQDQWLQWKLV1RWH

       1RWLFHV$OOQRWLFHVDQGRWKHUFRPPXQLFDWLRQVUHODWLQJWRWKLV1RWHVKDOOEHLQZULWLQJDQGVKDOOEHGHHPHGJLYHQXSRQWKHILUVWWR
       RFFXURI D GHSRVLWZLWKRYHUQLJKWFRXULHUVHUYLFHSURSHUO\DGGUHVVHGDQGVKLSSLQJSUHSDLG E WUDQVPLWWDOE\HPDLOSURSHUO\
       DGGUHVVHG ZLWKZULWWHQDFNQRZOHGJPHQWIURPWKHLQWHQGHGUHFLSLHQWVXFKDV³UHWXUQUHFHLSWUHTXHVWHG´IXQFWLRQUHWXUQHPDLORU
       RWKHUZULWWHQDFNQRZOHGJPHQW RU F DFWXDOUHFHLSWE\DQHPSOR\HHRUDJHQWRIWKHRWKHUSDUW\1RWLFHVKHUHXQGHUVKDOOEHVHQWWR
       WKHIROORZLQJDGGUHVVHVRUWRVXFKRWKHUDGGUHVVDVVXFKSDUW\VKDOOVSHFLI\LQZULWLQJ

       ,IWRWKH%RUURZHU

       ¶¶1DPH -/$*(,1)$
       $GGUHVV
       &LW\6WDWH=LS -.0' 1#$.# *$
       3KRQH          
                                             &(/7,&%$1.333/2$1127(\HDUWHUPBZHHNV 333)OH[$FW
                                                                    3DJHRI
 
                             
         Case 0:22-cr-60028-WPD     Document 74-1 Entered on FLSD Docket 09/09/2022 Page 99 of
                                                    240

       $WWHQ
       (PDLO %.$$* 4&+ (*"-+



       ,IWR&HOWLF%DQN

       1DPH
       $GGUHVV
       &LW\6WDWH=LS
       3KRQH
       $WWHQ
       (PDLO


       5HSUHVHQWDWLRQVDQG:DUUDQWLHV7KH%RUURZHUUHSUHVHQWVDQGZDUUDQWVWRWKH1RWHKROGHUDVIROORZV


                ([LVWHQFH7KH%RUURZHULVDDQ>LQGLYLGXDOFRUSRUDWLRQOLPLWHGOLDELOLW\FRPSDQ\SDUWQHUVKLS@GXO\LQFRUSRUDWHGRUIRUPHGDV
                DSSOLFDEOHYDOLGO\H[LVWLQJDQGLQJRRGVWDQGLQJXQGHUWKHODZVRIWKHVWDWHRILWVRUJDQL]DWLRQ7KH%RUURZHUKDVWKH
                UHTXLVLWHSRZHUDQGDXWKRULW\WRRZQOHDVHDQGRSHUDWHLWVSURSHUW\DQGWRFDUU\RQLWVEXVLQHVV


                &RPSOLDQFHZLWK/DZ7KH%RUURZHULVLQFRPSOLDQFHZLWKDOOODZVVWDWXWHVRUGLQDQFHVUXOHVDQGUHJXODWLRQVDSSOLFDEOHWR
                RUELQGLQJRQWKH%RUURZHULWVSURSHUW\DQGEXVLQHVV


                3RZHUDQG$XWKRULW\7KH%RUURZHUKDVWKHUHTXLVLWHSRZHUDQGDXWKRULW\WRH[HFXWHGHOLYHUDQGSHUIRUPLWVREOLJDWLRQV
                XQGHUWKLV1RWH

                $XWKRUL]DWLRQ ([HFXWLRQ DQG 'HOLYHU\ 7KH H[HFXWLRQ DQG GHOLYHU\ RI WKLV 1RWH E\ WKH %RUURZHU DQG WKH SHUIRUPDQFH RI LWV
                REOLJDWLRQV KHUHXQGHU KDYH EHHQ GXO\ DXWKRUL]HG E\ DOO QHFHVVDU\ FRPSDQ\ DFWLRQ LQ DFFRUGDQFH ZLWK DSSOLFDEOH ODZ 7KH
                %RUURZHUKDVGXO\H[HFXWHGDQGGHOLYHUHGWKLV1RWH

                ,QIRUPDWLRQ LV 7UXH DQG $FFXUDWH 7KH LQIRUPDWLRQ SURYLGHG LQ DOO VXSSRUWLQJ GRFXPHQWV DQG IRUPV WR REWDLQ WKLV /RDQ LV WUXH
                DQG DFFXUDWH LQ DOO PDWHULDO UHVSHFWV 7KH %RUURZHU DQG DQ\ LQGLYLGXDO ZKR SURYLGHG LQIRUPDWLRQ IRU WKH DSSOLFDWLRQ RI WKLV
                /RDQ XQGHUVWDQGV WKDW NQRZLQJO\ PDNLQJ D IDOVH VWDWHPHQW WR REWDLQ WKLV ORDQ IURP 6%$ LV SXQLVKDEOH XQGHU WKH ODZ
                LQFOXGLQJ XQGHU  86&  DQG  E\ LPSULVRQPHQW RI QRW PRUH WKDQ ILYH \HDUV DQGRU D ILQH RI XS WR  XQGHU
                 86&  E\ LPSULVRQPHQW RI QRW PRUH WKDQ WZR \HDUV DQGRU D ILQH RI QRW PRUH WKDQ  DQG LI VXEPLWWHG WR D
                IHGHUDOO\ LQVXUHG LQVWLWXWLRQ XQGHU  86&  E\ LPSULVRQPHQW RI QRW PRUH WKDQ WKLUW\ \HDUV DQGRU D ILQH RI QRW PRUH
                WKDQ

       *RYHUQLQJ /DZ 7KLV 1RWH DQG DQ\ FODLP FRQWURYHUV\ GLVSXWH RU FDXVH RI DFWLRQ ZKHWKHU LQ FRQWUDFW WRUW RU RWKHUZLVH EDVHG RQ
       DULVLQJ RXW RI RU UHODWLQJ WR WKLV 1RWH DQG WKH WUDQVDFWLRQV FRQWHPSODWHG KHUHE\ VKDOO EH JRYHUQHG E\ DQG FRQVWUXHG LQ DFFRUGDQFH
       ZLWKWKHODZVRIWKH6WDWHRI8WDKDQGRUDOODSSOLFDEOHIHGHUDOUHJXODWLRQVXQGHUWKH333/RDQSURJUDP

       :KHQ 6%$ LV WKH KROGHU RU LQ WKH HYHQW RI WUDQVIHU RI WKLV 1RWH WKLV 1RWH ZLOO EH LQWHUSUHWHG DQG HQIRUFHG XQGHU )HGHUDO ODZ
       LQFOXGLQJ 6%$ UHJXODWLRQV 7KH 1RWHKROGHU RU 6%$ PD\ XVH VWDWH RU ORFDO SURFHGXUHV IRU ILOLQJ SDSHUV UHFRUGLQJ GRFXPHQWV JLYLQJ
       QRWLFH IRUHFORVLQJ OLHQV DQG RWKHU SXUSRVHV %\ XVLQJ VXFK SURFHGXUHV 6%$ GRHV QRW ZDLYH DQ\ )HGHUDO LPPXQLW\ IURP VWDWH RU
       ORFDO FRQWURO SHQDOW\ WD[ RU OLDELOLW\ $V WR WKLV 1RWH WKH %RUURZHU PD\ QRW FODLP RU DVVHUW DJDLQVW 6%$ DQ\ ORFDO RU VWDWH ODZ WR GHQ\
       DQ\REOLJDWLRQGHIHDWDQ\FODLPRI6%$RUSUHHPSW)HGHUDOODZ

       %,1',1*$5%,75$7,218QOHVV6%$LVWKHKROGHURIWKLV1RWHWKH1RWHKROGHUDQGWKH%RUURZHULUUHYRFDEO\DQGXQFRQGLWLRQDOO\DJUHH
       WRDUELWUDWHDOOGLVSXWHVDULVLQJXQGHURULQFRQQHFWLRQZLWKWKLV$JUHHPHQWE\DQHXWUDODUELWUDWRUZKRKDVWKHSRZHUWRDZDUGWKHVDPH
       GDPDJHVDQGUHOLHIWKDWDFRXUWFDQ$1<$5%,75$7,2181'(57+,6$*5((0(17:,//21/<%(21$1,1',9,'8$/%$6,6
       &/$66$5%,75$7,216&/$66$&7,2165(35(6(17$7,9($&7,216$1'&2162/,'$7,21:,7+27+(5$5%,75$7,216
       $5(1273(50,77('7+(%2552:(5+(5(%<,55(92&$%/<:$,9(6727+()8//(67(;7(173(50,77('%<
       $33/,&$%/(/$:$1<5,*+7,70$<+$9(72$75,$/%<-85<,1$1</(*$/352&((',1*',5(&7/<25,1',5(&7/<
       5(/$7,1*727+,6127(257+(75$16$&7,216&217(03/$7('+(5(%<:+(7+(5%$6('21&2175$&7725725
       $1<27+(57+(25<7+(%2552:(5:$,9(6$1<5,*+7723$57,&,3$7(,1$&/$66$&7,21$*$,1677+(
       127(+2/'(5 25$1<2)7+(,55(63(&7,9($66,*1((625$*(176,IDQ\SURYLVLRQRIWKLVDUELWUDWLRQDJUHHPHQWLVIRXQG
       XQHQIRUFHDEOHWKHXQHQIRUFHDEOHSURYLVLRQZLOOEHVHYHUHGDQGWKHUHPDLQLQJDUELWUDWLRQWHUPVZLOOEHHQIRUFHG EXWLQQRFDVHZLOOWKHUH
       EHDFODVVDUELWUDWLRQ $OOGLVSXWHVZLOOEHUHVROYHGILQDOO\DQGH[FOXVLYHO\E\ELQGLQJLQGLYLGXDODUELWUDWLRQZLWKDVLQJOHDUELWUDWRU
       DGPLQLVWHUHGE\WKH$PHULFDQ$UELWUDWLRQ$VVRFLDWLRQ ZZZDGURUJ DFFRUGLQJWRWKLV6HFWLRQDQGWKHDSSOLFDEOHDUELWUDWLRQUXOHVIRUWKDW
       IRUXP7KHDUELWUDWRUZLOOEHUHVSRQVLEOHIRUGHWHUPLQLQJDOOWKUHVKROGDUELWUDELOLW\LVVXHVLQFOXGLQJLVVXHVUHODWLQJWRZKHWKHUWKLV1RWHLV
                                             &(/7,& %$1. 333 /2$1 127( \HDU WHUPB ZHHNV 333 )OH[ $FW
                                                                    3DJH  RI 
 
                              
        Case 0:22-cr-60028-WPD      Document 74-1 Entered on FLSD Docket 09/09/2022 Page 100 of
                                                   240

       XQFRQVFLRQDEOHRULOOXVRU\DQGDQ\GHIHQVHWRDUELWUDWLRQLQFOXGLQJZDLYHUGHOD\ODFKHVRUHVWRSSHO7KH)HGHUDO$UELWUDWLRQ$FW
       86&IXOO\DSSOLHV$Q\DUELWUDWLRQKHDULQJZLOORFFXULQ6DQ)UDQFLVFR&DOLIRUQLDRURWKHUPXWXDOO\DJUHHDEOHORFDWLRQ7KH
       DUELWUDWRU¶VDZDUGZLOOEHELQGLQJRQWKHSDUWLHVDQGPD\EHHQWHUHGDVDMXGJPHQWLQDQ\FRXUWRIFRPSHWHQWMXULVGLFWLRQ)RUDQ\GLVSXWH
       DJDLQVW1RWHKROGHU1RWHKROGHUZLOOSD\DOOWKHDUELWUDWLRQIHHV,IWKH%RUURZHUSUHYDLOVRQDQ\FODLPIRUZKLFKWKH%RUURZHULVOHJDOO\
       HQWLWOHGWRDWWRUQH\¶VIHHVWKH%RUURZHUPD\VHHNWRUHFRYHUWKRVHIHHVLQWKHDUELWUDWLRQ)RUDQ\FODLPZKHUHWKH%RUURZHULVVHHNLQJ
       UHOLHIWKH1RWHKROGHUZLOOQRWVHHNWRKDYHWKH%RUURZHUSD\WKH1RWHKROGHU¶VDWWRUQH\¶VIHHVHYHQLIIHHVPLJKWRWKHUZLVHEHDZDUGHG
       XQOHVVWKHDUELWUDWRUGHWHUPLQHVWKDWWKH%RUURZHU¶VFODLPZDVIULYRORXV)RUSXUSRVHVRIWKLVDUELWUDWLRQSURYLVLRQUHIHUHQFHVWRWKH
       %RUURZHURUWKH1RWHKROGHUDOVRLQFOXGHUHVSHFWLYHVXEVLGLDULHVDIILOLDWHVDJHQWVHPSOR\HHVSUHGHFHVVRUVVXFFHVVRUVDQGDVVLJQVDV
       ZHOODVDXWKRUL]HGXVHUVRUEHQHILFLDULHVRIWKH3333URJUDP6XEMHFWWRDQGZLWKRXWZDLYHURIWKHDUELWUDWLRQSURYLVLRQVDERYHWKH
       %RUURZHUDJUHHVWKDWDQ\MXGLFLDOSURFHHGLQJVZLOOEHEURXJKWLQDQGWKH%RUURZHUFRQVHQWVWRWKHH[FOXVLYHMXULVGLFWLRQDQGYHQXHLQWKH
       VWDWHFRXUWVLQWKH&LW\DQG&RXQW\RI6DOW/DNH8WDKRUIHGHUDOFRXUWIRUWKH1RUWKHUQ'LVWULFWRI8WDK

       ,QWHJUDWLRQ 7KLV 1RWH FRQVWLWXWHV WKH HQWLUH FRQWUDFW EHWZHHQ WKH %RUURZHU DQG &HOWLF %DQN ZLWK UHVSHFW WR WKH VXEMHFW PDWWHU KHUHRI
       DQGVXSHUVHGHVDOOSUHYLRXVDJUHHPHQWVDQGXQGHUVWDQGLQJVRUDORUZULWWHQZLWKUHVSHFWWKHUHWR

       $PHQGPHQWV DQG :DLYHUV 1R WHUP RI WKLV 1RWH PD\ EH ZDLYHG PRGLILHG RU DPHQGHG H[FHSW E\ DQ LQVWUXPHQW LQ ZULWLQJ VLJQHG E\
       WKH %RUURZHU DQG WKH 1RWHKROGHU $Q\ ZDLYHU RI WKH WHUPV KHUHRI VKDOO EH HIIHFWLYH RQO\ LQ WKH VSHFLILF LQVWDQFH DQG IRU WKH VSHFLILF
       SXUSRVHJLYHQ

       &RQVHQW WR 8VH (OHFWURQLF 6LJQDWXUH ,Q RUGHU WR UHFHLYH WKH /RDQ DPRXQW &HOWLF %DQN PXVW SURYLGH WKH %RUURZHU FHUWDLQ GLVFORVXUHV
       UHTXLUHG E\ ODZ %\ VXEPLWWLQJ WKH %RUURZHU¶V DSSOLFDWLRQ DQG DJUHHLQJ WR WKH WHUPV RI WKLV 1RWH ZKLFK WKH %RUURZHU FROOHFWLYHO\
       DGRSWV DV LWV HOHFWURQLF VLJQDWXUH WKH %RUURZHU FRQVHQWV DQG DJUHHV WKDW L &HOWLF %DQN DQG DQ\ 1RWHKROGHU FDQ SURYLGH DOO
       GLVFORVXUHV UHTXLUHG E\ ODZ DQG RWKHU LQIRUPDWLRQ DERXW WKH %RUURZHU¶V OHJDO ULJKWV DQG GXWLHV WR WKH %RUURZHU HOHFWURQLFDOO\
       LQFOXGLQJ E\ HPDLO D :HEVLWH SRUWDO RU PRELOH SKRQH DSSOLFDWLRQ LL WKH %RUURZHU¶V HOHFWURQLF VLJQDWXUH RQ DJUHHPHQWV DQG
       GRFXPHQWV KDV WKH VDPH HIIHFW DV LI WKH %RUURZHU VLJQHG WKHP LQ LQN DQG LV HYLGHQFH RI WKH %RUURZHU¶V LQWHQWLRQ WR EH ERXQG E\ WKLV
       1RWH LLL (OHFWURQLF GLVFORVXUHV KDYH WKH VDPH PHDQLQJ DQG HIIHFW DV LI WKH %RUURZHU ZHUH SURYLGHG SDSHU GLVFORVXUHV LY
       'LVFORVXUHV DUH FRQVLGHUHG UHFHLYHG E\ WKH %RUURZHU ZLWKLQ  KRXUV RI WKH WLPH SRVWHG WR &HOWLF %DQN¶V RU DQ\ 1RWHKROGHU¶V ZHEVLWH
       RU ZLWKLQ  KRXUV RI WKH WLPH HPDLOHG WR WKH %RUURZHU XQOHVV &HOWLF %DQN RU 1RWHKROGHU UHFHLYHV QRWLFH WKDW WKH HPDLO ZDV QRW
       GHOLYHUHG Y &HOWLF %DQN RU 1RWHKROGHU UHVHUYHV WKH ULJKW WR FDQFHO WKLV HOHFWURQLF GLVFORVXUH VHUYLFH FKDQJH WKH WHUPV RI XVH RI WKLV
       VHUYLFH RU VHQG GLVFORVXUHV LQ SDSHU IRUP DW DQ\ WLPH YL &HOWLF %DQN RU 1RWHKROGHU LV UHVSRQVLEOH IRU VHQGLQJ QRWLFH RI WKH
       GLVFORVXUHV WR WKH %RUURZHU HOHFWURQLFDOO\ EXW &HOWLF %DQN RU 1RWHKROGHU DUH QRW UHVSRQVLEOH IRU DQ\ GHOD\ RU IDLOXUH LQ WKH %RUURZHU¶V
       UHFHLSW RU UHYLHZ RI WKH HPDLO QRWLFHV 7KH %RUURZHU DJUHHV DQG FRQILUPV WKDW WKH %RUURZHU KDV DFFHVV WR WKH QHFHVVDU\ HTXLSPHQW
       WR UHFHLYH DFFHVV DQG SULQW DQ\ GLVFORVXUHV WKDW PD\ EH SURYLGHG LQ HOHFWURQLF IRUP 7KH %RUURZHU ZLOO QRW VHHN WR ZLWKGUDZ WKH
       %RUURZHU¶VFRQVHQWIRUHOHFWURQLFVLJQDWXUHDQGGLVFORVXUHVZKLOHWKH%RUURZHUKDVDQRXWVWDQGLQJ/RDQEDODQFH

       $FFHVV WR 'LVFORVXUHV 7KH %RUURZHU XQGHUVWDQGV WKDW LQ RUGHU WR DFFHVV DQG UHWDLQ WKH HOHFWURQLF GLVFORVXUHV WKH %RUURZHU ZLOO QHHG
       WKH IROORZLQJ L $ FRPSXWHU RU PRELOH GHYLFH ZLWK ,QWHUQHW RU PRELOH FRQQHFWLYLW\ LL )RU GHVNWRS ZHEVLWHEDVHG &RPPXQLFDWLRQV
        D /DWHVW ZHE EURZVHU WKDW LQFOXGHV ELW HQFU\SWLRQ E 7KH EURZVHU PXVW KDYH FRRNLHV HQDEOHG 8VH RI EURZVHU H[WHQVLRQV
       PD\ LPSDLU IXOO ZHEVLWH IXQFWLRQDOLW\ F 0LQLPXP UHFRPPHQGHG EURZVHU VWDQGDUGV DUH 0R]LOOD )LUHIR[ ODWHVW YHUVLRQ VHH
       KWWSZZZPR]LOODFRP IRU ODWHVW YHUVLRQ  $SSOH 6DIDUL ODWHVW YHUVLRQ VHH KWWSZZZDSSOHFRPVDIDUL IRU ODWHVW YHUVLRQ  RU &KURPH
       ODWHVW YHUVLRQ VHH KWWSZZZJRRJOHFRPFKURPH IRU ODWHVW YHUVLRQ  LLL )RU PRELOHEDVHG &RPPXQLFDWLRQV D $ ODWHVW GHYLFH
       RSHUDWLQJ V\VWHP WKDW VXSSRUWV WH[W PHVVDJLQJ GRZQORDGLQJ DQG DSSOLFDWLRQV IURP WKH $SSOH $SS 6WRUH RU *RRJOH 3OD\ VWRUH
       DQG E 7KH ODWHVW YHUVLRQ RI 6DIDUL RU &KURPH RQ L26 RU WKH ODWHVW YHUVLRQ RI &KURPH IRU $QGURLG LY $FFHVV WR WKH HPDLO DGGUHVV
       XVHG WR FUHDWH \RXU &HOWLF %DQN DFFRXQW Y 6XIILFLHQW VWRUDJH VSDFH WR VDYH &RPPXQLFDWLRQV DQGRU D SULQWHU WR SULQW WKHP YL 8VH
       RIVSDPILOWHUVPD\EORFNRUUHURXWHHPDLOVIURPVHQGHUVQRWOLVWHGLQ\RXUHPDLODGGUHVVERRN

       $GGLWLRQDO &RPPXQLFDWLRQV 7KH %RUURZHU FRQVHQWV WR DFFHSW DQG UHFHLYH FRPPXQLFDWLRQV IURP &HOWLF %DQN DQG DQ\ 1RWHKROGHU
       LQFOXGLQJ HPDLO WH[W PHVVDJHV FDOOV DQG SXVK QRWLILFDWLRQV WR WKH FHOOXODU WHOHSKRQH QXPEHU WKH %RUURZHU SURYLGHV 7KHVH
       QRQWHOHPDUNHWLQJ FRPPXQLFDWLRQV PD\ EH JHQHUDWHG E\ DXWRPDWLF WHOHSKRQH GLDOLQJ V\VWHPV ZKLFK ZLOO GHOLYHU SUHUHFRUGHG
       PHVVDJHV LQFOXGLQJ IRU WKH SXUSRVHV RI VHFRQGDU\ DXWKHQWLFDWLRQ UHFHLSWV UHPLQGHUV DQG RWKHU QRWLILFDWLRQV 6WDQGDUG PHVVDJH
       DQG GDWD UDWHV DSSOLHG E\ WKH %RUURZHU¶V FHOO SKRQH FDUULHU PD\ DSSO\ WR WKH WH[W PHVVDJHV &HOWLF %DQN RU DQ\ 1RWHKROGHU VHQGV WKH
       %RUURZHU7KH%RUURZHUPD\RQO\RSWRXWRIUHFHLYLQJWH[WPHVVDJHFRPPXQLFDWLRQVE\UHSO\LQJ6723WRWH[WPHVVDJHV

       1R :DLYHU &XPXODWLYH 5HPHGLHV 1R IDLOXUH E\ &HOWLF %DQN RU DQ\ VXEVHTXHQW 1RWHKROGHU WR H[HUFLVH DQG QR GHOD\ LQ H[HUFLVLQJ
       DQ\ ULJKW UHPHG\ RU SRZHU KHUHXQGHU VKDOO RSHUDWH DV D ZDLYHU WKHUHRI QRU VKDOO DQ\ VLQJOH RU SDUWLDO H[HUFLVH RI DQ\ ULJKW UHPHG\
       RU SRZHU KHUHXQGHU SUHFOXGH DQ\ RWKHU RU IXUWKHU H[HUFLVH WKHUHRI RU WKH H[HUFLVH RI DQ\ RWKHU ULJKW UHPHG\ RU SRZHU 7KH ULJKWV
       UHPHGLHVDQGSRZHUVKHUHLQSURYLGHGDUHFXPXODWLYHDQGQRWH[FOXVLYHRIDQ\RWKHUULJKWVUHPHGLHVRUSRZHUVSURYLGHGE\ODZ

       6HYHUDELOLW\ ,I DQ\ WHUP RU SURYLVLRQ RI WKLV 1RWH LV LQYDOLG LOOHJDO RU XQHQIRUFHDEOH LQ DQ\ MXULVGLFWLRQ VXFK LQYDOLGLW\ LOOHJDOLW\ RU
       XQHQIRUFHDELOLW\ VKDOO QRW DIIHFW DQ\ RWKHU WHUP RU SURYLVLRQ RI WKLV 1RWH RU UHQGHU VXFK WHUP RU SURYLVLRQ LQYDOLG RU XQHQIRUFHDEOH LQ
       DQ\RWKHUMXULVGLFWLRQ

       &RXQWHUSDUWV 7KLV 1RWH DQG DQ\ DPHQGPHQWV ZDLYHUV FRQVHQWV RU VXSSOHPHQWV KHUHWR PD\ EH H[HFXWHG LQ FRXQWHUSDUWV HDFK RI
       ZKLFKVKDOOFRQVWLWXWHDQRULJLQDOEXWDOORIZKLFKWDNHQWRJHWKHUVKDOOFRQVWLWXWHDVLQJOHFRQWUDFW
                                              &(/7,& %$1. 333 /2$1 127( \HDU WHUPB ZHHNV 333 )OH[ $FW
                                                                     3DJH  RI 
 
                              
        Case 0:22-cr-60028-WPD      Document 74-1 Entered on FLSD Docket 09/09/2022 Page 101 of
                                                   240


       7KLUG3DUW\%HQHILFLDU\$Q\DVVLJQHHRIWKLV1RWHVKDOOEHGHHPHGWREHDWKLUGSDUW\EHQHILFLDU\WRWKLV1RWHDQGLVHQWLWOHGWRWKH
       ULJKWVDQGEHQHILWVKHUHXQGHUDQGPD\HQIRUFHWKHSURYLVLRQVKHUHRIDVLIWKH\ZHUHDSDUW\KHUHWR

       1RQ5HFRXUVH 1RWHKROGHU DQG 6%$ VKDOO KDYH QR UHFRXUVH DJDLQVW DQ\ LQGLYLGXDO VKDUHKROGHU PHPEHU RU SDUWQHU RI %RUURZHU IRU
       QRQSD\PHQW RI WKH ORDQ H[FHSW WR WKH H[WHQW WKDW VXFK VKDUHKROGHU PHPEHU RU SDUWQHU XVHV WKH ORDQ SURFHHGV IRU DQ XQDXWKRUL]HG
       SXUSRVH

       (UURUV DQG 2PLVVLRQV 7KH XQGHUVLJQHG %RUURZHU IRU DQG LQ FRQVLGHUDWLRQ RI &HOWLF %DQN IXQGLQJ WKH FORVLQJ RI WKLV /RDQ DJUHHV LI
       UHTXHVWHG E\ &HOWLF %DQN RU LWV DVVLJQHHV WR IXOO\ FRRSHUDWH DQG DGMXVW IRU FOHULFDO HUURUV DQ\ RU DOO /RDQ FORVLQJ GRFXPHQWDWLRQ LI
       GHHPHGQHFHVVDU\RUGHVLUDEOHLQWKHUHDVRQDEOHGLVFUHWLRQRI&HOWLF%DQNRULWVDVVLJQHHV


       81'(56,*1('%2552:(5$&.12:/('*(67+$7+(6+(,67+($87+25,=('5(35(6(17$7,9(2)7+($33/,&$17
       $1'+$9,1*5($'$//7+(3529,6,2162)7+,6/2$1'2&80(17$1'$*5((672,767(506

       %< 6,*1,1* 7+( %2552:(5 $*5((6 7+$7 $// ,1)250$7,21 3529,'(' ,1 7+,6 $33/,&$7,21 $1' $//
       6833257,1* '2&80(176 $1' )2506 72 2%7$,1 7+,6 /2$1 $5( 758( $1' $&&85$7( ,1 $// 0$7(5,$/
       5(63(&76 $1' 7+$7 $1< .12:1 )$/6( 67$7(0(176 $5( 381,6+$%/( %< ),1( ,035,6210(17 25
       %27+


        ,Q:LWQHVV:KHUHRIWKH%RUURZHUKDVH[HFXWHGWKLV1RWHDVRI

        'DWH       

                   -/$*(,1)$
        1DPH

        6LJQDWXUH

        7LWOH 3,$.

          $FNQRZOHGJHGDQG$FFHSWHGE\&HOWLF%DQN&RUSRUDWLRQ

          'DWH

          1DPH

          6LJQDWXUH

          7LWOH




       (TXDO&UHGLW2SSRUWXQLW\$FW 86&
       7KH)HGHUDO(TXDO&UHGLW2SSRUWXQLW\$FWSURKLELWVFUHGLWRUVIURPGLVFULPLQDWLQJDJDLQVWFUHGLWDSSOLFDQWVRQWKHEDVLVRIUDFHFRORU
       UHOLJLRQQDWLRQDORULJLQVH[PDULWDOVWDWXVRUDJH SURYLGHGWKHDSSOLFDQWKDVWKHFDSDFLW\WRHQWHULQWRDELQGLQJFRQWUDFW EHFDXVH
       DOORUSDUWRIWKHDSSOLFDQW VLQFRPHGHULYHVIURPDQ\SXEOLFDVVLVWDQFHSURJUDPRUEHFDXVHWKHDSSOLFDQWKDVLQJRRGIDLWK
       H[HUFLVHGDQ\ULJKWXQGHUWKH&RQVXPHU&UHGLW3URWHFWLRQ$FW




                                             &(/7,& %$1. 333 /2$1 127( \HDU WHUPB ZHHNV 333 )OH[ $FW
                                                                    3DJH  RI 
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 102 of
                                      240

                                                                      22-60028-CR-WPD




                                                                        207c
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 103 of
                                      240
                                                                    22-60028-CR-WPD




                                                                      207d
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 104 of
                                      240


                                                                         22-60028-CR-WPD




                                                                           208a
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 105 of
                                      240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 106 of
                                      240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 107 of
                                      240
                                                                    22-60028-CR-WPD




                                                                      208b
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 108 of
                                      240
                                                                         22-60028-CR-WPD




                                                                           208c
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 109 of
                                      240
                                                                      22-60028-CR-WPD




                                                                        209a
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 110 of
                                      240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 111 of
                                      240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 112 of
                                      240
                                                                         22-60028-CR-WPD




                                                                           209b
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 113 of
                                      240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 114 of
                                      240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 115 of
                                      240

                                                                             22-60028-CR-WPD




                                                                               210a
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 116 of
                                      240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 117 of
                                      240

                                                                             22-60028-CR-WPD




                                                                               210b
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 118 of
                                      240
Google Account
        Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 119 of
                                                     240
  ############## * Google Confidential and Proprietary * ###############

  GOOGLE SUBSCRIBER INFORMATION                                                                  22-60028-CR-WPD


  Google Account ID:           6734
                                                                                                   502
  Name: Luke J
  e-Mail: freelay21p@gmail.com
  Alternate e-Mails:

  Created on: 2016-07-30 20:46:51 UTC
  Terms of Service IP: 66.87.122.25

  Services: Web & App Activity, Gmail, Location History, Android, Google Calendar, Google Hangouts, Google Chrome
  Sync, YouTube, Google Docs, Google Payments, Google Voice, Google My Maps

  Deletion Date:
  Deletion IP:

  Last Logins: 2020-08-31 14:47:47 UTC, 2020-08-18 23:19:15 UTC, 2020-08-18 15:50:22 UTC


  ACCOUNT RECOVERY

  Recovery e-Mail: Jayondamic1@hotmail.com
  Recovery SMS:

  PHONE NUMBERS

  Signin Phone Numbers:
  2-Step Verification Phone Numbers:

  IP ACTIVITY

             Timestamp                                   IP Address              Activity Type

    2020-08-31 14:47:47 UTC              139.138.87.74                           Login

    2020-08-31 14:47:47 UTC              139.138.87.74                           Login

    2020-08-18 23:19:16 UTC              2600:1:c10a:1831:1cf9:e3a1:16fb:3f4c    Login

    2020-08-18 15:50:30 UTC              139.138.87.74                           Login

    2020-08-18 15:50:29 UTC              139.138.87.74                           Login

    2020-08-18 15:50:23 UTC              139.138.87.74                           Login

    2020-08-18 15:50:22 UTC              139.138.87.74                           Login

    2020-08-07 18:14:22 UTC              2601:580:103:d504:c0c1:7666:5f7c:5372   Login

    2020-07-16 00:47:30 UTC              69.65.66.135                            Login

freelay21p.SubscriberInfo.html[01/05/2021 5:22:56 PM]
Google Account
         Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 120 of
                                               240
    2020-06-13 06:50:06 UTC 69.65.66.135                    Login

    2020-06-13 06:49:36 UTC              69.65.66.135                           Login

    2020-06-13 06:49:31 UTC              69.65.66.135                           Login

    2020-06-08 21:26:08 UTC              73.138.110.249                         Login

    2020-06-02 06:59:12 UTC              172.98.76.249                          Login

    2020-06-02 04:24:19 UTC              2600:1:d102:a200:498b:a526:aee7:138a   Logout

    2020-05-31 04:58:19 UTC              2600:1:c165:5a9:20b7:f460:f474:a80c    Login

    2020-05-30 02:17:44 UTC              69.65.66.135                           Login

    2020-05-23 01:40:18 UTC              2600:1:c105:92ee:b0a5:ab61:f7c2:e152   Login

    2020-04-27 06:12:07 UTC              69.65.66.135                           Login

    2020-01-17 00:10:52 UTC              2600:1:d10c:1ca6:fd6a:4027:bee7:f432   Login

    2020-01-13 03:03:26 UTC              69.65.66.135                           Login

    2020-01-13 02:22:07 UTC              69.65.66.135                           Login

    2020-01-13 02:22:05 UTC              69.65.66.135                           Login

    2020-01-13 02:22:04 UTC              69.65.66.135                           Login

    2020-01-13 02:10:36 UTC              69.65.66.135                           Login


  ############## * Google Confidential and Proprietary * ###############




freelay21p.SubscriberInfo.html[01/05/2021 5:22:56 PM]
Google Account
        Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 121 of
                                                     240
  ############## * Google Confidential and Proprietary * ###############

  GOOGLE SUBSCRIBER INFORMATION                                                                  22-60028-CR-WPD




  Google Account ID:          1263                                                                 503

  Name: Jud Louis
  e-Mail: judlex62688@gmail.com
  Alternate e-Mails:

  Created on: 2020-05-28 18:44:42 UTC
  Terms of Service IP: 2603:3020:300:e900:a151:31e6:2fde:1788

  Services: Gmail, Web & App Activity, Location History, Android, Google Calendar

  Deletion Date:
  Deletion IP:

  Last Logins: 2020-06-14 18:23:17 UTC, 2020-06-14 10:04:40 UTC, 2020-06-03 20:45:12 UTC


  ACCOUNT RECOVERY

  Recovery e-Mail:
  Recovery SMS: +15167440403 [US]

  PHONE NUMBERS

  Signin Phone Numbers:
  2-Step Verification Phone Numbers:

  IP ACTIVITY

             Timestamp                                   IP Address              Activity Type

    2020-06-14 18:23:17 UTC             173.109.47.83                            Login

    2020-06-14 10:08:01 UTC             2600:1:c166:3a58:7c8d:910d:b514:a3c2     Logout

    2020-06-14 10:04:40 UTC             2600:1:c166:3a58:7c8d:910d:b514:a3c2     Login

    2020-06-03 20:45:12 UTC             2603:3020:300:e900:f5b9:be19:e358:1270   Login

    2020-06-02 06:59:12 UTC             172.98.76.249                            Login

    2020-06-02 01:36:44 UTC             107.206.176.170                          Logout

    2020-06-01 23:59:18 UTC             107.206.176.170                          Login

    2020-06-01 15:40:39 UTC             2600:1:c16d:5099:4471:fc67:24fb:3ab5     Logout

    2020-06-01 13:45:32 UTC             2601:586:480:5ff0:e0b9:323e:7a3f:de2f    Login


judlex62688.SubscriberInfo.html[01/05/2021 5:25:28 PM]
Google Account
         Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 122 of
    2020-06-01 07:18:21 UTC 107.206.176.170    240            Logout

    2020-06-01 06:50:38 UTC             107.206.176.170                          Login

    2020-05-31 04:58:19 UTC             2600:1:c165:5a9:20b7:f460:f474:a80c      Login

    2020-05-30 10:25:57 UTC             2600:1:c16d:5099:9c6f:af1e:5db2:d68d     Login

    2020-05-30 02:17:44 UTC             69.65.66.135                             Login

    2020-05-29 23:00:46 UTC             2600:1:c105:b25f:535:297d:3209:5daf      Login

    2020-05-29 20:30:16 UTC             2603:3020:300:e900:4847:1726:34eb:965b   Login

    2020-05-29 20:17:28 UTC             2603:3020:300:e900:4847:1726:34eb:965b   Logout

    2020-05-29 20:10:44 UTC             2603:3020:300:e900:4847:1726:34eb:965b   Login

    2020-05-29 20:08:20 UTC             2603:3020:300:e900:4847:1726:34eb:965b   Logout

    2020-05-29 20:02:07 UTC             2603:3020:300:e900:4847:1726:34eb:965b   Login

    2020-05-29 15:52:29 UTC             2601:586:480:5ff0:7551:d53a:ae7:67db     Logout

    2020-05-29 14:58:08 UTC             2600:1:c105:b25f:535:297d:3209:5daf      Login

    2020-05-29 10:33:14 UTC             2601:586:480:5ff0:e84e:3b5d:d7d1:c0f1    Login

    2020-05-29 06:35:06 UTC             2600:1:c168:e63d:ad54:ff54:2c6c:1be9     Login

    2020-05-29 05:49:58 UTC             69.65.66.135                             Login

    2020-05-29 05:49:53 UTC             69.65.66.135                             Login

    2020-05-29 05:49:53 UTC             69.65.66.135                             Login

    2020-05-28 18:46:06 UTC             2603:3020:300:e900:a151:31e6:2fde:1788   Logout

    2020-05-28 18:44:42 UTC             2603:3020:300:e900:a151:31e6:2fde:1788   Login


  ############## * Google Confidential and Proprietary * ###############




judlex62688.SubscriberInfo.html[01/05/2021 5:25:28 PM]
Google Account
        Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 123 of
                                                     240
  ############## * Google Confidential and Proprietary * ###############

  GOOGLE SUBSCRIBER INFORMATION                                                                   22-60028-CR-WPD


  Google Account ID:          2208
                                                                                                    504
  Name: Renaldo Harrison
  e-Mail: renaldoah81@gmail.com
  Alternate e-Mails:

  Created on: 2020-05-31 01:19:05 UTC
  Terms of Service IP: 2600:1:c165:5a9:20b7:f460:f474:a80c

  Services: Gmail, Web & App Activity, Location History, Android, Google Calendar, YouTube

  Deletion Date:
  Deletion IP:

  Last Logins: 2020-08-17 15:27:12 UTC, 2020-07-17 04:24:47 UTC, 2020-06-09 12:44:17 UTC


  ACCOUNT RECOVERY

  Recovery e-Mail:
  Recovery SMS: +19548996251 [US]

  PHONE NUMBERS

  Signin Phone Numbers:
  2-Step Verification Phone Numbers:

  IP ACTIVITY

             Timestamp                                   IP Address               Activity Type

    2020-08-17 15:27:12 UTC             2600:1006:b054:b75d:9842:ca3a:c045:6a7d   Login

    2020-07-17 04:24:47 UTC             2601:580:c201:db20:300b:c0ff:ca42:5360    Login

    2020-06-09 12:44:17 UTC             2600:1006:b043:5d33:44e3:6689:43aa:da0c   Login

    2020-06-06 19:58:34 UTC             2601:580:c201:db20:61b1:5cb9:4924:d9d0    Logout

    2020-06-06 19:45:02 UTC             2601:580:c201:db20:61b1:5cb9:4924:d9d0    Login

    2020-06-06 19:44:26 UTC             2601:580:c201:db20:61b1:5cb9:4924:d9d0    Logout

    2020-06-06 19:43:47 UTC             2601:580:c201:db20:61b1:5cb9:4924:d9d0    Login

    2020-06-02 06:59:12 UTC             172.98.76.249                             Login

    2020-05-31 04:58:19 UTC             2600:1:c165:5a9:20b7:f460:f474:a80c       Login


renaldoah81.SubscriberInfo.html[01/05/2021 5:26:13 PM]
Google Account
         Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 124 of
                                                     240
    2020-05-31 01:19:26 UTC 2600:1:c165:5a9:20b7:f460:f474:a80c Login

    2020-05-31 01:19:13 UTC             2600:1:c165:5a9:20b7:f460:f474:a80c   Login

    2020-05-31 01:19:07 UTC             2600:1:c165:5a9:20b7:f460:f474:a80c   Login

    2020-05-31 01:19:06 UTC             2600:1:c165:5a9:20b7:f460:f474:a80c   Login


  ############## * Google Confidential and Proprietary * ###############




renaldoah81.SubscriberInfo.html[01/05/2021 5:26:13 PM]
Google Account
        Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 125 of
                                                     240
  ############## * Google Confidential and Proprietary * ###############

  GOOGLE SUBSCRIBER INFORMATION                                                                  22-60028-CR-WPD




  Google Account ID:         6121                                                                  505

  Name: Rose Mark
  e-Mail: value33069@gmail.com
  Alternate e-Mails:

  Created on: 2020-06-01 20:14:20 UTC
  Terms of Service IP: 2601:586:480:5ff0:694a:e56d:cba5:ab6e

  Services: Gmail, Web & App Activity, Location History, Google Calendar, Android, Google Hangouts

  Deletion Date:
  Deletion IP:

  Last Logins: 2020-06-09 12:33:41 UTC, 2020-06-04 19:42:18 UTC, 2020-06-04 14:14:47 UTC


  ACCOUNT RECOVERY

  Recovery e-Mail:
  Recovery SMS:

  PHONE NUMBERS

  Signin Phone Numbers:
  2-Step Verification Phone Numbers:

  IP ACTIVITY

             Timestamp                                  IP Address               Activity Type

    2020-06-09 12:33:41 UTC             2601:586:480:5ff0:40ab:889:2d4c:6eb9     Login

    2020-06-04 19:42:51 UTC             2603:3020:300:e900:6828:74c:5612:e9b7    Logout

    2020-06-04 19:42:18 UTC             2603:3020:300:e900:6828:74c:5612:e9b7    Login

    2020-06-04 14:15:08 UTC             2601:586:480:5ff0:e4d0:d48:ae09:12e3     Logout

    2020-06-04 14:14:47 UTC             2601:586:480:5ff0:e4d0:d48:ae09:12e3     Login

    2020-06-04 11:24:49 UTC             65.34.147.160                            Logout

    2020-06-04 11:24:38 UTC             65.34.147.160                            Login

    2020-06-04 01:55:38 UTC             107.206.176.170                          Login

    2020-06-03 20:49:45 UTC             2603:3020:300:e900:f5b9:be19:e358:1270   Logout


value33069.SubscriberInfo.html[01/05/2021 5:29:00 PM]
Google Account
         Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 126 of
                                                     240
    2020-06-03 20:49:07 UTC 2603:3020:300:e900:f5b9:be19:e358:1270 Login

    2020-06-03 16:04:58 UTC             2601:586:480:5ff0:e110:d83a:c074:eff    Logout

    2020-06-03 16:03:13 UTC             2601:586:480:5ff0:e110:d83a:c074:eff    Login

    2020-06-03 10:50:37 UTC             2601:586:480:5ff0:da6:2030:6d7f:597d    Logout

    2020-06-03 10:49:03 UTC             2601:586:480:5ff0:da6:2030:6d7f:597d    Login

    2020-06-02 20:25:07 UTC             2601:586:480:5ff0:75e7:ea61:60d5:9bdc   Logout

    2020-06-02 20:21:29 UTC             2601:586:480:5ff0:75e7:ea61:60d5:9bdc   Login

    2020-06-02 14:17:39 UTC             2601:586:480:5ff0:e57a:691e:68a2:b109   Logout

    2020-06-02 14:16:00 UTC             2601:586:480:5ff0:e57a:691e:68a2:b109   Login

    2020-06-02 11:13:10 UTC             2601:586:480:5ff0:e57a:691e:68a2:b109   Logout

    2020-06-02 11:13:00 UTC             2601:586:480:5ff0:e57a:691e:68a2:b109   Login

    2020-06-02 05:52:02 UTC             172.98.76.249                           Login

    2020-06-02 00:09:53 UTC             73.85.207.161                           Login

    2020-06-02 00:09:46 UTC             73.85.207.161                           Login

    2020-06-02 00:09:45 UTC             73.85.207.161                           Login

    2020-06-01 20:19:47 UTC             2601:586:480:5ff0:5033:ae30:d2bb:791a   Login

    2020-06-01 20:15:49 UTC             2600:1:c16d:5099:4471:fc67:24fb:3ab5    Logout

    2020-06-01 20:14:20 UTC             2601:586:480:5ff0:694a:e56d:cba5:ab6e   Login


  ############## * Google Confidential and Proprietary * ###############




value33069.SubscriberInfo.html[01/05/2021 5:29:00 PM]
Google Account
        Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 127 of
                                                     240
  ############## * Google Confidential and Proprietary * ###############

  GOOGLE SUBSCRIBER INFORMATION                                                                 22-60028-CR-WPD


  Google Account ID:         9094
                                                                                                  506
  Name: Value Pack
  e-Mail: value33068@gmail.com
  Alternate e-Mails:

  Created on: 2020-06-01 20:06:51 UTC
  Terms of Service IP: 2601:586:480:5ff0:694a:e56d:cba5:ab6e

  Services: Gmail, Web & App Activity, Location History, Android, Google Calendar, Google Hangouts

  Deletion Date:
  Deletion IP:

  Last Logins: 2020-06-09 12:33:03 UTC, 2020-06-08 23:59:48 UTC, 2020-06-08 22:25:49 UTC


  ACCOUNT RECOVERY

  Recovery e-Mail:
  Recovery SMS:

  PHONE NUMBERS

  Signin Phone Numbers:
  2-Step Verification Phone Numbers:

  IP ACTIVITY

             Timestamp                                  IP Address              Activity Type

    2020-06-09 12:33:14 UTC             2601:586:480:5ff0:40ab:889:2d4c:6eb9    Logout

    2020-06-09 12:33:03 UTC             2601:586:480:5ff0:40ab:889:2d4c:6eb9    Login

    2020-06-09 00:00:01 UTC             107.206.176.170                         Logout

    2020-06-08 23:59:48 UTC             107.206.176.170                         Login

    2020-06-08 22:26:03 UTC             2601:586:480:5ff0:b9d0:e6d0:bf43:d0f1   Logout

    2020-06-08 22:25:49 UTC             2601:586:480:5ff0:b9d0:e6d0:bf43:d0f1   Login

    2020-06-06 10:48:48 UTC             2601:586:480:5ff0:289e:a877:ea4b:5cc3   Logout

    2020-06-06 10:48:14 UTC             2601:586:480:5ff0:289e:a877:ea4b:5cc3   Login

    2020-06-04 19:43:56 UTC             2603:3020:300:e900:6828:74c:5612:e9b7   Login


value33068.SubscriberInfo.html[01/05/2021 5:28:17 PM]
Google Account
         Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 128 of
                                                     240
    2020-06-04 14:14:32 UTC 2601:586:480:5ff0:e4d0:d48:ae09:12e3 Logout

    2020-06-04 14:14:11 UTC             2601:586:480:5ff0:e4d0:d48:ae09:12e3    Login

    2020-06-04 11:23:59 UTC             65.34.147.160                           Logout

    2020-06-04 11:23:48 UTC             65.34.147.160                           Login

    2020-06-04 01:57:48 UTC             107.206.176.170                         Login

    2020-06-03 16:02:36 UTC             2601:586:480:5ff0:e110:d83a:c074:eff    Logout

    2020-06-03 16:02:24 UTC             2601:586:480:5ff0:e110:d83a:c074:eff    Login

    2020-06-03 10:57:09 UTC             2601:586:480:5ff0:da6:2030:6d7f:597d    Logout

    2020-06-03 10:53:45 UTC             2601:586:480:5ff0:da6:2030:6d7f:597d    Login

    2020-06-02 20:18:56 UTC             2601:586:480:5ff0:75e7:ea61:60d5:9bdc   Logout

    2020-06-02 20:14:56 UTC             2601:586:480:5ff0:75e7:ea61:60d5:9bdc   Login

    2020-06-02 06:59:12 UTC             172.98.76.249                           Login

    2020-06-02 05:52:00 UTC             172.98.76.249                           Login

    2020-06-02 00:02:03 UTC             73.85.207.161                           Login

    2020-06-02 00:01:56 UTC             73.85.207.161                           Login

    2020-06-02 00:01:55 UTC             73.85.207.161                           Login

    2020-06-01 20:16:43 UTC             2601:586:480:5ff0:5033:ae30:d2bb:791a   Logout

    2020-06-01 20:16:10 UTC             2600:1:c16d:5099:4471:fc67:24fb:3ab5    Login

    2020-06-01 20:10:15 UTC             2601:586:480:5ff0:694a:e56d:cba5:ab6e   Logout

    2020-06-01 20:06:52 UTC             2601:586:480:5ff0:694a:e56d:cba5:ab6e   Login


  ############## * Google Confidential and Proprietary * ###############




value33068.SubscriberInfo.html[01/05/2021 5:28:17 PM]
      Case
5/25/22,       0:22-cr-60028-WPD
         11:39 AM             Document 74-1 Entered      on FLSD
                                                      Google Account Docket 09/09/2022 Page 129 of
                                                 240
 ############## * Google Confidential and Proprietary * ###############

 GOOGLE SUBSCRIBER INFORMATION
                                                                                            22-60028-CR-WPD


 Google Account ID:          8004
 Name: Luke J                                                                                  507a
 e-Mail: freelay21@gmail.com
 Alternate e-Mails:

 Created on: 2009-08-06 19:25:05 UTC
 Terms of Service IP: 166.137.7.50

 Services: Gmail, Google Services, Google Hangouts, Google Voice, Google Mobile, Android, Google Calendar,
 Google Developers Console, YouTube, Google Drive, Google Docs, Google Payments, Android Market,
 Location History, Google Photos, iGoogle, Google Chrome Sync, Google Maps, Has Madison Account, Google
 Cloud Print, Tasks In Tingle, Google Play, Google Play Music, Google My Maps, Web & App Activity, Nest
 Auth

 Deletion Date:
 Deletion IP:

 Last Logins: 2021-02-07 22:40:38 UTC, 2021-02-06 20:54:49 UTC, 2021-02-05 18:28:11 UTC


 ACCOUNT RECOVERY

 Recovery e-Mail: freelay69@gmail.com
 Recovery SMS: +19548560340 [US]

 PHONE NUMBERS

 Signin Phone Numbers: +19548560340 [US]
 2-Step Verification Phone Numbers:

 IP ACTIVITY

          Timestamp                             IP Address               Activity Type

   2021-01-25 04:02:33 UTC     139.138.67.128                            Login

   2021-01-23 23:54:45 UTC     2600:387:c:5612::116                      Login

   2021-01-22 20:03:45 UTC     2603:3020:2e01:6800:5157:3332:c84c:628    Login

   2021-01-21 19:54:42 UTC     2603:3020:2e01:6800:5157:3332:c84c:628    Login

   2021-01-20 14:19:08 UTC     139.138.67.128                            Login

   2021-01-19 08:49:13 UTC     139.138.67.128                            Login

   2021-01-18 08:25:05 UTC     139.138.67.128                            Login

                                                                                                              1/5
      Case
5/25/22,       0:22-cr-60028-WPD
         11:39 AM                Document 74-1 Entered on FLSD
                                                     Google Account Docket 09/09/2022 Page 130 of

   2021-01-17 07:23:46 UTC     139.138.67.128   240                    Login

   2021-01-16 03:07:03 UTC     2600:1700:a9d0:4570:1930:e55b:605d:b81f   Login

   2021-01-15 02:48:07 UTC     139.138.67.128                            Login

   2021-01-14 02:42:03 UTC     139.138.67.128                            Login

   2021-01-13 02:28:10 UTC     139.138.67.128                            Login

   2021-01-12 02:31:01 UTC     2600:387:9:5::b1                          Login

   2021-01-11 02:56:53 UTC     139.138.67.128                            Login

   2021-01-10 03:26:32 UTC     139.138.67.128                            Login

   2021-01-09 03:19:36 UTC     139.138.67.128                            Login

   2021-01-07 22:48:15 UTC     2600:387:9:3::9e                          Login

   2021-01-06 22:34:36 UTC     2600:387:9:3::c6                          Login

   2021-01-05 22:11:12 UTC     139.138.67.128                            Login

   2021-01-04 21:34:27 UTC     2600:387:c:5412::45                       Login

   2021-01-03 04:40:54 UTC     139.138.67.128                            Login

   2021-01-02 04:00:38 UTC     139.138.67.128                            Login

   2021-01-01 03:59:02 UTC     139.138.67.128                            Login

   2020-12-31 03:27:21 UTC     2600:387:c:5412::147                      Login

   2020-12-29 22:37:59 UTC     2600:387:c:5612::159                      Login

   2020-12-28 22:16:22 UTC     2600:387:9:9::3f                          Login

   2020-12-27 21:58:51 UTC     139.138.67.128                            Login

   2020-12-26 21:40:56 UTC     139.138.67.128                            Login

   2020-12-25 21:35:10 UTC     139.138.67.128                            Login

   2020-12-24 17:05:48 UTC     139.138.67.128                            Login

   2020-12-23 16:31:01 UTC     2600:1700:a9d0:4570:e8fc:e543:7d7b:4553   Login

   2020-12-22 12:55:45 UTC     139.138.67.128                            Login

   2020-12-21 04:40:08 UTC     139.138.67.128                            Login

   2020-12-20 04:11:50 UTC     2600:387:c:5613::102                      Login

   2020-12-19 03:12:08 UTC     139.138.67.128                            Login

                                                                                                    2/5
      Case
5/25/22,       0:22-cr-60028-WPD
         11:39 AM                Document 74-1 Entered     on FLSD
                                                         Google Account Docket 09/09/2022 Page 131 of

   2020-12-18 03:03:11 UTC                          240
                               2603:3020:2e01:6800:2439:ee66:b3df:a95e Login

   2020-12-17 02:57:10 UTC     2600:1700:a9d0:4570:2439:ee66:b3df:a95e   Login

   2020-12-16 03:14:08 UTC     139.138.67.128                            Login

   2020-12-15 03:12:59 UTC     2600:1700:a9d0:4570:2439:ee66:b3df:a95e   Login

   2020-12-14 03:10:05 UTC     139.138.67.128                            Login

   2020-12-13 03:09:47 UTC     139.138.67.128                            Login

   2020-12-12 03:00:57 UTC     2600:1700:a9d0:4570:2439:ee66:b3df:a95e   Login

   2020-12-11 03:24:47 UTC     2600:387:c:5613::174                      Login

   2020-12-10 02:30:41 UTC     139.138.67.128                            Login

   2020-12-09 01:14:53 UTC     139.138.67.128                            Login

   2020-12-08 00:32:47 UTC     2600:387:9:9::55                          Login

   2020-12-07 00:48:16 UTC     2600:1700:a9d0:4570:c1e3:5553:a42b:162f   Login

   2020-12-05 17:43:17 UTC     139.138.67.128                            Login

   2020-12-04 11:35:04 UTC     139.138.67.128                            Login

   2020-12-03 08:24:49 UTC     139.138.67.128                            Login

   2020-12-02 09:23:56 UTC     139.138.67.128                            Login

   2020-12-02 09:23:55 UTC     139.138.67.128                            Logout

   2020-12-02 07:49:56 UTC     139.138.67.128                            Login

   2020-11-30 00:57:14 UTC     139.138.67.128                            Login

   2020-11-28 19:11:54 UTC     139.138.67.128                            Login

   2020-11-27 05:59:53 UTC     139.138.67.128                            Login

   2020-11-26 04:42:06 UTC     139.138.67.128                            Login

   2020-11-25 04:59:44 UTC     107.126.41.48                             Login

   2020-11-22 04:44:58 UTC     139.138.67.128                            Login

   2020-11-19 21:53:22 UTC     50.240.33.89                              Login

   2020-11-19 04:37:06 UTC     139.138.67.128                            Login

   2020-11-16 04:17:30 UTC     139.138.67.128                            Login

   2020-11-13 04:07:06 UTC     139.138.67.128                            Login

                                                                                                        3/5
      Case
5/25/22,       0:22-cr-60028-WPD
         11:39 AM                Document 74-1 Entered on FLSD
                                                     Google Account Docket 09/09/2022 Page 132 of

   2020-11-10 03:57:49 UTC     139.138.67.128   240                    Login

   2020-11-07 03:55:37 UTC     107.126.41.48                             Login

   2020-11-06 07:07:39 UTC     139.138.67.128                            Login

   2020-11-05 19:08:28 UTC     139.138.67.128                            Login

   2020-11-05 19:07:06 UTC     139.138.67.128                            Login

   2020-11-05 19:02:34 UTC     139.138.67.128                            Login

   2020-11-05 18:56:42 UTC     139.138.67.128                            Login

   2020-11-05 08:54:27 UTC     2600:387:c:5612::4                        Login

   2020-11-05 05:29:35 UTC     2607:fb90:4087:17eb:8c5d:6716:c461:de4f   Login

   2020-11-05 05:06:26 UTC     2600:387:c:5612::4                        Login

   2020-11-04 03:54:25 UTC     139.138.67.128                            Login

   2020-11-04 03:54:23 UTC     139.138.67.128                            Login

   2020-11-03 15:11:03 UTC     139.138.67.128                            Login

   2020-11-03 10:42:51 UTC     139.138.67.128                            Login

   2020-11-03 08:21:20 UTC     139.138.67.128                            Login

   2020-11-03 07:34:05 UTC     139.138.67.128                            Login

   2020-11-03 07:26:29 UTC     139.138.67.128                            Login

   2020-11-03 07:26:27 UTC     139.138.67.128                            Login

   2020-10-30 14:38:22 UTC     139.138.67.128                            Login

   2020-10-28 03:55:14 UTC     139.138.67.128                            Login

   2020-10-28 03:55:14 UTC     139.138.67.128                            Login

   2020-10-22 07:37:16 UTC     139.138.67.128                            Login

   2020-09-26 06:47:47 UTC     139.138.67.128                            Login

   2020-08-26 09:39:21 UTC     139.138.87.74                             Login

   2020-08-04 17:24:42 UTC     139.138.87.74                             Login

   2020-08-02 01:29:28 UTC     139.138.87.74                             Login

   2020-07-30 06:16:39 UTC     139.138.87.74                             Login

   2020-07-29 01:41:19 UTC     139.138.87.74                             Login

                                                                                                    4/5
      Case
5/25/22,       0:22-cr-60028-WPD
         11:39 AM                Document 74-1 Entered on FLSD
                                                     Google Account Docket 09/09/2022 Page 133 of

   2020-07-29 01:13:00 UTC     139.138.87.74    240                    Login

   2020-07-19 22:14:41 UTC     2600:1:c229:f09:61ee:a2e1:7ec6:167c    Login

   2020-07-19 22:14:40 UTC     2600:1:c229:f09:61ee:a2e1:7ec6:167c    Login

   2020-07-18 01:21:53 UTC     2600:1:c201:5a15:4402:3178:841a:d12f   Login

   2020-07-18 01:21:53 UTC     2600:1:c201:5a15:4402:3178:841a:d12f   Login

   2020-07-15 23:46:48 UTC     69.65.66.135                           Login

   2020-07-08 19:04:20 UTC     2600:1:d10b:bd87:557d:f653:115f:6cf1   Login

   2020-06-02 20:06:20 UTC     73.138.110.249                         Login


 ############## * Google Confidential and Proprietary * ###############




                                                                                                    5/5
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 134 of
                                      240

                                                                 22-60028-CR-WPD

GoogleConfidential&Proprietary
                                                                   507b
CUSTOMERPROFILEDETAILS

PaymentsProfileID:        3658
ContactEmailAddress:freelay21@gmail.com
OwnerEmailAddress:Freelay21@gmail.com
PaymentsProfileCreation:2011Ş05Ş0503:16:22UTC

ADDRESSES

BILLING,LEGAL,TAX,SHIPPING

K    R

NorthLauderdale
FL

US

BILLING,LEGAL

LukeJoselin
HOLLYWOOD
FL

US

BILLING,LEGAL

LukeJoselin
HOLLYWOOD
FL

US
+1954Ş857Ş6324

BILLING,LEGAL,TAX,SHIPPING

LUKEJOSELIN

NORTHLAUDERDALE
FL

US
+1954Ş857Ş6324

BILLING,LEGAL,TAX,SHIPPING,DEFAULT

LUKEJOSELIN
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 135 of
                                      240




NORTHLAUDERDALE
FL

US
+1954Ş393Ş9548

BILLING,LEGAL,TAX,SHIPPING,DEFAULT

LUKEJOSELIN

NORTHLAUDERDALE
FL

US

BILLING,LEGAL,TAX,SHIPPING

K    R

NorthLauderdale
FL

US
+1954Ş393Ş9548

BILLING,LEGAL

LUKEJOSELIN
HOLLYWOOD
FL

US
+1954Ş461Ş7196

BILLING,LEGAL

LUKEJOSELIN
FORTLAUDERDALE
FL

US
+1954Ş461Ş7196

BILLING,LEGAL,TAX,SHIPPING,DEFAULT

LukeJoselin


NorthLauderdale
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 136 of
                                      240


FL

US
+1954Ş399Ş0266

US

BILLING,LEGAL

LUKEJOSELIN
POMPANOBEACH
FL

US

LukeJoselin
US

BILLINGINSTRUMENTS

InstrumentDescription:Sprint9548576324
InstrumentExpiration:N/A
Addedon:2012Ş12Ş3023:50:35UTC
Deletedon:N/A
BillingName:LUKEJOSELIN
BillingAddress:
LUKEJOSELIN

NORTHLAUDERDALE
FL

US

InstrumentDescription:Visaে••••ে7968
InstrumentExpiration:2/2016
Addedon:2013Ş02Ş2604:26:23UTC
Deletedon:N/A
BillingName:LUKEJOSELIN
BillingAddress:
LUKEJOSELIN

NORTHLAUDERDALE
FL

US

InstrumentDescription:Mastercardে••••ে7188
InstrumentExpiration:4/2014
Addedon:2012Ş11Ş1419:21:42UTC
Deletedon:N/A
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 137 of
                                      240


BillingName:K    R
BillingAddress:
K    R

NorthLauderdale
FL
33068
US

InstrumentDescription:Sprint9543939548
InstrumentExpiration:N/A
Addedon:2011Ş05Ş0503:16:30UTC
Deletedon:N/A
BillingName:N/A
BillingAddress:N/A

InstrumentDescription:Sprint9544617196
InstrumentExpiration:N/A
Addedon:2016Ş08Ş1123:31:57UTC
Deletedon:N/A
BillingName:LUKEJOSELIN
BillingAddress:
LUKEJOSELIN

NORTHLAUDERDALE
FL

US

InstrumentDescription:Mastercardে••••ে3106
InstrumentExpiration:6/2020
Addedon:2016Ş08Ş1123:51:42UTC
Deletedon:N/A
BillingName:LUKEJOSELIN
BillingAddress:
LUKEJOSELIN
HOLLYWOOD
FL

US
+1954Ş461Ş7196

InstrumentDescription:Visaে••••ে2997
InstrumentExpiration:3/2019
Addedon:2016Ş08Ş2003:18:41UTC
Deletedon:N/A
BillingName:LUKEJOSELIN
BillingAddress:
LUKEJOSELIN
FORTLAUDERDALE
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 138 of
                                      240


FL

US
+1954Ş461Ş7196

InstrumentDescription:Sprint9548576324
InstrumentExpiration:N/A
Addedon:2017Ş05Ş2917:18:06UTC
Deletedon:N/A
BillingName:LUKEJOSELIN
BillingAddress:
LUKEJOSELIN

NORTHLAUDERDALE
FL

US

InstrumentDescription:Visaে••••ে4570
InstrumentExpiration:2/2020
Addedon:2017Ş06Ş0100:00:24UTC
Deletedon:N/A
BillingName:LukeJoselin
BillingAddress:
LukeJoselin
HOLLYWOOD
FL

US
+1954Ş857Ş6324

InstrumentDescription:Visaে••••ে6492
InstrumentExpiration:12/2020
Addedon:2017Ş10Ş0900:27:13UTC
Deletedon:N/A
BillingName:LukeJoselin
BillingAddress:
LukeJoselin
HOLLYWOOD
FL

US
+1954Ş857Ş6324

InstrumentDescription:GooglePlaybalance:$0.00
InstrumentExpiration:N/A
Addedon:2017Ş10Ş0900:27:59UTC
Deletedon:N/A
BillingName:N/A
BillingAddress:N/A
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 139 of
                                      240




InstrumentDescription:Visaে••••ে3866
InstrumentExpiration:11/2022
Addedon:2018Ş11Ş2507:05:52UTC
Deletedon:N/A
BillingName:LukeJoselin
BillingAddress:
LukeJoselin


NorthLauderdale
FL

US
+1954Ş399Ş0266

InstrumentDescription:Visaে••••ে2654
InstrumentExpiration:11/2022
Addedon:2019Ş02Ş2122:43:48UTC
Deletedon:N/A
BillingName:N/A
BillingAddress:
US

InstrumentDescription:Discoverে••••ে7876
InstrumentExpiration:3/2023
Addedon:2019Ş08Ş0904:08:39UTC
Deletedon:N/A
BillingName:LukeJoselin
BillingAddress:
LukeJoselin
HOLLYWOOD
FL

US

InstrumentDescription:Sprint9548576324
InstrumentExpiration:N/A
Addedon:2020Ş02Ş2300:07:47UTC
Deletedon:N/A
BillingName:LUKEJOSELIN
BillingAddress:
LUKEJOSELIN

NORTHLAUDERDALE
FL

US

InstrumentDescription:Visaে••••ে1739
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 140 of
                                      240


InstrumentExpiration:7/2021
Addedon:2020Ş02Ş2300:22:51UTC
Deletedon:N/A
BillingName:LUKEJOSELIN
BillingAddress:
LUKEJOSELIN
POMPANOBEACH
FL

US

InstrumentDescription:Visaে••••ে9682
InstrumentExpiration:4/2024
Addedon:2020Ş05Ş0317:41:33UTC
Deletedon:N/A
BillingName:LUKEJOSELIN
BillingAddress:
LUKEJOSELIN
POMPANOBEACH
FL

US

InstrumentDescription:Visaে••••ে2639
InstrumentExpiration:7/2023
Addedon:2020Ş11Ş1402:15:58UTC
Deletedon:N/A
BillingName:N/A
BillingAddress:
US

InstrumentDescription:Visaে••••ে2748
InstrumentExpiration:2/2024
Addedon:2021Ş03Ş2419:17:16UTC
Deletedon:N/A
BillingName:LukeJoselin
BillingAddress:
LukeJoselin
US

InstrumentDescription:Sprint9548576324
InstrumentExpiration:N/A
Addedon:2013Ş02Ş2300:15:29UTC
Deletedon:2016Ş08Ş1723:07:59UTC
BillingName:LUKEJOSELIN
BillingAddress:
LUKEJOSELIN

NORTHLAUDERDALE
FL
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 141 of
                                      240




US

GoogleConfidential&Proprietary
   Case 0:22-cr-60028-WPD Document 74-1 Entered         onAccount
                                                    Google FLSD Docket 09/09/2022 Page 142 of
                                                240
############## * Google Confidential and Proprietary * ###############

GOOGLE SUBSCRIBER INFORMATION
Google Account ID:          8833
Name: luke JOSELIN
Given Name: luke
Family Name: JOSELIN
e-Mail: lukewithdna@gmail.com
Alternate e-Mails:

Created on: 2020-06-16 00:11:05 Z
Terms of Service IP: 184.238.245.116
Terms of Service Language: en
Birthday (Month Day, Year): January 1, 1985

Services: Gmail, Web & App Activity, Google Hangouts, Location History, Android, Google Calendar, YouTube
Unregistered Services: Is Ams Half Created

Deletion Date:
Deletion IP:

Status: Enabled
Last Updated Date: 2022-03-25 22:51:31 Z
Last Logins:


ACCOUNT RECOVERY

Contact e-Mail: lukewithdna@gmail.com
Recovery e-Mail:
Recovery SMS: +19548996251 [US]

PHONE NUMBERS

Signin Phone Numbers:
User Phone Numbers: +19548996251 [US]
Reachable Phone Numbers:
2-Step Verification Phone Numbers:

DEVICE INFORMATION

No Devices

IP ACTIVITY

No User IP Logs
                                                                                              22-60028-CR-WPD

MADISON INFORMATION
                                                                                                508




                                                                                                            1/2
 Case 0:22-cr-60028-WPD Document 74-1 Entered onAccount
                                           Google FLSD Docket 09/09/2022 Page 143 of
MADISON ADMIN INFORMATION              240

OUTSTANDING MADISON INVITATION INFORMATION

No Madison Invitees.
MADISON ACL CHANGES

No Madison ACL Change History.

############## * Google Confidential and Proprietary * ###############




                                                                                       2/2
      Case
5/25/22,       0:22-cr-60028-WPD
         1:23 PM              Document 74-1 Entered      on Account
                                                      Google FLSD Docket 09/09/2022 Page 144 of
                                                 240
 ############## * Google Confidential and Proprietary * ###############

 GOOGLE SUBSCRIBER INFORMATION                                                            22-60028-CR-WPD



 Google Account ID:         7312                                                            509
 Name: judlex louis
 e-Mail: judlex1242@gmail.com
 Alternate e-Mails:

 Created on: 2020-06-15 21:02:28 UTC
 Terms of Service IP: 2601:586:480:5ff0:4114:645b:d647:c31a

 Services: Gmail, Web & App Activity, Google Hangouts, Google Calendar

 Deletion Date:
 Deletion IP:

 Last Logins: 2020-07-03 15:35:11 UTC, 2020-07-02 19:27:07 UTC, 2020-07-01 18:49:52 UTC


 ACCOUNT RECOVERY

 Recovery e-Mail: lovelouis1242@gmail.com
 Recovery SMS: +19548732548 [US]

 PHONE NUMBERS

 Signin Phone Numbers:
 2-Step Verification Phone Numbers:

 IP ACTIVITY

          Timestamp                          IP Address                  Activity Type

   2020-07-03 15:40:08 UTC     2600:1:c10d:201a:ecfa:5767:9ba:5c3d       Logout

   2020-07-03 15:35:11 UTC     2600:1:c10d:201a:ecfa:5767:9ba:5c3d       Login

   2020-07-02 19:27:07 UTC     2600:1:c10d:201a:ecfa:5767:9ba:5c3d       Login

   2020-07-01 18:49:52 UTC     2600:1:c10d:201a:ecfa:5767:9ba:5c3d       Login

   2020-07-01 07:05:51 UTC     2601:586:480:5ff0:1843:306d:849a:de68     Logout

   2020-07-01 07:05:22 UTC     2601:586:480:5ff0:1843:306d:849a:de68     Login

   2020-06-30 19:41:08 UTC     2601:586:480:5ff0:5119:c291:54de:9c77     Logout

   2020-06-30 17:44:28 UTC     2603:3020:300:e900:596e:2cf4:b99f:39b7    Login

   2020-06-30 10:02:54 UTC     2600:1:d12a:5bb2:98e3:4576:ce3d:8b97      Logout

                                                                                                            1/3
      Case
5/25/22,       0:22-cr-60028-WPD
         1:23 PM                 Document 74-1 Entered     on Account
                                                         Google FLSD Docket 09/09/2022 Page 145 of
   2020-06-30 10:02:45 UTC                          240
                               2600:1:d12a:5bb2:98e3:4576:ce3d:8b97     Login

   2020-06-29 16:11:04 UTC     2601:586:480:5ff0:2d3c:853:7015:b52       Logout

   2020-06-29 16:10:28 UTC     2601:586:480:5ff0:2d3c:853:7015:b52       Login

   2020-06-29 11:49:44 UTC     2601:586:480:5ff0:2d3c:853:7015:b52       Logout

   2020-06-29 06:21:24 UTC     2600:1702:23d0:4a10:f487:f80e:e485:e111   Login

   2020-06-28 12:49:56 UTC     2601:586:480:5ff0:cc1d:96f3:3b99:1a94     Logout

   2020-06-28 12:49:30 UTC     2601:586:480:5ff0:cc1d:96f3:3b99:1a94     Login

   2020-06-27 18:58:24 UTC     2600:1:d12a:5bb2:f45e:9354:a7d5:8b92      Login

   2020-06-27 14:11:34 UTC     2601:586:480:5ff0:cdd1:c591:37ea:266f     Logout

   2020-06-27 14:11:23 UTC     2601:586:480:5ff0:cdd1:c591:37ea:266f     Login

   2020-06-27 10:04:06 UTC     2600:1:d12a:5bb2:8538:d5a0:4ca6:65c4      Login

   2020-06-27 09:57:39 UTC     2600:1702:23d0:4a10:19c5:5345:113e:eb5c   Login

   2020-06-27 02:48:27 UTC     2600:1702:23d0:4a10:19c5:5345:113e:eb5c   Logout

   2020-06-27 02:42:33 UTC     2600:1702:23d0:4a10:19c5:5345:113e:eb5c   Login

   2020-06-26 22:02:00 UTC     2601:586:480:5ff0:e071:d346:a07e:5896     Logout

   2020-06-26 21:53:49 UTC     2601:586:480:5ff0:e071:d346:a07e:5896     Login

   2020-06-26 15:20:47 UTC     2601:586:480:5ff0:6841:2998:f14d:337d     Logout

   2020-06-26 15:20:38 UTC     2601:586:480:5ff0:6841:2998:f14d:337d     Login

   2020-06-26 10:07:14 UTC     2600:1:d12a:5bb2:8538:d5a0:4ca6:65c4      Logout

   2020-06-26 03:35:07 UTC     69.65.66.135                              Login

   2020-06-26 02:00:19 UTC     2600:1:d12a:5bb2:8538:d5a0:4ca6:65c4      Login

   2020-06-25 13:16:24 UTC     2601:586:480:5ff0:71a3:570c:5758:de9c     Logout

   2020-06-25 13:12:24 UTC     2601:586:480:5ff0:71a3:570c:5758:de9c     Login

   2020-06-25 12:23:27 UTC     2601:586:480:5ff0:71a3:570c:5758:de9c     Logout

   2020-06-25 11:53:06 UTC     2601:586:480:5ff0:71a3:570c:5758:de9c     Login

   2020-06-25 10:02:28 UTC     2600:1:c147:2e60:e5ed:227f:f2be:bf1a      Logout

   2020-06-25 09:49:40 UTC     2600:1702:23d0:4a10:2c98:5287:5e58:5044   Login

   2020-06-24 18:34:26 UTC     2601:586:480:5ff0:40c6:b0fd:25d2:cb4a     Logout

                                                                                                     2/3
      Case
5/25/22,       0:22-cr-60028-WPD
         1:23 PM                 Document 74-1 Entered      on Account
                                                          Google FLSD Docket 09/09/2022 Page 146 of
   2020-06-24 18:28:09 UTC                          240
                               2601:586:480:5ff0:40c6:b0fd:25d2:cb4a     Login

   2020-06-23 17:14:45 UTC     2603:3020:300:e900:1836:b9cc:ff40:a953   Login

   2020-06-18 19:38:23 UTC     2600:1:c126:98e7:5924:c736:9ef4:f5f1     Logout

   2020-06-18 19:38:14 UTC     2600:1:c126:98e7:5924:c736:9ef4:f5f1     Login

   2020-06-18 09:53:44 UTC     2600:1:c126:98e7:5924:c736:9ef4:f5f1     Logout

   2020-06-18 09:53:27 UTC     2600:1:c126:98e7:5924:c736:9ef4:f5f1     Login

   2020-06-16 10:07:03 UTC     2600:1:c126:98e7:d44a:f5dd:c4df:953f     Login

   2020-06-15 21:05:19 UTC     2601:586:480:5ff0:4114:645b:d647:c31a    Logout

   2020-06-15 21:03:03 UTC     2601:586:480:5ff0:4114:645b:d647:c31a    Login

   2020-06-15 21:02:53 UTC     2601:586:480:5ff0:4114:645b:d647:c31a    Logout

   2020-06-15 21:02:28 UTC     2601:586:480:5ff0:4114:645b:d647:c31a    Login


 ############## * Google Confidential and Proprietary * ###############




                                                                                                      3/3
Google Account
        Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 147 of
                                                     240
  ############## * Google Confidential and Proprietary * ###############

  GOOGLE SUBSCRIBER INFORMATION
                                                                                                   22-60028-CR-WPD

  Google Account ID:          4267
  Name: Renaldo Harrison                                                                             510
  e-Mail: skicasllc@gmail.com
  Alternate e-Mails:

  Created on: 2020-07-09 02:40:25 UTC
  Terms of Service IP: 2601:580:c201:db20:81f3:2c16:3e14:fbeb

  Services: Gmail, Web & App Activity, Google Calendar, Google Hangouts, YouTube

  Deletion Date:
  Deletion IP:

  Last Logins: 2020-09-09 15:42:10 UTC, 2020-09-06 21:50:23 UTC, 2020-09-01 23:29:20 UTC


  ACCOUNT RECOVERY

  Recovery e-Mail:
  Recovery SMS: +19547280627 [US]

  PHONE NUMBERS

  Signin Phone Numbers: +19547280627 [US]
  2-Step Verification Phone Numbers:

  IP ACTIVITY

              Timestamp                                 IP Address                 Activity Type

    2020-09-02 00:09:45 UTC               2601:580:c000:6ac0:cd19:a9f5:7894:69c8   Login

    2020-09-01 23:30:19 UTC               2601:580:c000:6ac0:cd19:a9f5:7894:69c8   Login

    2020-09-01 23:29:20 UTC               2601:580:c000:6ac0:cd19:a9f5:7894:69c8   Login

    2020-08-26 22:10:07 UTC               2601:580:c000:6ac0:e86d:c639:2e2b:b887   Login

    2020-08-25 02:05:25 UTC              2601:580:c000:6ac0:289b:9137:3970:a2d9    Login

    2020-08-25 00:49:32 UTC               2601:580:c000:6ac0:a082:6ae8:4892:b36d   Login

    2020-07-17 20:57:31 UTC              2601:580:c201:db20:8890:1f8f:6905:fc3c    Login

    2020-07-13 20:37:13 UTC              2601:580:c201:db20:f0d7:6c78:2fdc:b79e    Login

    2020-07-12 03:35:04 UTC              2601:580:c201:db20:d0b8:c31c:892a:146e    Login


skicasllc.SubscriberInfo.html[01/05/2021 5:26:54 PM]
Google Account
         Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 148 of
                                                     240
    2020-07-12 03:30:09 UTC 2601:580:c201:db20:e0e1:ae3e:5982:89a6 Logout

    2020-07-12 03:27:30 UTC               2601:580:c201:db20:e0e1:ae3e:5982:89a6   Login

    2020-07-12 03:03:04 UTC              69.65.66.135                              Login

    2020-07-12 03:01:03 UTC              2601:580:c201:db20:3db1:e3f6:3959:4f59    Logout

    2020-07-12 03:00:51 UTC              2601:580:c201:db20:3db1:e3f6:3959:4f59    Login

    2020-07-12 03:00:24 UTC              2601:580:c201:db20:3db1:e3f6:3959:4f59    Logout

    2020-07-12 02:59:31 UTC              2601:580:c201:db20:3db1:e3f6:3959:4f59    Login

    2020-07-12 02:58:50 UTC              2601:580:c201:db20:3db1:e3f6:3959:4f59    Login

    2020-07-09 02:40:26 UTC              2601:580:c201:db20:81f3:2c16:3e14:fbeb    Login


  ############## * Google Confidential and Proprietary * ###############




skicasllc.SubscriberInfo.html[01/05/2021 5:26:54 PM]
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 149 of
                                      240

                                                                                       22-60028-CR-WPD

                                                      Requested Information
                                                     Our Case #: 2020-201680             511
                                                 Reference Case #:

   Request Type: Subscription Info (Basic)
   Date Range:           10/01/2019 12:00:00 AM to 09/17/2020 11:59:59 PM
   Subject Number:       9548421766
   Comments:

   **************** ACCOUNT DETAILS *********************

   Billing Account Number (BAN):        6962
   Account Establish Date: 2/13/2019
   Account Expiration (Cancel) Date: Active through Date Searched

   Account Billing Address(es):
   Effective: 1/4/2020
   S         G

   LAUDERHILL, FL

   Effective: 2/13/2019
   S         G

   LAUDERHILL, FL

   Account Contact Numbers:
   Phone: 9544787124        Active Date: 10/19/2020


   Account Type:
   Individual Liable Corporate

   **************** SUBSCRIBER DETAILS *********************

   SubscriberID:        1221
   Personal Telephone Number
   (PTN / MDN)                      Effective
   9548421766       Status Date: 2/13/2019 4:45:34 PM          Status: A

   Media Access Control Identifier
   (MAC_ID)                            Effective
   NO DATA FOUND

   Urban Fleet Mobile Identifier
   (UFMI)                             Effective
   NO DATA FOUND

   Non iDEN Direct Connect / Push to Talk
   (HPPTT)                          Effective
   NO DATA FOUND

   Internet Protocol Address
   (IP)                              Effective
   NO DATA FOUND

   Network Access Identifier
   (NAI)                      Effective
                    7577@SPRINTPCS.COM 2/13/2019 4:45:34 PM                Status: A

   ************EQUIPMENT*****************
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 150 of
                                      240


   International Mobile Subscriber Identity(s) (IMSI)
                 9775      Status Date: 2/13/2019 12:00:00 AM     Status: A

   Universal Integrated Circuit Card(s) (UICC)
   NO DATA FOUND

   Mobile Station Identification Number(s) (MSID)
                 7287                 2/13/2019 4:45:34 PM       Status: A

   Subscriber Identity Module(s) (SIM)
   NO DATA FOUND

   Electronic Serial Number (ESN/MSN)
                 6014      Effective: 2/13/2019 Expiration: Active through Date Searched

   International Mobile Station Equipment Identity (IMEI)
   NO DATA FOUND

   ************FEATURES*****************

   4G Domestic Data Roaming       Effective: 9/13/2020 Expiration: Active through Date Searched
   America - Roaming Include Effective: 9/13/2020 Expiration: Active through Date Searched
   Caller ID                 Effective: 9/13/2020 Expiration: Active through Date Searched
   Anytime Minutes             Effective: 9/13/2020 Expiration: Active through Date Searched
   Call Forwarding            Effective: 9/13/2020 Expiration: Active through Date Searched
   International Roaming Tex Effective: 9/13/2020 Expiration: Active through Date Searched
   International Long Distan Effective: 9/13/2020 Expiration: Active through Date Searched
   Enhanced VoiceMail           Effective: 9/13/2020 Expiration: Active through Date Searched
   Hotspot Required            Effective: 9/13/2020 Expiration: Active through Date Searched
   Domestic LD Rate $0          Effective: 9/13/2020 Expiration: Active through Date Searched
   Domestic Data Roaming          Effective: 9/13/2020 Expiration: Active through Date Searched
   International Text Messag Effective: 9/13/2020 Expiration: Active through Date Searched
   Sprint 4G Data Services     Effective: 9/13/2020 Expiration: Active through Date Searched
   Sprint 4G LTE PAM Service Effective: 9/13/2020 Expiration: Active through Date Searched
   Sprint 4G PAM Services       Effective: 9/13/2020 Expiration: Active through Date Searched
   SMS Text Messages              Effective: 9/13/2020 Expiration: Active through Date Searched
   Long Distance While Roami Effective: 9/13/2020 Expiration: Active through Date Searched
   LTE Provisioning Feature    Effective: 9/13/2020 Expiration: Active through Date Searched
   MMS Messaging                  Effective: 9/13/2020 Expiration: Active through Date Searched
   Phone as Modem                 Effective: 9/13/2020 Expiration: Active through Date Searched
   Required Provisioning Fea Effective: 9/13/2020 Expiration: Active through Date Searched
   Roaming Minutes              Effective: 9/13/2020 Expiration: Active through Date Searched
   Sprint eHRPD Data             Effective: 9/13/2020 Expiration: Active through Date Searched
   Sprint eHRPD PAM Services Effective: 9/13/2020 Expiration: Active through Date Searched
   Sprint PAM Services         Effective: 9/13/2020 Expiration: Active through Date Searched
   Sprint Data Services       Effective: 9/13/2020 Expiration: Active through Date Searched
   Sprint Services            Effective: 9/13/2020 Expiration: Active through Date Searched
   Wireless Data Roaming         Effective: 9/13/2020 Expiration: Active through Date Searched
   Sprint Services            Effective: 7/13/2020 Expiration: 9/13/2020
   Long Distance While Roami Effective: 7/13/2020 Expiration: 9/13/2020
   Sprint eHRPD Data             Effective: 7/13/2020 Expiration: 9/13/2020
   MMS Messaging                  Effective: 7/13/2020 Expiration: 9/13/2020
   Domestic LD Rate $0          Effective: 7/13/2020 Expiration: 9/13/2020
   SMS Text Messages              Effective: 7/13/2020 Expiration: 9/13/2020
   Sprint 4G Data Services     Effective: 7/13/2020 Expiration: 9/13/2020
   Sprint Data Services       Effective: 7/13/2020 Expiration: 9/13/2020
   International Text Messag Effective: 7/13/2020 Expiration: 9/13/2020
   Enhanced VoiceMail           Effective: 7/13/2020 Expiration: 9/13/2020
   Anytime Minutes             Effective: 7/13/2020 Expiration: 9/13/2020
   Caller ID                 Effective: 7/13/2020 Expiration: 9/13/2020
   Call Forwarding            Effective: 7/13/2020 Expiration: 9/13/2020
   America - Roaming Include Effective: 7/13/2020 Expiration: 9/13/2020
   Sprint Services            Effective: 4/13/2019 Expiration: 7/23/2020
   Credit Union Program         Effective: 2/27/2019 Expiration: Active through Date Searched
   Sprint Wi-Fi Calling      Effective: 2/18/2019 Expiration: Active through Date Searched
   WIN Mutually Exclusive      Effective: 2/18/2019 Expiration: Active through Date Searched
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 151 of
                                      240


   Wireless Data Roaming         Effective: 2/13/2019 Expiration: 9/13/2020
   Sprint Services            Effective: 2/13/2019 Expiration: 7/5/2020
   Sprint eHRPD Data             Effective: 2/13/2019 Expiration: 7/13/2020
   Sprint 3G MHS/PAM Buy-Up         Effective: 2/13/2019 Expiration: 9/13/2020
   LTE Provisioning Feature     Effective: 2/13/2019 Expiration: 9/13/2020
   Required SOC Selection        Effective: 2/13/2019 Expiration: 9/13/2020
   Roaming Minutes               Effective: 2/13/2019 Expiration: 9/13/2020
   Required Provisioning Fea Effective: 2/13/2019 Expiration: 9/13/2020
   PAM Data Kilobytes            Effective: 2/13/2019 Expiration: 9/13/2020
   PDS Application              Effective: 2/13/2019 Expiration: 9/13/2020
   Phone as Modem                 Effective: 2/13/2019 Expiration: 9/13/2020
   Domestic Data Roaming          Effective: 2/13/2019 Expiration: 9/13/2020
   Domestic LD Rate $0           Effective: 2/13/2019 Expiration: 7/13/2020
   Enhanced VoiceMail            Effective: 2/13/2019 Expiration: 7/13/2020
   International Long Distan Effective: 2/13/2019 Expiration: 9/13/2020
   International Roaming Tex Effective: 2/13/2019 Expiration: 9/13/2020
   International Text Messag Effective: 2/13/2019 Expiration: 7/13/2020
   4G Domestic Data Roaming        Effective: 2/13/2019 Expiration: 9/13/2020
   America - Roaming Include Effective: 2/13/2019 Expiration: 7/13/2020
   Anytime Minutes              Effective: 2/13/2019 Expiration: 7/13/2020
   Call Forwarding             Effective: 2/13/2019 Expiration: 7/13/2020
   Caller ID                  Effective: 2/13/2019 Expiration: 7/13/2020
   International Calling     Effective: 2/13/2019 Expiration: Active through Date Searched
   MMS Messaging                   Effective: 2/13/2019 Expiration: 7/13/2020
   Long Distance While Roami Effective: 2/13/2019 Expiration: 7/13/2020
   SMS Text Messages               Effective: 2/13/2019 Expiration: 7/13/2020
   Sprint 4G Data Services     Effective: 2/13/2019 Expiration: 7/13/2020
   Sprint Data Services        Effective: 2/13/2019 Expiration: 7/13/2020
   Sprint Complete             Effective: 2/13/2019 Expiration: Active through Date Searched
   Sprint 4G MHS/PAM Buy-Up         Effective: 2/13/2019 Expiration: 9/13/2020
   =====================================
   *************************************************************
   Request Type: Subscription Info (Basic)
   Date Range:           10/01/2019 12:00:00 AM to 09/17/2020 11:59:59 PM
   Subject Number:       9548996251
   Comments:

   **************** ACCOUNT DETAILS *********************

   Billing Account Number (BAN):        5131
   Account Establish Date: 3/18/2018
   Account Expiration (Cancel) Date: Active through Date Searched

   Account Billing Address(es):
   Effective: 3/18/2018
   K              M

   CORAL SPRINGS, FL

   Account Contact Numbers:
   Phone: 9546242846        Active Date: 10/12/2020


   Account Type:
   Individual

   **************** SUBSCRIBER DETAILS *********************

   SubscriberID: 16521290121
   Personal Telephone Number
   (PTN / MDN)                      Effective
   9548996251       Status Date: 5/29/2020 12:58:58 AM         Status: A
   9548996251       Status Date: 5/28/2020 11:59:59 PM         Status: S
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 152 of
                                      240


                                                                                               22-60028-CR-WPD
   Wireless Data Roaming         Effective: 2/13/2019 Expiration: 9/13/2020
   Sprint Services            Effective: 2/13/2019 Expiration: 7/5/2020
   Sprint eHRPD Data             Effective: 2/13/2019 Expiration: 7/13/2020
   Sprint 3G MHS/PAM Buy-Up         Effective: 2/13/2019 Expiration: 9/13/2020                   512
   LTE Provisioning Feature     Effective: 2/13/2019 Expiration: 9/13/2020
   Required SOC Selection        Effective: 2/13/2019 Expiration: 9/13/2020
   Roaming Minutes               Effective: 2/13/2019 Expiration: 9/13/2020
   Required Provisioning Fea Effective: 2/13/2019 Expiration: 9/13/2020
   PAM Data Kilobytes            Effective: 2/13/2019 Expiration: 9/13/2020
   PDS Application              Effective: 2/13/2019 Expiration: 9/13/2020
   Phone as Modem                 Effective: 2/13/2019 Expiration: 9/13/2020
   Domestic Data Roaming          Effective: 2/13/2019 Expiration: 9/13/2020
   Domestic LD Rate $0           Effective: 2/13/2019 Expiration: 7/13/2020
   Enhanced VoiceMail            Effective: 2/13/2019 Expiration: 7/13/2020
   International Long Distan Effective: 2/13/2019 Expiration: 9/13/2020
   International Roaming Tex Effective: 2/13/2019 Expiration: 9/13/2020
   International Text Messag Effective: 2/13/2019 Expiration: 7/13/2020
   4G Domestic Data Roaming        Effective: 2/13/2019 Expiration: 9/13/2020
   America - Roaming Include Effective: 2/13/2019 Expiration: 7/13/2020
   Anytime Minutes              Effective: 2/13/2019 Expiration: 7/13/2020
   Call Forwarding             Effective: 2/13/2019 Expiration: 7/13/2020
   Caller ID                  Effective: 2/13/2019 Expiration: 7/13/2020
   International Calling     Effective: 2/13/2019 Expiration: Active through Date Searched
   MMS Messaging                   Effective: 2/13/2019 Expiration: 7/13/2020
   Long Distance While Roami Effective: 2/13/2019 Expiration: 7/13/2020
   SMS Text Messages               Effective: 2/13/2019 Expiration: 7/13/2020
   Sprint 4G Data Services     Effective: 2/13/2019 Expiration: 7/13/2020
   Sprint Data Services        Effective: 2/13/2019 Expiration: 7/13/2020
   Sprint Complete             Effective: 2/13/2019 Expiration: Active through Date Searched
   Sprint 4G MHS/PAM Buy-Up         Effective: 2/13/2019 Expiration: 9/13/2020
   =====================================
   *************************************************************
   Request Type: Subscription Info (Basic)
   Date Range:           10/01/2019 12:00:00 AM to 09/17/2020 11:59:59 PM
   Subject Number:       9548996251
   Comments:

   **************** ACCOUNT DETAILS *********************

   Billing Account Number (BAN):        5131
   Account Establish Date: 3/18/2018
   Account Expiration (Cancel) Date: Active through Date Searched

   Account Billing Address(es):
   Effective: 3/18/2018
   K              M

   CORAL SPRINGS, FL

   Account Contact Numbers:
   Phone: 9546242846        Active Date: 10/12/2020


   Account Type:
   Individual

   **************** SUBSCRIBER DETAILS *********************

   SubscriberID: 16521290121
   Personal Telephone Number
   (PTN / MDN)                      Effective
   9548996251       Status Date: 5/29/2020 12:58:58 AM         Status: A
   9548996251       Status Date: 5/28/2020 11:59:59 PM         Status: S
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 153 of
                                      240


   9548996251        Status Date: 3/31/2020 1:00:43 AM            Status: A
   9548996251        Status Date: 3/30/2020 11:59:59 PM           Status: S
   9548996251        Status Date: 3/31/2018 1:25:39 PM            Status: A

   Media Access Control Identifier
   (MAC_ID)                            Effective
   NO DATA FOUND

   Urban Fleet Mobile Identifier
   (UFMI)                             Effective
   NO DATA FOUND

   Non iDEN Direct Connect / Push to Talk
   (HPPTT)                          Effective
   NO DATA FOUND

   Internet Protocol Address
   (IP)                              Effective
   NO DATA FOUND

   Network Access Identifier
   (NAI)                     Effective
   LUKEJOSELIN02@SPRINTPCS.COM                     5/29/2020 12:58:58 AM      Status: A
   LUKEJOSELIN02@SPRINTPCS.COM                     5/28/2020 11:59:59 PM      Status: S
   LUKEJOSELIN02@SPRINTPCS.COM                     3/31/2020 1:00:43 AM       Status: A
   LUKEJOSELIN02@SPRINTPCS.COM                     3/30/2020 11:59:59 PM      Status: S
   LUKEJOSELIN02@SPRINTPCS.COM                     3/31/2018 1:25:39 PM       Status: A

   ************EQUIPMENT*****************

   International Mobile Subscriber Identity(s) (IMSI)
                 0452      Status Date: 1/12/2020 12:00:00 AM          Status: A
                 2491      Status Date: 8/5/2019 12:00:00 AM           Status: C

   Universal Integrated Circuit Card(s) (UICC)
   NO DATA FOUND

   Mobile Station Identification Number(s) (MSID)
                 6105                 5/29/2020 12:58:58 AM           Status: A
                 6105                 5/28/2020 11:59:59 PM           Status: S
                 6105                 3/31/2020 1:00:43 AM            Status: A
                 6105                 3/30/2020 11:59:59 PM           Status: S
                 6105                 3/31/2018 1:25:39 PM            Status: A

   Subscriber Identity Module(s) (SIM)
   NO DATA FOUND

   Electronic Serial Number (ESN/MSN)
                 1711      Effective: 1/12/2020 Expiration: Active through Date Searched
                     3555 Effective: 8/5/2019 Expiration: 1/12/2020       Status: C

   International Mobile Station Equipment Identity (IMEI)
   NO DATA FOUND

   ************FEATURES*****************

   Anytime Minutes             Effective: 7/18/2020 Expiration: Active through Date Searched
   America - Roaming Include Effective: 7/18/2020 Expiration: Active through Date Searched
   4G Domestic Data Roaming      Effective: 7/18/2020 Expiration: Active through Date Searched
   Domestic Data Roaming         Effective: 7/18/2020 Expiration: Active through Date Searched
   Caller ID                 Effective: 7/18/2020 Expiration: Active through Date Searched
   Call Forwarding            Effective: 7/18/2020 Expiration: Active through Date Searched
   MMS Messaging                 Effective: 7/18/2020 Expiration: Active through Date Searched
   Domestic LD Rate $0          Effective: 7/18/2020 Expiration: Active through Date Searched
   International Text Messag Effective: 7/18/2020 Expiration: Active through Date Searched
   Long Distance While Roami Effective: 7/18/2020 Expiration: Active through Date Searched
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 154 of
                                      240


   Hotspot Required             Effective: 7/18/2020 Expiration: Active through Date Searched
   Enhanced VoiceMail            Effective: 7/18/2020 Expiration: Active through Date Searched
   PAM Data Kilobytes           Effective: 7/18/2020 Expiration: Active through Date Searched
   Required Streaming Policy Effective: 7/18/2020 Expiration: Active through Date Searched
   SMS Text Messages              Effective: 7/18/2020 Expiration: Active through Date Searched
   Sprint 3G MHS/PAM Buy-Up        Effective: 7/18/2020 Expiration: Active through Date Searched
   Sprint 4G Data Services     Effective: 7/18/2020 Expiration: Active through Date Searched
   Sprint 4G MHS/PAM Buy-Up        Effective: 7/18/2020 Expiration: Active through Date Searched
   Sprint Data Services        Effective: 7/18/2020 Expiration: Active through Date Searched
   Sprint eHRPD Data             Effective: 7/18/2020 Expiration: Active through Date Searched
   Sprint Services            Effective: 7/18/2020 Expiration: Active through Date Searched
   Roam On Home Prov               Effective: 6/19/2020 Expiration: Active through Date Searched
   Sprint Wi-Fi Calling      Effective: 1/15/2020 Expiration: Active through Date Searched
   WIN Mutually Exclusive       Effective: 1/15/2020 Expiration: Active through Date Searched
   Sprint Complete             Effective: 1/12/2020 Expiration: Active through Date Searched
   Sprint Data Services        Effective: 4/18/2018 Expiration: 7/18/2020
   Sprint 4G MHS/PAM Buy-Up        Effective: 4/18/2018 Expiration: 7/18/2020
   Sprint 4G Data Services     Effective: 4/18/2018 Expiration: 7/18/2020
   Sprint 3G MHS/PAM Buy-Up        Effective: 4/18/2018 Expiration: 7/18/2020
   Sprint Services            Effective: 4/18/2018 Expiration: 7/18/2020
   Sprint eHRPD Data             Effective: 4/18/2018 Expiration: 7/18/2020
   SMS Text Messages              Effective: 4/18/2018 Expiration: 7/18/2020
   Required Streaming Policy Effective: 4/18/2018 Expiration: 7/18/2020
   Long Distance While Roami Effective: 4/18/2018 Expiration: 7/18/2020
   PAM Data Kilobytes           Effective: 4/18/2018 Expiration: 7/18/2020
   International Text Messag Effective: 4/18/2018 Expiration: 7/18/2020
   4G Domestic Data Roaming        Effective: 4/18/2018 Expiration: 7/18/2020
   MMS Messaging                  Effective: 4/18/2018 Expiration: 7/18/2020
   Enhanced VoiceMail            Effective: 4/18/2018 Expiration: 7/18/2020
   Hotspot Required             Effective: 4/18/2018 Expiration: 7/18/2020
   America - Roaming Include Effective: 4/18/2018 Expiration: 7/18/2020
   Anytime Minutes              Effective: 4/18/2018 Expiration: 7/18/2020
   Domestic Data Roaming          Effective: 4/18/2018 Expiration: 7/18/2020
   Domestic LD Rate $0           Effective: 4/18/2018 Expiration: 7/18/2020
   Call Forwarding             Effective: 4/18/2018 Expiration: 7/18/2020
   Caller ID                  Effective: 4/18/2018 Expiration: 7/18/2020
   Caller Name for OEM Devic Effective: 3/31/2018 Expiration: Active through Date Searched
   International Calling     Effective: 3/31/2018 Expiration: Active through Date Searched
   International Long Distan Effective: 3/31/2018 Expiration: Active through Date Searched
   International Roaming Tex Effective: 3/31/2018 Expiration: Active through Date Searched
   LTE Provisioning Feature     Effective: 3/31/2018 Expiration: Active through Date Searched
   Roaming Minutes               Effective: 3/31/2018 Expiration: Active through Date Searched
   Phone as Modem                 Effective: 3/31/2018 Expiration: Active through Date Searched
   Required Provisioning Fea Effective: 3/31/2018 Expiration: Active through Date Searched
   Wireless Data Roaming         Effective: 3/31/2018 Expiration: Active through Date Searched
   =====================================

   *************************************************************

   Request Type: Subscription Info (Basic)
   Date Range:           10/01/2019 12:00:00 AM to 09/17/2020 11:59:59 PM
   Subject Number:       9547290777
   Comments:

   **************** ACCOUNT DETAILS *********************

   Billing Account Number (BAN):        1565
   Account Establish Date: 1/26/2006
   Account Expiration (Cancel) Date: Active through Date Searched

   Account Billing Address(es):
   Effective: 9/7/2010
   M              J
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 155 of
                                      240


                                                                                 22-60028-CR-WPD
                                                       RequestedInformation
                                                      OurCase#:2021Ͳ047914
                                                                                   513
                                                  ReferenceCase#:


   RequestType: SubscriptionInfo(Basic)
   DateRange:           10/01/201912:00:00AMto04/08/202111:59:59PM
   SubjectNumber:        9548576324
   AccountNumber:        
   SubscriberName:       
   Address:              
                        
                        
                        
                        
   SSNTarget:           

   Comments: 

   **************** ACCOUNT DETAILS *********************

   Billing Account Number (BAN):         5131
   Account Establish Date: 3/18/2018
   Account Expiration (Cancel) Date: Active through Date Searched

   Account Billing Address(es):
   Effective: 3/18/2018
   K               M

   CORAL SPRINGS, FL

   Account Contact Numbers:
   Phone: 9546242846        Active Date: 3/27/2021


   Account Type:
   Individual

   **************** SUBSCRIBER DETAILS *********************

   SubscriberID: 38712058021
   Personal Telephone Number
   (PTN / MDN)                        Effective
   9548576324       Status Date: 3/17/2021 2:17:55 AM       Status: C
   9548576324       Status Date: 5/29/2020 12:59:00 AM      Status: A
   9548576324       Status Date: 5/28/2020 11:59:59 PM      Status: S
   9548576324       Status Date: 3/31/2020 1:00:45 AM       Status: A
   9548576324       Status Date: 3/30/2020 11:59:59 PM      Status: S
   9548576324       Status Date: 3/31/2018 1:23:44 PM       Status: A

   Media Access Control Identifier
   (MAC_ID)                           Effective
   NO DATA FOUND

   Urban Fleet Mobile Identifier
   (UFMI)                            Effective
   NO DATA FOUND

   Non iDEN Direct Connect / Push to Talk
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 156 of
                                      240


   (HPPTT)                           Effective
   NO DATA FOUND

   Internet Protocol Address
   (IP)                           Effective
   NO DATA FOUND

   Network Access Identifier
   (NAI)                     Effective
   LJOSELIN@SPRINTPCS.COM             3/17/2021 2:17:55 AM             Status: C
   LJOSELIN@SPRINTPCS.COM             5/29/2020 12:59:00 AM            Status: A
   LJOSELIN@SPRINTPCS.COM             5/28/2020 11:59:59 PM            Status: S
   LJOSELIN@SPRINTPCS.COM             3/31/2020 1:00:45 AM             Status: A
   LJOSELIN@SPRINTPCS.COM             3/30/2020 11:59:59 PM            Status: S
   LJOSELIN@SPRINTPCS.COM             3/31/2018 1:23:44 PM             Status: A

   ************EQUIPMENT*****************

   International Mobile Subscriber Identity(s) (IMSI)
                 2895      Status Date: 4/22/2018 12:00:00 AM    Status: C

   Universal Integrated Circuit Card(s) (UICC)
   NO DATA FOUND

   Mobile Station Identification Number(s) (MSID)
                0239                 3/17/2021 2:17:55 AM       Status: C
                0239                 5/29/2020 12:59:00 AM      Status: A
                0239                 5/28/2020 11:59:59 PM      Status: S
                0239                 3/31/2020 1:00:45 AM       Status: A
                0239                 3/30/2020 11:59:59 PM      Status: S
                0239                 3/31/2018 1:23:44 PM       Status: A

   Subscriber Identity Module(s) (SIM)
   NO DATA FOUND

   Electronic Serial Number (ESN/MSN)
                     6370 Effective: 4/22/2018 Expiration: 3/17/2021    Status: C

   International Mobile Station Equipment Identity (IMEI)
   NO DATA FOUND

   ************FEATURES*****************

   T-Mobile Voicemail          Effective: 2/19/2021 Expiration: 3/17/2021
   Sprint eHRPD Data           Effective: 7/18/2020 Expiration: 3/17/2021
   Sprint Data Services      Effective: 7/18/2020 Expiration: 3/17/2021
   Sprint 4G MHS/PAM Buy-Up        Effective: 7/18/2020 Expiration: 3/17/2021
   Sprint 4G Data Services    Effective: 7/18/2020 Expiration: 3/17/2021
   Sprint 3G MHS/PAM Buy-Up        Effective: 7/18/2020 Expiration: 3/17/2021
   SMS Text Messages            Effective: 7/18/2020 Expiration: 3/17/2021
   Required Streaming Policy Effective: 7/18/2020 Expiration: 3/17/2021
   4G Domestic Data Roaming      Effective: 7/18/2020 Expiration: 3/17/2021
   America - Roaming Include Effective: 7/18/2020 Expiration: 3/17/2021
   Anytime Minutes             Effective: 7/18/2020 Expiration: 3/17/2021
   Call Forwarding            Effective: 7/18/2020 Expiration: 3/17/2021
   Domestic LD Rate $0         Effective: 7/18/2020 Expiration: 3/17/2021
   Domestic Data Roaming        Effective: 7/18/2020 Expiration: 3/17/2021
   PAM Data Kilobytes           Effective: 7/18/2020 Expiration: 3/17/2021
   MMS Messaging                 Effective: 7/18/2020 Expiration: 3/17/2021
   Long Distance While Roami Effective: 7/18/2020 Expiration: 3/17/2021
   International Text Messag Effective: 7/18/2020 Expiration: 3/17/2021
   Hotspot Required           Effective: 7/18/2020 Expiration: 3/17/2021
   Enhanced VoiceMail           Effective: 7/18/2020 Expiration: 3/17/2021
   Caller ID                 Effective: 7/18/2020 Expiration: 3/17/2021
   Sprint Services           Effective: 7/18/2020 Expiration: 3/17/2021
   Sprint Services           Effective: 10/23/2019 Expiration: 3/17/2021
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 157 of
                                      240


   Wireless Data Roaming        Effective: 4/18/2018 Expiration: 3/17/2021
   4G Domestic Data Roaming       Effective: 4/18/2018 Expiration: 7/18/2020
   Domestic Data Roaming         Effective: 4/18/2018 Expiration: 7/18/2020
   Domestic LD Rate $0          Effective: 4/18/2018 Expiration: 7/18/2020
   Sprint Data Services       Effective: 4/18/2018 Expiration: 7/18/2020
   Sprint eHRPD Data            Effective: 4/18/2018 Expiration: 7/18/2020
   Sprint Services           Effective: 4/18/2018 Expiration: 7/18/2020
   Phone as Modem                Effective: 4/18/2018 Expiration: 3/17/2021
   Required Provisioning Fea Effective: 4/18/2018 Expiration: 3/17/2021
   Required Streaming Policy Effective: 4/18/2018 Expiration: 7/18/2020
   Roaming Minutes              Effective: 4/18/2018 Expiration: 3/17/2021
   SMS Text Messages             Effective: 4/18/2018 Expiration: 7/18/2020
   Sprint 3G MHS/PAM Buy-Up         Effective: 4/18/2018 Expiration: 7/18/2020
   Sprint 4G Data Services    Effective: 4/18/2018 Expiration: 7/18/2020
   Sprint 4G MHS/PAM Buy-Up         Effective: 4/18/2018 Expiration: 7/18/2020
   Enhanced VoiceMail           Effective: 4/18/2018 Expiration: 7/18/2020
   Hotspot Required            Effective: 4/18/2018 Expiration: 7/18/2020
   International Long Distan Effective: 4/18/2018 Expiration: 3/17/2021
   International Roaming Tex Effective: 4/18/2018 Expiration: 3/17/2021
   International Text Messag Effective: 4/18/2018 Expiration: 7/18/2020
   Long Distance While Roami Effective: 4/18/2018 Expiration: 7/18/2020
   LTE Provisioning Feature    Effective: 4/18/2018 Expiration: 3/17/2021
   MMS Messaging                  Effective: 4/18/2018 Expiration: 7/18/2020
   PAM Data Kilobytes           Effective: 4/18/2018 Expiration: 7/18/2020
   Caller ID                 Effective: 4/18/2018 Expiration: 7/18/2020
   Call Forwarding             Effective: 4/18/2018 Expiration: 7/18/2020
   Anytime Minutes              Effective: 4/18/2018 Expiration: 7/18/2020
   America - Roaming Include Effective: 4/18/2018 Expiration: 7/18/2020
   International Calling     Effective: 3/31/2018 Expiration: 3/17/2021
   Sprint Complete             Effective: 3/31/2018 Expiration: 3/17/2021
   =====================================



   

   *************************************************************
   
   
   RequestType: SubscriptionInfo(Basic)
   DateRange:           10/01/201912:00:00AMto04/08/202111:59:59PM
   SubjectNumber:        9546242846
   AccountNumber:        
   SubscriberName:       
   Address:              
                        
                        
                        
                        
   SSNTarget:           

   Comments: 

   **************** ACCOUNT DETAILS *********************

   Billing Account Number (BAN): 652935131
   Account Establish Date: 3/18/2018
   Account Expiration (Cancel) Date: Active through Date Searched
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 158 of
                                      240

     Search Value           9547280627
   Search Start Date         1/1/2020
   Search End Date           9/17/2020
          MTN               9547280627                             22-60028-CR-WPD
   Account Number                 426-7
       Last Name
                                                                     514
      First Name
     Middle Name
    Business Name          SYSCO MAIN
       Addr Line1
       Addr Line2
       Addr Line3
           City             HOUSTON
          State               TX
        Zip Code
  Contact Last Name         HARRISON
  Contact First Name        RENALDO
 Contact Middle Initial
     Home Phone             2815842610
     Work Phone             2815842610
  Contact Addr Line1
  Contact Addr Line2
  Contact Addr Line3
      Contact City        POMPANO BEACH
     Contact State             FL
   Contact Zip Code
  MTN Effective Date         5/7/2019
   Disconnect Date
          Type               Postpaid
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 159 of
                                      240

                                                                       22-60028-CR-WPD



   Subscriber Information Request Source                                 515a




   IP Address: 69.65.66.135

   Date(s): 5/19/20 - 7/15/20

   Requested by: Coral Springs PD

   Contact: Detective Ricardo Pena

   Phone:          1751

   Email: rpena@coralsprings.org
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 160 of
                                      240



   DHCP History 69.65.66.135

   IP Address: 69.65.66.135

   Requested Date: 5/19/20 - 7/15/20

   Binding Start ET: 2019-05-19 21:04:02 EDT

   Lease Expiration ET: 2021-04-22 01:04:21 EDT

   Modem Mac: 0c:ea:c9:eb:1a:8e

   Device Mac: 0c:ea:c9:eb:1a:90

   BBX ID: 6203297

   Billing Account ID:        2008

   First Name: K

   Last Name: M

   City/State: CORAL SPRINGS, FL
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 161 of
                                      240



   Customer’s Equipment Screen
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 162 of
                                      240



   Customer Equipment Port Occurrence Screen
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 163 of
                                      240



   Customer’s Services Screen
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 164 of
                                      240



   Customer Maintenance Screen
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 165 of
                                      240



   Customer Method of Payment
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 166 of
                                      240



   House Maintenance Screen
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 167 of
                                      240


                                                                          22-60028-CR-WPD

   Subscriber Information Request Source
                                                                            515b



   IP Address: 139.138.87.74

   Date(s): 7/29/20 - 8/26/20

   Requested by: Coral Springs PD

   Contact: Detective Ricardo Pena

   Phone:         1751

   Email: rpena@coralsprings.org
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 168 of
                                      240



   DHCP History 139.138.87.74

   IP Address: 139.138.87.74

   Requested Date: 7/29/20 - 8/26/20

   Binding Start ET: 2020-07-10 12:59:27 EDT

   Lease Expiration ET: 2020-09-25 16:33:53 EDT

   Modem Mac: 0c:ea:c9:f4:47:17

   Device Mac: 0c:ea:c9:f4:47:19

   BBX ID:     7994

   Billing Account ID:     4302

   First Name: LUKE

   Last Name: JOSELIN

   City/State: CORAL SPRINGS, FL
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 169 of
                                      240



   Customer’s Equipment Screen
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 170 of
                                      240



   Customer Equipment Port Occurrence Screen
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 171 of
                                      240



   Customer’s Services Screen
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 172 of
                                      240



   Customer Maintenance Screen
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 173 of
                                      240



   Customer Method of Payment
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 174 of
                                      240



   House Maintenance Screen
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 175 of
                                      240




                                                                         22-60028-CR-WPD




                                                                           516a
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 176 of
                                      240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 177 of
                                      240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 178 of
                                      240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 179 of
                                      240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 180 of
                                      240




                                                                    22-60028-CR-WPD




                                                                      527
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 181 of
                                      240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 182 of
                                      240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 183 of
                                      240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 184 of
                                      240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 185 of
                                      240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 186 of
                                      240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 187 of
                                      240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 188 of
                                      240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 189 of
                                      240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 190 of
                                      240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 191 of
                                      240




                                                                   22-60028-CR-WPD




                                                                     528
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 192 of
                                      240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 193 of
                                      240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 194 of
                                      240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 195 of
                                      240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 196 of
                                      240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 197 of
                                      240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 198 of
                                      240




                                                                    22-60028-CR-WPD




                                                                      529
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 199 of
                                      240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 200 of
                                      240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 201 of
                                      240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 202 of
                                      240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 203 of
                                      240




                                                                    22-60028-CR-WPD




                                                                      530
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 204 of
                                      240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 205 of
                                      240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 206 of
                                      240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 207 of
                                      240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 208 of
                                      240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 209 of
                                      240
 Case0:22-cr-60028-WPD
Case   0:20-cr-60140-AHS Document
                          Document74-1
                                   30 Entered
                                       Enteredon
                                               onFLSD
                                                  FLSDDocket
                                                       Docket01/19/2021
                                                              09/09/2022 Page
                                                                          Page1210
                                                                                of 9of
                                        240


                                                                              22-60028-CR-WPD




                                                                                532
 Case0:22-cr-60028-WPD
Case   0:20-cr-60140-AHS Document
                          Document74-1
                                   30 Entered
                                       Enteredon
                                               onFLSD
                                                  FLSDDocket
                                                       Docket01/19/2021
                                                              09/09/2022 Page
                                                                          Page2211
                                                                                of 9of
                                        240
 Case0:22-cr-60028-WPD
Case   0:20-cr-60140-AHS Document
                          Document74-1
                                   30 Entered
                                       Enteredon
                                               onFLSD
                                                  FLSDDocket
                                                       Docket01/19/2021
                                                              09/09/2022 Page
                                                                          Page3212
                                                                                of 9of
                                        240
 Case0:22-cr-60028-WPD
Case   0:20-cr-60140-AHS Document
                          Document74-1
                                   30 Entered
                                       Enteredon
                                               onFLSD
                                                  FLSDDocket
                                                       Docket01/19/2021
                                                              09/09/2022 Page
                                                                          Page4213
                                                                                of 9of
                                        240
 Case0:22-cr-60028-WPD
Case   0:20-cr-60140-AHS Document
                          Document74-1
                                   30 Entered
                                       Enteredon
                                               onFLSD
                                                  FLSDDocket
                                                       Docket01/19/2021
                                                              09/09/2022 Page
                                                                          Page5214
                                                                                of 9of
                                        240
 Case0:22-cr-60028-WPD
Case   0:20-cr-60140-AHS Document
                          Document74-1
                                   30 Entered
                                       Enteredon
                                               onFLSD
                                                  FLSDDocket
                                                       Docket01/19/2021
                                                              09/09/2022 Page
                                                                          Page6215
                                                                                of 9of
                                        240
 Case0:22-cr-60028-WPD
Case   0:20-cr-60140-AHS Document
                          Document74-1
                                   30 Entered
                                       Enteredon
                                               onFLSD
                                                  FLSDDocket
                                                       Docket01/19/2021
                                                              09/09/2022 Page
                                                                          Page7216
                                                                                of 9of
                                        240
 Case0:22-cr-60028-WPD
Case   0:20-cr-60140-AHS Document
                          Document74-1
                                   30 Entered
                                       Enteredon
                                               onFLSD
                                                  FLSDDocket
                                                       Docket01/19/2021
                                                              09/09/2022 Page
                                                                          Page8217
                                                                                of 9of
                                        240
 Case0:22-cr-60028-WPD
Case   0:20-cr-60140-AHS Document
                          Document74-1
                                   30 Entered
                                       Enteredon
                                               onFLSD
                                                  FLSDDocket
                                                       Docket01/19/2021
                                                              09/09/2022 Page
                                                                          Page9218
                                                                                of 9of
                                        240
 Case0:22-cr-60028-WPD
Case  0:21-cr-60265-RNS Document
                        Document 74-1
                                 18 Entered
                                      EnteredononFLSD
                                                  FLSDDocket
                                                       Docket01/20/2022
                                                              09/09/2022 Page
                                                                          Page1 219
                                                                                of 10of
                                       240



                                                                                  22-60028-CR-WPD




                                                                                    533


                                    21-60265-CR-SCOLA/SNOW
 Case0:22-cr-60028-WPD
Case  0:21-cr-60265-RNS Document
                        Document 74-1
                                 18 Entered
                                      EnteredononFLSD
                                                  FLSDDocket
                                                       Docket01/20/2022
                                                              09/09/2022 Page
                                                                          Page2 220
                                                                                of 10of
                                       240
 Case0:22-cr-60028-WPD
Case  0:21-cr-60265-RNS Document
                        Document 74-1
                                 18 Entered
                                      EnteredononFLSD
                                                  FLSDDocket
                                                       Docket01/20/2022
                                                              09/09/2022 Page
                                                                          Page3 221
                                                                                of 10of
                                       240
 Case0:22-cr-60028-WPD
Case  0:21-cr-60265-RNS Document
                        Document 74-1
                                 18 Entered
                                      EnteredononFLSD
                                                  FLSDDocket
                                                       Docket01/20/2022
                                                              09/09/2022 Page
                                                                          Page4 222
                                                                                of 10of
                                       240
 Case0:22-cr-60028-WPD
Case  0:21-cr-60265-RNS Document
                        Document 74-1
                                 18 Entered
                                      EnteredononFLSD
                                                  FLSDDocket
                                                       Docket01/20/2022
                                                              09/09/2022 Page
                                                                          Page5 223
                                                                                of 10of
                                       240
 Case0:22-cr-60028-WPD
Case  0:21-cr-60265-RNS Document
                        Document 74-1
                                 18 Entered
                                      EnteredononFLSD
                                                  FLSDDocket
                                                       Docket01/20/2022
                                                              09/09/2022 Page
                                                                          Page6 224
                                                                                of 10of
                                       240
 Case0:22-cr-60028-WPD
Case  0:21-cr-60265-RNS Document
                        Document 74-1
                                 18 Entered
                                      EnteredononFLSD
                                                  FLSDDocket
                                                       Docket01/20/2022
                                                              09/09/2022 Page
                                                                          Page7 225
                                                                                of 10of
                                       240
 Case0:22-cr-60028-WPD
Case  0:21-cr-60265-RNS Document
                        Document 74-1
                                 18 Entered
                                      EnteredononFLSD
                                                  FLSDDocket
                                                       Docket01/20/2022
                                                              09/09/2022 Page
                                                                          Page8 226
                                                                                of 10of
                                       240
 Case0:22-cr-60028-WPD
Case  0:21-cr-60265-RNS Document
                        Document 74-1
                                 18 Entered
                                      EnteredononFLSD
                                                  FLSDDocket
                                                       Docket01/20/2022
                                                              09/09/2022 Page
                                                                          Page9 227
                                                                                of 10of
                                       240
Case 0:22-cr-60028-WPD
Case 0:21-cr-60265-RNS Document 18
                                74-1Entered onon
                                      Entered  FLSD Docket
                                                 FLSD      01/20/2022
                                                      Docket 09/09/2022Page 10228
                                                                         Page  of 10
                                                                                   of
                                       240




          9/10/2021




         9/10/2021
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 229 of
                                      240




                                                                             22-60028-CR-WPD




                                                                               534
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 230 of
                                      240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 231 of
                                      240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 232 of
                                      240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 233 of
                                      240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 234 of
                                      240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 235 of
                                      240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 236 of
                                      240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 237 of
                                      240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 238 of
                                      240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 239 of
                                      240
Case 0:22-cr-60028-WPD Document 74-1 Entered on FLSD Docket 09/09/2022 Page 240 of
                                      240
